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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


DISH NETWORK L.L.C.,
                       Plaintiff,                    No. _____________
       v.
COX MEDIA GROUP, LLC, APOLLO
GLOBAL MANAGEMENT, LLC, APOLLO
INVESTMENT FUND IX, L.P., TERRIER
MEDIA BUYER, INC., NBI HOLDINGS,
LLC, BRYSON BROADCAST HOLDINGS,
LLC, NORTHWEST BROADCASTING, L.P.,
NORTHWEST BROADCASTING, INC.,
CAMELOT MEDIA BUYER, INC., and
CAMELOT MEDIA HOLDINGS, LLC,
                       Defendants.


                                     NOTICE OF REMOVAL

       Terrier Media Buyer, Inc. d/b/a Cox Media Group (“CMG”), NBI Holdings, LLC,

Bryson Broadcast Holdings, LLC, Northwest Broadcasting, LP, Northwest Broadcasting, Inc.,

Camelot Media Buyer, Inc., Camelot Media Holdings, LLC, Apollo Global Management, LLC,

and Apollo Investment Fund IX, LP (collectively, “Defendants”), by and through their

undersigned counsel, hereby provide notice pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 of

the removal of the case captioned DISH Network L.L.C. v. Cox Media Group, LLC, et al., No.

20-CH-00528 (the “State Court Action”) from the Circuit Court of Cook County, Illinois to the

United States District Court for the Northern District of Illinois, Eastern Division. Federal

diversity jurisdiction exists in this case because there is complete diversity among the properly

joined parties and the amount in controversy exceeds $75,000.




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       Pursuant to 28 U.S.C. § 1446(a), Defendants provide the following short and plain

statement of the grounds for removal:

       1.      On January 15, 2020, Plaintiff DISH Network L.L.C. (“DISH”) filed a verified

complaint (the “Complaint” or “Cmplt.”) in the Circuit Court of Cook County, Illinois, captioned

DISH Network L.L.C. v. Cox Media Group, LLC, et al., No. 20-CH-00528. The Complaint

alleges breach of contract claims against Defendants relating to DISH’s retransmission of the

local TV signals of certain broadcast stations owned by certain Defendants.

       2.      This action is properly removed. The procedural requirements of removal are

met. This Court has subject matter jurisdiction. Defendants opposed an ex parte temporary

restraining order (“TRO”) entered in the State Court Action on January 15, 2020 – the same day

the Complaint was filed – and was maintained by order entered on January 24. That action does

not waive removal. Rothner v. City of Chicago, 879 F.2d 1402, 1404, 1418–19 (7th Cir. 1989).

If any question arises about this removal, Defendants respectfully request the opportunity to

submit briefing and evidence, and present oral argument, in support of removal.

I.     THE PROCEDURAL REQUIREMENTS OF REMOVAL ARE MET.

       3.      True and correct copies of all process, pleadings, and orders served on Defendants

in the State Court Action are attached in the Appendix to this Notice. 28 U.S.C. § 1446(a).

       4.      This Notice of Removal is filed fewer than 30 days after the State Court Action

was filed by Plaintiff. Accordingly, removal is timely. 28 U.S.C. § 1446(b).

       5.      This Court presides in the locality in which the State Court Action was filed. It is

therefore a proper forum for removal. 28 U.S.C. § 93(a)(1).

       6.      No properly joined defendant is a citizen of Illinois, the state where this action

was brought. 28 U.S.C. § 1441(b)(2).




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         7.    The only defendant not joining this Notice of Removal is Cox Media Group,

LLC. Cox Media Group, LLC consented to removal via email to Defendants’ counsel dated

January 23, 2020.

         8.    A copy of this Notice of Removal will be served on DISH via email to its counsel

of record in the State Court Action, and a copy is being filed with the state court. 28 U.S.C.

§ 1446(d).

II.      THIS COURT HAS SUBJECT MATTER JURISDICTION.

         9.    An action may be removed from state court to federal court if the action could

have originally been brought in federal court. 28 U.S.C. § 1441(a). Here, federal jurisdiction

exists based upon diversity of citizenship pursuant to 28 U.S.C. § 1332 because the amount in

controversy is greater than $75,000 and this is a civil action between citizens of different states.

         A.    The Amount In Controversy Requirement Is Satisfied.

         10.   The amount in controversy exceeds $75,000. 28 U.S.C. § 1332. The Complaint

seeks nonmonetary relief and does not allege a specific amount of damages. (See generally

Cmplt.) However, the face of the Complaint demonstrates that the amount at issue is

substantially greater than $75,000, and DISH has asserted in its TRO briefing that the amount at

issue is greater than $238 million. (See App’x.) This adequately establishes the amount in

controversy. 28 U.S.C. § 1446(c)(2)(B); see also McCormick v. Indep. Life & Annuity Co., 794

F.3d 817, 818 (7th Cir. 2015); Bloomberg v. Service Corp. Int’l, 639 F.3d 761, 763 (7th Cir.

2011).




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         B.    There Is Complete Diversity Of Citizenship Between The Properly Joined
               Parties.

         11.   Plaintiff DISH is a citizen of Colorado. It is a Colorado limited liability company

whose sole member is a corporation who is a citizen of Colorado. Its principal place of business

is at 9601 S. Meridian Blvd., Englewood, Colorado 80112. (Cmplt. ¶ 8.)

         12.   Defendant Cox Media Group, LLC is a citizen of Delaware and Georgia. It is a

Delaware limited liability company whose sole member is a corporation who is a citizen of

Delaware and Georgia. Its principal place of business is at 6205 Peachtree Dunwoody Road,

Atlanta, GA 30328. (See also Cmplt. ¶ 9.)

         13.   Defendant Apollo Global Management, LLC is in fact Apollo Global

Management, Inc., and is a citizen of Delaware and New York. It is a Delaware corporation with

its principal place of business at 9 West 57th Street, New York, NY 10019. (See also Cmplt.

¶ 10.)

         14.   Defendant Terrier Media Buyer, Inc. is a citizen of Delaware and New York. It is

a Delaware corporation with its principal place of business at 1 Manhattanville Road, Suite 201,

Purchase, NY 10577 and headquarters at 223 Perimeter Center Drive, Atlanta, GA 303461. (See

also Cmplt. ¶ 12.)

         15.   Defendant NBI Holdings, LLC is a citizen of Delaware and New York. It is a

Delaware limited liability company whose sole member is Defendant Terrier Media Buyer, Inc.

Its principal place of business is at 1 Manhattanville Road, Suite 201, Purchase, NY 10577. (See

also Cmplt. ¶ 13.)

         16.   Defendant Bryson Broadcast Holdings, LLC is a citizen of Delaware and New

York. It is a Delaware limited liability company whose sole member is Defendant NBI




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Holdings, LLC. Its principal place of business is at 4311 Wilshire Boulevard, Suite 408, Los

Angeles, CA 90010. (See also Cmplt. ¶ 14.)

       17.     Defendant Northwest Broadcasting, L.P. is a citizen of Delaware, New York, and

Michigan. It is a Delaware limited partnership whose general partner is Defendant Northwest

Broadcasting, Inc., and whose limited partners are Defendant NBI Holdings, LLC and a

corporation who is a citizen of Delaware and Michigan. Its principal place of business is at 2111

University Park Drive, Suite 650, Okemos, MI 48864. (See also Cmplt. ¶ 15.)

       18.     Defendant Northwest Broadcasting, Inc. is a citizen of Delaware and Michigan. It

is a Delaware corporation with its principal place of business at 2111 University Park Drive,

Suite 650, Okemos, MI 48864. (See also Cmplt. ¶ 16.)

       19.     Defendant Camelot Media Buyer, Inc. is a citizen of Delaware and New York. It

is a Delaware corporation with its principal place of business at 1 Manhattanville Road, Suite

201, Purchase, NY 10577. (See also Cmplt. ¶ 17.)

       20.     Defendant Camelot Media Holdings, LLC is a citizen of Delaware and New York.

It is a Delaware limited liability company whose sole member is Defendant Camelot Media

Buyer, Inc. Its principal place of business is at 1 Manhattanville Road, Suite 201, Purchase, NY

10577. (See also Cmplt. ¶ 18.)

       21.     Accordingly, DISH is a citizen of Colorado, and the properly joined defendants

are citizens of Delaware, Georgia, New York, and Michigan. Complete diversity of citizenship

exists between DISH and the properly joined Defendants. Defendants can and will submit

affidavits or other evidence to prove these parties’ citizenship if and when necessary.




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       C.      Defendant Apollo IX Does Not Destroy Complete Diversity Because It Is
               Fraudulently Joined.

       22.     Defendant Apollo Investment Fund IX, LP (“Apollo IX”) is a Delaware limited

partnership with many limited partners, some of whom are citizens of Colorado and some of

whom are citizens of Illinois. However, it does not destroy complete diversity because it was

fraudulently joined.

       23.     The Seventh Circuit has explained that a plaintiff “may not join a non-diverse

defendant simply to destroy diversity jurisdiction. The fraudulent joinder doctrine, therefore,

permits a district court considering removal to disregard, for jurisdictional purposes, the

citizenship of certain non-diverse defendants, assume jurisdiction over a case, dismiss the non-

diverse defendants, and thereby retain jurisdiction.” Schur v. L.A. Weight Loss Ctrs., Inc., 577

F.3d 752, 763 (7th Cir. 2009) (cleaned up).

       24.     In such cases, the district court should disregard the presence of the non-diverse

party for jurisdictional purposes if there is no reasonable probability that the state court would

find liability as to the non-diverse party. Schwartz v. State Farm Mut. Auto Ins. Co., 174 F.3d

875, 879 (7th Cir. 1999); see also Hoosier Energy Rural Elec. Coop., Inc. v. Amoco Tax Leasing

IV Corp., 34 F.3d 1310, 1314–15 (7th Cir. 1994); Poulos v. Naas Foods, Inc., 959 F.2d 69, 73

(7th Cir. 1992).

       25.     There is no reasonable probability that the state court would find liability against

Apollo IX. The Complaint’s only specific allegation about that entity is that Defendant Terrier

Media Buyer, Inc. “is controlled by Apollo IX.” (Cmplt. ¶ 44.) This assertion is utterly

unsubstantiated. (See generally id.) Nor does DISH’s 45 pages of briefing on the State Court

Action TRO mention Apollo IX even once. (See App’x.)




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       26.       The only Counts pleaded in the Complaint against Apollo IX are Counts I and

VII, which are generically pleaded against “All Defendants.” (See generally Cmplt.) Count I is

for a declaratory judgment regarding the “Cox Retransmission Agreement.” (Id. ¶¶ 81–86.)

However, Apollo IX is not a party to the Cox Retransmission Agreement and is not alleged to

have taken any action whatsoever regarding that Agreement. (See generally id.) Apollo IX is

thus irrelevant to a declaratory judgment regarding that Agreement.

       27.       Count VII is for unfair competition for “knowingly and intentionally

misappropriating DISH’s rights . . . by acting to deprive DISH of (i) its retransmission rights

with respect to the Cox Stations and (ii) its rights under the change-in-control and assignment

provisions of the Cox Retransmission Agreement,” in particular by “threatening to ‘black out’

the four major networks in ten of DISH’s markets.” (Id. ¶¶ 122–29.) Again, DISH does not

allege any action by Apollo IX – which was not a party to the Cox Retransmission Agreement –

let alone any action that affected or threatened any of DISH’s rights under that Agreement. (See

generally id.)

       28.       The complete absence of even a single factual allegation against Apollo IX means

that there is no reasonable possibility that DISH can recover against it. See, e.g., City of Chicago

v. Beretta U.S.A. Corp., 213 Ill.2d 351, 368, 821 N.E.2d 1099 (2004) (recognizing that in order

to state a viable claim, a plaintiff must allege facts sufficient to bring a claim within a legally

cognizable cause of action).

       29.       Therefore, Apollo IX was fraudulently joined and should be disregarded for

diversity purposes. After disregarding Apollo IX, complete diversity between the parties exists,

and this Court has jurisdiction pursuant to 28 U.S.C. §§ 1332 and 1441.




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III.    DEFENDANTS DID NOT WAIVE REMOVAL.

        30.    On Wednesday January 15, 2020, the same day that DISH filed its Complaint in

the State Court Action, it also filed a motion for a TRO. (See App’x.) At an ex parte hearing

that day, the state court entered a TRO. (See id.)

        31.    After retaining counsel over the holiday weekend, Defendants appeared before the

state court on Tuesday, January 21 to oppose the TRO. The state court requested that

Defendants file a brief in opposition to the TRO on Wednesday, January 22 and appear again for

a hearing on the TRO on Friday, January 24. At the January 24 hearing, the state court entered a

new order maintaining the TRO. (See App’x.)

        32.    Defendants did not waive their right to removal by opposing DISH’s TRO in state

court. The “long-settled common law rule” is “that opposing a motion for a temporary

restraining order does not waive the right to remove.” Rothner, 879 F.2d at 1402, 1404, 1418–

19; see also Mostafa v. Voight, 2016 WL 2593367, at *3 (N.D. Ill. May 5, 2016) (denying

remand even though defendants opposed TRO in state court); Alaska Fin. Co. III, LLC v. Glob.

Mortg. Grp., LLC, 2018 WL 574940, at *3 (D. Del. Jan. 26, 2018) (same); cf. Radaszewski v.

Garner, 2002 WL 31430325, at *3 (N.D. Ill. Oct. 21, 2002) (“Generally, actions taken by a party

to defend against the plaintiff’s claims or to merely maintain the status quo do not constitute a

waiver.”).

        33.    Defendants have not actively litigated the state court action. They have only

opposed the TRO that was entered at an ex parte hearing. They then promptly sought removal.

Accordingly, Defendants did not waive removal.




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                                         CONCLUSION

        WHEREFORE, notice is given that the State Court Action is removed from the Circuit

Court of Cook County, Illinois to the United States District Court for the Northern District of

Illinois.



Dated: January 24, 2020                              Respectfully submitted,

                                                     /s/ Scott Lassar

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                                                     Hille R. Sheppard (No. 6226077)
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                                                     Attorneys for Defendants (other than Cox
                                                     Media Group, LLC)




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 24th day of January, 2020, I electronically filed the foregoing

with the Court using the CM/ECF system, and delivered the foregoing to all counsel of record by

email.

         Michael Dockterman (mdockterman@steptoe.com)

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                                                 /s/ John M. Skakun III
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                                                 Counsel for Defendants (other than Cox Media
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               APPENDIX
                      (Public Version)
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2120 - Served                      2121 - Served
2220 - Not Served                  2221 - Not Served
2320 - Served By Mail              2321 - Served By Mail
2420 - Served By Publication       2421 - Served By Publication
Summons - Alias Summons                                                        (08/01/18) CCG 0001 A

                 IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

DISH Network L.L.C.
                                  (Name all parties)
                                                       Case No.
                         v.
Cox Media Group, LLC et al.

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$WW\1DPH Michael Dockterman
$WW\IRU Steptoe & Johnson LLP                                   '2527+<%52:1&OHUNRI &RXUW
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       Chicago                                              Date of Service: ___________
&LW\ ____________________________                         7REHLQVHUWHGE\RIÀFHURQFRS\OHIWZLWK
        IL
State: ____          60606
                Zip: ________                               Defendant or other person):
           (312) 577-1300
Telephone: ________________________
3ULPDU\(PDLO mdockterman@steptoe.com




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                                                      Page 2 of 3
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        CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS

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Northwest Broadcasting, Inc.
R/A: The Corporation Trust Company
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              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                  COUNTY DEPARTMENT, CHANCERY DIVISION

DISH NETWORK L.L.C.
9601 S. Meridian Blvd.,
Englewood, Colorado 80112
Plaintiff,
             vs.

COX MEDIA GROUP, LLC
6205 Peachtree Dunwoody Road
Atlanta, GA 30328

APOLLO GLOBAL MANAGEMENT, LLC
APOLLO INVESTMENT FUND IX, L.P.
9 West 57th Street,
New York, NY 10019

TERRIER MEDIA BUYER, INC.
1 Manhattanville Road, Suite 201
                                         Case No. _______________________
Purchase, NY 10577

NBI HOLDINGS, LLC
1 Manhattanville Road, Suite 201
Purchase, NY 10577

BRYSON BROADCAST HOLDINGS, LLC
4311 Wilshire Boulevard, Suite 408
Los Angeles, CA 90010

NORTHWEST BROADCASTING, L.P.
2111 University Park Drive, Suite 650,
Okemos, MI 48864

NORTHWEST BROADCASTING, INC.
2111 University Park Drive, Suite 650,
Okemos, MI 48864

AND

CAMELOT MEDIA BUYER, INC.
CAMELOT MEDIA HOLDINGS, LLC
1 Manhattanville Road, Suite 201
Purchase, NY 10577

                       Defendants.
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                                    VERIFIED COMPLAINT

       Plaintiff DISH Network L.L.C. (“DISH”), for its complaint against Cox Media Group,

LLC (“Cox”); Terrier Media Buyer, Inc. (“Terrier”); NBI Holdings, LLC (“NBI Holdings”);

Bryson Broadcast Holdings, LLC (“Bryson”); Northwest Broadcasting, L.P. (“Northwest

Broadcasting”); Northwest Broadcasting, Inc. (“Northwest”); Camelot Media Buyer Inc.

(“CMB”); Camelot Media Holdings, LLC (“CMH” and together with CMB, “Camelot”); and

Apollo Global Management, Inc. and Apollo Investment Fund IX, L.P. (collectively “Apollo”),

alleges as follows:

                                        INTRODUCTION

       1.      With the ink fresh on the retransmission contract between DISH and Cox, the

Defendants—a collection of private equity vehicles created by Apollo—are trying to consign that

contract to the trash heap, let the television screens of hundreds of thousands of DISH customers

go dark, and hold out for higher prices for retransmission of Cox’s stations based on a fictional

construct that has no basis in law. DISH therefore seeks the assistance of this Court to preserve

its contractual rights and to prevent an alteration of the status quo ante with irreparable

consequences to DISH while this Court determines whether Defendants’ arguments have any

weight whatsoever.

       2.      As of late 2019, Cox owned thirteen local television broadcast stations. Each

operates in one of ten U.S. local markets—Atlanta, Georgia; Boston, Massachusetts; Seattle,

Washington; Charlotte, North Carolina; Pittsburgh, Pennsylvania, Dayton, Ohio; Jacksonville

and Orlando, Florida; Memphis, Tennessee; and Tulsa, Oklahoma—and ten of them are

affiliated with one of the “Big Four” broadcast networks—ABC, CBS, NBC, or Fox. In March

2019, DISH entered into a contract with Cox that permits DISH to retransmit the signal of each


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of the stations it owns (“Cox Retransmission Agreement”). The Cox Retransmission Agreement

remains in full force and effect.

       3.      Through an artful reading of the documents crafted by Apollo, Defendants seek to

take advantage of two acquisitions, consummated in December 2019, in an effort to abrogate the

Cox Retransmission Agreement, avoid Cox’s contractual obligations to DISH, and deprive DISH

of the benefit of its 2019 bargain with Cox. The Apollo private equity firms at the heart of this

scheme have not previously engaged in the broadcast business. Rather, various Apollo affiliates

simultaneously acquired local television broadcast stations owned by Cox as well as another

group of local stations formerly owned by Northwest, which DISH also retransmits. The

Defendants contend that the Northwest acquisition occurred a millisecond before the Cox

acquisition, so that the Cox Stations were supposedly acquired by a freshly minted broadcaster—

an owner that already had a retransmission consent agreement with DISH. Defendants make this

argument to trigger a provision in the Cox Retransmission Agreement in an attempt to take the

Cox Stations out of that agreement and move them under DISH’s retransmission consent

agreement covering Northwest stations, which is set to expire on Wednesday, January 15, 2020.

Defendants have run “crawls” on the screens of Cox programming advising viewers that DISH

will soon no longer have the right to carry the Cox Stations on the DISH platform.

       4.      As a result, as of January 15, the hundreds of thousands of DISH subscribers in

those ten U.S. markets will lose access to at least one of the major broadcast networks.

       5.      DISH will be irreparably harmed if this occurs. When major networks “go dark”

on DISH’s platform, DISH loses goodwill with its existing and potential subscribers. DISH

subscribers who have suddenly lost access to their favorite TV programming have an incentive to

abandon DISH and switch to another multichannel video programming distributor—the local



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cable system or DIRECTV—and some unknown number of them will do so. Others may cut the

cord altogether and switch to online video distributors such at Hulu Plus or YouTube TV. This

is particularly true when the subscribers lose network programming to some of the most popular

live sports (such as the NFL playoffs currently in progress), hit shows, and other marquee events.

In addition, the lack of such popular programming means that potential new subscribers in these

ten markets will find DISH less attractive—and some unknown number of them who otherwise

would have subscribed to DISH will fail to do so. This loss of goodwill and incalculable loss of

existing and potential subscribers constitutes irreparable harm. Damages would not compensate

DISH either for the loss of existing and potential subscribers or for the lingering goodwill effects

in each market from having lost access to Big 4 network channels.

        6.      The loss of programming in these ten markets would also harm the public interest

by depriving these consumers of access to network programming after 11:59 p.m. Mountain

Time on January 15, 2020. To continue receiving such programming, the customers would have

to switch either to another multichannel video programming distributor that is not their first

choice, switch to an online video distributor, or resort to the solution of a “rabbit-ears” antenna to

receive these stations over the air, if they can.

        7.      Accordingly, DISH brings this Complaint seeking declaratory and injunctive

relief to preserve the status quo, compel specific performance of its contract with Cox, and

prevent further interference with its contract rights.


                                              PARTIES

        8.      Plaintiff DISH Network L.L.C. is a Colorado limited liability company with its

principal place of business at 9601 S. Meridian Blvd., Englewood, Colorado 80112. DISH

maintains an office at 500 North Michigan Ave, Suite 1920, Chicago, IL 60611.


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         9.    Defendant Cox Media Group, LLC is a Delaware limited liability company with

its principal place of business at 6205 Peachtree Dunwoody Road, Atlanta, GA 30328.

         10.   Defendant Apollo Global Management, Inc. is a Delaware corporation with its

principal place of business at 9 West 57th Street, New York, NY 10019.

         11.   Defendant Apollo Investment Fund IX, L.P. (“Apollo IX”) is a Delaware limited

partnership with its principal place of business at 9 West 57th Street, New York, NY 10019.

         12.   Defendant Terrier Media Buyer, Inc. is a Delaware corporation with its principal

place of business at 1 Manhattanville Road, Suite 201, Purchase, NY 10577.

         13.   Defendant NBI Holdings, LLC is a Delaware limited liability company with its

principal place of business at 1 Manhattanville Road, Suite 201, Purchase, NY 10577.

         14.   Defendant Bryson Broadcast Holdings, LLC is a Delaware limited liability

company with its principal place of business at 4311 Wilshire Boulevard, Suite 408, Los

Angeles, CA 90010.

         15.   Defendant Northwest Broadcasting, L.P. is a Delaware limited liability company

with its principal place of business at 2111 University Park Drive, Suite 650, Okemos, MI

48864.

         16.   Defendant Northwest Broadcasting, Inc. is a Delaware corporation with its

principal place of business at 2111 University Park Drive, Suite 650, Okemos, MI 48864.

         17.   Defendant Camelot Media Buyer, Inc. is a Delaware corporation with its principal

place of business at 1 Manhattanville Road, Suite 201, Purchase, NY 10577.

         18.   Defendant Camelot Media Holdings, LLC is a Delaware limited liability company

with its principal place of business at 1 Manhattanville Road, Suite 201, Purchase, NY 10577.




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                                JURISDICTION AND VENUE

        19.    This Court has personal jurisdiction over the Defendants because the contract at

issue in this dispute, i.e., the Cox Retransmission Agreement provides for disputes to be litigated

here.

        20.    Venue is proper in Cook County pursuant to 735 ILCS 5/2-101, as “the county in

which the transaction or some part thereof occurred out of which the cause of action arose.”

Venue is also proper in Cook County pursuant to the venue selection provision in the Cox

Retransmission Agreement.

        21.    Pursuant to the governing law provision of the contract at issue in this dispute

(i.e., the Cox Retransmission Agreement), the Cox Retransmission Agreement and the conduct

of the parties to the Cox Retransmission Agreement are governed by the laws of the state of New

York.


                                 FACTUAL BACKGROUND

Cox and DISH Execute the Cox Retransmission Agreement.

        22.    DISH is a multichannel video programming distributor (“MVPD”) that carries

hundreds of programming networks by satellite directly to subscribers, who receive them at their

homes by means of a pizza-sized dish. Among other programs, DISH retransmits local

television broadcast stations in each of the nation’s 210 local markets. That includes the local

stations that are affiliated with one of the Big 4 networks (ABC, CBS, Fox, and NBC). In some

markets, the local stations are actually owned by the networks. In most markets, they are only

affiliated with one of the networks and are owned by broadcast groups such as Cox.




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        23.      Pursuant to 47 U.S.C. § 325(b), MVPDs are not permitted to “retransmit the

signal of a broadcasting station, or any part thereof, except with the express authority of the

originating station . . ..”

        24.      DISH negotiated a retransmission consent agreement with Cox, which became

effective on March 31, 2019 (previously defined as the “Cox Retransmission Agreement”). The

Cox Retransmission Agreement is, by its terms, confidential. Pursuant to 735 ILCS 5/2-606,

DISH sets out the relevant portions of the Cox Retransmission Agreement herein, incorporates

the full Cox Retransmission Agreement by reference as if fully set forth herein, and will file a

true and correct copy of the Cox Retransmission Agreement as Exhibit 1 under seal.

        25.      Section 3(a) of the Cox Retransmission Agreement gives DISH the right to

retransmit the signals of thirteen local television broadcast stations in ten major U.S. markets

during the term of the Agreement:

        Grant of Retransmission Consent by Broadcaster. Pursuant to 47 U.S.C.
        § 325(b)(1) and the rules and regulations promulgated thereunder, Broadcaster
        [Cox] grants to DISH consent throughout the Term to retransmit the signal of each
        station (including each Programming Stream) on a non-exclusive basis via the
        Distribution System with the applicable Station’s Local Market and Significantly
        Viewed Areas substantially contemporaneously with the applicable Station’s
        primary broadcast. For clarity, such consent does not convey to DISH any
        ownership rights in or to the underlying programming.

        26.      The Cox Retransmission Agreement granted DISH consent to retransmit Big 4

Network programming and other programming to its customers in Atlanta, Georgia; Boston,

Massachusetts; Charlotte, North Carolina; Dayton, Ohio; Jacksonville and Orlando, Florida;

Memphis, Tennessee; Pittsburgh, Pennsylvania; Seattle, Washington; and Tulsa, Oklahoma.

        27.      The following thirteen stations and markets are covered by the Cox

Retransmission Agreement (collectively, the “Cox Stations”). Ten of them are affiliated with

ABC, NBC, CBS, or Fox, as shown below:

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             a.   WSB-TV (ABC, Atlanta)
             b.   WFXT (FOX, Boston)
             c.   WSOC-TV (ABC, Charlotte)
             d.   WAXN-TV (Independent, Charlotte)
             e.   WHIO-TV (CBS, Dayton)
             f.   WFOX-TV (FOX, Jacksonville)
             g.   WHBQ-TV (FOX, Memphis)
             h.   WFTV (ABC, Orlando-Daytona Beach-Melbourne)
             i.   WRDQ (Independent, Orlando-Daytona Beach-Melbourne)
             j.   WPXI (NBC, Pittsburgh)
             k.   KIRO-TV (CBS, Seattle-Tacoma)
             l.   KOKI-TV (FOX, Tulsa)
             m.   KMYT-TV (Independent, Tulsa)

       28.        Pursuant to Section 2, the Term of the Cox Retransmission Agreement does not

expire for more than two years from now.

       29.        Pursuant to Section 11 of the Cox Retransmission Agreement, either party has the

right to early termination only in the event of (i) an uncured, material breach or default by the

other party, (ii) a “change in Law” as defined in the Agreement, or (iii) bankruptcy or insolvency

of the non-terminating party. No such event has occurred.

       30.        Pursuant to Section 8 of the Cox Retransmission Agreement, DISH pays monthly

retransmission fees to Cox. Those fees are based on a pre-determined monthly rate per DISH

customer receiving each Cox Station.

       31.        Pursuant to Section 12(b)(iii) of the Cox Retransmission Agreement, Cox

represented and warranted to DISH that “no third party has or has claimed any right that would

be inconsistent with the rights granted to DISH in this Agreement.”

       32.        Pursuant to Section 12(c)(ii) of the Cox Retransmission Agreement, Cox

covenanted that it “will maintain, at all times during the Term, all licenses, permits, rights,

exemptions, authorizations and consents necessary to fully perform this Agreement.”




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A Change in Control Does Not Extinguish DISH’s Retransmission Rights Under the Cox
Retransmission Agreement.

       33.      Section 17 of the Cox Retransmission Agreement defines the parties’ rights in the

event of a change in control of a Cox station.

       34.      Section 17(b) also provides a mechanism granting DISH the right to continue

retransmitting the Cox station’s programming under an agreement with the new owner of the

station, as follows:

             a. If the new owner of the Cox station already has an existing retransmission

                agreement with DISH that requires incorporation of the station, then the station

                becomes subject to the terms of that agreement and the Cox Retransmission

                Agreement terminates with respect to that station.

             b. If the new owner has an existing retransmission agreement with DISH that

                permits, but does not require, incorporation of the Cox station, then DISH has the

                right to choose whether the station will become subject to the terms of the

                agreement with the new owner or, instead, will continue to be subject to the terms

                of the Cox Retransmission Agreement, pursuant to a valid assignment by Cox to

                the new owner of the rights and obligations with respect to that station.

             c. If neither of these two situations applies, then the Cox Retransmission Agreement

                requires Cox to assign its rights and obligations under the Cox Retransmission

                Agreement to the new owner of the Cox station. This means that, if the new

                owner does not have an existing retransmission agreement with DISH, then the

                new owner must take the station subject to the terms of the Cox Retransmission

                Agreement.




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        35.        The third alternative is what has happened here, and this is what Defendants

unlawfully attempt to hide.

        36.        Thus, under the change-in-control provisions of Section 17, the terms of the Cox

Retransmission Agreement continue to apply to the Cox Stations.

        37.        DISH has complied with its obligations under the Cox Retransmission Agreement

at all relevant times.

DISH Has a Separate Retransmission Agreement Covering the Northwest Stations.

        38.        Northwest Broadcasting Inc. has a separate retransmission agreement with DISH.

On June 6, 2018, DISH had executed a retransmission agreement with Northwest that became

effective on or around June 6, 2018 (the “Northwest Retransmission Agreement”) and covers the

retransmission by DISH of Northwest’s separate group of eighteen local television broadcast

stations, fourteen of which are affiliated with one of the four major networks:

              a.   WBPN-LD (MNT, Binghamton, NY)
              b.   WICZ-TV (FOX, Binghamton, NY)
              c.   KIEM-TV (NBC, Eureka, CA)
              d.   KVIQ-LD (CBS, Eureka, CA)
              e.   WABG-TV (ABC, Greenwood, MS)
              f.   WNBD-LD (NBC, Greenwood, MS)
              g.   WXVT-LD (CBS, Greenwood, MS)
              h.   KPVI-DT (NBC, Idaho Falls, ID)
              i.   KFBI-LD (MNT, Medford, OR)
              j.   KMVU-DT (FOX, Medford, OR)
              k.   KMCW-LD (Not currently broadcasting, Medford, OR)
              l.   KAYU-TV (FOX, Spokane, WA)
              m.   WNYS (MNT, Syracuse, NY)
              n.   WSYT (FOX, Syracuse, NY))
              o.   KCYU-LD (FOX, Yakima, WA)
              p.   KFFX-TV (FOX, Yakima, WA)
              q.   KFFX-TV (FOX, Yakima, WA)
              r.   KSWT (CBS, Yuma, AZ)
              s.   KYMA-DT (NBC, Yuma, AZ)

        39.        The Northwest Retransmission Agreement is, by its terms, confidential. Pursuant

to 735 ILCS 5/2-606, DISH sets out the relevant portions of the Northwest Retransmission
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Agreement herein and incorporates the full Northwest Retransmission Agreement by reference

as if fully set forth herein, and will file a true and correct copy of the Northwest Retransmission

Agreement as Exhibit 2 under seal.

       40.     The Northwest Retransmission Agreement granted DISH consent to retransmit

Big 4 Network programming and other programming to its customers in Birmingham and

Syracuse, New York; Eureka, California; Greenwood, Mississippi; Idaho Falls, Idaho; Medford,

Oregon; Spokane and Yakima, Washington; and Yuma, Arizona until December 31, 2019.

       41.     The Northwest Retransmission Agreement was set to expire on December 31,

2019, and has been extended by the parties to 11:59 p.m. Mountain Time on January 15, 2020.

Paragraph 5 of the extension agreement states, “Nothing contained in this letter agreement shall

constitute an agreement or acknowledgment by DISH that the [Cox Stations] listed in Exhibit A

to NBI Holdings, LLC’s letter to DISH dated December 20, 2019 are After-Acquired Stations.”

If the parties do not reach a further agreement by that time, the screens of DISH customers will

go dark for all Northwest stations.

       42.     The Northwest Retransmission Agreement contains a change-in-control clause

like the change-in-control clause in the Cox Retransmission Agreement.

       43.     The Northwest Retransmission Agreement also contains a clause commonly

referred to as an After-Acquired Station Clause. This clause provides that any TV station not

covered by the Northwest Retransmission Agreement shall be deemed added to the Northwest

Retransmission Agreement and governed by its terms if the station is acquired by Northwest

after the Northwest Retransmission Agreement’s effective date. Assuming satisfaction of the

applicable change-in-control provisions, the effect of the After-Acquired Station Clause is to

impose the terms of the Northwest Retransmission Agreement on TV stations that Northwest



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acquires after June 6, 2018, the effective date of the Agreement. Northwest has not acquired the

Cox Stations.

Cox and Northwest Agree to Transactions that Result in the Acquisition of the Cox
Stations and the Northwest stations by Different Apollo Affiliates.

       44.      Terrier was created by Apollo, a private equity firm that invests in alternative

assets on behalf of the world’s most prominent investors, and is controlled by Apollo IX. Apollo

and its affiliates, including Apollo IX, Terrier, NBI Holdings, and Camelot, are new entrants in

the broadcast television market.

       45.      On or around February 14, 2019, Terrier entered into a purchase agreement (the

“Northwest Acquisition Agreement”) with entities operating under the name Northwest

Broadcasting, to acquire, among other things, the interests in Northwest’s 18 broadcast television

stations in markets covering nearly 13 percent of U.S. television households (the “Northwest

Acquisition”). The Northwest Acquisition required the prior approval of the FCC.

       46.      All parties to this action have copies of the Northwest Acquisition Agreement.

Pursuant to 735 ILCS 5/2-606, DISH sets out the relevant portions of the Northwest Acquisition

Agreement herein and incorporates the full Northwest Acquisition Agreement by reference as if

fully set forth herein, and will file a true and correct copy of the Northwest Acquisition

Agreement as Exhibit 3.

       47.      On or around February 14, 2019, Terrier entered into a purchase agreement (the

“Camelot Purchase Agreement”) with Cox whereby certain Apollo subsidiaries and affiliates

would acquire interests in the Cox Stations (the “Cox Acquisition”). Defendants refer to the

agreement as the “Camelot Purchase Agreement” because certain Camelot-named affiliates of

Apollo were part of the transaction.




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       48.     All parties to this action have copies of the Camelot Purchase Agreement.

Pursuant to 735 ILCS 5/2-606, DISH sets out the relevant portions of the Camelot Purchase

Agreement herein and incorporates the full Camelot Purchase Agreement by reference as if fully

set forth herein, and will file a true and correct copy of the Camelot Purchase Agreement as

Exhibit 4.

       49.     The Cox Acquisition was also subject to FCC approval. The parties requested

FCC approval of the Northwest Acquisition on the same day as the Cox Acquisition by means of

a consolidated application on March 4, 2019. The FCC approved both transactions on the same

day—November 22, 2019. Finally, both transactions were consummated on the same day—

December 17, 2019. The FCC also approved the transfer of the relevant broadcasting licenses to

Terrier.

Apollo’s Broadcasting Assets at the Time of the Cox Acquisition.

       50.     The crux of this dispute is Apollo’s wrongful reliance upon the simultaneous

acquisition of another broadcast group by Apollo affiliates to try to engineer an early termination

of the Cox Retransmission Agreement. The mechanism on which Apollo relies is its concurrent

acquisition of the Northwest broadcast stations. Apollo argues that the Northwest Asset

Acquisition gives it the right to treat the Cox Stations as after-acquired under the Northwest

Agreement, and to treat the Cox Retransmission Agreement as terminated. As explained below,

this argument is incorrect both under the terms of the relevant contracts and because the

sequence of events does not support the argument. The Apollo affiliates that acquired the Cox

Stations did not own the Northwest stations at the time they acquired the Cox Stations (or at any

time for that matter), and as a result, Defendants cannot invoke the provisions of the Northwest

Retransmission Agreement to treat the Cox Retransmission Agreement as if it were terminated

when the Cox Stations were acquired.
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       51.     The acquisition of Northwest was described in the Northwest Acquisition

Agreement as being “concurrent” with the Cox acquisition:

       [C]oncurrently with the execution of this Agreement, Buyer and Cox Enterprises, Inc.,
       Cox Media Group, LLC, Cox Media Group Ohio, Inc. and Cox Radio, Inc. (collectively,
       “Cox”) are entering into a purchase agreement, pursuant to which Buyer, or one or more
       of its Affiliates, will purchase the Purchased Assets (as defined therein) and the Equity
       Interests (as defined therein) and will assume certain Assumed Liabilities (as defined
       therein). . . .

       52.     Moreover, under the terms of the Northwest Purchase Agreement, closing of the

Northwest Acquisition was “[s]ubject to the satisfaction or waiver of each of the conditions set

forth in Article 6.” And Article 6.3 of the Northwest Acquisition Agreement provided in

relevant part that “all of the conditions set forth in Article VI and Article VII of the Camelot

[Cox] Purchase Agreement shall have been satisfied or waived (other than those conditions that

by their nature are to be satisfied at the closing of the transactions contemplated by the Camelot

[Cox] Purchase Agreement (the “Camelot Closing”), each of which is capable of being satisfied

at the Camelot Closing).”

       53.     Under these conditions, the Cox Acquisition had to be capable of being completed

before the Northwest Acquisition could close.

       54.     DISH is informed and believes that the extraordinary web of transactions in which

Apollo engaged to subsequently consummate the acquisitions was attempted for no economic

purpose other than to deny DISH the right it negotiated under the Cox Retransmission

Agreement to have that same Cox Retransmission Agreement govern the Cox Stations when they

were acquired by affiliates of Terrier.

Cox Notifies DISH Regarding the Acquisition by Terrier.

       55.     In December 2019, Cox notified DISH that it was consummating a sale to Terrier

and that Cox’s rights under the Cox Retransmission Agreement would be transferred to Terrier.


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        56.     On or around December 7, 2019, Cox’s President Kim Guthrie sent a letter to

DISH regarding the Cox Retransmission Agreement. Ms. Guthrie represented that Cox “is in the

process of selling all or substantially all of the assets of [Cox] to Terrier Media Buyer, Inc . . . ”

She further stated that the transaction was expected to close in the fourth quarter of 2019. She

concluded by informing DISH “that effective as of the Closing Date, the right to grant

retransmission consent with respect to the Stations listed on Exhibit A hereto [the Cox Stations]

will be transferred to Terrier Media Buyer, Inc.” A true and correct copy of the letter will be

filed as Exhibit 5.

        57.     Terrier did not have a retransmission agreement with DISH. Therefore, if this is

what in fact occurred, the Cox Stations continue to be governed by the terms of the Cox

Retransmission Agreement pursuant to the change-in-control provision of Section 17 of the Cox

Retransmission Agreement.

Terrier and Cox Act to Circumvent the Cox Retransmission Agreement.

        58.     Instead of adhering to the terms of the Cox Retransmission Agreement, however,

Defendants Terrier and Cox devised a scheme to attempt to circumvent the Cox Retransmission

Agreement.

        59.     On or around December 13, 2019, counsel for NBI Holdings sent a notice to

DISH regarding a change in control under the Northwest Retransmission Agreement. A true and

correct copy of the letter will be filed as Exhibit 6.

        60.     Terrier then apparently arranged the Northwest and Cox acquisitions to close in

quick succession on December 17, 2019. Despite the “concurrent” language in the Northwest

Acquisition Agreement, Terrier takes the position that, because Cox’s stations were supposedly

acquired by an existing broadcaster rather than a private equity vehicle, they are subsumed



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within that broadcaster’s soon-to-expire retransmission agreement, and the Cox Retransmission

Agreement becomes a dead letter.

       61.      To effectuate that scheme, on or around December 20, 2019, counsel for NBI

Holdings sent a letter to DISH stating that NBI Holdings had acquired the Cox Stations. DISH

responded and requested confirmation. A true and correct copy of the letter will be filed as

Exhibit 7. DISH responded by email to the letter on December 23, 2019, asking NBI Holdings

to substantiate its claim because its claim contradicted multiple public sources about the Terrier

transactions.

       62.      On or around December 27, 2019, NBI Holdings counsel sent a follow-up letter

and draft presentation purporting to describe the legal steps in the Northwest transaction and the

Cox transaction. Although the details remain unclear, a presentation by Terrier’s deal counsel

was provided to DISH. That presentation suggests that the Cox Stations came to be held by

Camelot and the Northwest entities came to be held by NBI Holdings. In turn, NBI Holdings is

directly owned by Terrier. True and correct copies of the letter and draft presentation will be

filed as Exhibit 8 under seal. Indeed, these documents support the position that the Apollo

affiliates that acquired the Cox Stations did not own the Northwest stations at the time they

acquired the Cox Stations (or at any time for that matter).

       63.      Neither Terrier nor Camelot had an existing retransmission agreement with DISH.

This means that neither the prospective purchaser of the Cox Stations nor the apparent current

owner of the Cox Stations had an existing retransmission agreement with DISH at the time of the

Cox acquisition.

       64.      Moreover, neither the letter nor the presentation by deal counsel shows the actual

structure of the transactions. Accordingly, DISH responded that it would not be able to treat the



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Cox Stations as after-acquired stations subject to the Northwest Retransmission Agreement. A

true and correct copy of DISH’s response will be filed as Exhibit 9.

       65.     On or around December 30, 2019, DISH requested information to confirm the

timing of the transactions. Counsel for NBI Holdings agreed to provide additional information.

To date, however, NBI Holdings has not demonstrated either that the Cox Stations were actually

acquired by the owner of the Northwest stations or that the Cox Stations were acquired after the

acquisition of the Northwest stations.

       66.     Last week, Defendants started to run a “crawl” message on the Cox Stations

stating that DISH would lose its Cox Stations soon because “it has refused to agree to reasonable

terms for the valuable programming we provide.”

       67.     On January 10, 2020, Defendants reiterated the position that the Cox Stations also

are subject to the Northwest Transmission Agreement and that, if DISH does not reach a new

retransmission consent agreement for the Cox Stations, they must “go dark” soon.

Defendants Are Acting in Bad Faith.

       68.     Defendants have engaged in bad-faith conduct to conceal their maneuverings and

have constructed a façade of transactions in an effort to obscure the end result, which is their

attempt to avoid the remaining two years of the Cox Retransmission Agreement and create an

unfair opportunity to increase the retransmission fees that DISH previously negotiated with

Cox—all at the expense of DISH customers whose television screens are about to go dark.

       69.     If the Cox Stations were sold directly to Camelot (which appears to be the case),

they would be subject to the Cox Retransmission Agreement. This is because the new owner

(Camelot) did not have an existing retransmission agreement with DISH and, therefore, was

obligated to take the Cox Stations subject to the terms of the Cox Retransmission Agreement.

That agreement does not expire for more than two years.
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        70.     Instead, Terrier and NBI Holdings have contended that the Cox Stations were

acquired by NBI Holdings and are subject to the Northwest Retransmission Agreement. But the

documents provided by Defendants are not consistent with the position that Defendants have

taken regarding the acquisitions of Cox and Northwest.

        71.     For example, nowhere does the Northwest Acquisition Agreement, the Camelot

Purchase Agreement, or any other transaction document suggest that Northwest was involved in

the purchase of the Cox assets.

        72.     In this circumstance, the change-in-control provision of Section 17 of the Cox

Retransmission Agreement requires that the terms of the Cox Retransmission Agreement

continue to apply to the Cox Stations and their new owner, whether that be Terrier, Camelot, or

another of Terrier’s subsidiaries or affiliates.

        73.     The terms of the two agreements show that they were intended to be part of the

same unitary transaction.

               a. The Northwest Acquisition Agreement specifies that the two agreements were

                    executed “concurrently.”

               b.   The Northwest transaction could not close until after Cox and Terrier had

                    obtained the rights to close their transaction.

               c.   While the Northwest Acquisition Agreement contemplates closing

                    “immediately prior to . . . the closing of the transactions contemplated by the

                    Camelot [Cox] Purchase Agreement,” the ability to close the Camelot Purchase

                    Agreement is a condition precedent to the obligations of the Buyer (Terrier)

                    and the Sellers (Northwest’s owners) for the Northwest Acquisition

                    Agreement.



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              d. The Northwest Acquisition Agreement could not be amended or modified

                 without the prior written consent of Cox.

              e. The Camelot Purchase Agreement provides “for the avoidance of doubt, that

                 the consummation of the transactions contemplated by the Northwest

                 Acquisition Agreement shall not be a condition to Buyer’s obligation to

                 consummate the Closing.”

       74.     In addition, both purchase agreements were actually executed on the same day,

were the subject of the same application filed with the FCC, were approved by the FCC in the

same decision, and were consummated on the same day.

       75.     In any event, the Cox Stations were not even acquired by Terrier (the Apollo

entity that acquired the interests in the Northwest stations). While the Camelot Purchase

Agreement provides for Terrier to acquire these interests, an assignment agreement dated

December 16, 2019 assigns to the Camelot subsidiaries pre-closing Terrier’s contractual rights to

the Cox Stations. This means that the Cox Stations were never acquired by an entity in which

the Northwest stations were housed.

DISH Will Suffer Irreparable Harm.

       76.     DISH will suffer irreparable harm unless the status quo is preserved under the

Cox Retransmission Agreement.

       77.     Unless Defendants are restrained, they will act today to deprive DISH of its rights

under the Cox Retransmission Agreement. This will prevent DISH from offering ABC, CBS,

NBC, or Fox programming to the ten major U.S. markets covered by the Cox Retransmission

Agreement, which means that DISH subscribers in these markets will suddenly lose access to

their favorite TV programming—such as the popular live sports, hit shows, and other marquee

events offered by the Big Four networks.
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        78.     These stations, however, will continue to be available from DISH’s competitors,

including cable systems, DIRECTV, and online video distributors. Thus, many subscribers are

likely to leave DISH and switch to a competitor in order to continue receiving their favorite

programming. Indeed, DISH has already begun to experience call volume and some customer

loss in response to the “crawl” messages on the Cox Stations.

        79.     Additional harm will be suffered by DISH’s subscribers. Those who remain with

DISH will be deprived of programming, including live events such as sporting events that only

happen once. Those who leave DISH will face the burdens of switching and may be locked into

more expensive long-term contracts with other MVPDs who are not their first choice.

        80.     Defendants, on the other hand, will not be harmed irreparably if the status quo is

preserved. This is because DISH has paid, and will continue to pay, the monthly retransmission

fees under the Cox Retransmission Agreement for the balance of its term.

                                             CLAIMS

                                            COUNT I
                                        (All Defendants)
                                      Declaratory Judgment

        81.     DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        82.     Pursuant to Section 5/2-701 of the Illinois Code of Civil Procedure, this Court has

the power to grant declaratory judgments, making “binding declarations of rights, having the

force of final judgments . . . .”

        83.     The Cox Retransmission Agreement is a valid and enforceable contract to which

Cox is a party and under which Cox owes duties to DISH.




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        84.     Cox’s duties with respect to the Cox Stations transferred to, and became legally

binding on, Camelot by virtue of the change-in-control and assignment terms of the Cox

Retransmission Agreement.

        85.     No Defendant has a right to interfere with or avoid the Cox Retransmission

Agreement.

        86.     Therefore, DISH is entitled to a declaration that the terms of the Cox

Retransmission Agreement remain in force with respect to the Cox Stations through its full term.


                                          COUNT II
                                       (Cox, Camelot)
                  Specific Performance of the Cox Retransmission Agreement

        87.     DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        88.     The Cox Retransmission Agreement is a valid and enforceable contract to which

Cox is a party and under which Cox owes duties to DISH.

        89.     DISH has performed all of its obligations under the Cox Retransmission

Agreement.

        90.     Cox’s duties with respect to the Cox Stations transferred to, and became legally

binding on, Camelot by virtue of the change-in-control and assignment terms of the Agreement.

        91.     Cox and Camelot have breached the retransmission rights granted to DISH under

Section 3 of the Cox Retransmission Agreement with respect to the Cox Stations by taking

actions that deprive DISH of the ability to retransmit those stations for the full term of the

Agreement.

        92.     Cox and Camelot have also prevented DISH from performing its retransmission

obligations under Section 6 of the Cox Retransmission Agreement.

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        93.     DISH has no adequate remedy at law. Money damages will not adequately

compensate DISH. Unless Cox and Camelot are enjoined, DISH will suffer irreparable harm

caused by these breaches of the Cox Retransmission Agreement.

        94.     Accordingly, DISH is entitled to an injunction and specific performance of the

Cox Retransmission Agreement.


                                            COUNT III
                                          (Cox, Camelot)
                           Breach of the Cox Retransmission Agreement


        95.     DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        96.     The Cox Retransmission Agreement is a valid and enforceable contract to which

Cox is a party and under which Cox owes duties to DISH.

        97.     DISH has performed all of its obligations under the Cox Retransmission

Agreement.

        98.     Cox’s duties with respect to the Cox Stations transferred to, and became legally

binding on, Camelot by virtue of the change-in-control and assignment terms of the Cox

Retransmission Agreement.

        99.     Cox and Camelot have breached the retransmission rights granted to DISH under

Section 3 of the Cox Retransmission Agreement with respect to the Cox Stations by taking

actions that deprive DISH of the ability to retransmit those stations for the full term of the Cox

Retransmission Agreement.

        100.    Cox and Camelot have also prevented DISH from performing its retransmission

obligations under Section 6 of the Cox Retransmission Agreement.



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        101.    Cox and Camelot’s breaches of the Cox Retransmission Agreement have caused

damages to DISH.

        102.    DISH is entitled to an injunction and specific performance of the Cox

Retransmission Agreement, or in the alternative, DISH is entitled to money damages in an

amount to be determined at trial.

                                           COUNT IV
                                              (Cox)
                           Breach of the Cox Retransmission Agreement

        103.    DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        104.    The Cox Retransmission Agreement is a valid and enforceable contract to which

Cox is a party and under which Cox owes duties to DISH.

        105.    DISH has performed all of its obligations under the Cox Retransmission

Agreement.

        106.    Cox breached the representation and warranty of Section 12(b)(iii) that “no third

party has or has claimed any right that would be inconsistent with the rights granted to DISH in

this Agreement.” Cox knew, or should have known, that Terrier’s acquisition of Cox was at

least inconsistent with the rights granted to DISH.

        107.    Cox also breached the covenant of Section 12(c)(ii) that it “will maintain, at all

times during the Term, all licenses, permits, rights, exemptions, authorizations and consents

necessary to fully perform this Agreement.” Instead, Cox has acted to prevent full performance

of the Cox Retransmission Agreement.

        108.    Cox’s breaches of its warranties and covenants under the Cox Retransmission

Agreement have caused damages to DISH in an amount to be determined at trial.



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                                            COUNT V
                                              (Cox)
                          Breach of Duty of Good Faith and Fair Dealing

        109.      DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        110.      Cox has exercised its contractual rights in a way that deprives DISH of the benefit

of its bargain.

        111.      Specifically, Cox engaged in a sale of the Cox Stations that was and is intended to

deprive DISH of (i) its retransmission rights under the Cox Retransmission Agreement and (ii)

its rights under the change-in-control and assignment provisions of the Agreement in the event of

new ownership of the Stations.

        112.      Cox has assisted the other Defendants in thwarting the purpose of the Cox

Retransmission Agreement, which was to establish the pricing and other terms by which DISH

would be able to retransmit the Cox Stations for the full term of the Agreement.

        113.      Cox’s conduct breaches not only its express contractual obligations but also the

implied obligations that a reasonable person in DISH’s position would be justified in

understanding were included in the Cox Retransmission Agreement.

        114.      Cox’s breach of its duty of good faith and fair dealing has caused damages to

DISH in an amount to be determined at trial.


                                           COUNT VI
                                     (Terrier, NBI Holdings)
                  Tortious Interference with the Cox Retransmission Agreement


        115.      DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.



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        116.     The Cox Retransmission Agreement is a valid and enforceable contract to which

Cox is a party and under which Cox owes duties to DISH.

        117.     Terrier and NBI Holdings had knowledge of the Cox Retransmission Agreement

and its terms.

        118.     As set forth above, Cox and Camelot breached their obligations under the Cox

Retransmission Agreement.

        119.     The conduct of Terrier and NBI Holdings, as set forth above, constitutes

intentional procurement of these breaches of the Cox Retransmission Agreement, without

justification.

        120.     DISH has no adequate remedy at law. Money damages will not adequately

compensate DISH. Unless Terrier and NBI Holdings are enjoined, DISH will suffer irreparable

harm caused by these breaches of the Cox Retransmission Agreement.

        121.     Alternatively, because of the damages caused to DISH by these breaches of the

Cox Retransmission Agreement and by Terrier and NBI Holding’s unjustified interference

therewith, DISH is entitled to damages in an amount to be determined at trial.


                                            Count VII
                                         (All Defendants)
                                        Unfair Competition

        122.     DISH restates and incorporates all of the foregoing paragraphs of the Complaint

as if set forth fully herein.

        123.     DISH’s rights with respect to the Cox Stations have commercial value, as

demonstrated by the fact that DISH pays for them and uses them to generate revenues from

subscribers.




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       124.    Defendants have engaged in unfair competition by knowingly and intentionally

misappropriating DISH’s rights—specifically by acting to deprive DISH of (i) its retransmission

rights with respect to the Cox Stations and (ii) its rights under the change-in-control and

assignment provisions of the Cox Retransmission Agreement.

       125.    Defendants’ conduct has adversely affected, and will continue to adversely affect,

the operations of DISH. Defendants are threatening to “black out” the four major networks in

ten of DISH’s markets, which will harm DISH and cause its subscribers to leave.

       126.    On information and belief, Defendants’ unfair competition is willful, deliberate,

and in bad faith.

       127.    DISH has no adequate remedy at law. Defendants’ conduct has caused, and if not

enjoined, will continue to cause, immediate and irreparable damage to DISH.

       128.    DISH is entitled to injunctive relief to prevent Defendants from engaging in

further acts of unfair competition.

       129.    Alternatively, DISH is entitled to damages in an amount to be proven at trial.


                                      PRAYER FOR RELIEF

WHEREFORE, DISH respectfully requests that the Court enter judgment in favor of DISH and
against Defendants and issue an order as follows:

       1.      Granting all relief requested in this Complaint;

       2.      Declaring that the terms of the Cox Retransmission Agreement remain in force
               with respect to the Cox Stations through its full term;

       3.      Ordering specific performance of the Cox Retransmission Agreement;

       4.      Enjoining Defendants from continuing to breach the terms of the Cox
               Retransmission Agreement and enjoining them from depriving DISH of its
               retransmission rights with respect to the Cox Stations;

       5.      Enjoining Terrier and NBI Holdings from continuing to tortiously interfere with
               the Cox Retransmission Agreement;

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       6.     Alternatively, if specific performance is not ordered, awarding DISH actual,
              incidental, and consequential damages for Defendants’ breaches of and tortious
              interference with the Cox Retransmission Agreement;

       7.     Awarding DISH interest, attorneys’ fees, and costs; and

       8.     Ordering such other and further relief as the Court may deem appropriate.


Dated: January 15, 2020                            Respectfully submitted,

                                                   /s/ Michael Dockterman
                                                   Michael Dockterman (ARDC #: 3121675)
                                                   STEPTOE & JOHNSON LLP (Firm ID:
                                                   43315)
                                                   227 West Monroe, Suite 4700
                                                   Chicago, Illinois 60606
                                                   Telephone: (312) 577-1243
                                                   Fax: (312) 577-1370

                                                   Attorney for Plaintiff DISH Network L.L.C.




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                                        VERIFICATION

        I hereby verify that I have read the attached Verified Complaint. Under penalties by law
pursuant to Section 1-109 of the Code of Civil Procedure, the undersigned certifies that the
statements set forth in this Complaint are true and correct, except as to matters therein stated to
be on information and belief and as to such matters the undersigned certifies as aforesaid that he
verily believes them to be true.


Date: January 15, 2020                                By:


                                                      Name: ______________________________
                                                             Andrew LeCuyer

                                                      Title: _______________________________
                                                              SVP, Programming


                                                      For Plaintiff DISH Network L.L.C.




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                 EXHIBIT 1
               (Exhibit Filed Under Seal)
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                 EXHIBIT 2
               (Exhibit Filed Under Seal)
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                 EXHIBIT 3
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                                                                    Execution Version




                             PURCHASE AGREEMENT


                             Dated as of February 14, 2019

                                        by and

                                        among

                                 Cox Enterprises, Inc.,

                               Cox Media Group, LLC,

                             Cox Media Group Ohio, Inc.,

                                    Cox Radio, Inc.

                                          and

                               Terrier Media Buyer, Inc.




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                                 PURCHASE AGREEMENT

        THIS PURCHASE AGREEMENT (this “Agreement”) is made as of February 14, 2019,
by and among Cox Enterprises, Inc., a Delaware corporation (“Parent”), Cox Media Group, LLC,
a Delaware limited liability company (“CMG”), Cox Media Group Ohio, Inc., a Delaware
corporation (“Cox Ohio”), Cox Radio, Inc., a Delaware corporation (“Cox Radio” and, together
with Parent, CMG and Cox Ohio, each, a “Seller” and collectively, the “Sellers”), on the one hand,
and Terrier Media Buyer, Inc., a Delaware corporation (“Buyer”), on the other hand. For the
purposes of this Agreement, Buyer and Sellers each may be referred to as a “Party” and together
as the “Parties.”

                                             Recitals

        WHEREAS, Sellers collectively own all of the issued and outstanding equity interests in
the companies set forth in Exhibit A hereto (the “Acquired Companies”), which, in turn, directly
or indirectly through a wholly owned subsidiary own and operate the television broadcast stations
listed on Exhibit A hereto (the “TV Stations”), pursuant to certain licenses, permits and other
authorizations issued by the Federal Communications Commission (the “FCC”);

        WHEREAS, Cox Radio owns and operates the radio stations listed on Exhibit B hereto
(collectively, the “Dayton Radio Stations”), pursuant to certain licenses, permits and other
authorizations issued by the FCC;

        WHEREAS, Cox Ohio owns and operates the Dayton Daily News and the related
community publications and online, digital and mobile publications listed on Exhibit C hereto
(collectively, the “Dayton Newspapers”);

        WHEREAS, to effect the sale of the TV Stations, the Dayton Radio Stations and the Dayton
Newspapers and the business related thereto to Buyer, Sellers desire to sell and transfer to Buyer,
and Buyer desires to purchase and acquire from Sellers, the Equity Interests (as defined herein)
and the Purchased Assets (as defined herein), pursuant to the terms and subject to the conditions
set forth in this Agreement;

       WHEREAS, concurrently with the execution and delivery of this Agreement, and as
consideration for Sellers entering into this Agreement, the Equity Investors (as defined therein)
and Buyer have entered into an equity commitment letter, dated as of the date hereof (the “Equity
Commitment Letter”), a copy of which is attached hereto as Exhibit D-1;

        WHEREAS, concurrently with the execution and delivery of this Agreement, Buyer has
delivered to Sellers a limited guarantee (the “Limited Guarantee”), a copy of which is attached
hereto as Exhibit D-2, from the Guarantors (as defined therein) pursuant to which the Guarantors
have guaranteed certain of Buyer’s obligations under this Agreement; and

        WHEREAS, at or prior to the Closing, Sellers intend to implement the Pre-Closing
Restructuring in order to facilitate the Transactions (as defined herein) and the consummation of
the transactions contemplated hereby, pursuant to the terms and subject to the conditions set forth
in this Agreement.



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                                              Agreement

        NOW, THEREFORE, in consideration of the mutual representations, warranties,
covenants and agreements set forth herein, and for other good and valuable consideration, the
receipt and sufficiency of which is hereby acknowledged, the Parties, intending to be legally
bound, hereby agree as follows:

                                          ARTICLE 1
                                      PURCHASE AND SALE

              1.1      Purchase and Sale. Subject to and upon the terms and conditions set forth
in this Agreement, at the Closing:

                (a)     Equity Sale. Sellers shall sell, transfer, convey, assign and deliver to Buyer,
and Buyer shall purchase, acquire and accept from Sellers, the Equity Interests, in each case, free
and clear of all Liens.

                (b)     Asset Sale.

                         (i)     Transfer of Purchased Assets; Retention of Excluded Assets. Sellers
shall sell, transfer, convey, assign and deliver to Buyer, and Buyer shall purchase, acquire and
accept from Sellers, all right, title and interest of Sellers in the Purchased Assets, in each case, free
and clear of all Liens, other than Permitted Liens. Notwithstanding anything herein to the contrary,
Sellers shall retain, and Buyer shall not purchase or acquire hereunder, the Excluded Assets.

                       (ii)    Assumed Liabilities and Excluded Liabilities. Buyer shall assume
and shall pay, perform and discharge all Liabilities of Sellers (other than the Acquired Companies)
in respect of or arising in connection with the Purchased Assets or, if accrued prior to Closing,
primarily related to the conduct of the Business, and if accruing following the Closing, related to
the conduct of the Business, including all Liabilities whether arising before, at or after the Effective
Time with respect to the Assumed Contracts (collectively, and without duplication, the “Assumed
Liabilities”). Notwithstanding the foregoing, Buyer shall not be successor to Sellers or their
Affiliates and shall not assume and shall not be responsible to pay, perform or discharge any of
the Excluded Liabilities. Sellers shall retain, pay, perform and discharge the Excluded Liabilities.

               1.2      Purchase Price. The aggregate consideration to be paid to Sellers for the
sale of the Equity Interests and the Purchased Assets to Buyer shall be $3,100,000,000 (the “Base
Consideration”), as increased or decreased on a dollar-for-dollar basis for the cumulative net
adjustments required by the following (as adjusted, the “Purchase Price”): (i) the Base
Consideration shall be increased by the amount, if any, by which the Net Working Capital exceeds
the Target Net Working Capital; (ii) the Base Consideration shall be decreased by the amount, if
any, by which the Net Working Capital is less than the Target Net Working Capital; (iii) the Base
Consideration shall be decreased by an amount equal to the Company Transaction Expenses; (iv)
the Base Consideration shall be decreased by an amount equal to the Indebtedness Payoff Amount,
to the extent not included in the foregoing clause (iii); and (v) the Base Consideration shall be
decreased by an amount equal to the value of any rollover equity or assets as set forth in the
Contribution Agreement entered into pursuant to Section 5.17.


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                1.3     Closing.

                (a)     Subject to any prior termination of this Agreement pursuant to Section 10.1,
the consummation of the sale and purchase of the Equity Interests and the Purchased Assets, and
the assumption of the Assumed Liabilities (the “Closing”), shall take place at the offices of
Eversheds Sutherland (US) LLP, 999 Peachtree Street, Atlanta, Georgia 30309 at 10:00 a.m.
Atlanta, Georgia time on the third (3rd) Business Days following the date upon which the last of
the conditions set forth in Article 6 and Article 7 (other than those conditions that are to be satisfied
by action taken at the Closing, but subject to the satisfaction or waiver of such conditions at the
Closing) have been satisfied (or, to the extent permitted, waived by the Parties entitled to the
benefits thereof) or at such other place, time and date as may be agreed among Sellers and Buyer;
provided, that notwithstanding the satisfaction or waiver of the conditions set forth in Article 6
and Article 7, if the Marketing Period has not ended at the time of the satisfaction or waiver (to
the extent permitted hereunder) of the last to be satisfied or waived of the conditions set forth in
Article 6 and Article 7 (other than those conditions that by their nature can be satisfied only on the
Closing Date (as defined below)), then the Closing will occur on the earlier of (i) any Business
Day during the Marketing Period specified by Buyer to Sellers on no less than three (3) Business
Days’ prior written notice to Sellers and (ii) the third (3rd) Business Day following the final day
of the Marketing Period (subject, in the case of each of (i) and (ii), to the satisfaction or waiver (to
the extent permitted hereunder) of all of the conditions set forth in Article 6 and Article 7, other
than those conditions that by their nature can be satisfied only on the Closing Date, but subject to
the satisfaction or waiver (to the extent permitted hereunder) of such conditions). The date on
which the Closing occurs is referred to herein as the “Closing Date.”

                (b)     At the Closing:

                         (i)    Buyer shall pay, or cause to be paid, to Sellers an amount equal to
the Estimated Purchase Price as determined pursuant to Section 1.4(a), by wire transfer of
immediately available funds pursuant to the wire transfer instructions provided by Sellers to Buyer
in writing at least three (3) Business Days prior to the Closing Date; and

                       (ii)     Sellers shall deliver to Buyer the instruments, certificates and other
documents required to be provided by each of them in Section 8.1, and Buyer shall deliver to
Sellers the instruments, certificates and other documents required to be provided by it in Section
8.2.

                1.4     Purchase Price Adjustment.

               (a)     No later than the fifth (5th) Business Day prior to the anticipated Closing
Date, Sellers shall prepare and deliver to Buyer a written statement (the “Estimated Closing
Statement”) setting forth in reasonable detail (i) Sellers’ good faith estimates of the Net Working
Capital, Company Transaction Expenses and Indebtedness Payoff Amount, (ii) a calculation of the
Purchase Price based on such estimates (such amount the “Estimated Purchase Price”) and (iii)
supporting documentation upon which Sellers based their good faith estimates and any other
relevant information reasonably requested by Buyer. Sellers shall consider in good faith, and
consult with Buyer regarding, any comments on the Estimated Closing Statement that are
submitted by Buyer on or before the second (2nd) Business Day prior to the Closing Date. For the


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avoidance of doubt, if Sellers disagree with any such comments, the position of Sellers with respect
to such comments shall control for purposes of the calculation of the Estimated Purchase Price;
provided, that no such failure to agree shall prejudice or limit Buyer’s rights pursuant to this
Section 1.4.

                  (b)    Within ninety (90) calendar days after the Closing Date, Buyer shall prepare
and deliver to Sellers a written statement (the “Closing Statement”) setting forth Buyer’s good
faith determination of (i) the actual amounts of the Net Working Capital, Company Transaction
Expenses and Indebtedness Payoff Amount and (ii) a calculation of the Purchase Price based on
such amounts. The Closing Statement and the determination of calculations set forth therein shall
become final and binding upon the Parties on the thirtieth (30th) calendar day after the date upon
which such Closing Statement is received by Sellers (such 30-day period, the “Objection Period”),
unless Sellers deliver to Buyer written notice that they dispute the calculation, preparation or
content of the Closing Statement (an “Objection Notice”) prior to the end of such Objection Period.
The Objection Notice shall specify in reasonable detail the nature and amount of any dispute so
asserted; provided, that such Objection Notice shall be limited to mathematical errors and that the
accounting principles, practices, methodologies and policies used in preparing the Closing
Statement were inconsistent with the Agreed Accounting Principles. Any amount contained in the
Closing Statement that is not specifically disputed in the Objection Notice shall be final and
binding on the Parties as set forth in the Closing Statement. If an Objection Notice is delivered to
Buyer prior to the end of the Objection Period, then the Closing Statement and the determination
of calculations set forth therein (as revised in accordance with clause (i) or (ii) below) shall become
final and binding upon the Parties on the earlier to occur of (i) the date Buyer and Sellers resolve
in writing any differences they have with respect to the matters specified in the Objection Notice
or (ii) the date any disputed matters are finally resolved by the Accounting Firm as provided below.
The Purchase Price as set forth in the version of the Closing Statement that becomes final and
binding on the Parties in accordance with this Section 1.4(b) is referred to herein as the “Final
Purchase Price.”

                (c)     From the Closing until such time as all matters set forth in the Objection
Notice, if any, have been fully and finally resolved in accordance herewith, each Party shall (i)
maintain and provide to the other Party and their respective advisors and representatives reasonable
access to all documents and other information utilized by such Party and its representatives and
advisors in connection with Buyer’s preparation of the Closing Statement and Sellers’ preparation
of the Objection Notice (and the resolution any disputes thereunder), as applicable, including all
financial statements, work papers, schedules, accounts, analysis and books and records relating to
the Closing Statement as was utilized by Buyer in connection with preparation of the Closing
Statement and the Objection Notice as was utilized by Sellers in connection with preparation of
the Objection Notice, as applicable; (ii) provide the other Party and their representatives and
advisors reasonable access to such employees, auditors, advisors and representatives who
participated in the preparation or review of, or otherwise have relevant knowledge concerning, the
Closing Statement or the Objection Notice, as applicable; and (iii) reasonably cooperate with the
other Party in providing the information and personnel reasonably required by such Party to
resolve the matters set forth in the Objection Notice; provided, that any access provided to the
Parties pursuant to this Section 1.4(c) shall be (w) subject to executing customary confidentiality
agreements and access letters, as applicable, (x) during regular business hours, (y) with no less
than two (2) Business Days’ prior written notice to the other Party and (z) in a manner which will

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not unreasonably interfere with the operation of the Business. Notwithstanding the foregoing, the
Parties may withhold any document (or portions thereof) or information (A) that is subject to the
terms of a nondisclosure agreement or undertaking with a third party, (B) that may constitute
privileged attorney-client communications or attorney work product, the transfer of which, or the
provision of access to which, as determined in good faith by such Party after consultation with
counsel, would reasonably be expected to risk a waiver of such privilege or (C) if the provision of
access to such document (or portion thereof) or information, as determined by such Party in good
faith after consultation with counsel, would reasonably be expected to conflict with applicable
Law; provided, that the Parties shall use their respective commercially reasonable efforts to cause
such information to be provided in a manner that would not violate the foregoing. The rights of
each Party under this Agreement shall not be prejudiced by the failure of the other Party to comply
with this Section 1.4(c).

                (d)     In the event that Sellers provide an Objection Notice to Buyer prior to the
end of the Objection Period, then Sellers and Buyer shall, within twenty (20) calendar days
following Sellers’ delivery of such Objection Notice (such 20-day period, the “Dispute Resolution
Period”), in good faith seek to resolve the items disputed in the Objection Notice. All negotiations
pursuant to this Section 1.4 shall be treated as compromise and settlement negotiations for
purposes of Rule 408 of the Federal Rules of Evidence and comparable state rules of evidence,
and all negotiations and submissions to the Accounting Firm (as defined below) shall be treated as
confidential information; provided, however, that compromised offers and negotiations pursuant
to this Section 1.4 shall not be treated as compromise offers and negotiations for purposes of Rule
408 of the Federal Rules of Evidence and comparable state rules of evidence to the extent offered
for purposes of establishing performance of, or the failure to perform, this Section 1.4.

                (e)     If, during the Dispute Resolution Period, Sellers and Buyer resolve their
differences in writing as to any disputed amount, such resolution shall be deemed final and binding
with respect to such amount for the purpose of determining that component of the Final Purchase
Price. In the event that Sellers and Buyer do not resolve all of the items disputed in the Objection
Notice prior to the end of the Dispute Resolution Period, all such unresolved disputed items shall
be submitted by Buyer or Sellers to PricewaterhouseCoopers (the “Accounting Firm”) for
resolution, and Buyer and each Seller shall promptly sign an engagement letter with the
Accounting Firm in a form customary for an engagement of this type. The Accounting Firm shall
determine only those items still in dispute, and for each such item shall determine a value within
the range of values submitted therefor by Buyer and Sellers in the Closing Statement and the
Objection Notice, respectively. As promptly as practicable, and in any event not more than fifteen
(15) calendar days following the engagement of the Accounting Firm, Buyer and Sellers shall each
prepare and submit a written presentation detailing each Party’s complete statement of proposed
resolution of each issue still in dispute to the Accounting Firm (it being understood that the content
of each such presentation shall be limited to whether the Net Working Capital, Company
Transaction Expenses and Indebtedness Payoff Amount were properly calculated in accordance
with the Agreed Accounting Principles, the proposed resolution of each disputed issue by such
Party and reasonable supporting detail for the foregoing); provided, that such disputed issues shall
be limited to those items and amounts listed in the Objection Notice that remain unresolved. The
Accounting Firm shall deliver to Buyer and Sellers a written determination based on the standards
and definitions set forth in the Agreed Accounting Principles and this Agreement (such
determination to include a work sheet setting forth all material calculations used in arriving at such

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determination and to be based solely on information provided to the Accounting Firm by Buyer
and Sellers) of the disputed amounts within thirty (30) calendar days of submission to the
Accounting Firm of such disputed amounts (such 30-day period, the “Adjudication Period”),
which determination shall be final and binding and shall be the exclusive remedy with respect to
the matters addressed therein. In the event that either Buyer or Sellers fail to submit their
respective statement regarding any items remaining in dispute within the fifteen (15) calendar days
following the engagement of the Accounting Firm, then the Accounting Firm shall render a
decision based solely on the information timely submitted to the Accounting Firm by Buyer and
Sellers. Notwithstanding the foregoing, if either Party prevents the other Party from obtaining
access to any information that such Party has reasonably requested pursuant to this Section 1.4, or
if a Party otherwise fails to provide such information on a timely basis after receiving a reasonably
specific request for access from the other Party, the Accounting Firm shall have the authority, in
its sole discretion, to (i) extend the Adjudication Period for such reasonable amount of time as the
Accounting Firm deems equitable; (ii) direct that the withholding Party promptly provide the other
Party with such access as the Accounting Firm deems equitable; and/or (iii) render a decision
adverse to the withholding Party in respect of any issue or amount that the Accounting Firm deems
equitable given the information that has been withheld; provided, the Parties may withhold any
document (or portions thereof) or information (A) that is subject to the terms of a nondisclosure
agreement or undertaking with a third party, (B) that may constitute privileged attorney-client
communications or attorney work product, the transfer of which, or the provision of access to
which, as determined in good faith by such Party after consultation with counsel, would reasonably
be expected to risk a waiver of such privilege or (C) if the provision of access to such document
(or portion thereof) or information, as determined by such Party in good faith after consultation
with counsel, would reasonably be expected to conflict with applicable Law; provided, further,
that the Parties shall use their respective commercially reasonable efforts to cause such information
to be provided in a manner that would not violate the foregoing.

                (f)    In the event that the Final Purchase Price is less than the Estimated Purchase
Price, Sellers shall pay to Buyer an amount equal to such difference in the manner provided in
Section 1.4(g). In the event that the Final Purchase Price is greater than the Estimated Purchase
Price, Buyer shall pay to Sellers an amount equal to such difference in the manner provided in
Section 1.4(g).

               (g)     All payments to be made pursuant to Section 1.4(f) hereof shall be made on
the second (2nd) Business Day following the date on which the Closing Statement becomes final
and binding on the Parties in accordance with Section 1.4(b). All payments made pursuant to this
Section 1.4(g) shall be made via wire transfer of immediately available funds to such account or
accounts as shall be designated in writing by the recipient, without interest.

               (h)     All fees and expenses relating to the work, if any, to be performed by the
Accounting Firm shall be allocated between Buyer, on the one hand, and Sellers, on the other hand,
in the same proportion that the aggregate amount of the disputed items so submitted to the
Accounting Firm that are unsuccessfully disputed by such Party (as finally determined by the
Accounting Firm) bears to the total amount of the disputed items so submitted. Buyer, on the one
hand, and Sellers, on the other hand, shall each pay one-half of any indemnification payments due
to the Accounting Firm pursuant to the terms of the Accounting Firm’s engagement hereunder.


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              (i)     The Estimated Closing Statement and the Closing Statement and the
determinations and calculations contained therein will be prepared and calculated using the Agreed
Accounting Principles.

               (j)     For Tax purposes, any payments pursuant to Section 1.4(g) shall be treated
as adjustments to the Purchase Price to the extent permitted by applicable Law.

                  1.5    Allocation; Asset Sale. As soon as reasonably practicable after the Closing
Date, Buyer shall prepare and deliver to Sellers an allocation of the Final Purchase Price (and any
liabilities treated as part of the purchase price for tax purposes) among the Purchased Assets and
the Equity Interests and then, further, among the Purchased Assets and the assets of the Acquired
Companies that are deemed acquired for U.S. federal income tax purposes, as a result of Section
338(h)(10) Elections or otherwise, consistent with Section 1060 of the Code (the “Allocation
Schedule”). Within thirty (30) days following Sellers’ receipt of such Allocation Schedule, Sellers
will deliver a written notice to Buyer setting forth in reasonable detail any dispute Sellers have
with respect to the preparation or content of the Allocation Schedule. If Sellers do not deliver any
written notice of objection to the Allocation Schedule within such 30-day period, the Allocation
Schedule shall be final, conclusive and binding on all Parties. If a written notice of objection is
timely delivered to Buyer, Sellers and Buyer will negotiate in good faith for a period of twenty
(20) days to resolve such dispute; (the “Allocation Dispute Resolution Period”). If, during the
Allocation Dispute Resolution Period, Sellers and Buyer resolve their differences in writing as to
any disputed amount, such resolution shall be deemed final and binding with respect to such
amount for the purpose of determining that component of the Allocation Schedule. In the event
that Sellers and Buyer do not resolve all of the items disputed in the Allocation Schedule prior to
the end of the Allocation Dispute Resolution Period, all such unresolved disputed items shall be
submitted by Sellers or Buyer to the Accounting Firm for resolution in accordance with the
procedures of Section 1.4(e), mutatis mutandis (except that the fees, costs and expenses of the
Accounting Firm shall be borne equally by Buyer, on the one hand, and Sellers, on the other hand).
Sellers and Buyer shall report the allocation of the Final Purchase Price in a manner consistent
with the Allocation Schedule as finally determined hereunder, including in preparing and filing
IRS Form 8594 or any comparable form under state or local Tax law, and neither party shall take
any position in any Tax proceeding that is inconsistent therewith, in each case, except to the extent
otherwise required pursuant to a “determination” within the meaning of Section 1313(a) of the
Code (or any similar provision of applicable state, local or foreign Law). Any subsequent
adjustments to purchase price shall be allocated in a manner consistent with the Allocation
Schedule as finally determined hereunder.

                1.6     Withholding. Buyer shall be entitled to deduct and withhold from any
amounts payable pursuant to this Agreement such amounts as are required under the Code or other
applicable Tax law to be deducted and withheld; provided, however, that Buyer shall (i) provide
written notice of such withholding at least fifteen (15) Business Days prior to such withholding
together with an explanation of the relevant legal requirement that requires such withholding and
(ii) upon the request of Sellers, cooperate with Sellers to reduce or eliminate such withholding.
Any such amounts deducted or withheld which are properly remitted to the appropriate taxing
authorities will be treated for all purposes of this Agreement as having been paid to the Person in
respect of which such deduction and withholding was made. Buyer shall promptly deliver to


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Sellers a receipt evidencing the payment of any such withheld and deducted amount to the
appropriate taxing authority.

                                   ARTICLE 2
                   REPRESENTATIONS AND WARRANTIES OF SELLERS

         Each Seller, jointly and severally, hereby represents and warrants to Buyer as follows:

                2.1     Existence; Good Standing. Each Seller and each Acquired Company and
its subsidiaries is duly organized, validly existing and in good standing under the applicable Law
of the jurisdiction of its incorporation or formation. Each Seller and each Acquired Company is
licensed or qualified to do business under the applicable Laws of each jurisdiction in which the
character of its properties or the transaction of its business makes such licensure or qualification
necessary, except where the failure to be so licensed or qualified would not reasonably be expected
to be, individually or in the aggregate, materially adverse to the Purchased Assets or the Business.
Each Seller and each Acquired Company and its subsidiaries have all requisite corporate or limited
liability company power and authority to own, operate and lease their properties and carry on their
business as presently conducted.

               2.2     Authorization and Binding Obligation. Each Seller has the power and
authority to execute and deliver this Agreement and the Transaction Documents (to which it is a
party) and to perform its obligations hereunder and thereunder. The execution and delivery of this
Agreement, the performance by each Seller of its obligations hereunder and the consummation of
the Transactions have been duly and validly authorized by all requisite action on the part of each
Seller and each Acquired Company. Each Seller has obtained all necessary company approvals
required in connection therewith, and this Agreement has been, and the other Transaction
Documents when executed by such Seller will be, duly executed and delivered by such Seller, and
(assuming due authorization, execution and delivery by Buyer) constitute and will constitute the
legal, valid and binding obligation of such Seller, enforceable against such Seller in accordance
with their terms, except with respect to the Enforceability Exceptions.

                2.3     Ownership of Equity Interests; Subsidiaries.

                (a)      (i) Parent is the sole owner of all of the issued and outstanding membership
interests of Georgia Television, LLC, a Delaware limited liability company (the “Georgia
Television Interests”); (ii) CMG is the sole owner of all of the issued and outstanding membership
interests or capital stock as applicable, of (A) Cox Media Group NE, Inc., a Delaware corporation,
(B) WSOC Television LLC, a Delaware limited liability company, (C) WFTV, LLC, a Delaware
limited liability company, (D) KIRO-TV, Inc., a Delaware corporation, and (E) WPXI, LLC, a
Delaware limited liability company (collectively, the “CMG Owned Interests”); (iii) Cox Ohio is
the sole owner of all of the issued and outstanding capital stock of Miami Valley Broadcasting
Corporation, a Delaware corporation (“MVBC Stock”); and (iv) Cox Radio is the sole owner of
all of the issued and outstanding membership interests of Cox Television Jacksonville, LLC, a
Delaware limited liability company (the “CMG JAX Interests,” and collectively with the CMG
Owned Interests, the MVBC Stock and the Georgia Television Interests, the “Equity Interests”),
in each case, free and clear of all Liens, other than Permitted Liens. No Seller has granted or
created any options or warrants for the purchase, sale, issuance or granting of any Equity Interests,


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or issued any securities convertible into, or exercisable for, such Equity Interests or any agreement
granting preemptive rights related thereto, and no Seller is a party to any voting trust, proxy or
other Contract relating to the voting of any Equity Interests. All Equity Interests are duly
authorized and validly issued, fully paid and non-assessable, if applicable, and, in each case, have
been issued in material compliance with all applicable Laws.

                (b)    Other than the subsidiaries specifically disclosed on Schedule 2.3(b), none
of the Acquired Companies has any subsidiaries, and all of the outstanding equity interests in such
subsidiaries have been validly issued, are fully paid and non-assessable, if applicable, and are
owned by the Acquired Companies as set forth on Schedule 2.3(b), free and clear of all Liens,
other than Permitted Liens. Prior to the date hereof, Sellers have made available to Buyer true,
correct and complete copies of each of the Organizational Documents of each Acquired Company
or in any joint venture Contract or shareholders agreement between Seller or its Affiliates, on the
one hand, and any other holder of record of the outstanding equity interests of such Acquired
Company, on the other hand.

                2.4    No Conflict. With respect to each Seller, the execution and delivery of this
Agreement and the Transaction Documents, the consummation of the Transactions and the
performance by such Seller of its obligations hereunder or thereunder do not and will not (a) result
in a violation or breach of any provision of the Organizational Documents of such Seller or any
Acquired Company; (b) subject to the receipt of the Governmental Consents, conflict with, require
consent under, or violate any applicable Law or Governmental Order applicable to it; or, (c) except
as set forth on Schedule 2.4, conflict with, result in any breach of, terminate any right under, or
constitute a default (or event which with the giving of notice or lapse of time, or both, would
become a default) under any Material Agreement or Real Property Lease, except in the case of
clauses (b) and (c), as would not (i) prevent or materially delay the consummation of the
Transactions or (ii) reasonably be expected to be, individually or in the aggregate, materially
adverse to the Purchased Assets or the Business.

                2.5    Governmental Consents and Approvals. The execution and delivery of this
Agreement and the Transaction Documents, the consummation of the Transactions and the
performance by Sellers of their obligations hereunder and thereunder do not and will not require
any consent, approval, authorization or other order of, action by, filing with or notification to, any
Governmental Entity, except (a) the Governmental Consents; (b) where failure to obtain such
consent, approval or authorization, or to make such filing or notification, would not reasonably be
expected to, individually or in the aggregate, (i) prevent or materially delay the consummation of
the Transactions or (ii) have a Material Adverse Effect; or (c) as may be necessary as a result of
any facts or circumstances solely relating to the identity of Buyer or any of its Affiliates.

               2.6     FCC Licenses; MVPD Matters.

                (a)     Schedule 2.6(a) sets forth a true and complete list of the FCC Licenses and
the holders thereof, which FCC Licenses constitute all of the FCC Licenses of the TV Stations and
the Dayton Radio Stations. The FCC Licenses are in full force and effect and have not been
revoked, suspended, canceled, rescinded or terminated. There is no pending, or, to the Knowledge
of Sellers, threatened action by or before the FCC to revoke, suspend, cancel, rescind or materially
adversely modify any of the FCC Licenses (other than in connection with proceedings of general

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applicability, including any post-Broadcast Incentive Auction repacking). There is no issued or
outstanding, by or before the FCC, order to show cause, notice of violation, notice of apparent
liability or order of forfeiture against the TV Stations, the Dayton Radio Stations or the holders of
the FCC Licenses with respect to the TV Stations or the Dayton Radio Stations that would have a
Material Adverse Effect. Except as set forth on Schedule 2.6(a), the FCC Licenses have been
issued for the full terms customarily issued by the FCC for each class of TV Station or the Dayton
Radio Stations, as applicable, and the FCC Licenses are not subject to any condition except for
those conditions appearing on the face of the FCC Licenses and conditions generally applicable to
each class of TV Station (including any conditions associated with the post-Broadcast Incentive
Auction repacking) or the Dayton Radio Stations, as applicable. The FCC Licenses are the only
material FCC authorizations necessary to own and operate the Purchased Assets and to conduct
the Business as it is currently being conducted. The TV Stations and the Dayton Radio Stations
are operating in compliance in all material respects with the terms of the FCC Licenses and the
Communications Laws.

                (b)     Schedule 2.6(b)(i) contains, as of the date hereof, a list of all Carriage
Agreements with MVPDs that have more than 25,000 subscribers in any of the TV Stations’
DMAs. Except as set forth on Schedule 2.6(b)(i), Sellers (or an Acquired Company or subsidiary
thereof, as applicable) have not entered into or otherwise become a party to any Carriage
Agreement(s) with any MVPD that has reported more than 25,000 subscribers in any of the TV
Stations’ DMAs. Except as set forth on Schedule 2.6(b)(ii), since January 1, 2018, and solely with
respect to MVPD systems in a TV Station’s DMA where such MVPD has more than 25,000
subscribers, (1) no such MVPD has provided written notice to any Seller or any of their Affiliates
of any material Signal quality issue or, to the Knowledge of the Sellers, sought any form of relief
from carriage of a TV Station from the FCC, (2) the Sellers have not received written notice of a
petition seeking FCC modification of any DMA in which a TV Station is located, (3) the Sellers,
the Acquired Companies and their Affiliates have not received any written notice of the intention
of any such MVPD (x) to delete a TV Station or its Signal from carriage on any system, facility or
distribution service or (y) cancel or otherwise terminate a Carriage Agreement, and (4) no MVPD
has asserted via written notice to the Sellers pursuant to its Carriage Agreement which is an
Assumed Carriage Agreement relating to a TV Station, that (x) it has the right to a repayment of
or other crediting of amounts paid to Sellers, the Acquired Companies or any of their Affiliates
pursuant to such Carriage Agreement, or (y) that the Sellers, Acquired Companies, or any of their
Affiliates has materially breached or defaulted pursuant to such Carriage Agreement.

               (c)    Schedule 2.6(c) sets forth a list of all Carriage Agreements that contain most
favored nation provisions concerning the fees or net effective rate to be paid by the applicable
MVPD to Sellers and/or other economic terms applicable to such MVPD (such a most-favored
nation provision, an “MFN”).

               2.7     Taxes.

              (a)     Sellers have filed or caused to be filed on a timely basis all income Tax
Returns and all other material Tax Returns that were required to be filed (i) with respect to the
Acquired Companies, either separately or as a member of the affiliated group of corporations of
which each such Acquired Company is a member, and (ii) that relate to the Purchased Assets, and
all such Tax Returns are complete and correct in all material respects and prepared in substantial

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compliance with all applicable Laws. All Taxes owed by any of the Acquired Companies, or owed
by Sellers with respect to the Purchased Assets, have been timely paid (whether or not shown on
any Tax Return and whether or not any Tax Return was required). Except as qualified on Schedule
2.17(a), each Acquired Company has adequately provided for, in its respective Financial Reports
and books of account and related records, liabilities for all current Taxes not yet due and payable
in accordance with GAAP.

              (b)     There are no Liens against the Equity Interests or assets of the Acquired
Companies or their subsidiaries or against the Purchased Assets in respect of any Taxes, other than
Permitted Liens.

                 (c)    The Acquired Companies have complied in all material respects with
respect to (i) the withholding of all amounts required to have been withheld and paid in connection
with any amounts paid or owing to any of their employees, agents, contractors, customers and
nonresidents, and remitting such amounts to the proper agencies; and (ii) filing all federal, state,
local and foreign returns and reports with respect to employee income Tax withholding, social
security, unemployment Taxes and premiums.

               (d)     There are no audits, examinations, suits, proceedings or investigations
currently pending or threatened in writing by any Governmental Entity in respect of any material
Taxes relating primarily to the Acquired Companies, the Purchased Assets or the Business.

                (e)   No Seller or any Acquired Company is the beneficiary of any extension of
time within which to file any material Tax Return (other than automatic extensions) relating
primarily to the Acquired Companies or the Purchased Assets.

               (f)     No Seller or any Acquired Company has waived any statute of limitations
in respect of any material Taxes relating primarily to the Acquired Companies, the Purchased
Assets or the Business or agreed to any extension of time with respect to a material Tax assessment
or deficiency which extension is currently in effect relating primarily to the Acquired Companies,
the Purchased Assets or the Business.

              (g)     As of the Closing, there will be no Tax sharing agreements or similar
arrangements in effect with respect to or involving any of the Acquired Companies.

                (h)    Except as set forth on Schedule 2.7(h), none of the Acquired Companies has
been a member of an affiliated group of companies filing a consolidated federal income Tax
Return. None of the Acquired Companies has any liability for the Taxes of another Person under
Treasury Regulation Section 1.1502-6 (or any similar provision of state, local or non-U.S. Law),
as a transferee or successor, by contract, or otherwise.

               (i)    None of the Acquired Companies is or has been a party to any “listed
transaction” as defined in Section 6707A(c)(2) of the Code and Treasury Regulation Section
1.6011-4(b)(2).

               (j)     No written claim has been made in the past three (3) years by any taxing
authority in any jurisdiction in which an Acquired Company does not file Tax Returns that such
Acquired Company is or may be subject to taxation by that jurisdiction.

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               (k)    Within the past three (3) years, no Acquired Company has distributed stock
of another Person, or has had its stock distributed by another Person, in a transaction that was
purported or intended to be governed in whole or in part by Section 355 of the Code or Section
361 of the Code.

              (l)     The U.S. federal income tax classification of each of the Acquired
Companies is set forth on Schedule 2.7(l).

             (m)    Except as set forth on Schedule 2.7(m), no Acquired Company other than
the Acquired Corporations is or has been treated as a corporation for U.S. federal income tax
purposes.

                (n)    No Acquired Corporation will be required to include in a taxable period
ending after the Closing Date taxable income attributable to income that accrued in a taxable period
prior to the Closing Date but was not recognized for Tax purposes in such prior taxable period (or
to exclude from taxable income in a taxable period ending after the Closing Date any deduction
the recognition of which was accelerated from such taxable period to a taxable period prior to the
Closing Date) as a result of the installment method of accounting, the completed contract method
of accounting, the long-term contract method of accounting, the cash method of accounting,
Section 481 of the Code or Section 108(i) of the Code or comparable provisions of state, local, or
foreign Tax law, or for any other reason.

               (o)     No Acquired Company has been a United States real property holding
corporation within the meaning of Section 897(c)(2) of the Code during the applicable period
specified in Section 897(c)(1)(A)(ii) of the Code.

                (p)   At all times since the 2010 tax year, the Acquired Companies have
participated in the Compliance Assurance Process program of the Internal Revenue Service (the
“CAP Program”) as part of the affiliated group of which Parent is the parent. Sellers, with respect
to the Acquired Companies, the Purchased Assets and the Business, have complied with all
requirements of the CAP Program.

                2.8     Real Property; Leases.

                (a)     Schedule 2.8(a) lists the address of all Owned Real Property. Prior to the
Closing, the Acquired Companies and their subsidiaries and Sellers, taken together, will have good
and marketable fee simple title to the Owned Real Property free and clear of all Liens, other than
Permitted Liens. Except as set forth on Schedule 2.8(a), neither the Acquired Companies, Sellers,
nor any of their respective Affiliates, is obligated under, nor is a party to, any option, right of first
refusal or other contractual right to purchase, acquire, sell, assign or dispose of any of the Owned
Real Property or any portion thereof or interest therein. Except as set forth on Schedule 2.8(a), no
Acquired Company, Seller or their respective Affiliates has leased or otherwise granted to any
Person the right to use or occupy any of the Owned Real Property or any portion of the income or
profits from the sale, operation or development thereof.

                (b)     No Acquired Company, nor any subsidiary of an Acquired Company, nor
any Seller nor, to the Knowledge of Sellers, any other party to any Real Property Lease has violated
any provision of, or committed or failed to perform any act which constitutes a material existing

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default under the provisions of any of the Real Property Leases. Schedule 2.8(b) includes a list of
(x) all leases for Real Property to which any Acquired Company or its subsidiaries or Seller is a
party, but with respect to any leases to which any Seller is a party, only those leases which are
used primarily in the operation of the Business (“Real Property Leases”) and (y) the premises
subject to the Real Property Leases. Each of the Real Property Leases is in full force and effect
and is binding upon Sellers, the Acquired Companies or their subsidiaries, as applicable and, to
the Knowledge of Sellers, the other parties thereto, subject in each case to the Enforceability
Exceptions. Except as set forth on Schedule 2.8(b), the Acquired Companies and their subsidiaries
and Sellers, taken together, have a good and valid leasehold interest in the Real Property subject
to the Real Property Leases (the “Leased Real Property”), which leasehold interest is free and clear
of all Liens other than Permitted Liens. Except as set forth on Schedule 2.8(b), no Acquired
Company, subsidiary of an Acquired Company or Seller has subleased, licensed or otherwise
granted any Person the right to use or occupy any leased real property which is the subject of any
Real Property Lease. Except as set forth on Schedule 2.8(b), the Owned Real Property and Leased
Real Property constitute all real property used primarily in the conduct of the Business.

               (c)     There is no pending nor, to the Knowledge of Sellers, threatened
condemnation, eminent domain, taking or similar proceeding relating to any Owned Real Property
or any material portion thereof or interest therein or, to the Knowledge of Sellers, any Leased Real
Property, which, in either such case, would reasonably be expected to curtail or interfere with the
use of such property for the conduct of the Business.

               2.9     Contracts; Validity of Material Agreements.

                (a)     Schedule 2.9(a) sets forth a list of the following Contracts, as of the date
hereof, (y) to which a Seller or any of its Affiliates is a party and that is used primarily in the
Business or (z) to which an Acquired Company or any of its subsidiaries is a party (and provided,
that, with respect to those Network Affiliation Agreements and Carriage Agreements, such list is
true, correct and complete):

                      (i)    any programming agreement or sports programming agreement
under which it would reasonably be expected that the Acquired Companies, Sellers or the Business
would make annual payments of $500,000 or more during any twelve (12) month period or the
remaining term of such Contract (a “Material Programming Rights Agreement”);

                       (ii)  any Contract that is a local marketing agreement or time brokerage
agreement, joint sales agreement or shared services agreement (a “Sharing Agreement”);

                       (iii)   any material partnership, joint venture, co-investment or other
similar Contract;

                   (iv)     any affiliation agreement with any of the ABC, CBS, FOX, NBC,
CW or MyNet national television networks (a “Network Affiliation Agreement”);

                      (v)     any digital multicast channel affiliation agreement (or similar
Contract), under which it would reasonably be expected that the Acquired Companies, Sellers or
the Business would make annual payments of $500,000 or more during any twelve (12) month
period or the remaining term of such contract;

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                     (vi)   any Contract for capital expenditures for an amount in excess of
$500,000 during any twelve (12) month period or the remaining term of such Contract;

                       (vii) any employment agreement or other Contract for personal services
that provides for base compensation in excess of $300,000 during any twelve (12) month period
or the remaining term of such Contract that provides benefits or payments to any Employee;

                     (viii) any Real Property Lease that provides for payments in an amount in
excess of $100,000 during any twelve (12) month period or the remaining term of such Contract;

                       (ix)   any Carriage Agreement with any MVPD that has more than 25,000
subscribers in any Station’s DMA;

                       (x)     any Carriage Agreement that contains an MFN provision;

                       (xi)    any Contract relating to the acquisition or disposition of any
business (whether by merger, sale of equity interests or stock, sale of assets or otherwise) having
a transaction value in excess of $1,000,000 under which there are any remaining indemnification
obligations or other unperformed obligations which would result in any material liability to Buyer
following the Closing;

                         (xii) any Contract (other than any Contract of the type described in
clauses (i) through (viii) above) that is not terminable by the Acquired Companies or Sellers, as
applicable, without penalty on ninety (90) days’ notice or less, which is reasonably expected to
involve the payment by the Acquired Companies or their subsidiaries or Sellers, as applicable,
after the date hereof of more than $1,000,000 during any twelve (12) month period or the remaining
term of such Contract;

                        (xiii) any Contract evidencing Indebtedness, or under which any Acquired
Company has issued any note, bond, indenture, mortgage (other than Permitted Liens), security
interest (other than Permitted Liens) or other evidence of Indebtedness, or has directly or indirectly
guaranteed Indebtedness of any Person, in each case for Indebtedness in excess of $1,000,000, or
under which any material asset of the Business is subject to a Lien (other than Permitted Liens);
and

                       (xiv) any Contract between any Acquired Company or any of their
respective subsidiaries, on the one hand, and any current or former executive officer, director,
equityholder, or Affiliate of the Sellers or any Related Party of any of the foregoing Persons, on
the other hand, under which it would reasonably be expected that the Acquired Companies, Sellers
or the Business would make annual payments of $100,000 or more during any twelve (12) month
period or the remaining term of such contract.

      The Contracts of the type described in this Section 2.9(a), whether or not so listed on
Schedule 2.9(a) are collectively with the Real Property Leases referred to herein as the “Material
Agreements.”

               (b)     Except as set forth on Schedule 2.9(b) or would not reasonably expected to
be, individually or in the aggregate, materially adverse to the Purchased Assets or the Business,

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each of the Material Agreements is in full force and effect and is binding upon Sellers, the Acquired
Companies or their subsidiaries, as applicable and, to the Knowledge of Sellers, the other parties
thereto, subject in each case to the Enforceability Exceptions. Except would not reasonably
expected to be, individually or in the aggregate, materially adverse to the Purchased Assets or the
Business taken as a whole, Sellers, the Acquired Companies and their subsidiaries have performed
their obligations under each of the Material Agreements in all respects and are not in breach of or
default (and there has been no event which, with the giving of notice or lapse of time or both,
would become a default to give rise to right of termination) thereunder, and to the Knowledge of
Sellers, no other party to any of the Material Agreement is in breach or default thereunder. There
are no disputes pending or, to the Knowledge of Sellers, threatened with respect to any Material
Agreement, and no Seller, Acquired Company or their subsidiaries has received any written notice
of the intention of any other party to a Material Agreement to terminate for default, convenience
or otherwise any Material Agreement, in each case except as would not reasonably be expected to
be, individually or in the aggregate, materially adverse to the Purchased Assets or the Business
taken as a whole. Copies of each of the Material Agreements have heretofore been made available
to Buyer by Sellers.

               2.10    Environmental. Except as set forth on Schedule 2.10:

               (a)     As of the date of this Agreement and for the past three (3) years, each
Acquired Company, each of their subsidiaries and each Seller, in respect of the Purchased Assets
and the Business, is, and at all times during such three (3) year period has been, in compliance
with all Environmental Laws, except where the failure to comply would not, individually or in the
aggregate, have a Material Adverse Effect;

                (b)     Each Acquired Company, each of their subsidiaries and each Seller, in
respect of the Purchased Assets and the Business, has obtained, and, to the extent applicable, has
filed timely application to renew, all Permits required under Environmental Law necessary for its
operation, except for such Permits as to which the failure to so own, hold, possess or renew would
not, individually or in the aggregate, have a Material Adverse Effect. Each Acquired Company,
each of their subsidiaries and each Seller, in respect of the Purchased Assets and the Business, is
and at all times has been, in compliance with all terms and conditions of such Permits except where
the failure to comply would not, individually or in the aggregate, have a Material Adverse Effect.
Each of such Permits is valid, subsisting and in full force and effect and has not been revoked,
suspended, cancelled, rescinded or terminated, other than those that the revocation, suspension,
cancellation or rescission or termination of which, individually or in the aggregate, would not have
a Material Adverse Effect;

               (c)     As of the date of this Agreement, each Acquired Company and their
subsidiaries are, and each Seller, in respect of the Purchased Assets and the Business is, not the
subject of any pending or, to the Knowledge of Sellers, threatened Action alleging any failure of
any Acquired Company, any of their subsidiaries, any Seller or the Purchased Assets or the
Business to comply with, or Liability of any Acquired Company, any of their subsidiaries, any
Seller or the Business under, any Environmental Law, except as would not, individually or in the
aggregate, have a Material Adverse Effect. There is no judgment, decree, injunction, rule or order
of any Governmental Entity or arbitrator arising under or relating to Environmental Law
outstanding against any Acquired Company, any of their subsidiaries, or any Seller, in respect of

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the Purchased Assets and the Business, which would reasonably be expected to be, individually or
in the aggregate, materially adverse to the Purchased Assets or the Business;

              (d)     Except as set forth on Schedule 2.10(d), to the Knowledge of Sellers, there
are no underground storage tanks, PCB-containing equipment, or asbestos-containing materials at
any of the Owned Real Property or Leased Real Property;

               (e)    To the Sellers’ Knowledge, there has been no Release or threatened Release
at, on, under or from, and no Hazardous Material is present at, on or under, any Owned Real
Property or any Leased Real Property, or any other property currently or formerly owned, leased
or operated by any Acquired Company, any of their subsidiaries, or any Seller, in respect of the
Purchased Assets or the Business, or any other location, except as would not reasonably be
expected to have a Material Adverse Effect; and

                (f)     Sellers have provided to the Buyer all written environmental audits,
assessments, investigations and studies relating to the Purchased Assets, the Business, any
Acquired Company, any of their subsidiaries, or any of their current or former businesses,
properties or assets, that are in the possession of any Seller, any Acquired Company, or any of
their subsidiaries or any of their respective representatives.

               2.11    Intellectual Property.

                (a)     Schedule 2.11(a) contains a list of (i) the material Business Intellectual
Property that is registered, issued or subject to an application for registration or issuance and (ii)
all material unregistered Business Intellectual Property. The Business Intellectual Property
required to be described on Schedule 2.11(a) is subsisting, valid, enforceable (subject to the
Enforceability Exceptions) and in full force and effect.

                (b)     Except as set forth on Schedule 2.11(b), (i) the operation of the Business
does not infringe, misappropriate or otherwise conflict with any other Person’s Intellectual
Property; (ii) to the Knowledge of the Sellers, none of the Business Intellectual Property is being
infringed, misappropriated or otherwise conflicted with by any other Person; (iii) no Business
Intellectual Property is the subject of any pending or, to the Knowledge of the Sellers, threatened
Action claiming infringement, misappropriation, violation of or other conflict with, any other
Person’s Intellectual Property by any Acquired Company, any of their subsidiaries or any Seller;
and (iv) in the past three (3) years, none of Sellers, the Acquired Companies or their subsidiaries
have received any written Claim or notice asserting that the operation of the Business materially
infringes, misappropriates, violates or otherwise conflicts with the Intellectual Property of any
other Person or challenging the ownership, use, validity or enforceability of any Business
Intellectual Property, and there is no reasonable basis for any of the foregoing. The Acquired
Companies or their subsidiaries or Sellers, as applicable, (A) are the owners of the Business
Intellectual Property, free and clear of all Liens other than Permitted Liens, and (B) with respect
to all other Intellectual Property used or held for use in the operation of the Business, as it is
currently conducted, have the valid and enforceable right to use all of such Intellectual Property.
The Acquired Companies and their subsidiaries and Sellers, as applicable, take all reasonable
measures to maintain the Business Intellectual Property, and the Business Intellectual Property is



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not subject to any outstanding consent, settlement, decree order, injunction, judgment or ruling
restricting the use or ownership thereof.

                 (c)    All Business IT is in operating condition and in a good state of maintenance
and repair (ordinary wear and tear excepted) and is adequate and suitable for the purposes for
which such Business IT is presently being used or held for use. There have been no breakdowns,
continued substandard performance or other adverse events affecting the Business IT in the past
three (3) years that have caused a material disruption or interruption outside of the ordinary course
in the operation of the Business. To the Knowledge of Sellers, none of the Business IT contains
any unauthorized “back door”, “drop dead device”, “time bomb”, “Trojan horse”, “virus” or
“worm” (as such terms are commonly understood in the software industry) or any other
unauthorized code intended to disrupt, disable, harm or otherwise impede the operation of, or
provide unauthorized access to, a computer system or network or other device on which such code
is stored or installed.

                (d)    No material Business IT contains or requires use of any “open source” code,
shareware or other Software that is made generally available to the public without requiring
payment of fees or royalties or that does or may require disclosure or licensing of any such
Software or any other Business Intellectual Property. None of the material Business IT is covered
by or subject to the requirements of any version of the GNU General Public License (the “GPL”)
or the GNU Affero General Public License (the “Affero GPL”), and no rights under the Business
Intellectual Property are obligated to be (x) waived as to or (y) licensed to any Person as a result
of any Acquired Company’s or Seller’s use of “open source” code in the Business IT.

                 (e)    The Acquired Companies’, each of their subsidiaries’ and each Sellers’
access, receipt, collection, monitoring, maintenance, creation, transmission, use, analysis,
disclosure, storage, disposal, privacy, protection and security of Protected Information related to
the Business has complied in the past three (3) years, and complies, in all material respects, with,
(i) any Material Agreement to which such entity is a Party, (ii) applicable Information Privacy and
Security Laws, (iii) to the extent applicable, PCI DSS, and (iv) applicable policies and procedures
adopted by the Acquired Companies, any of their subsidiaries or any Seller. The Acquired
Companies, each of their subsidiaries and each Seller has, in all material respects, if applicable, all
lawful bases, rights and consents that are required under any Information Privacy or Security Law
to receive, access, use and disclose the Protected Information in such entity’s possession or under
its control in connection with the operation of the business of such entity and the Business.

               (f)    The Acquired Companies, each of their subsidiaries and each Seller has
posted, privacy policies governing its use of Protected Information on its websites and, with
respect to the Business, each such entity is in compliance in all material respects with applicable
privacy policies.

                (g)    The Acquired Companies, each of their subsidiaries and each Seller, in
respect of the Purchased Assets and the Business, has implemented and maintains an information
security program that: (i) complies in all material respects with all Information Privacy and
Security Laws and prevailing industry standards; (ii) is reasonably designed to identify internal
and external risks to the security of any proprietary or confidential information in its possession,
including Protected Information and the rights and freedoms of the subjects of that Protected

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Information; (iii) is reasonably designed to monitor and protect Protected Information and all IT
Systems against any unauthorized use, access, interruption, modification or corruption; (iv)
implements, monitors, and maintains administrative, organizational, technical, and physical
safeguards consistent with general industry standards that are reasonably designed to control the
risks described above in (ii) and (iii); (v) is described in written data security policies and
procedures; (vi) assesses the Acquired Companies’, each of their subsidiaries’ and each Sellers’
data security practices, programs and risks; and (vii) maintains an incident response and
notification procedures in compliance with applicable Information Privacy and Security Laws,
including in the case of any breach of security compromising Protected Information. The Acquired
Companies, each of their subsidiaries and each Seller, in respect of the Purchased Assets and the
Business, is in compliance in all material respects with such information security program. The
Acquired Companies, each of their subsidiaries and each Seller, in respect of the Purchased Assets
and the Business, takes and has at all times taken commercially reasonable steps to require that
any Protected Information collected or handled by authorized third parties acting on behalf of such
entity provides similar safeguards, in each case, in compliance with applicable Privacy and Data
Security Law and consistent with general industry standards.

             (h)     In the past three (3) years, there has been no data security breach of any IT
Systems, or unauthorized acquisition, access, use or disclosure of any Protected Information,
owned, transmitted, used, stored, received, or controlled by or on behalf of the Acquired
Companies, each of their subsidiaries or any Seller, in respect of the Purchased Assets and the
Business.

                 (i)    The (i) collection, storage, processing, transfer, sharing and destruction of
Protected Information in connection with the transactions contemplated hereby, and (ii) execution,
delivery and performance of this Agreement and the transactions contemplated hereby complies,
in all material respects, with each of the Acquired Companies’, each of their subsidiaries’ and each
Sellers’ applicable privacy notices and policies and with all applicable Information Privacy and
Security Laws. As of the Closing, the Acquired Companies and each of their subsidiaries, solely
in respect of the Purchased Assets and the Business, shall have in all material respects least the
same rights to use, process and disclose Protected Information as the applicable entity had
immediately before Closing.

               2.12    Employees; Labor Matters; Employee Matters.

                (a)     Sellers have made available to Buyer a list of all Employees, including their
(i) name; (ii) employer; (iii) location of employment; (iv) title or position (including whether full-
time or part-time or per diem); (v) hire or retention date; (vi) current annual base compensation,
hourly rate or contract fee; (vii) commission, bonus or other incentive-based compensation
targeted for 2018 and 2019; (viii) exempt or non-exempt status of the employees of Sellers or any
of their respective subsidiaries under the Fair Labor Standards Act; (ix) union-represented status
and name of any applicable collective bargaining agreement; (x) employment status (i.e., active,
disabled or on authorized leave and the reason therefor); (xi) accrued but unused vacation and sick
leave; (xii) service credited for purposes of vesting and eligibility to participate in the Employee
Plans; and (xiii) whether covered by a collective bargaining agreement and whether full time, part
time or per diem. Such list, redacted to delete the information set forth in clauses (vi)-(xii), is
attached as Schedule 2.12(a). Except with respect to those employees of a Seller or its Affiliates

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whose principal work location is at CMG’s corporate headquarters in Atlanta, Georgia or in Cox’s
Washington News Bureau, no individuals, other than the Employees set forth on Schedule 2.12(a)
are necessary to operate the Business.

                (b)     Except as set forth on Schedule 2.12(b) or that would not reasonably be
expected to result in a material liability, (i) none of the Acquired Companies or their subsidiaries
or Sellers in respect of the TV Stations, the Dayton Radio Stations or the Dayton Newspapers is
subject to or bound by any labor agreement or collective bargaining agreement, and (ii) to the
Knowledge of Sellers, there is no activity involving any Employee seeking to certify a collective
bargaining unit or engaging in any other organizational activity. Sellers have made available to
Buyer true, correct and complete copies of each collective bargaining agreement to which any of
the Acquired Companies or their subsidiaries or Sellers are party.

                (c)     Except as set forth on Schedule 2.12(c), as of the date of this Agreement (i)
none of the Acquired Companies nor their subsidiaries nor Sellers in respect of the Employees is
engaged in any unfair labor practice that would reasonably be expected to be, individually or in
the aggregate, materially adverse to the Purchased Assets or the Business; (ii) there are no labor
strikes, material labor disputes, concerted work stoppages or lockouts pending or, to the
Knowledge of Sellers, threatened with respect to any of the Acquired Companies, their subsidiaries
or any of Employees of Sellers; (iii) there are no grievances, complaints or other legal proceedings
pending, or to the Knowledge of Sellers, threatened, against any Seller or any Acquired Company
or its subsidiaries in connection with the employment of their respective Employees, except that
would not reasonably be expected to result in a material liability; and (iv) each Seller and each
Acquired Company and its subsidiaries are in compliance with all applicable labor and
employment laws in connection with the employment of their respective Employees including
relating to equal employment opportunities, fair employment practices, employment
discrimination, harassment, retaliation, reasonable accommodation, disability rights or benefits,
pay equity, accessibility, immigration, wages, hours, overtime compensation, employment or labor
standards, employee classification, child labor, hiring and termination of employees, working
conditions, meal and break periods, privacy, health and safety, workers’ compensation, leaves of
absence, paid sick leave, unemployment insurance or any other employment related matter arising
under applicable laws, except for any failure to comply that would not reasonably be expected to
result in a material liability. Except as would not have a Material Adverse Effect, all current or
former employees, officers, directors, consultants or independent contractors of the Business have
been properly classified under applicable Law (A) as employees or individual independent
contractors and (B) for employees, as an “exempt” employee or a “non-exempt” employee (within
the meaning of the Fair Labor Standards Act and state Law).

               (d)     Except as set forth on Schedule 2.12(d), there are no Actions against the
Sellers pending, or to the Knowledge of Sellers, threatened to be brought or filed, by or with any
Governmental Entity or arbitrator in connection with the employment of any current or former
employee, consultant or independent contractor of the Business.

                 (e)    Any outsourced or temporary labor Contracts between the Sellers and other
third parties or individuals as relates to the Business comply in all material respects with applicable
laws.


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                (f)     The Sellers have complied with the Worker Adjustment Retraining and
Notification Act of 1988 (the “WARN Act”) and any similar applicable mass or group termination
requirements under applicable Law relating to employment and labor standards. In the 90 days
preceding the Closing, no employee of any Seller has suffered an “employment loss” with the
Seller, as such term is defined in the WARN Act. The Seller shall be responsible for any WARN
Act notification and liability arising out of terminations of employees up to and including the
Effective Time. The Parties will cooperate with each other to ensure that each has the information
necessary to assess their obligations with respect to notification obligations, including assessment
of all lookback periods contemplated by the WARN Act and any mass or group termination
requirements under applicable law relating to employment and labor standards.

              (g)     Except as listed in Schedule 2.12(g), no current or former employees of the
Business is in receipt of workers’ compensation benefits, there are no outstanding penalties
pursuant to worker’s compensation statutes, or charges regarding the same.

                (h)    Within the three (3) years prior to the date hereof, there have not been any
sexual harassment claims (x) raised internally that were not responded to in an appropriate manner
or (y) filed with the EEOC and/or state administrative agency against the Business. All reported
allegations of sexual harassment or sexual misconduct against any then current director, manager,
employee or officer of the Business have been investigated and appropriately addressed.

                2.13    Employee Benefit Plans.

               (a)     Schedule 2.13(a)(i) contains a correct and complete list identifying each
material Employee Plan which is not maintained by any Acquired Company or its subsidiaries,
and except as set forth on Schedule 2.13(a)(ii), none of Sellers or any Acquired Company or its
subsidiaries sponsors any Employee Plan. Except as provided for explicitly in Schedule 5.5 of this
Agreement, Sellers and their Affiliates shall retain (and shall retain all assets and liabilities related
to) the Employee Plans which are not maintained by an Acquired Company.

                (b)      Each Employee Plan which is maintained by an Acquired Company or its
subsidiaries is in compliance in all material respects with all applicable requirements of ERISA,
the Code and other applicable Laws and has been funded, administered and operated materially in
accordance with their terms. Each Employee Plan that is intended to be qualified within the
meaning of Section 401(a) of the Code has received a favorable determination letter as to its
qualification, and nothing has occurred that could reasonably be expected to adversely affect such
qualification. With respect to each Employee Plan which is maintained by an Acquired Company
or its subsidiaries, (i) all contributions required to be made by applicable Law or by any plan
document or other contractual undertaking, and all premiums due or payable with respect to
insurance policies funding any Employee Plan, for any period in the prior three (3) years through
the date hereof, have been timely made and (ii) other than routine claims for benefits, there are no
pending or, to the Knowledge of Sellers, threatened proceedings by or on behalf of any participant
in any Employee Plan, or otherwise involving any Employee Plan or the assets of any Employee
Plan.

                 (c)    Except as set forth in Schedule 2.13(c) or which would not result in any
liability to the Purchased Assets or the Business, no Employee Plan provides post-employment or


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post-termination life, health or welfare benefits for any current or former employees or other
service providers (or any dependent thereof) of the Business, other than as required under Section
4980B of the Code or other applicable Law for which the covered Person pays the full cost of
coverage.

                 (d)    Except as set forth in Schedule 2.13(d) or which would not result in any
liability to the Purchased Assets or the Business (either directly or indirectly), neither the Seller
nor any of its ERISA Affiliates maintains, contributes to, or sponsors (or has in the past six (6)
years maintained, contributed to, or sponsored) a multiemployer plan as defined in Section 3(37)
or Section 4001(a)(3) of ERISA (a “Multiemployer Plan”) or any plan subject to Title IV of
ERISA. Except as would not result in any liability to the Purchased Assets or the Business, no
liability under Title IV of ERISA has been incurred by the Sellers or any ERISA Affiliate thereof
that has not been satisfied in full, and no condition exists that presents a risk to the Buyer or any
ERISA Affiliate thereof of incurring or being subject (whether primarily, jointly or secondarily)
to a liability (whether actual or contingent) thereunder.

                (e)     Except as set forth in Schedule 2.13(e), the consummation of the
transactions contemplated hereby will not, either alone or in combination with another event,
(i) result in any payment becoming due, accelerate the time of payment or vesting, or increase the
amount of compensation (including severance) due to any current or former director, officer,
individual consultant or employee of the Business that would result in any liability to the Purchased
Assets or the Business, (ii) result in any forgiveness of indebtedness with respect to any current or
former employee, director or officer, or individual consultant of the Business, trigger any funding
obligation under any Employee Plan maintained by any Acquired Company or impose any
restrictions or limitations on the ability to administer, amend or terminate any Employee Plan
maintained by an Acquired Company or (iii) result in the acceleration or receipt of any payment
or benefit (whether in cash or property or the vesting of property) by Sellers or any of their
subsidiaries to any “disqualified individual” (as such term is defined in Treasury Regulations
Section 1.280G-1) that would reasonably be expected, individually or in combination with any
other such payment, to constitute an “excess parachute payment” (as defined in Section 280G(b)(1)
of the Code). Neither the Sellers nor any Acquired Company has any obligation to provide any
gross-up payment to any individual with respect to any income Tax, additional Tax, excise Tax or
interest charge imposed pursuant to Section 409A or Section 4999 of the Code.

               (f)      With respect to each material Employee Plan maintained by an Acquired
Company, to the extent applicable, current, true, correct and complete copies of the following have
been delivered or made available to Buyer: (i) all plan documents (including all written
amendments thereto) (which, for the avoidance of doubt, with respect to any material Employee
Plan for which a form agreement is used, shall consist of a copy of such form and a summary of
any material deviations); (ii) the most recent audited financial statements and actuarial or other
valuation reports; (iii) the most recent annual report on Form 5500 required to be filed with the
Internal Revenue Service; (iv) the most recent determination, opinion or advisory letter from the
IRS for any Employee Plan that is intended to qualify under Section 401(a) of the Code; (v) the
most recent summary plan description; and (vi) any related trust agreement or other funding
instrument.



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                (g)    Neither the Sellers nor any of their respective ERISA Affiliates, (i) has
incurred or triggered either a complete or partial withdrawal (as defined in Section 4203 or Section
4205 of ERISA) from any Multiemployer Plan or (ii) has any knowledge as of the date hereof of
any facts that would give rise to a partial withdrawal from any such plan by any such entity.

             2.14       Insurance. Schedule 2.14(a) contains a true and complete list of all
insurance policies currently in effect as of the date hereof, and all historic occurrence-based
insurance policies, that insure the business, operations or Employees of the Acquired Companies
or their subsidiaries or affect or relate primarily to the ownership, use or operation of any of the
Purchased Assets or the Business (collectively, the “Insurance Policies”). Except as would not
reasonably be expected to be, individually or in the aggregate, materially adverse to the Purchased
Assets or the Business, (x) all such Insurance Policies are in full force and effect and are valid and
enforceable, (y) all premiums due thereunder have been paid to the extent due, and since the
Balance Sheet Date, neither the Sellers nor any of their respective Affiliates has received notice of
cancellation, non-renewal, reduction in coverage or termination of any material Insurance Policy
other than in connection with normal renewals of any such Insurance Policy. As of the date of this
Agreement, except as set forth on Schedule 2.14(b), there are no material outstanding claims
related to the Purchased Assets or the Business under any such Insurance Policy or material default
with respect to the provisions in any such Insurance Policy. There are no claims pending under
any Insurance Policy that have been denied, rejected, questioned or disputed by any insurer or as
to which any insurer has made any reservation of rights or refused to cover all or any portion of
such claims. Sellers and their subsidiaries have not failed to give any notice or present any claims
under any applicable Insurance Policy in a due and timely fashion.

              2.15      Permits. As of the date of this Agreement, the Acquired Companies and
their subsidiaries and Sellers, taken together, hold or possess all registrations, licenses, permits,
approvals and regulatory authorizations from a Governmental Entity that are reasonably necessary
to entitle them to operate the Business as operated immediately prior to the date of this Agreement
(herein collectively called, “Permits”), except for such Permits as to which the failure to so own,
hold or possess would not reasonably be expected to be, individually or in the aggregate, materially
adverse to the Purchased Assets or the Business. The Acquired Companies and their subsidiaries
and Sellers, taken together, have fulfilled and performed their respective obligations under each of
the Permits, except for noncompliance that would not reasonably be expected to be, individually
or in the aggregate, materially adverse to the Purchased Assets or the Business. Each of the Permits
is valid, subsisting and in full force and effect and has not been revoked, suspended, cancelled,
rescinded or terminated, other than those that the revocation, suspension, cancellation or rescission
or termination of which would not reasonably be expected to be, individually or in the aggregate,
materially adverse to the Purchased Assets or the Business.

             2.16      Litigation. Except as set forth on Schedule 2.16, there is no legal or
administrative claim, suit, action, complaint, charge, grievance or arbitration (each, an “Action”)
currently pending, or, to the Knowledge of Sellers, threatened against the Acquired Companies or
their subsidiaries or Sellers in respect of the Purchased Assets or the Business, except as would
not reasonably be expected to be, individually or in the aggregate, materially adverse to the
Purchased Assets or the Business. None of the Acquired Companies or the Sellers is subject to any
outstanding Governmental Order which would reasonably be expected to be, individually or in the
aggregate, materially adverse to the Purchased Assets or the Business.

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             2.17       Financial Reports.

                (a)     Schedule 2.17(a) contains unaudited balance sheets of the Acquired
Business as of December 31, 2017 and December 31, 2016, respectively, and the related statements
of income for the years then ended (collectively, the “Financial Reports”). Except as set forth on
Schedule 2.17(a), the Financial Reports (i) were prepared in accordance with GAAP in all material
respects applied on a consistent basis throughout the periods involved (except as may be indicated
in the notes thereto) and (ii) present fairly, in all material respects, the financial position and results
of the operation of the Acquired Business as of their respective dates and for the respective periods
covered thereby, subject to the absence of notes thereto none of which, if presented, would
materially differ from those required by GAAP and normal year-end adjustments, which are not
material, individually or in the aggregate.

               (b)     Schedule 2.17(b) contains an unaudited trial balance of the Acquired
Business as of December 31, 2018 (the “Balance Sheet Date”) which includes unadjusted
management reports of the balance sheet and the related statement of income for the year then
ended (collectively, the “Management Report”). The Management Report is taken from the
financial statements of Parent, which were prepared in accordance with GAAP in all material
respects applied on a consistent basis throughout the period involved. The Management Report
represents Sellers’ good faith determination of the assets and liabilities of the Business as of the
Balance Sheet Date and the revenues, costs and expenses of conducting the Business for the period
covered thereby, except as qualified by Schedule 2.17(b).

               (c)     Sellers maintain proper and adequate internal accounting controls which
provide reasonable assurance that transactions are: (A) executed with management’s authorization
and (B) recorded as necessary to permit preparation of the financial statements and to maintain
accountability for the assets of the Acquired Business.

             2.18       Absence of Changes. (a) Since the Balance Sheet Date and through the date
hereof, there have not been any events, changes or occurrences or states of facts that, individually
or in the aggregate, have had a Material Adverse Effect, and (b) (i) except as set forth on Schedule
2.18, since the Balance Sheet Date, the Business has been operated in all material respects in the
ordinary course of business consistent with past practice and (ii) Sellers and their respective
Affiliates have not taken any action that would require the consent of Buyer pursuant to Section
4.2 if taken after the date hereof.

              2.19      Compliance with Laws. Except for violations that would not reasonably be
expected to be, individually or in the aggregate, materially adverse to the Purchased Assets or the
Business, (a) none of the Sellers or the Acquired Companies is, or in the past three (3) years has
been, in violation of any Law or Governmental Order applicable to the Business and (b) to the
Knowledge of Sellers, none of the Sellers, in respect of the Business, or the Acquired Companies
is, or in the past three (3) years has been, under investigation by any Governmental Entity with
respect to any violation of any applicable Law or Governmental Order.

            2.20       Corruption; Sanctions. None of the Acquired Companies, their subsidiaries,
nor any of their respective officers, directors, or agents, nor any of the Employees:



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                (a)    has, directly or indirectly, made, offered, promised or authorized any
payment or gift of any money or anything of value to or for the benefit of any Person for the
purpose of (i) influencing any official act or decision of a government official, political party, or
candidate for political office, (ii) inducing such official, party or candidate to use his, her or its
influence to affect any act or decision of a Governmental Entity, or (iii) securing any improper
advantage, in any such case in violation of any applicable Anti-Corruption Laws;

               (b)     is nor in the past three (3) years has been a Sanctioned Person;

                (c)   has in the past three (3) years transacted any business directly or knowingly
indirectly with any Sanctioned Person or otherwise violated applicable Sanctions;

               (d)     has violated in the past three (3) years any applicable Ex-Im Laws; nor

                (e)    is nor has been in the past three (3) years the subject of any allegation,
inquiry, voluntary disclosure, investigation, prosecution or actual or threatened enforcement action
related to any alleged violation of any of the Anti-Corruption Laws, Sanctions, or Ex-Im Laws.

             2.21      No Undisclosed Liabilities. Except as set forth on Schedule 2.21, neither
any Acquired Company or its subsidiaries, nor any Seller with respect to the Business or the
Purchased Assets, is subject to any Liability (including unasserted claims, whether known or
unknown), whether absolute, contingent, accrued or otherwise, which would be required to be
reflected on or reserved against a balance sheet prepared in accordance with GAAP, or with respect
to the Balance Sheet Date, in Sellers’ good faith determination (as qualified by Schedules 2.17(a)
and 2.17(b), and except for liabilities which are (a) specifically reflected and adequately reserved
for on the balance sheet as of the Balance Sheet Date, (b) incurred in the ordinary course of
business consistent with past practice since the Balance Sheet Date (none of which is a liability
resulting from breach of contract, breach of warranty, tort, infringement or misappropriation), (c)
to be performed in the ordinary course of business pursuant to the Material Agreements, or (d)
which, individually or in the aggregate, would not be materially adverse to the Purchased Assets
or the Business.

               2.22    Assets; Sufficiency.

                (a)     (i) The Acquired Companies and their subsidiaries, taken together, have
good and valid title to, a valid leasehold interest in, or, assuming receipt of the Approvals set forth
on Schedule 2.4, the right to transfer (or cause to be transferred) the Acquired Company Assets
free and clear of all Liens, other than Permitted Liens; and (ii) Sellers have good and valid title to,
a valid leasehold interest in, or, assuming receipt of the Approvals set forth on Schedule 2.4, the
right to transfer (or cause to be transferred) the Purchased Assets free and clear of all Liens, other
than Permitted Liens, in each case under clauses (i) and (ii), in accordance with the terms of this
Agreement and the transactions contemplated hereby.

                 (b)    Except for the Excluded Assets and as set forth on Schedule 2.22(b), the
Acquired Company Assets and the Purchased Assets constitute, and at the Closing, will constitute,
all of the assets and properties (including FCC Licenses), whether tangible or intangible, whether
personal, real or mixed, wherever located, that are used in the Business and that are necessary to


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conduct the Business in substantially the form and manner in which it is conducted on the date
hereof and immediately prior to the Closing.

              2.23 No Brokers. Neither Sellers nor the Acquired Companies are obligated to
pay any fee or commission to any broker, finder or intermediary for or on account of the
Transactions or in connection with the other transactions contemplated hereby for which Buyer
may become liable or which is otherwise included as an Assumed Liability.

                2.24 Affiliate Transactions. Except for those Contracts identified on Schedule
2.24 that are in existence as of the date of this Agreement between any Acquired Company or any
of their respective subsidiaries, on the one hand, and any current or former executive officer,
director, equityholder, or Affiliate of the Sellers or any Related Party of any of the foregoing
Persons, on the other hand, there are no Contracts under which any Person (other than Sellers or
their Affiliates) owns or has any interest in any Purchased Asset or the Business, or is the
beneficiary thereof.

                                   ARTICLE 3
                     BUYER REPRESENTATIONS AND WARRANTIES

               Buyer hereby represents and warrants to Sellers:

              3.1     Organization. Buyer is duly organized, validly existing and in good
standing under the applicable Law of the jurisdiction of its organization. Buyer has the requisite
power and authority to execute and deliver this Agreement and perform its obligations hereunder.

                3.2      Authorization. The execution and delivery of this Agreement and the
performance by Buyer of its obligations hereunder and the consummation of the Transactions by
Buyer have been duly authorized and approved by all necessary action of Buyer and its directors,
officers and stockholders and do not require any further authorization or consent of Buyer or its
directors, officers or stockholders. This Agreement is, and the other Transaction Documents when
executed and delivered by Buyer (assuming due authorization, execution and delivery by Sellers)
will be, a legal, valid and binding agreement of Buyer enforceable in accordance with its terms,
except in each case as such enforceability may be limited by the Enforceability Exceptions.

                3.3    No Conflicts. The execution and delivery of this Agreement and the
performance by Buyer of its obligations hereunder does not and will not (a) result in a violation or
breach in any material respect of any provision of the Organizational Documents of Buyer;
(b) subject to the receipt of the Governmental Consents, conflict with or violate any applicable
Law or Governmental Order; or (c) conflict with or result in any material breach or default of any
material contract or agreement to which Buyer is a party, except, in the case of clause (c), for any
such items that would not prevent or materially delay the ability of Buyer to consummate the
Transactions and the other transactions contemplated hereby (a “Buyer Material Adverse Effect”).

               3.4    Litigation. There is no Action pending or, to the Knowledge of Buyer,
threatened against Buyer which would reasonably be expected to have a Buyer Material Adverse
Effect.



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                 3.5 Qualification. Buyer is legally, financially and otherwise qualified to be the
licensee of, acquire, own and operate each of the TV Stations, the Dayton Radio Stations and the
Dayton Newspapers under the Communications Laws, including but not limited to the provisions
relating to media ownership and attribution and character qualifications. Buyer is in compliance
with Section 310(b) of the Communications Laws and the FCC’s rules governing alien ownership.
There are no facts or circumstances that would, under the Communications Laws and the existing
procedures of the FCC or any other applicable Law, disqualify Buyer as a holder of any of the
FCC Licenses held by the Acquired Companies or Sellers with respect to the Business, as
applicable, or as the owner and operator of the TV Stations or the Dayton Radio Stations. No
waiver of, exemption from, or declaratory ruling under 47 U.S.C. § 310(b)(4) regarding any
provision of the Communications Laws of the FCC, whether temporary or permanent, is necessary
for the FCC Consent to be obtained, including but not limited to a showing pursuant to 47 C.F.R.
§ 73.3555(b). Buyer is not a “foreign person” within the meaning of 31 C.F.R. § 800.216. There
are no facts or circumstances that might reasonably be expected to (a) result in the FCC’s refusal
to grant the FCC Consent or otherwise disqualify Buyer, (b) materially delay obtaining the FCC
Consent or (c) cause the FCC to impose a material condition or conditions on its granting of the
FCC Consent or to designate the FCC Application for a hearing.

               3.6     Financing.

                 (a)     As of the date of this Agreement, Buyer has delivered to Sellers true and
complete copies of (i) the Equity Commitment Letter, among Buyer and the other party thereto
(the “Equity Financing Source”), pursuant to which the Equity Financing Source has committed,
subject to the terms and conditions thereof, to invest in Buyer, directly or indirectly, the amounts
set forth therein on the date on which the Closing should occur pursuant to Section 1.3 (the “Equity
Financing”), and (ii) the executed commitment letter (together with the term sheet and any other
annexes, exhibits, schedules and other attachments thereto), dated as of the date hereof (the “Debt
Commitment Letter” and, together with the Equity Commitment Letter, the “Commitment
Letters”) among Buyer and the lenders party thereto (the “Lenders” and, together with the Equity
Financing Source, the “Financing Sources”), pursuant to which the Lenders have committed,
subject to the terms and conditions thereof, to lend the amounts set forth therein for purposes of
funding a portion of the Transactions on the date on which the Closing should occur pursuant to
Section 1.3 (the “Debt Financing” and, together with the Equity Financing, the “Financing”). As
of the date of this Agreement, Buyer has also delivered to Sellers true and complete copies of any
and all fee letter(s) (with only the fee amounts, “flex” terms and other terms redacted in a
customary manner so long as no redaction covers terms that would reduce the amount of the Debt
Financing below the amount required to satisfy the Financing Uses (after taking into account the
amount of the Equity Financing and available cash of the Acquired Companies and their respective
subsidiaries) or adversely affect the conditionality, enforceability availability or termination of the
Debt Financing) relating to the Debt Commitment Letter (any such fee letter, a “Fee Letter”). As
of the date hereof, there are no side letters or Contracts to which Buyer is a party relating to the
funding or investing, as applicable, of the Financing other than as expressly set forth in the
Commitment Letters or Fee Letter.

               (b)    Assuming the Financing is funded in accordance with the Commitment
Letters, the aggregate net proceeds from the Financing when funded in accordance with the
Commitment Letters are sufficient to fund all of the amounts required to be provided by Buyer

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under this Agreement for the consummation of the Financing and the Transactions (collectively,
the “Financing Uses”).

                (c)      As of the date hereof, (A) the Commitment Letters and Fee Letter are in full
force and effect without amendment, modification, breach or default; (B) no amendment or
modification of the Commitment Letter or Fee Letter is contemplated (other than amendments or
modifications to add lenders, lead arrangers, bookrunners, syndication agents or any person with
similar roles or titles); (C) no event has occurred which, with or without notice, lapse of time or
both, would reasonably be expected to constitute a default or breach on the part of the Buyer or,
to the Knowledge of Buyer, any other party thereto under any Commitment Letter; (D) the
Commitment Letters and Fee Letter are the valid, binding and enforceable obligations of Buyer
and, to the Knowledge of Buyer, each other party thereto, subject to the Enforceability Exceptions;
and (E) the Commitment Letters and Fee Letter have not been withdrawn or rescinded in any
respect. As of the date hereof, the Buyer is not aware of any fact, event or other condition that
makes any of the representations or warranties of the Buyer in any of the Commitment Letters or
Fee Letter inaccurate in any material respect. The Buyer has fully paid any and all commitment
fees or other fees required by the terms of the Commitment Letters or Fee Letter to be paid on or
before the date of this Agreement and will continue to pay in full all such amounts required to be
paid pursuant to the terms of the Commitment Letters and Fee Letters as and when they become
due and payable on or prior to the Closing Date. Except as set forth in the Commitment Letters,
there are no other conditions to the consummation of the Financing, and, as of the date hereof,
Buyer has no reason to believe that (x) any condition to the Commitment Letters or Fee Letter will
not be satisfied or waived prior to the Closing Date or (y) the Financing will not be consummated
on or prior to the Closing Date. Buyer acknowledges and agrees that neither the obtaining of the
Financing or any alternative financing is a condition to the Closing or any of its other obligations
under this Agreement, and reaffirms its obligation to consummate the Transactions and its other
obligations under this Agreement irrespective and independently of the availability of the
Financing or any alternative financing, subject to the applicable conditions set forth in Article 7
and the provisions of Section 10.4.

             3.7         Solvency. Assuming (a) the satisfaction of the conditions in Article 6 and
Article 7 hereof, (b) the accuracy in all material respects of the representations and warranties of
Sellers set forth in Article 2 hereof, (c) the satisfaction and performance in full by the Sellers,
including the Acquired Companies, of the covenants set forth herein, and (d) the most recent
financial forecasts of the Acquired Business made available to Buyer prior to the date hereof have
been prepared in good faith upon assumptions that were and continue to be reasonable (it being
understood and agreed that Sellers are making no representation and warranty with respect thereto
as a result of such assumption in this clause (d)), then immediately after giving effect to the
Transactions, payment of all amounts required to be paid in connection with the consummation of
the Transactions, the Financing, and payment of all related fees and expenses, Buyer shall be
Solvent. For purposes of this Agreement: (i) “Solvent”, when used with respect to a Person, means
that, as of any date of determination, (A) the amount of the “fair saleable value” of the assets of
such Person and its subsidiaries on a consolidated basis will, as of such date, exceed the sum of
(i) the value of all “liabilities of such Person and its subsidiaries on a consolidated basis, including
contingent and other liabilities,” as of such date, as such quoted terms are generally determined in
accordance with applicable Laws governing determinations of the insolvency of debtors, and
(ii) the amount that will be required to pay the probable liabilities of such Person and its

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subsidiaries on a consolidated basis, as of such date, on its existing debts (including contingent
and other liabilities) as such debts become absolute and mature, (B) such Person and its
subsidiaries on a consolidated basis will not have, as of such date, an unreasonably small amount
of capital for the operation of the businesses in which it is engaged or proposed to be engaged
following such date, and (C) such Person and its subsidiaries on a consolidated basis will be able
to pay its liabilities, as of such date, including contingent and other liabilities, as they mature. For
purposes of this definition, “not have an unreasonably small amount of capital for the operation of
the businesses in which it is engaged or proposed to be engaged” and “able to pay its liabilities, as
of such date, including contingent and other liabilities, as they mature” means that such Person
and its subsidiaries on a consolidated basis will be able to generate enough cash from operations,
asset dispositions or refinancing, or a combination thereof, to meet its obligations as they become
due.

            3.8        Limited Guarantee. Concurrently with the execution of this Agreement,
Buyer has delivered Sellers a true, complete and correct copy of the executed Limited Guarantee.
As of the date of this Agreement, the Limited Guarantee is valid, binding and enforceable in
accordance with its terms, and is in full force and effect, and no event has occurred that, with or
without notice, lapse of time, or both, would constitute a default thereunder.

             3.9        Projections and Other Information. Without prejudice to Buyer’s right to
rely upon the truth and accuracy of the representations and warranties of Sellers set forth in this
Agreement, Buyer acknowledges that, with respect to any estimates, projections, forecasts,
business plans, budget information and similar documentation or information relating to the
Acquired Companies, the Purchased Assets or the Business that Buyer has received from Sellers,
any of Sellers’ Affiliates or Sellers’ advisors, (a) Buyer is not relying on such documentation in
making its determination with respect to signing this Agreement or completing the Transactions;
(b) there are uncertainties inherent in attempting to make such estimates, projections, forecasts,
plans and budgets; (c) Buyer is familiar with such uncertainties; (d) Buyer is taking full
responsibility for making its own evaluation of the adequacy and accuracy of all estimates,
projections, forecasts, plans and budgets so furnished to Buyer; and (e) Buyer does not have, and
will not assert, any Action against Sellers or their Affiliates or any of their respective directors,
officers, members, shareholders, managers, employees or representatives, or hold Sellers or any
such Persons liable, with respect thereto. Buyer represents and warrants that none of Sellers, any
of Sellers’ Affiliates, nor any other Person, has made any representation or warranty, express or
implied, as to the accuracy or completeness of any information regarding the Acquired Companies,
the Purchased Assets or the Business or the Transactions not expressly set forth in this Agreement,
and none of Sellers nor any of their Affiliates or any other Person will have or be subject to any
liability to Buyer or any other Person resulting from the distribution to Buyer or their
representatives or Buyer’s use of any such information, including any confidential memoranda
distributed on behalf of Sellers in respect of the Acquired Companies, the Purchased Assets or the
Business or other publications or data room information provided or made available to Buyer or
its representatives, or any other document or information in any form provided or made available
to Buyer or its representatives in connection with the Transactions.

             3.10       Investment. Buyer is an “accredited investor” within the meaning of Rule
501 of Regulation D promulgated under the Securities Act of 1933, as amended (the “Securities
Act”), and is able to bear any economic risks associated with the Transactions. Buyer is acquiring

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the Equity Interests as provided in this Agreement solely for investment for its own account, and
not with a view to, or for sale in connection with, any distribution thereof in violation of applicable
state and federal securities laws. Buyer (either acting alone or together with its advisors) has
sufficient knowledge and experience in financial and business matters so as to be capable of
evaluating the merits and risks of its investment in the Equity Interests and is capable of bearing
the economic risks of such investment, including a complete loss of its investment in such Equity
Interests. Buyer hereby acknowledges that the Equity Interests have not been registered pursuant
to the Securities Act or any state securities laws, and agrees that the Equity Interests may not be
sold, transferred, offered for sale, pledged, hypothecated or otherwise disposed of without
registration under the Securities Act, except pursuant to an exemption from such registration
available under the Securities Act, and without compliance with foreign securities laws, in each
case, to the extent applicable.

            3.11       Brokers. Neither Buyer nor any of its Affiliates acting on its behalf, or any
party acting on any of their behalf, has paid or become obligated to pay any fee or commission to
any broker, finder or intermediary for or on account of the Transactions or in connection with the
other transactions contemplated hereby for which Sellers may become liable.

                 3.12 Northwest Purchase Agreement. Buyer or one of its Affiliates has provided
to Sellers a true, complete and correct fully executed copy of the Northwest Purchase Agreement
(including any schedules and exhibits relating thereto) and copies of ancillary agreements relating
thereto to the extent entered into as of the date of the Northwest Purchase Agreement, in each case,
in effect as of the date hereof. Except for the ancillary agreements provided to Sellers, there are no
side letters, undertakings or other agreements affecting, modifying or otherwise relating to the
Northwest Purchase Agreement that would reasonably be expected to delay the consummation of
the Transactions or otherwise be adverse to the Sellers in any material respect. The Northwest
Purchase Agreement is in full force and effect and constitutes the valid, binding and enforceable
obligation of the parties thereto, enforceable in accordance with its terms. There are no conditions
precedent related to the closing of the Northwest Transactions other than as set forth in Section 6
of the Northwest Purchase Agreement. Neither Buyer nor any of its Affiliates nor, to the
Knowledge of Buyer, any other party to the Northwest Purchase Agreement, is in breach of or
default under the Northwest Purchase Agreement.

             3.13       Pre-Closing Agreements. If, prior to Closing, Buyer or any of its Affiliates
enters into any agreement to purchase any entity or entities or assets identified on Schedule 3.13
and such entity, entities or assets include any television stations, such television stations shall not
be located in any Designated Market Area that includes any TV Station.

             3.14     Designated MVPD Agreements. With respect to the MVPDs which are
parties to the Carriage Agreements listed on Schedule 3.14, Buyer or a Buyer Affiliate has a
retransmission or other carriage agreement in effect with such MVPD that Buyer represents will
apply to retransmission of the Stations on such MVPD’ s applicable multichannel video
programming distribution systems in lieu of Seller’s Carriage Agreement with such MVPD.

           3.15       No Other Representations or Warranties. Sellers acknowledge that neither
Buyer nor any of Buyer’s Affiliates has made any representation or warranty, express or implied,
except as expressly set forth in this Article 3 or in any certificate delivered hereunder or any

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Transaction Document. Sellers have not relied on any representation or warranty from Buyer or
any of Buyer’s Affiliates in determining to enter into this Agreement, except as expressly set forth
in this Article 3.

                                         ARTICLE 4
                                     CERTAIN COVENANTS

             4.1       Governmental Consents.

               (a)     FCC Consent.

                        (i)    Within ten (10) Business Days after the date of this Agreement,
Buyer and Sellers shall file one or more applications with the FCC (the “FCC Applications”)
requesting FCC consent to the transfer of control of the FCC Licenses to Buyer and Buyer shall
file with the FCC the necessary applications required under the Northwest Purchase Agreement.
FCC consent to the FCC Applications with respect to the FCC Licenses is referred to herein as the
“FCC Consent.” Until such time as the FCC Consent shall have been obtained, Buyer and Sellers
shall diligently prosecute the FCC Applications and otherwise use their best efforts to obtain the
FCC Consent as soon as possible; provided, however, except as provided in the following sentence
or in Section 4.1(b)(i) and Section 4.1(b)(v), neither Buyer nor Sellers nor any Acquired Company
shall be required to pay consideration to any third party to obtain the FCC Consent. Buyer shall
pay all FCC filing fees relating to the Transactions irrespective of whether the Transactions are
consummated.

                        (ii)    Until such time as the FCC Consent with respect to the Transactions
shall have been obtained, each of Buyer and Sellers shall oppose any petitions to deny or other
objections filed with respect to the FCC Applications to the extent such petition or objection relates
to such Party. Sellers, with respect to the Transactions, and Buyer shall not take (and Buyer shall
use reasonable best efforts to prevent Northwest from taking) any action that would, or fail to take
(and Buyer shall use reasonable best efforts to prevent Northwest from failing to take) such action
the failure of which to take would, reasonably be expected to have the effect of materially delaying
the receipt of the FCC Consent with respect to the Transactions.

                         (iii) If the Closing shall not have occurred for any reason within the
original effective period of the FCC Consent, and neither Party shall have terminated this
Agreement under Section 10.1, Buyer and Sellers shall request one or more extensions of the
effective period of the FCC Consent. No extension of the FCC Consent shall limit the right of any
Party to exercise its rights under Section 10.1.

                       (iv)    The FCC Licenses of the TV Stations and the Dayton Radio Stations
expire on the dates corresponding thereto as set forth on Schedule 2.6(a). If, at any point prior to
Closing, an application for the renewal of any FCC License (a “Renewal Application”) must be
filed pursuant to the Communications Laws, the applicable Seller (or the applicable Acquired
Company) shall execute, file and prosecute with the FCC such Renewal Application in accordance
with Section 4.2(a)(ii) hereof. If an FCC Application is granted by the FCC subject to a renewal
condition, then the term “FCC Consent” shall be deemed to also include satisfaction of such
renewal condition. To avoid disruption or delay in the processing of the FCC Applications, Buyer


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agrees, as a part of the FCC Applications, to request that the FCC apply its policy permitting the
transfer of control of FCC Licenses in transactions involving multiple stations to proceed,
notwithstanding the pendency of one or more Renewal Applications. Buyer agrees to make such
representations and undertakings as are necessary or appropriate to invoke such policy, including
undertakings to assume, as between the Parties and the FCC, the position of the applicant before
the FCC with respect to any pending Renewal Application and to assume the corresponding
regulatory risks relating to any such Renewal Application. Buyer and Sellers acknowledge that,
to the extent reasonably necessary to expedite the grant by the FCC of any Renewal Application,
and thereby to facilitate the grant of the FCC Consent with respect to such TV Station, each of the
Buyer, Sellers, and their applicable subsidiaries (including any Acquired Company) and
Northwest, as applicable, shall be permitted to enter into tolling agreements with the FCC to extend
the statute of limitations for the FCC to determine or impose a forfeiture penalty against such TV
Station in connection with (a) any pending complaints that such TV Station aired programming
that contained obscene, indecent or profane material or (b) any other enforcement matters against
such TV Station with respect to which the FCC may permit Buyer, Sellers or any of their respective
subsidiaries (including any Acquired Company) to enter into a tolling agreement. For the purposes
hereof, “Communications Laws” shall mean the Communications Act of 1934, as amended, and
the rules, regulations and written policies of the FCC promulgated pursuant thereto).

               (b)     Governmental Consents; Antitrust Filings.

                       (i)    Within ten (10) Business Days after the date of this Agreement,
Buyer and Sellers shall make any required filings with the Federal Trade Commission (the “FTC”)
and the United States Department of Justice (the “DOJ”) pursuant to the Hart-Scott-Rodino
Antitrust Improvements Act of 1976, as amended (the “HSR Act”), with respect to the
Transactions (including a request for early termination of the waiting period thereunder), and,
solely with respect to Buyer, with respect to the transactions contemplated by the Northwest
Purchase Agreement, and shall thereafter promptly respond to all requests received from such
agencies for additional information or documentation. Expiration or termination of all applicable
waiting periods under the HSR Act is referred to herein as the “HSR Clearance.” If one of the
Parties extends the Outside Date under Section 10.1(d) and the new Outside Date is more than one
year after HSR Clearance, both Parties shall make any required filings with the FTC and the DOJ
pursuant to the HSR Act as may be necessary to effectuate the Closing. In the event that the Parties
make such filings, the terms of this Section 4.1(b) shall apply. Any filing fees payable under the
HSR Act relating to the Transactions shall be borne by Buyer. The FCC Consent and HSR
Clearance are referred to herein collectively as the “Governmental Consents.”

                       (ii)    Each Party shall keep each other Party apprised of the content and
status of any communications with, and communications from, any Governmental Entity with
respect to the Transactions, including promptly notifying the other Party of any communication it
or any of its Affiliates receives from any Governmental Entity relating to any review or
investigation of the Transactions under the HSR Act or any other applicable non-United States
antitrust Laws or Communications Laws and shall permit the other Party to review in advance (and
to consider any comments made by the other Party in relation to) any proposed communication by
such party to any Governmental Entity relating to such matters. Neither Party shall agree to
participate in any substantive meeting, telephone call or discussion with any Governmental Entity
in respect of any filings, investigation or other inquiry unless it consults with the other Party in

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advance and, to the extent permitted by such Governmental Entity, gives the other Party the
opportunity to attend and participate at such meeting, telephone call or discussion. Subject to the
NDA, the Parties will coordinate and cooperate fully with each other in exchanging such
information and providing such assistance as each other Party may reasonably request in
connection with the foregoing and in seeking early termination of any applicable waiting periods
including under the HSR Act or Communications Laws. Subject to the NDA, the Parties shall
provide each other with copies of all correspondence, filings or communications between them or
any of their representatives, on the one hand, and any Governmental Entity or members of its staff,
on the other hand, with respect to this Agreement and the Transactions, and, solely with respect to
Buyer, with respect to the transactions contemplated by the Northwest Purchase Agreement;
provided, however, that materials may be redacted (i) to remove references concerning the
valuation of the Business, (ii) as necessary to comply with contractual arrangements, and (iii) as
necessary to address reasonable attorney-client or other privilege or confidentiality concerns.
Without limiting the foregoing, Buyer shall be entitled to take the lead, in advance consultation
with Sellers, in the development of strategy with respect to (x) filings with or presentations or
submissions to any Governmental Entity relating to this Agreement or the Transactions
contemplated hereby (provided that Buyer shall approve the content of all presentations or
submission), and (y) any meetings with, and the conducting of negotiations with, Governmental
Entities relating to this Agreement or the Transactions contemplated hereby.

                        (iii) The Parties hereto shall use their respective best efforts to
consummate and make effective the Transactions, and, solely with respect to Buyer, with respect
to the transactions contemplated by the Northwest Purchase Agreement, and to cause the
conditions set forth in Article 6 and Article 7 to be satisfied, including (i) the undertaking or
obtaining of all necessary actions or nonactions, consents and approvals from Governmental
Entities or other persons necessary in connection with the consummation of the Transactions and
the making of all necessary registrations and filings (including filings with Governmental Entities,
if any) and the taking of all steps as may be necessary to obtain an approval from, or to avoid the
initiation of an action or proceeding by any Governmental Entity or other Persons, necessary for
the consummation of the Transactions, including any Divestiture (as defined below) commitments
by Buyer in accordance with Section 4.1(b)(iv), and (ii) the execution and delivery of any
additional instruments necessary to consummate the transactions to be performed or consummated
by such party in accordance with the terms of this Agreement and, solely with respect to Buyer,
the Northwest Purchase Agreement and to carry out fully the purposes of this Agreement and,
solely with respect to Buyer, the Northwest Purchase Agreement.

                        (iv)   Buyer agrees not to, and shall not permit any of its Affiliates to, take
(and shall use reasonable best efforts to prevent Northwest from taking) any action that would
reasonably be expected to materially delay, materially impede or prevent receipt of the
Governmental Consents, including any action that would reasonably be expected to result in any
lawsuits or other legal proceedings, whether judicial or administrative, challenging this Agreement
or the Northwest Purchase Agreement or the consummation of the transactions performed or
consummated by Buyer in accordance with the terms of this Agreement or Northwest Purchase
Agreement. In the event any Actions as described in the foregoing sentence are commenced, Buyer
shall defend any such Actions, including seeking to have any stay or temporary restraining order
entered by any court or other Governmental Entity vacated or reversed. Without limiting the
foregoing, Buyer shall take promptly any and all steps necessary to avoid or eliminate each and

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every impediment and obtain all consents under any antitrust, competition or Communications
Laws that may be required by any U.S. federal, state or local antitrust or competition Governmental
Entity, or by the FCC or similar Governmental Entity, in each case with competent jurisdiction, so
as to enable the Parties to close the Transactions and the transactions contemplated by the
Northwest Purchase Agreement as promptly as practicable, including committing to or effecting,
by consent decree, hold separate orders, trust, or otherwise, the Divestiture (as defined below) of
such assets or businesses as are required to be divested in order to obtain the Governmental
Consents, or to avoid the entry of, or to effect the dissolution of or vacate or lift, any Governmental
Order, that would otherwise have the effect of preventing or materially delaying the consummation
of the Transactions or the transactions contemplated by the Northwest Purchase Agreement. For
purposes of this Agreement, a “Divestiture” of any asset or business shall mean (i) any sale,
transfer, separate holding, divestiture or other disposition, or any prohibition of, or any limitation
on, the acquisition, ownership, operation or effective control or exercise of full rights of ownership,
of such asset or (ii) the termination or amendment of any existing or contemplated governance
structure or other contractual or governance rights of Buyer, in each case, for the purpose of
promptly obtaining the Governmental Consents. Further, and for the avoidance of doubt, Buyer
will take any and all actions necessary as promptly as reasonably practicable to ensure that (x) no
requirement for any non-action, consent or approval of the FTC, the Antitrust Division of the DOJ,
any authority enforcing applicable antitrust, competition, Communications Laws, any state
attorney general or other Governmental Entity; (y) no Governmental Order; and (z) no other matter
relating to any antitrust or competition Law or any Communications Law would preclude
consummation of the Transactions.

                         (v)     Without limiting the foregoing, each of Buyer and Sellers shall
comply with their respective obligations under Schedule 4.1 (the “Divestiture Plan”) with respect
to Divestitures in the markets referenced therein (the “Divestiture Markets”). In addition to, and
not in limitation of, any other provision of this Agreement, (i) not later than the date (the
“Divestiture Deadline Date”) that is, with respect to Divestiture Markets existing as of the date of
this Agreement, sixty (60) days following execution of this Agreement (subject to extension by
Sellers, in their discretion), or, with respect to Divestiture Markets created by transactions entered
into by Buyer or any of its Affiliates after execution of this Agreement and before the Closing,
thirty (30) days following execution of any agreement creating such Divestiture Market(s), Buyer
shall enter into an agreement with a third party or third parties approved by the DOJ and qualified
by the FCC to hold the licenses of the divested stations pursuant to the Divestiture Plan to cause
the applicable Acquired Company or Buyer to transfer the FCC Licenses for the Divestiture
Markets and all related license assets used in the operation of the divested stations to such third
party contemporaneously with the Closing (the assets described in this clause (i) being the
“Divestiture Station Assets”; the third party described in this clause (i) being the “Divestiture
Station Assets”; the third party described in this clause (i) being a “Third Party Buyer;” and each
transfer described in this clause (i) being a “Third Party Transaction”), and (ii) Buyer shall cause
such Third Party Buyer to consummate each Third Party Transaction concurrently with the
Closing. If, by the Divestiture Deadline Date, Buyer has not entered into a Third Party Transaction
with a Third Party Buyer approved by the DOJ and qualified by the FCC as required by clause (i),
then Buyer shall, as applicable (A) agree to, and at Closing will, put the relevant Divestiture Station
Assets into a divestiture trust acceptable to the FCC, and/or (B) agree to, and at Closing will, enter
into a Hold Separate Stipulation and Order with the DOJ with respect to any such Divestiture
Station Assets, in either case contemporaneously with and conditioned upon the Closing, to

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facilitate the grant of the Governmental Consents. Buyer will use best efforts to cause the actions
described in this Section 4.1(b)(v) not to delay unnecessarily or otherwise impair the receipt of the
Governmental Consents or the consummation of the Transactions hereunder. Seller will use its
reasonable best efforts to provide such assistance as is reasonably requested by Buyer to effect the
Divestiture Plan. In the event that (x) Buyer enters into a Stipulation and Order with the DOJ that
requires the sale of the Divestiture Station assets, and (y) the FCC Consent includes a condition
that requires the sale of the Divestiture Station assets, then if Buyer fully complies with the terms
of such Stipulation and Order and such FCC Consent, Buyer will be deemed to have fulfilled its
obligations under this Section 4.1(b)(v). Notwithstanding anything to the contrary contained in
this Agreement, neither the failure to enter into or consummate a Third Party Transaction
contemplated by this Section 4.1(b)(v) nor the terms of any such Third Party Transaction shall
relieve Buyer of its obligation to consummate the Transactions or pay the entire Purchase Price at
the Closing. Notwithstanding anything to the contrary contained in this Agreement, until such time
as the FCC Consent shall have become a Final Order and the Governmental Consents shall have
been obtained, Buyer shall take all necessary actions, and comply with all conditions imposed on
them, to obtain the Governmental Consents with respect to the Divestiture Markets and the
Divestiture Station Assets (including, but not limited to, any requirement that Buyer consummate,
and/or cause any Third Party Buyer to consummate, one or more Third Party Transactions at the
Closing, or utilize an FCC divestiture trust or trusts, hold separate arrangement, or other similar
structures or transactions in connection with the consummation of the Transactions at the Closing
to the extent related to such Divestiture Station Assets or the Divestiture Markets). Buyer shall be
responsible for the payment of all Taxes and other costs and expenses, including filing fees for any
applicable application with the FCC and under the HSR Act, incurred in connection with or as a
result of the Divestiture Plan.

                 (c)     If Buyer or any of its Affiliates enters into any agreement to purchase any
entity or entities or assets identified on Schedule 3.13, the entering into of any such agreement, or
the making of any filings required to obtain Governmental Consents, pursuant to such agreements
and any actions reasonably taken with respect to those filings (provided that such actions would
not reasonably be expected to materially delay the Closing), shall not be deemed to be a breach by
Buyer of any covenant in this Section 4.1. For avoidance of doubt, such actions taken at the
direction of Governmental Entities in order to obtain the Governmental Consents described in the
preceding sentence shall not be deemed a breach by Buyer of any covenant in this Section 4.1.

               4.2     Operations of the Business Prior to the Closing Date.

               (a)    From the date hereof until the Closing, except as (A) permitted by this
Agreement, (B) requested by Buyer and agreed to by Sellers, (C) set forth on Schedule 4.2(a), (D)
required by applicable Law, or (E) required by the regulations or requirements of any regulatory
organization applicable to Sellers, the Acquired Companies, the Purchased Assets or the Business,
unless Buyer otherwise consents in writing (which request for consent shall not be unreasonably
withheld, conditioned or delayed, and unless Buyer responds within five (5) Business Days of
receipt of such request for consent denying such request for consent, Buyer shall be deemed to
have given such consent), Sellers shall with respect to the Business, and shall cause the Acquired
Companies to:



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                       (i)    operate the Business in the ordinary course of business consistent
with past practices and conduct the Business in all material respects in accordance with the
Communications Laws and with all other applicable Laws, including using commercially
reasonable efforts to preserve and maintain the goodwill, business, significant relationships with
customers and third parties and Permits of the Business;

                     (ii)    use commercially reasonable efforts to maintain all of the material
FCC Licenses listed on Schedule 2.6(a) in full force and effect, timely file all applications or
requests necessary to renew or extend all of the material FCC Licenses, and not materially
adversely modify any of the material FCC Licenses; and

                      (iii)   not agree, commit or resolve to take any actions inconsistent with
the foregoing.

               (b)     From the date hereof until the Closing, except as (A) permitted by this
Agreement, (B) requested by Buyer and agreed to by Sellers, (C) set forth on Schedule 4.2(b), (D)
required by applicable Law, or (E) required by the regulations or requirements of any regulatory
organization applicable to Sellers, the Acquired Companies, the Purchased Assets or the Business,
unless Buyer otherwise consents in writing (which request for consent shall not be unreasonably
withheld, conditioned or delayed, Sellers shall not with respect to the Business, and shall cause
each Acquired Company not to, do any of the following (whether by merger, consolidation,
operation of law or otherwise):

                        (i)    with respect to any Material Programming Rights Agreement that
relates to the receiving or obtaining of Programming Rights by any Acquired Companies or their
subsidiaries, any Network Affiliation Agreement, and any agreement, contract or other binding
obligation that is or would be a Sharing Agreement (such agreements, the “Material Station
Operations Agreements”), (A) renew, amend, extend, modify, let lapse or terminate any Material
Station Operations Agreement, (B) enter into any agreement that would constitute a Material
Station Operations Agreement, or (C) waive, release or assign any material rights, claims or
benefits or grant any material consent under a Material Station Operations Agreement or consent
to the termination of the Acquired Business’ or any Acquired Company’s (or of their respective
applicable subsidiary’s) rights thereunder; provided, however, that Sellers may, in the ordinary
course of business consistent with past practices, renew, amend, enter into or grant an extension
of any such Material Programming Rights Agreement or Network Affiliation Agreement, in each
case, on terms customary for the Seller or the applicable Acquired Company; provided that with
respect to any Material Programming Rights Agreement or Network Affiliation Agreement,
Sellers shall use reasonable best efforts not to renew, amend, enter into or otherwise grant a
temporary extension that (x) contains rates and economic terms that include a rate increase more
frequently than on an annual basis or are materially less favorable to Seller and/or the Acquired
Company than those in effect prior to the execution of this Agreement (provided that this clause
(x) shall not apply to any temporary extension of a Material Programming Rights Agreement or
Network Affiliation Agreement that expires no later than the Closing Date);

                      (ii)    (A) renew, amend, extend or modify or terminate (excluding
terminations based on material breach by the other party or upon expiration of the term thereof in
accordance with the terms thereof), any Material Agreement that constitutes a Carriage Agreement

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with any MVPD, provided, however, that Sellers may, in the ordinary course of business consistent
with past practices and Sellers’ obligations pursuant to the Communications Laws, renew, amend,
enter into or grant an extension of any such Carriage Agreement, in each case, on terms customary
for the Seller; provided that (I) with respect to any Assumed Carriage Agreement, Sellers shall (x)
use their commercially reasonable efforts to ensure that any renewal, amendment, or temporary
extension of any such Carriage Agreement has an expiration date that occurs no later than one (1)
year from the date of execution; provided that with respect to the Carriage Agreements set forth
on Schedule 4.2(b)(ii), Sellers shall use their best efforts to ensure that any renewal, amendment
or temporary extension thereof shall expire no later than November 30, 2020, (y) not renew,
amend, enter into or otherwise grant a temporary extension of such Carriage Agreements that does
not contain rates and economic terms that include a rate increase at least as frequently as an annual
basis (provided that this clause (y) shall not apply to any temporary extension of an Assumed
Carriage Agreement that expires in under one (1) year or no later than the Closing Date), and (z)
not renew, amend, enter into or otherwise grant a temporary extension of such Carriage
Agreements that includes any MFN provision, and (II) such renewal, amendment, extension, or
other agreement does not amend or modify any terms of any Material Agreement which is a
Carriage Agreement, as in effect prior to the execution of this Agreement, relating to the divestiture
of Stations or the applicability of such Carriage Agreement to Buyer which amendment or
modification, as compared to the terms of the Carriage Agreement in effect prior to such
amendment or modification, could reasonably be expected to materially increase the likelihood
that such Carriage Agreement applies to Buyer or the Stations subsequent to the Closing, or (B)
fail to timely make any retransmission consent election with any MVPD that has more than 25,000
subscribers in a TV Station’s DMA;

                       (iii) other than in the ordinary course of business consistent with past
practices (including renewals consistent with the existing terms thereof), (i) amend or modify in
any material respect or terminate (excluding terminations or renewals upon expiration of the term
thereof in accordance with the terms thereof) any Material Agreement, (ii) enter into any
agreement that would constitute a Material Agreement if in effect on the date hereof, (iii) waive,
release or assign any material rights, claims or benefits or grant any material consent, under any
Material Agreement, or (iv) consent to the termination of the Acquired Business’ or any Acquired
Company’s (or of their respective applicable subsidiary’s) rights thereunder; provided, that, this
Section 4.2(b)(iii) shall not apply to Material Station Operations Agreements or any Material
Agreement that constitutes a Carriage Agreement with any MVPD;

                       (iv)   (A) authorize or effect any amendment or change to the certificate
of incorporation, bylaws or other similar organizational documents of any Acquired Company or
(B) create or organize any new subsidiary of any Acquired Company;

                        (v)    (A) other than dividends and other distributions by a direct or
indirect subsidiary of an Acquired Company to such Acquired Company or any direct or indirect
wholly owned subsidiary of such Acquired Company, declare, set aside or pay any non-cash
dividends on, or make any other non-cash distributions in respect of, any of its capital stock or
other equity securities of any Acquired Company, (B) adjust, split, reverse split, recapitalize,
subdivide, consolidate, combine or reclassify the capital stock, interests or other securities of any
Acquired Company or issue or authorize the issuance of any other securities in respect of, or in
substitution for, outstanding shares of capital stock, interests or other securities of any Acquired

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Company (including any warrants, options or other rights to acquire the foregoing) or (C)
purchase, redeem or otherwise acquire any shares of capital stock, interests or other securities of
any Acquired Company, except, in the case of this clause (C), for such purchases, redemptions and
other acquisitions solely between such Acquired Company and a wholly owned subsidiary thereof,
or between a wholly owned subsidiary of such Acquired Company and another wholly owned
subsidiary of such Acquired Company;

                        (vi)  (A) issue, deliver, pledge or sell, or otherwise encumber by any Lien
(other than a Permitted Lien) or authorize the issuance, delivery, sale or encumbrance by any Lien
(other than a Permitted Lien) of, any shares of any Acquired Company or any of its subsidiaries,
other than issuances of securities of the Acquired Company’s subsidiaries to such Acquired
Company or to wholly owned subsidiaries of such Acquired Company or (B) amend any term of
any security of any Acquired Company (in each case, whether by merger, consolidation or
otherwise); provided, in each case, that such Acquired Company shall not make any issuances to
the extent that such issuances, would cause such Acquired Company or any of its subsidiaries to
be in violation of the Communications Laws;

                      (vii) sell, assign, license, lease, transfer, abandon or create any Lien
(other than any Permitted Lien) on, or otherwise dispose of, any assets that are material to the
Business or the Purchased Assets;

                       (viii) make any acquisition (whether by merger, consolidation or
acquisition of equity interests or assets) of any interest in any Person or any division or assets
thereof with a value or purchase price (including all potentially payable “earn-out” consideration
or any other obligation to potentially pay consideration in the future) in excess of $10 million in
the aggregate, other than purchases of assets in the ordinary course of business;

                       (ix)    incur any Indebtedness with respect to any Acquired Company,
other than (A) intercompany indebtedness (between or among the Acquired Companies) or (B)
Indebtedness that is paid off in full prior to or in conjunction with the Closing;

                      (x)     make any loans, advances or capital contributions to, or investments
in, any Person in excess of $10 million in the aggregate with respect to the Business, other than
pursuant to any written binding contractual obligation in effect as of the date hereof and ordinary
course advancements and reimbursements to Employees;

                       (xi)    other than as required by applicable Law (including good faith
obligations to bargain as required by Law), the existing terms of any Employee Plan or a collective
bargaining agreement in effect on the date hereof: (i) grant, increase or agree to any severance or
termination pay to any employee, officer, director or independent contractor of the Business in
excess of the greater of (x) $100,000 individually or (y) up to $2.5 million in the aggregate,
provided that any such severance or termination pay will be in accordance with the Seller
Severance Policy; (ii) (x) enter into or amend any employment agreement with any Top Tier
Employee; provided that Sellers may amend any such employment agreement to provide
additional annual base compensation up to an additional 5% of such Top Tier Employee’s current
base salary if the amendment is made within 3 months prior to the expiration of the agreement or
(y) enter into or amend any employment agreement with any On-Air Talent; provided that Sellers


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may amend any such employment agreement to provide additional annual base compensation up
to an additional 10% of such On-Air Talent’s current base salary if the amendment is made within
3 months prior to the expiration of the agreement; (iii) establish, adopt, terminate or materially
amend any (x) Employee Plan (including any plan, agreement or arrangement that would be an
Employee Plan if in effect on the date hereof, but excluding any Employee Plans administered by
Cox Enterprises, Inc. with respect to employees generally) or (y) collective bargaining agreement
to the extent it would have any impact on employees of the Business; (iv) take any action to
accelerate the vesting or payment, or fund or secure the payment, of compensation (including any
equity-based compensation) or benefits under an Employee Plan applicable to employees of the
Business, other than grants for 2019 of long term incentive awards by Cox Enterprises, Inc. in the
ordinary course consistent with past practice; (v) loan or advance any money or any other property
to any current or former director, officer, employee or independent contractor of the Business with
a value in excess of $100,000 individually or up to $1 million in the aggregate; (vi) grant or
increase any change-in-control or retention bonus to any director, officer, independent contractor
or employee of the Business with a value in excess of $100,000 individually or $2.5 million in the
aggregate; (vii) grant any other increase in compensation, bonus or other payments payable to any
independent contractor, employee, officer or director of the Business, except for increases in base
salaries (and corresponding increases in target bonuses and long term incentive awards) in the
ordinary course of business in conjunction with any annual merit pay increases for Top Tier
Employees, and so long as the increases for all such individuals do not exceed 5.0% for any
individual or 3.5% in the aggregate; (viii) terminate, other than for cause (as reasonably determined
by the Sellers in good faith), the employment or services of, or hire or engage the services of any
Top Tier Employee or On-Air Talent, provided that this clause (viii) does not apply to the non-
renewal of On-Air-Talent or to Employees promoted to open positions within the Business; or (xi)
effectuate any plant closing or mass layoff that would incur any Liability or obligation to the
Business under the WARN Act;

                        (xii) materially change the Acquired Companies’ methods, principles or
practices of financial accounting or annual accounting period, except as required by GAAP or by
any Governmental Entity or applicable Law;

                         (xiii) (i) materially change any method of Tax accounting, (ii) make or
change any material election with respect to Taxes, (iii) amend any federal income Tax Return in
a manner that would materially increase the Taxes of the Acquired Companies or the Business,
(iv) settle, or offer, propose or agree to settle, any claim or deficiency in respect of a material
amount of Taxes, (v) enter into any closing agreement within the meaning of Section 7121 of the
Code (or any similar provision of state, local, or non-U.S. Law) with respect to a material amount
of Taxes, (vi) surrender any right to a material refund of Taxes, (vii) consent to any extension or
waiver of the limitation period applicable to any audit, assessment or claim for a material amount
of income Taxes except in the ordinary course of business consistent with past practice or (viii)
fail to timely pay any material Tax or file any material Tax Return when due;

                       (xiv) adopt or publicly propose a plan of complete or partial liquidation
or resolutions providing for or authorizing such a liquidation or a dissolution, in each case, of any
Acquired Company or any subsidiary of such Acquired Company;



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                         (xv) settle, offer to settle, or propose to settle or offer to settle, any
liabilities or obligations arising out of or relating to any Action involving or against any Acquired
Company or any of its subsidiaries or the Purchased Assets in excess of $10 million per Action or
$15 million in the aggregate, in each case, that would not involve injunctive, equitable or non-
monetary relief or impose any material restrictions on the operation of the Business (other than
compliance with confidentiality and other similar customary provisions), and without any
admission of fault or wrongdoing or other liability;

                       (xvi) modify any of the FCC Licenses if doing so is reasonably likely to
be materially adverse to the Business taken as a whole or fail to provide Buyer with a copy of (and
a reasonable opportunity to review and comment on) any application for the modification of any
FCC License reasonably in advance of filing with the FCC, except, in each case, as required by
Law or as required in connection with the broadcast incentive auction, reassignment and repack
conducted by the FCC pursuant to Section 4603 of the Middle Class Tax Relief and Job Creation
Act (Pub. L. No. 112- 96, §6403, 126 Stat. 156, 225-230 (2012)) (the “Incentive Auction &
Repack”);

                        (xvii) apply to the FCC for any construction permit with respect to any
FCC License that would restrict in any material respect the stations’ operations or make any
material change in the assets of the stations that is not in the ordinary course of business, except
as may be necessary or advisable to maintain or continue effective transmission of the stations’
signals within their respective service areas as of the date hereof, except, in each case as required
by Law or as required in connection with the Incentive Auction & Repack;

                       (xviii) change the fiscal year of any Acquired Company;

                       (xix) cause any Acquired Company to enter into a new material line of
business outside the existing business of any Acquired Company or its subsidiaries as of the date
hereof;

                      (xx) fail to take any commercially reasonable action necessary to
maintain or renew, as applicable, any Business Intellectual Property; and

                       (xxi)   agree, commit or resolve to take any actions inconsistent with the
foregoing.

               4.3     Director and Officer Indemnification.

               (a)     For a period of six (6) years after the Closing, the Acquired Companies shall
(and Buyer shall cause the Acquired Companies to) fulfill and honor all rights to indemnification
pursuant to the Organizational Documents of the Acquired Companies and the agreements listed
on Schedule 4.3 in favor of each Person who is now, or has been at any time prior to the date hereof
or who becomes prior to the Closing, an officer, director or limited liability company manager of
any Acquired Company (the “Company Indemnified Parties”). Each Company Indemnified Party
shall continue to be afforded the rights to indemnification pursuant to the Organizational
Documents of the Acquired Companies and the agreements listed on Schedule 4.3 so long as such
Company Indemnified Party does not settle, compromise or consent to the entry of any judgment
in any actual or threatened claim in respect of which indemnification has been sought by such

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Company Indemnified Party hereunder without the prior written consent of Buyer not to be
unreasonably withheld or delayed. In the event of any such Action, (i) the Acquired Companies
will have the right to control the defense thereof after the Closing, (ii) each Company Indemnified
Party will be entitled to retain his or her own counsel (the reasonable and documented fees and
expenses of which will be advanced by the applicable Acquired Company), whether or not the
applicable Acquired Company elects to control the defense of any such Action and (C) no
Company Indemnified Party will be liable for any settlement of such Action effected without his
or her prior written consent (unless such settlement related only to monetary damages for which
the applicable Acquired Company is entirely responsible). The provisions of the Organizational
Documents of the Acquired Companies with respect to indemnification, advancement of expenses
and exculpation of liability shall not be amended, repealed or otherwise modified for a period of
six (6) years from the Closing Date in any manner that would adversely affect the rights of the
Company Indemnified Parties thereunder, unless such modification is required by applicable Law.
Buyer shall not take any action after the Closing to cause any of the Acquired Companies not to
fulfill or honor indemnification rights of the Company Indemnified Parties that are no less
favorable than in effect as of immediately prior to the Closing under the Organizational Documents
and under the agreements listed on Schedule 4.3.

                (b)      At Closing, the Acquired Companies shall, at Buyer’s sole expense, obtain
and pay for in full as of the Closing Date, “tail” coverage for Directors & Officers Liability
insurance with a claims period of six (6) years from the Closing Date; provided, that in no event
shall Buyer or the Acquired Companies be required to expend for such policies pursuant to this
sentence an annual premium amount in excess of two hundred percent (200%) of the last premium
amount per annum the Sellers paid prior to the date of this Agreement (the “Premium Cap”);
provided, further, that if the amount necessary to procure such insurance coverage exceeds the
Premium Cap, the Acquired Companies shall (and Buyer shall or shall cause the Acquired
Companies to) purchase the most advantageous policy available for an amount not to exceed the
Premium Cap. After the Closing, neither Buyer, nor any of their Acquired Companies or any of
their Affiliates will take any action to negate, cancel or otherwise modify or terminate such “tail”
insurance policies (unless such insurance policies are modified or replaced with substantially
comparable policies, subject to the Premium Cap).

                (c)    The provisions of this Section 4.3 are intended for the benefit of, and shall
be enforceable by, the Company Indemnified Parties and their heirs and personal representatives,
and shall be binding on Buyer and the Acquired Companies, and their successors and assigns. In
the event that Buyer or any Acquired Company or any successor or assign (i) consolidates with or
merges into any other Person and shall not be the continuing or surviving Person in such
consolidation or merger, or (ii) transfers all or substantially all of its properties and assets to any
other Person, then, in each such case, provisions shall be made so that such successors or assigns
honor the obligations set forth with respect to Buyer and the Acquired Companies in this Section
4.3.

               4.4     Northwest Purchase Agreement. Without the prior written consent of
Sellers, Buyer and its Affiliates shall not agree to or permit any amendment, supplement or other
modification to be made to, or any waiver of any provision or remedy under, the Northwest
Purchase Agreement or any ancillary agreement relating thereto or enter into any side letter,
undertaking or other agreement affecting, modifying or otherwise relating to the Northwest

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Purchase Agreement, except in each case to the extent not adverse to Sellers in any material respect
or be reasonably likely to delay the Transactions or, in the case of amendments, to the extent
permitted without the consent of Sellers under Section 11.5 thereof. Without limiting the generality
of the foregoing, without the consent of Sellers, Buyer and its Affiliates shall not agree to any
amendment or waiver under the Northwest Purchase Agreement or any ancillary agreement that
would reasonably be expected to delay consummation of the transactions contemplated by the
Northwest Purchase Agreement. In connection with any request by Buyer for Sellers’ consent,
Buyer shall provide Sellers with a draft of such amendment, supplement, modification, waiver or
agreement at least four (4) Business Days prior to the date it proposes to enter into such
amendment, supplement, modification, waiver or agreement and with such information as Sellers
may reasonably request in connection with any such amendment, supplement, modification,
waiver or agreement. Buyer shall, and shall cause its Affiliates to, use reasonable best efforts to
take, or cause to be taken, all actions, and to do, or cause to be done, all things necessary, proper
or advisable to consummate the transactions contemplated by Northwest Purchase Agreement as
promptly as reasonably practicable. Upon the request of Sellers, Buyer shall keep Sellers informed
on a current basis of the status of the satisfaction of the conditions precedent to the Northwest
Closing and any material developments with respect thereto. Without limiting the foregoing,
Buyer shall promptly (and in no event later than one (1) Business Day) after obtaining knowledge
thereof, give Sellers written notice of any material breach or default by Buyer, its Affiliates or any
other party to the Northwest Purchase Agreement or any ancillary document related thereto (or
any event or circumstance that, with or without notice, lapse of time, or both, would give rise to
any material breach or default).

                                           ARTICLE 5
                                       JOINT COVENANTS

       Buyer, on the one hand, and Sellers, on the other hand, hereby covenant and agree as
follows:

                5.1    Confidentiality. Parent and Buyer (or an Affiliate of Buyer) are parties to a
nondisclosure agreement, dated October 30, 2018 (as amended, the “NDA”). To the extent not
already a direct party thereto, Buyer hereby assumes the NDA and agrees to be bound by the
provisions thereof applicable to Buyer’s Affiliate that is a party thereto, and such NDA shall
remain in effect in accordance with its terms. Without limiting the terms of the NDA, and subject
to the requirements of applicable Law, all non-public information regarding Sellers, the Purchased
Assets and the Business shall be confidential and shall not be disclosed to any other Person, except
Buyer’s representatives and lenders for the purpose of consummating the Transactions; provided,
that effective upon the Closing, the NDA shall terminate with respect to information related solely
to the Business. From and after the Closing, Sellers shall not, and shall cause its Affiliates and
Representatives not to, disclose to any Person (other than any Representative of Seller owning a
confidentiality obligation to Seller in its capacity as such) information concerning the Business,
any Purchased Asset, any Assumed Liability or any Acquired Company (including such Acquired
Company Assets). It is understood that Sellers shall have no liability hereunder with respect to the
use of such information (a) to the extent necessary in order to comply with obligations under this
Agreement or any other Transaction Document, (b) that is in or, through no fault of Sellers or any
of their respective Affiliates or Representatives, comes into the public domain or (c) that is
rightfully obtained by Sellers or any of its Affiliates from a third party not under any confidentiality

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obligation to Buyer or any of its Affiliates. Notwithstanding the foregoing, Buyer and its Affiliates
may provide ordinary course communications regarding this Agreement, the Transaction
Documents, the Transactions and the other transactions contemplated hereby and thereby to
existing or prospective general and limited partners, equity holders, members, managers and
investors of any Affiliates of such Person, in each case, who are subject to customary
confidentiality restrictions.

            5.2        Announcements. Prior to Closing, no Party shall, without the prior written
consent of the other Parties (which consent shall not be unreasonably withheld, conditioned or
delayed), issue any press release or make any other public announcement concerning the
Transactions, except to the extent that such Party is so obligated by applicable Law or any rule or
regulation of any securities exchange upon which the securities of such Party are listed or traded,
in which case such Party shall give advance notice and an opportunity to comment to the other,
and except that the Parties shall cooperate to make a mutually agreeable announcement; provided,
that nothing in this Section 5.2 shall prohibit any disclosure of information concerning this
Agreement in connection with any dispute between the Parties regarding this Agreement.

            5.3        Control. Notwithstanding any other provision set forth in this Agreement,
this Agreement is not intended to and shall not be interpreted to transfer control of any TV Station
or Dayton Radio Station, or to give Buyer the right, directly or indirectly, to control, supervise or
direct the business or operations of the Business, prior to Closing. Consistent with the
Communications Laws, control, supervision and direction of the operation of the Business prior to
Closing shall remain the responsibility of the holders of the FCC Licenses.

             5.4       Consents; Certain Contracts.

                (a)     Consents. Buyer and Sellers shall use commercially reasonable efforts to
obtain any third-party consents, approvals, authorizations or waivers (collectively, “Approvals”)
required to sell, assign or transfer any Purchased Assets, including any Material Agreements. If
such Approval is not obtained prior to Closing and the Closing occurs, until such time as such
Approval or Approvals are obtained, then Sellers will, if and to the extent Buyer shall request, use
commercially reasonable efforts to cooperate with Buyer in effecting a lawful and commercially
reasonable arrangement under which Buyer shall receive benefits under such Purchased Asset or
such Contract, as applicable, in the ordinary course of business (taking into account the
Transactions) and taking reasonable direction from Buyer with respect to such operation, which
would be intended to both (i) provide Buyer, to the fullest extent practicable, the claims, rights and
benefits of such Purchased Assets or such Contract, including enforcing, or allowing Buyer to
enforce the rights retained by such Sellers with respect to such assets or such Contract and (ii)
cause Buyer to bear all costs and Liabilities thereunder from and after the Closing in accordance
with this Agreement (including by means of any subcontracting, sublicensing or subleasing
arrangement). In furtherance of the foregoing, Buyer will promptly pay, perform or discharge
when due any Liability arising thereunder after the Closing Date and Sellers shall, and shall cause
their respective Affiliates to, without further consideration therefore, pay and remit to Buyer
promptly all monies, rights and other consideration received thereunder. No Party shall be
obligated to (A) make any payment to any third party to obtain any Approval under this Section
5.4 other than normal and usual processing fees, filing fees or other similar normal costs incurred
in connection with such third-party Approval or (B) grant any accommodation (financial or

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otherwise) to any third party in connection with obtaining such third-party Approval. Any such
costs incurred by the Parties shall be shared and borne equally by Buyer, on the one hand, and
Sellers, on the other hand. Without limiting Sellers’ obligations contained in this Section 5.4(a),
Buyer expressly acknowledges and agrees that (i) it is not a condition to Buyer’s obligation to
consummate the Closing that Sellers obtain any required Approvals under the Material
Agreements, and (ii) the failure of Sellers to obtain any required Approval under any Material
Agreement, so long as Sellers disclosed the requirement for such Approval in compliance with
Section 2.4, shall not be considered (A) for purposes of determining whether a Material Adverse
Effect has occurred or (B) whether the condition to Buyer’s obligation to consummate the Closing
set forth in Section 7.1(a)(i) has been met. With respect to any Carriage Agreement that constitutes
a Material Agreement, Sellers shall consult in good faith with Buyer in advance (with reasonable
advance notice) with respect to any notices, and consider in good faith Buyer input on strategy
relating thereto, relating to the transactions contemplated hereby.

               (b)     Commingled Contracts.

                         (i)     The Parties acknowledge that Sellers or their respective subsidiaries
are parties to certain contracts listed on Schedule 5.4(b) that relate to both the operations or conduct
of the Business and that of other businesses of Sellers (and/or their subsidiaries), but that will
remain with Sellers (and/or their subsidiaries) after the Closing (the “Commingled Contracts”).
Sellers and Buyer shall cooperate and use their respective commercially reasonable efforts with
the unaffiliated counterparty to the Commingled Contracts (A) to obtain, through an amendment,
partial assignment or new contract (any such arrangement, a “Replacement Contract”) for the
benefit of Buyer the respective rights and obligations related to the Business under each
Commingled Contract (the “Commingled Contract Rights”), such that, effective at or after the
Closing, Buyer will be the beneficiary of the rights and will be responsible for the obligations
related to the Commingled Contract Rights of such Commingled Contracts and (B) to novate the
respective rights and obligations related to the Commingled Contract Rights under each such
Commingled Contract and obtain an unconditional release for the applicable Seller and its
Affiliates thereunder, such that, subsequent to the Closing, Sellers and their subsidiaries will have
no rights or Liability with respect to the Commingled Contract Rights under and in respect of the
Commingled Contracts; provided, however, that (A) no Replacement Contract shall impose any
Liability on Sellers or any of their subsidiaries after the Closing; (B) any and all consideration paid
in order to obtain amend, assign in part, novate or replace such Comingled Contract or
Replacement Contract shall be borne equally be Sellers and Buyer (provided, that, neither Sellers
nor Buyer shall have any obligation to offer or pay any consideration in excess of $10,000); (C)
obtaining Replacement Contracts is not a condition to the Closing; and (D) if any Commingled
Contract includes any group discount or similar benefit that is not assignable or transferable to
Buyer, then the Replacement Contract will not include or reflect such terms.

                      (ii)   In the event a Replacement Contract is not obtained by the Closing
and the Closing occurs, Sellers will, if and to the extent Buyer shall request, use commercially
reasonable efforts to cooperate with Buyer in effecting a lawful and commercially reasonable
arrangement under which Buyer shall receive benefits under the Commingled Contracts and
continue to operate such assets in the ordinary course of business (taking into account the
Transactions) and taking reasonable direction from Buyer with respect to such operation with
respect to the Commingled Contract Rights of each Commingled Contract, which would be

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intended to both (x) provide Buyer, to the fullest extent practicable under such Commingled
Contract, the claims, rights and benefits of the Commingled Contract Right of each Commingled
Contract, including enforcing, or allowing Buyer to enforce, the rights retained by Sellers with
respect thereto and (y) cause Buyer to bear all costs and Liabilities thereunder from and after the
Closing in accordance with this Agreement (including by means of any subcontracting,
sublicensing or subleasing arrangement).

                       (iii) Notwithstanding anything to the contrary herein, this Agreement
and the consummation of the Transactions shall not be construed as an attempt or agreement to
assign any Contract or rights thereunder, including any rights under a Commingled Contract, or
other right, which by its terms or by Law is not assignable without the consent of a third party or
a Governmental Entity or is cancelable by a third party in the event of an assignment, unless and
until such consent shall have been obtained; provided, that upon receipt of such Approval, such
assignment or transfer shall automatically and without further action be effected in accordance
with the terms of this Agreement.

                (c)     Release of Guarantees.

                       (i)     Prior to the Closing Date, the Parties hereto agree to cooperate and
use commercially reasonable efforts to terminate any guarantees, performance bonds, letters of
credit or other similar agreements providing credit support for or related to any of the Acquired
Companies (or their subsidiaries), the Purchased Assets, the Assumed Liabilities or the Business
(the “Business Guarantees”), including those set forth on Schedule 5.4(c)(i), and obtain the release
of Sellers and their Affiliates that are a party to such Business Guarantees, or, if the Parties are
unable to so terminate, cause Buyer or one of its subsidiaries to be substituted in all respects for
the applicable Seller or subsidiary of a Seller that is a party thereto, in respect of all obligations of
such Seller or subsidiary of Seller, as applicable, under such Business Guarantee on the Closing
Date.

                       (ii)    In the event any of such Business Guarantees are not released prior
to or at the Closing, (A) Sellers and Buyer shall continue to cooperate and use their respective
commercially reasonable efforts to terminate, or, if the Parties are unable to so terminate, cause
Buyer or one of its subsidiaries to be substituted in all respects for the applicable Seller or
subsidiary of a Seller that is a party thereto, in respect of all obligations under such Business
Guarantees and (ii) Buyer shall indemnify and hold harmless Sellers and their respective
subsidiaries for amounts required to be paid under such Business Guarantees from and after the
Closing, until such Business Guarantee is released.

                5.5     Employee Matters.

                (a)    Effective as of the Closing Date, Buyer or its Affiliates will offer
employment to each of the Employees listed on Schedule 5.5(a), as may be updated by Sellers
after consultation with Buyer and mutual approval of the Parties, subject to the next sentence, at
least five (5) Business Days prior to the Closing Date, who are not employed by an Acquired
Company (each such Employee who accepts such offer of employment and commences
employment on the applicable Employment Commencement Date, a “Seller Transferred
Employee”), including any Employee who is then on an authorized leave of absence, sick leave,


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short- or long-term disability leave, military leave or layoff with recall rights, upon substantially
the same terms and conditions and with substantially the same duties as in effect immediately
preceding the Closing Date. Buyer’s offer of employment to each Employee included on Schedule
2.12(a) (as updated) who are not employed by an Acquired Company who is on authorized leave
of absence, sick leave, short- or long-term disability leave, military leave or layoff with recall
rights as of the Closing Date (each an “Inactive Employee”) may be conditioned upon such
Employee’s return to active employment immediately following such absence and within six (6)
months of the Closing Date or such later date as required under applicable Law. For the purposes
of this Agreement, the “Employment Commencement Date” shall mean (x) as to those Seller
Transferred Employees who are not Inactive Employees, the Closing Date, and (y) as to those
Seller Transferred Employees who are Inactive Employees, the date on which the Transferred
Employee begins employment with Buyer or any of its Affiliates. For the avoidance of doubt, this
Agreement and the Transactions shall not create a termination of or other interruption of
employment with respect to the Employees listed on Schedule 2.12(a) (as updated) who are
employed by any of the Acquired Companies or any wholly owned subsidiary of such entities
(such individuals, the “Acquired Company Employees,” and together with the Seller Transferred
Employees, collectively, the “Transferred Employees”).

               (b)     The initial terms and conditions of employment for those Transferred
Employees who have employment agreements and who are not Union Employees shall be as set
forth in such employment agreements as set forth on Schedule 2.13(a), which, with respect to any
Seller Transferred Employee shall, to the extent permitted under the applicable agreements, be
assigned to Buyer or its Affiliates and assumed by Buyer or its Affiliates. The employment of all
other Seller Transferred Employees who are not Union Employees will be “at will.” With respect
to Transferred Employees who are not Union Employees (including, for the avoidance of doubt,
those with employment agreements), for a period ending no earlier than the first anniversary of the
Closing Date, Buyer and its Affiliates shall (i) not reduce the regular wages or salary, commission
rate or annual target bonus opportunity as in effect on the Closing Date of any Transferred
Employees who are not Union Employees, (ii) provide employee benefits to such Transferred
Employees that are no less favorable than those employee benefits provided to such Transferred
Employees as of the Closing Date (but excluding long-term incentive, nonqualified deferred
compensation, defined benefit pension and retiree health care benefits), and (iii) with respect to
those Transferred Employees listed on Schedule 5.5(b), provide those certain perquisites listed
next to each such individual’s name.

               (c)      Buyer shall cause Buyer or its Affiliates to employ those Transferred
Employees that are Union Employees in accordance with the terms and conditions established in
the applicable collective bargaining agreement and/or under applicable Law, and shall assume and
agree to be bound by the terms and obligations of any unexpired (as of the Closing Date) collective
bargaining agreement listed on Schedule 2.12(b) as a successor or assign. With respect to Union
Employees working under an expired collective bargaining agreement (defined to include such
agreements which expire with notice from Seller of 90 days or less and provided such notice is
given by Seller, regardless of whether such 90 days expires after the Closing Date), as of the
Closing Date and each applicable Employment Commencement Date, Buyer and its Affiliates
agrees to provide such Union Employees with an initial base salary (or hourly wage), commission
rate and normal bonus opportunity at least as favorable as those provided by Sellers immediately


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prior to the Closing Date or the applicable Employment Commencement Date (as applicable),
unless (and until) otherwise required by law and/or subsequent required bargaining (if any).

                 (d)    To the extent permitted by Law, Buyer shall cause Buyer and its Affiliates
to give all Transferred Employees full credit for purposes of eligibility waiting periods and vesting
and benefit accrual under the employee benefit plans or arrangements, leave policies (not
otherwise addressed in Sections 5.5(e) or 5.5(f)) or severance practices maintained by Buyer and
its Affiliates in which such Transferred Employees participate for such Transferred Employees’
service with Sellers or their Affiliates or predecessors to the extent Sellers or their Affiliates or
predecessors recognized such service for purposes of its equivalent benefit plans or arrangements.
With respect to Transferred Employees (i) terminated without cause within twelve (12) months of
the Closing Date, (ii) who are not subject to an employment agreement, and (iii) who execute a
full release of claims against Sellers, Buyer and each of its Affiliates shall (x) provide severance
benefits to the Employees in accordance with the terms of Sellers’ severance policy (“Seller
Severance Policy”) as set forth on Schedule 5.5(d) hereto and (y) credit the Employees for their
past service with Sellers and/or their Affiliates and, to the extent currently credited by Sellers, any
prior employer of such Employee, for purposes of benefits under the Seller Severance Policy. With
respect to Transferred Employees who are the parties to an employment agreement, such
agreement shall govern the terms of any severance provided following the Closing Date or their
Employment Commencement Date (as applicable), provided that any such Transferred Employee
who is terminated without cause within twelve (12) months of the Closing Date or their
Employment Commencement Date (as applicable) and who is not subject to the terms of an
employment agreement at the time of such termination shall be provided severance pursuant to the
terms and conditions of the second sentence of this Section 5.5(d). Notwithstanding the foregoing,
following the Closing Date, with respect to any Transferred Employee who is a Union Employee,
the terms and conditions of any severance provided to such individuals shall be governed by the
collective bargaining agreement applicable to them, including, without limitation any collective
bargaining agreement entered into following the Closing Date. Nothing herein shall limit Buyer’s
ability to terminate any Employee at any time after the Closing.

                (e)    Buyer or its Affiliates shall establish or designate a tax-qualified defined
contribution plan (a “Buyer’s 401(k) Plan”) to accept rollover contributions from the Transferred
Employees of any account balances distributed to them by the existing tax-qualified defined
contribution plan established or designated by Sellers or their Affiliates (“Sellers’ 401(k) Plan”).
Buyer shall allow any such Transferred Employees’ outstanding plan loan to be rolled into Buyer’s
401(k) Plan. The distribution and rollover described herein shall comply with applicable Law, and
each party shall make all filings and take any actions required of such party by applicable Law in
connection therewith. Buyer shall cause Buyer’s 401(k) Plan to credit Transferred Employees
with service credit for eligibility and vesting purposes for service recognized for the equivalent
purposes under the Sellers’ 401(k) Plan.

               (f)     Sellers and their Affiliates shall retain responsibility for and continue to pay
all medical, life insurance, disability and other welfare plan expenses and benefits for each
Transferred Employee and their covered dependents with respect to claims incurred under the
terms of the Employee Plans which are not maintained by an Acquired Company by such
Employees or their covered dependents prior to the Closing Date or their Employment
Commencement Date (as applicable). Expenses and benefits with respect to claims incurred by

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Transferred Employees or their covered dependents on or after the Closing Date or their
Employment Commencement Date (as applicable) shall be the responsibility of Buyer and its
Affiliates, subject to the terms and conditions of medical, life insurance, disability and other
welfare plans maintained by Buyer and its Affiliates. With respect to any welfare benefit plans
maintained by Buyer for the benefit of Transferred Employees on and after the Closing Date or
their Employment Commencement Date (as applicable), Buyer shall use reasonable best efforts to
(i) make the Transferred Employees immediately eligible for such plans, (ii) cause there to be
waived any eligibility requirements or pre-existing condition limitations, and (iii) give effect, in
determining any deductible and maximum out-of-pocket limitations, to amounts paid by such
Transferred Employees for the plan year in which the Closing Date or their Employment
Commencement Date (as applicable) occurs with respect to similar plans maintained by Sellers or
their Affiliates.

                (g)      To the extent permitted by applicable Law, Buyer or its Affiliates will
assume all liabilities for unpaid, accrued vacation of each Transferred Employee as of the Closing
Date or his or her Employment Commencement Date (as applicable) as set forth on Schedule
5.5(g) and to the extent accrued in Net Working Capital, giving credit under Buyer’s vacation
policy for service with Sellers, and shall permit Transferred Employees to use their vacation
entitlement accrued as of the Closing Date in accordance with Buyer’s policy for carrying over
unused vacation, provided that all Transferred Employees shall receive credit for the term of their
employment with Sellers, their Affiliates and predecessors for purposes of determining eligibility
for using vacation. To the extent that, following the Closing Date, Buyer’s policies do not permit
a Transferred Employee to use any accrued and unused vacation for which Buyer has assumed the
liabilities hereunder (other than as a result of such Transferred Employee’s failure to use such
vacation despite his or her eligibility to do so, without adverse consequences, under Buyer’s
policies), Buyer or its Affiliates shall pay such Transferred Employee for any such vacation in full
within fifteen (15) days of the Closing Date or his or her Employment Commencement Date (as
applicable). To the extent required by applicable Law, accrued and unpaid vacation will be paid
by the Sellers or their Affiliates to a Transferred Employee in connection with the Transactions
prior to the Closing Date or his or her Employment Commencement Date (as applicable). Service
with both Sellers and Buyer shall be taken into account in determining Transferred Employees’
vacation entitlement under Buyer’s vacation policy after the Closing Date.

                (h)     To the extent permitted by applicable Law, Buyer and its Affiliates shall
grant credit for all unused sick and wellness leave accrued by Transferred Employees on the basis
of their service during the current calendar year as employees of Sellers as set forth on Schedule
5.5(g) and to the extent accrued in Net Working Capital, in accordance with Buyer’s policy on
sick and wellness leave. To the extent required by applicable Law, unused sick and wellness leave
will be paid by the Sellers or their Affiliates to a Transferred Employee in connection with the
Transactions prior to the Closing Date or his or her Employment Commencement Date (as
applicable).

               (i)      As of the Closing Date or the Employment Commencement Date (as
applicable, such date, the “Transfer Date”), Sellers shall transfer from the Employee Plans that are
medical and dependent care account plans and which are not maintained by an Acquired Company
of each Transferred Employee (each, a “Seller FSA Plan”) to one or more medical and dependent
care account plans established or designated by Buyer for such individuals (collectively, the

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“Buyer FSA Plan”) the account balances (positive or negative) of Transferred Employees, and
Buyer shall be responsible for the obligations of the Seller FSA Plans to provide benefits to the
Transferred Employees with respect to such transferred account balances at or after the Transfer
Date (whether or not such claims are incurred prior to, on or after the Transfer Date). Each
Transferred Employee shall be permitted to continue to have payroll deductions made as most
recently elected by him or her under the applicable Seller FSA Plan. As soon as reasonably
practicable following the end of the plan year for the Buyer FSA Plan, including any grace period,
Buyer shall promptly reimburse Sellers for benefits paid by the Seller FSA Plans to any
Transferred Employee prior to the Transfer Date to the extent in excess of the payroll deductions
made in respect of such Transferred Employee at or prior to the Transfer Date, but only to the
extent that such Transferred Employee continues to contribute to the Buyer FSA Plan the amount
of such deficiency. This Section 5.5(i) shall be interpreted and administered in a manner consistent
with Rev. Rul. 2002-32.

               (j)     Sellers and their Affiliates will be responsible for any obligations to provide
health care continuation coverage under the Consolidated Omnibus Budget Reconciliation Act of
1985, and the regulations issued thereunder (“COBRA”) to any current or former Employees and
their dependents who experience a “qualifying event” (as defined in COBRA) prior to the Closing
Date. Buyer and its Affiliates will be responsible for any obligations to provide health care
continuation coverage under COBRA to any Transferred Employee and his or her dependents who
experience a “qualifying event” (as defined in COBRA) on or after the Closing Date.

                (k)     The Parties acknowledge that, as it pertains to the AFTRA Health and
Retirement Fund or any other multiemployer pension plan to which Sellers or their Affiliates
contribute or have contributed, the Parties have not entered into a transaction set forth in Section
4204 of ERISA and Sellers and their Affiliates shall be solely responsible for any withdrawal
liability that may be triggered under such plans on or prior to the Closing Date; provided, that
Buyer and its Affiliates shall be solely responsible for any withdrawal liability that is or may be
triggered under such plans following the Closing Date to the extent such liability relates to Buyer’s
and its Affiliates’ contribution histories to such plans.

                (l)     Sellers and Buyer shall follow the “standard procedures” for preparing and
filing Internal Revenue Service Forms W-2 (Wage and Tax Statements), as described in Revenue
Procedure 2004-53 for Transferred Employees. Under this procedure, (i) Sellers shall provide all
required Forms W-2 to all Transferred Employees reflecting wages paid and Taxes withheld by
Sellers and their Affiliates prior to the Closing Date or their Employment Commencement Date
(as applicable), and (ii) Buyer (or one of its Affiliates) shall provide all required Forms W-2 to all
Transferred Employees reflecting all wages paid and Taxes withheld by Buyer and its Affiliates
on and after the Closing Date or their Employment Commencement Date (as applicable).

               (m)    Sellers and Buyer shall adopt the “alternative procedure” of Revenue
Procedure 2004-53 for purposes of filing Internal Revenue Service Forms W-4 (Employee’s
Withholding Allowance Certificate) and W-5 (Earned Income Credit Advance Payment
Certificate). Under this procedure, Sellers shall provide to Buyer all Internal Revenue Service
Forms W-4 and W-5 on file with respect to each Transferred Employee and any written notices
received from the Internal Revenue Service under Treasury Regulation Section 31.3402(f)(2)-


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(g)(5), and Buyer will honor these forms until such time, if any, that such Transferred Employee
submits a revised form.

                (n)     With respect to garnishments, tax levies, child support orders and wage
assignments in effect with Sellers or their Affiliates on the Closing Date or the Employment
Commencement Date (as applicable) for Transferred Employees and with respect to which Sellers
have notified Buyer in writing, Buyer and its Affiliates shall honor such payroll deduction
authorizations with respect to Transferred Employees and will continue to make payroll deductions
and payments to the authorized payee, as specified by a court or order which was filed with Sellers
or their Affiliates on or before the Closing Date or Employment Commencement Date (as
applicable), to the extent such payroll deductions and payments are in compliance with applicable
Law. Sellers shall, within three (3) days after the Closing Date or the Employment Commencement
Date (as applicable), provide Buyer with a schedule including such information in the possession
of Sellers and their Affiliates as may be reasonably necessary for Buyer or its Affiliates to make
the payroll deductions and payments to the authorized payee as required by this Section 5.5(n).

                (o)     Buyer and its Affiliates shall not take any action on or after the Closing Date
that would cause any non-compliance with or create any liability to Sellers or their Affiliates under
the Worker Adjustment and Retraining Act of 1988, as amended (the “WARN Act”) or any similar
state or local Law. The Assumed Liabilities assumed by Buyer pursuant to Section 1.1 shall
include all liabilities with respect to any amounts (including any severance, fines or penalties)
payable under or pursuant to the WARN Act or any similar state or local Law with respect to any
Employees, including without limitation those who do not become Transferred Employees solely
as a result of Buyer’s failure to extend offers of employment or continued employment as required
by Section 5.5 or in connection with events that occur from and after the Closing Date, and Buyer
shall reimburse Sellers for any such amounts or any liabilities thereof incurred by Sellers.

               (p)    With respect to those Transferred Employees who are foreign nationals
identified on Schedule 5.5(p), from and after the Closing Date or Employment Commencement
Date (as applicable), Buyer and its Affiliates agree that for so long as such individuals remain
employed by Buyer or its Affiliates, Buyer and its Affiliates shall take such actions as may be
reasonably necessary to act as a successor in interest under applicable immigration laws and
assume responsibility for sponsorship or otherwise transfer employment of such individual,
including, without limitation, maintenance of any PERM application, submission of any new
PERM application, filing of any labor condition application or any petition for a non-immigrant
visa.

                (q)      Without limiting the generality of Section 11.9, nothing in this Section 5.5,
express or implied, is intended to confer on any Person (including any Transferred Employees and
any current or former employees of Sellers or the holders of the FCC Licenses), other than the
Parties hereto and their respective successors and assigns, any rights, benefits, remedies,
obligations or liabilities under or by reason of this Section 5.5. This Section 5.5 does not amend
any provision of any employee benefit plan of Sellers, Buyer or their respective Affiliates, and it
is not intended to require, nor shall it require, either Party to continue any employee benefit plan
or to continue to maintain any other term or condition of employment beyond the time when it
otherwise lawfully could be terminated or modified.


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                (r)     Buyer shall use commercially reasonable efforts to negotiate in good faith
with the Management Employees with respect to the terms of their hire by Buyer or one of its
Affiliates. Seller shall provide Buyer commercially reasonable access to Management Employees
during regular business hours in connection with Buyer’s negotiation with such employees. In the
event Buyer and any such Management Employee(s) reach an agreement with respect to the terms
of such hire, Schedule 5.5 shall be updated as of the Closing Date to include such Management
Employee as a Transferred Employee. In such event, the Management Employee shall be deemed
an Employee for all purposes hereunder.

               5.6    Access to Business.

               (a)     From and after the date of this Agreement until the earlier to occur of the
Effective Time and the termination of this Agreement in accordance with Article 10, Sellers shall
provide Buyer and their authorized representatives with reasonable access (for the purpose of
examining and copying at Buyer’s sole cost), during normal business hours and after reasonable
advance notice, to books and records and other information and materials in the possession of
Sellers or any of the Acquired Companies or their subsidiaries which relates to the Acquired
Companies or their subsidiaries, the Purchased Assets or the Business, as may be reasonably
requested by Buyer from time to time; provided, that such inspection and copying shall be
conducted in a manner that will not interfere with or disrupt the normal course of Sellers’ or the
Acquired Companies’ respective businesses. Buyer shall not, prior to the Closing Date, contact
any vendor, customer, supplier, or employee (other than senior management employees, or
officers) of any Seller, Acquired Companies or their subsidiaries, except in connection with the
Debt Financing or in consultation with the Sellers with the express prior approval of the Sellers,
which approval shall not be unreasonably withheld, conditioned or delayed; provided that the
foregoing shall not restrict any ordinary course contact with any Person that is unrelated to the
Transaction or the relationship between such Person and the Business.

               (b)     All requests of Buyer for access or information shall be submitted or
directed exclusively to an individual or individuals to be designated by the Sellers.

                (c)     For a period of seven (7) years following the Closing Date, Buyer shall,
subject any restrictions imposed from time to time in good faith upon advice of counsel respecting
the provision of privileged communications or competitively sensitive information and any
applicable confidentiality agreement with any Person, provide Sellers and their authorized
representatives with reasonable access (for the purpose of examining and copying at Sellers’ sole
cost), during normal business hours and after reasonable advance notice, to books and records and
other information and materials in the possession of Buyer or any of the Acquired Companies or
their subsidiaries which relates to the Acquired Companies or their subsidiaries, the Purchased
Assets or the Business that relate to the period prior to the Closing Date, as may be reasonably
requested for legitimate business reasons, including with respect to taxes, financial reporting and
any other reasonable legitimate business purposes; provided, that such inspection and copying
shall be conducted in a manner that will not unreasonably disrupt the normal course of Buyer or
the Acquired Companies’ respective businesses. Unless otherwise consented to in writing by
Sellers, Buyer shall not, and shall cause each Acquired Company and its subsidiaries not to, for a
period of seven (7) years following the Closing Date, destroy, alter or otherwise dispose of any
books and records of the Acquired Companies, their respective subsidiaries or the Business, or any

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portions thereof, relating to periods prior to the Closing Date without first offering to surrender to
Sellers such books and records or such portions thereof.

                 (d)     For a period of seven (7) years following the Closing Date, Sellers shall,
subject any restrictions imposed from time to time in good faith upon advice of counsel respecting
the provision of privileged communications or competitively sensitive information and any
applicable confidentiality agreement with any Person, provide Buyer and its authorized
representatives with reasonable access (for the purpose of examining and copying at Buyer’s sole
cost), during normal business hours and after reasonable advance notice, to books and records and
other information and materials in the possession of Sellers or their subsidiaries which relates to
the Excluded Assets or the Excluded Liabilities or the Business, as may be reasonably requested
for legitimate business reasons, including with respect to taxes (other than tax returns), financial
reporting and any other reasonable legitimate business purposes; provided, that such inspection
and copying shall be conducted in a manner that will not unreasonably disrupt the normal course
of Sellers’ or its subsidiaries’ respective businesses.

                (e)     Notwithstanding the foregoing, neither Party shall be required to provide
access to or disclose information where (i) upon the advice of counsel, such access or disclosure
would jeopardize attorney-client privilege or contravene any Laws; provided, that such Party shall
use its reasonable best efforts to provide such access or disclose such information in a manner that
would not violate the foregoing; (ii) the disclosing Party has determined in good faith that the
information requested is confidential and competitively sensitive; provided, that such Party shall
use its reasonable best efforts to provide such access or disclose such information in a manner that
would not violate the foregoing; or (iii) Buyer or any of its Affiliates’ rights of discovery, on the
one hand, and Sellers or any of their respective Affiliates, on the other hand, are adverse parties in
an Action and such access or information is reasonably pertinent thereto.

                5.7   Further Action. In furtherance (and not in limitation) of the provisions set
forth in this Agreement, at all times prior to the Closing, Buyer and Sellers shall use their respective
commercially reasonable efforts to take or cause to be taken all action necessary or desirable in
order to consummate the Transactions as promptly as is practicable.

                5.8    Notice. Each Party shall promptly notify the other of any Action that shall
be instituted or threatened against such Party to restrain, prohibit or otherwise challenge the
legality of the Transactions.

                5.9     Title Insurance; Survey. Buyer may obtain, at its sole option and expense,
and Sellers shall grant Buyer access (subject to the terms of any lease or consent of any lessor of
the Leased Real Property) to obtain (a) commitments for owner’s and lender’s title insurance
policies on the Owned Real Property and commitments for leasehold and lender’s title insurance
policies for all Leased Real Property (collectively the “Title Commitments”), and (b) an ALTA
survey on each parcel of Real Property (the “Surveys”); provided, however, that Sellers shall
provide Buyer with any existing Title Commitments and Surveys in their possession. Sellers shall
reasonably cooperate with Buyer in obtaining such Title Commitments and Surveys, provided that
Sellers shall not be required to incur any cost, expense or other liability in connection therewith.




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               5.10    Financing.

                 (a)    Buyer shall use its commercially reasonable efforts to arrange and obtain
the Financing not later than the date the Closing is required to be effected in accordance with
Section 1.3 on the terms and conditions (including, to the extent applicable, the “flex” provisions)
described in the Commitment Letters and any related Fee Letter (or on other terms that, with
respect to conditionality, are not less favorable to Buyer than the terms and conditions (including
any “flex” provisions) set forth in the Commitment Letters and any Fee Letter related thereto),
including using commercially reasonable efforts to (i) enter into definitive agreements (which,
with respect to the bridge facility documentation, shall not be required until reasonably necessary
in connection with the funding of the Debt Financing) with respect to the Debt Financing on the
terms and conditions (as such terms may be modified or adjusted in accordance with the terms of,
and within the limits of the “flex” provisions contained in, any Fee Letter) contemplated by the
Debt Commitment Letter and the related Fee Letter (or on other terms that, with respect to
conditionality, are not less favorable to Buyer than the terms and conditions (including any “flex”
provisions) set forth in the Debt Commitment Letter and the related Fee Letter), (ii) satisfy, or
cause the satisfaction of, on a timely basis all conditions to funding that are applicable to Buyer or
any of its Affiliates in the Commitment Letters (or, if necessary or deemed advisable by Buyer,
seek the waiver of conditions applicable to Buyer contained in the Commitment Letters), (iii)
maintain in full force and effect the commitments of the Financing Sources to the Financing in
accordance with the terms and conditions of the Commitment Letters, (iv) consummate the
Financing no later than the Closing Date, (v) enforce its rights under the Commitment Letters and
(vi) upon request of the Seller, Buyer shall appraise Seller of material developments relating to the
Financing. Buyer shall not agree to any amendments or modifications to, or grant any waivers of,
any condition or other provision under the Commitment Letters without the prior written consent
of Sellers (other than any amendment of the Commitment Letters to add lenders, lead arrangers,
bookrunners, syndication agents or any person with similar roles or titles who had not executed
the Debt Commitment Letter as of the date hereof) other than amendments, modifications or
waivers to the Commitment Letters that would not (A) reduce the aggregate amount of the Debt
Financing to an amount below the amount necessary to satisfy the Financing Uses (after taking
into account the amount of the Equity Financing and available cash of Buyer and the Acquired
Business) unless the Equity Financing is increased by a corresponding amount, (B) impose new or
additional conditions, or otherwise amend, modify or expand any conditions, to the receipt of the
Debt Financing or the Equity Financing in a manner that would reasonably be expected to delay
or prevent the Closing or the funding of the Debt Financing or the Equity Financing (or the
satisfaction of the conditions to obtaining any of the Financing) or (C) adversely impact the ability
of Buyer to enforce its rights against the other parties to the Debt Commitment Letter or the Equity
Commitment Letter.

                (b)    If any portion of the Debt Financing becomes unavailable on the terms and
conditions (including any “flex” provisions) contemplated in the Debt Commitment Letter and the
related Fee Letter, Buyer shall use its commercially reasonable efforts to, as promptly as
practicable following the occurrence of such event, arrange and obtain from alternative sources of
debt financing an amount sufficient to satisfy the Financing Uses (after taking into account the
amount of the Equity Financing and available cash of Buyer) or such unavailable portion thereof,
as the case may be, on terms and conditions (including any “flex” provisions) that are at least as
favorable to Buyer as those contained in the Debt Commitment Letter and the related Fee Letter

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(including the “flex” provisions), which shall not expand upon the conditions precedent to the
funding on the Closing Date of the Financing as set forth in the Commitment Letters in effect on
the date hereof. The new debt commitment letter and fee letter entered into in connection with
such alternative debt financing are referred to, respectively, as a “New Debt Commitment Letter”
and a “New Fee Letter.” In the event Buyer enters into any such New Debt Commitment Letter,
(i) Buyer shall promptly provide Sellers with true, correct and complete copies of such New Debt
Commitment Letter and New Fee Letter (which, in the case of the New Fee Letter, may be redacted
in a manner consistent with the provisions of Section 3.6(a)), (ii) any reference in this Agreement
to the “Debt Financing” shall mean the debt financing contemplated by the Debt Commitment
Letter as modified pursuant to clause (iii) below, and (iii) any reference in this Agreement to the
“Debt Commitment Letter” (and any definition incorporating the term “Debt Commitment Letter”)
shall be deemed to include the Debt Commitment Letter to the extent not superseded by a New
Debt Commitment Letter at the time in question and any New Debt Commitment Letter to the
extent then in effect.

               (c)     Buyer shall (i) promptly furnish Sellers complete, correct and executed
copies of any amendments to the Commitment Letters promptly upon their execution and (ii) give
Sellers prompt notice (A) of any default or breach give rise to any default or breach) by any party
under any of the Commitment Letters or the definitive agreements relating to the Financing of
which Buyer becomes aware and (B) of any termination of either of the Commitment Letters.

                 (d)    Notwithstanding anything to the contrary contained in this Agreement,
nothing contained in this Section 5.10 will require, and in no event will the commercially
reasonable efforts of Buyer be deemed or construed to require, Buyer to (i) subject to Section
10.3(b), bring any enforcement action against any Equity Financing Source to enforce its rights
pursuant to the Equity Commitment Letter; (ii) seek the Equity Financing from any source other
than a counterparty to, or in any amount in excess of that contemplated by, the Equity Commitment
Letter or (iii) pay any material fees in excess of those contemplated by the Equity Commitment
Letter or the Debt Commitment Letter.

                (e)    Prior to the Closing, Sellers shall, and shall cause the Acquired Companies
and their respective subsidiaries and representatives to, in each case, use their commercially
reasonable efforts to provide to Buyer such cooperation as is reasonably requested by Buyer to
assist in causing the conditions in the Debt Commitment Letter to be satisfied or as is otherwise
customary and reasonably requested by Buyer in connection with the Debt Financing, including
to use commercially reasonable efforts to:

                       (i)     participate (and cause senior management and representatives of
Sellers and the Acquired Companies to participate) in a reasonable number of meetings, calls,
presentations, road shows, due diligence sessions (including accounting due diligence sessions),
drafting sessions and sessions with rating agencies (in each case, at reasonable times and locations
mutually agreed), otherwise cooperate with the marketing efforts for any of the Debt Financing
and assist Buyer in obtaining ratings as contemplated by the Debt Commitment Letter;

                    (ii)   assist Buyer with the timely preparation of customary rating agency
presentations, bank information memoranda, lender presentations, offering documents,
prospectuses, memoranda, investor presentations and similar documents required in connection

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with the Debt Financing (in each case, Seller shall be permitted a reasonable period to review and
comment);

                       (iii) assist Buyer with the preparation of pro forma financial information
and pro forma financial statements to the extent necessary or reasonably required by Buyer, it
being agreed that none of the Sellers, the Acquired Companies or their subsidiaries will be required
to provide any information or assistance relating to (A) the proposed aggregate amount of debt and
equity financing, together with assumed interest rates, dividends (if any) and fees and expenses
relating to the incurrence of such debt or equity financing or (B) any post-Closing or pro forma
cost savings, synergies, capitalization, ownership or other pro forma adjustments desired to be
incorporated into any information used in connection with the Debt Financing;

                       (iv)    execute and deliver as of the Closing (but not prior to the Closing)
any pledge and security documents, supplemental indentures, currency or interest hedging
arrangements, other definitive financing documents, or other certificates or documents as may be
reasonably requested by Buyer or the Debt Financing Sources and otherwise reasonably facilitate
the pledging of collateral and the granting of security interests in respect of the Debt Financing, it
being understood that such documents will not take effect until the Effective Time; provided that
no directors or officers of the Acquired Companies shall be required to approve or execute any
such documents contemplated by this clause (iv) unless such directors or officers will be
continuing as directors or officers, as applicable, of the relevant Acquired Companies following
the Closing;

                       (v)     as promptly as reasonably practicable, (A) furnish Buyer and its
representatives with the Required Financing Information (and, in the case of the audited financial
statements of the Acquired Business as of December 31, 2018 and 2017 and 2016 and for the three
fiscal years then ended, furnish such financial statements by June 1, 2019) and (B) inform Buyer
if the chief executive officer, chief financial officer, treasurer or controller of each Seller or
Acquired Company shall have actual knowledge of any facts that would likely require the
restatement of any financial statement for such financial statement to comply with GAAP;

                        (vi)    provide customary authorization letters to the Debt Financing
Sources authorizing the distribution of information to prospective lenders or investors and
containing a customary representation to the Debt Financing Sources contemplated by the Debt
Commitment Letter, including that the public side versions of such documents do not include
material non-public information about Sellers, the Acquired Companies or any of their respective
subsidiaries or their securities and the accuracy of the information contained in the disclosure and
marketing materials related to the Debt Financing;

                       (vii) cause the independent auditors of the Acquired Business to (A)
provide, consistent with customary practice, (x) customary auditors consents and customary
comfort letters (including “negative assurance” comfort and change period comfort) as reasonably
requested by Buyer or as necessary or customary for financings similar to the Debt Financing
(including any offering or private placement of debt securities pursuant to Rule 144A under the
Securities Act) and (y) reasonable assistance to Buyer in connection with Buyer’s preparation of
pro forma financial statements and information and (B) attend a reasonable number of accounting
due diligence sessions and drafting sessions; and

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                        (viii) (A) furnish Buyer, and the Debt Financing Sources as directed by
Buyer, at least three (3) Business Days prior to the Closing Date with all documentation and other
information reasonably required by bank regulatory authorities under applicable “know-your-
customer” and anti-money laundering rules and regulations, including the USA PATRIOT Act and
a beneficial ownership certificate for any entity that qualifies as a “legal entity customer” under
the Beneficial Ownership Regulation (31 C.F.R. § 1010.230), relating to the Acquired Companies
or any of their respective subsidiaries to the extent requested in writing at least ten (10) Business
Days prior to the Closing Date;

provided, however, (1) in no event shall the “commercially reasonable efforts” of Sellers, the
Acquired Companies or their respective subsidiaries and representatives be deemed or construed
to require such Persons to, and such Persons shall not be required, to provide such cooperation to
the extent it would, in the Sellers’ reasonable judgment, (A) interfere unreasonably with the
business or operations of Sellers, the Acquired Companies or any of their respective subsidiaries
or (B) require Sellers, the Acquired Companies or any of their respective subsidiaries or their
representatives to take, or be committed to take, any action that would or would reasonably be
expected to (x) conflict with, or result in any violation or breach of, or default (with or without
notice or lapse of time, or both) under the Organizational Documents of Sellers, the Acquired
Companies and their respective subsidiaries, any applicable Laws or any material Contract to
which Sellers, the Acquired Companies or any of their respective subsidiaries is a party, (y) cause
any condition to Closing set forth in this Agreement to fail to be satisfied or otherwise cause any
breach of this Agreement that would provide Buyer the right to terminate this Agreement or seek
indemnity under the terms hereof (unless, in each case, waived by Buyer and the Debt Financing
Sources) or (z) result in any employee, officer or director of such Person incurring any personal
liability (as opposed to liability in his or her capacity as an officer of such Person) with respect to
any matters related to the Debt Financing, (2) none of the Sellers, the Acquired Companies or any
of their respective subsidiaries shall be required to take any action pursuant to any agreement,
certificate or instrument (other than customary representation letters and authorization letters to
the extent contemplated in the Debt Commitment Letter (including with respect to the presence or
absence of material non-public information and the accuracy of the information contained in the
disclosure and marketing materials related to the Debt Financing)) that is not contingent upon the
occurrence of the Closing, (3) the board of directors (or equivalent bodies) of any Seller, Acquired
Company or their respective subsidiaries shall not be required to approve or adopt any Financing
or agreements related thereto (or any alternative financing) that would become effective prior to
the Effective Time (and in any case subject to Section 5.10(e)(iv)), (4) deliver or cause the delivery
of any legal opinions necessary for the Debt Financing, and (5) neither Sellers, the Acquired
Companies, nor any of their respective subsidiaries shall be required to pay any commitment or
other similar fee prior to the Effective Time or bear any cost or expense or make any other payment
or incur any liability, loss, damage, claim, cost, expense, or penalty in connection with the Debt
Financing or any of the foregoing matters described in this Section 5.10 that is not subject to
reimbursement or indemnity hereunder. It is understood and agreed that the Buyer does not have
an independent right to demand a restatement of any portion of the Required Financing
Information or any other financial statements under this Section 5.10 for marketing purposes or
otherwise to the extent such Required Financing Information is Compliant.

              (f)  Sellers will use their commercially reasonable efforts, and will cause each
of the Acquired Companies their respective subsidiaries to use their respective commercially

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reasonable efforts, to update any Required Financing Information provided to Buyer as may be
necessary so that such Required Financing Information (i) is Compliant, (ii) meets the applicable
requirements set forth in the definition of “Required Financing Information” and (iii) would not,
after giving effect to such update(s), cause the Marketing Period to cease pursuant to the definition
of “Marketing Period.” For the avoidance of doubt, Buyer may, to most effectively access the
financing markets, require the cooperation of Sellers, the Acquired Companies and their respective
subsidiaries under this Section 5.10 at any time, and from time to time and on multiple occasions,
between the date hereof and the Closing Date; provided, that, for the avoidance of doubt, the
Marketing Period shall not be applicable as to each attempt to access the markets. In addition, if,
in connection with any financing marketing efforts during the term of this Agreement, Buyer
reasonably requests Sellers or the Acquired Companies to make available to their respective
securityholders and lenders material non-public information with respect to the Sellers, the
Acquired Company and their respective subsidiaries or securities, which Buyer reasonably
determines to include in marketing materials for such financing, then Sellers and the Acquired
Companies shall make such information available to their respective securityholders and lenders.

                (g)    Each of the Sellers and the Acquired Companies hereby consent to the use
of their and their respective subsidiaries’ logos solely in connection with the Debt Financing;
provided that such logos are used solely in a manner that is not intended or reasonably likely to
harm, disparage or otherwise adversely affect Sellers, the Acquired Companies or any of their
respective subsidiaries or the reputation or goodwill of Sellers, the Acquired Companies or any of
their respective subsidiaries.

                (h)     Buyer shall, promptly upon request by Sellers, reimburse Sellers for all
documented and reasonable out-of-pocket costs and expenses incurred by Sellers, the Acquired
Companies or any of their respective subsidiaries or any of their respective representatives in
connection with such cooperation contemplated by this Section 5.10. Buyer shall indemnify and
hold harmless Sellers, the Acquired Companies, their respective subsidiaries and their respective
representatives from and against any and all liabilities, losses, damages, claims, costs, expenses,
interest, awards, judgments and penalties suffered or incurred by any of them in connection with
the Debt Financing, including, without limitation, in connection with the provision of any
information utilized in connection therewith (other than information provided in writing by Sellers
or their respective subsidiaries specifically for use in connection with the Debt Financing), in each
case, except to the extent any of the foregoing was suffered or incurred as a result of bad faith,
gross negligence, willful misconduct or material breach of this Agreement by Sellers, the Acquired
Companies or any of their respective subsidiaries or, in each case, their respective representatives.

               (i)     (i)    Buyer acknowledges and agrees that neither the obtaining of the
Financing or any alternative financing is a condition to the Closing or its other obligations under
this Agreement, and reaffirms its obligation to consummate the Transactions and its other
obligations under this Agreement irrespective and independently of the availability of the
Financing or any alternative financing, subject to the applicable conditions set forth in Article 7
and the provisions of Section 10.4.




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               5.11    Tax Matters.

               (a)    Notwithstanding anything to the contrary in this Agreement, each of Buyer,
on the one hand, and Sellers, on the other hand, shall be responsible for 50% of any Transfer Taxes.
Sellers and Buyer shall, and shall cause their respective Affiliates to, cooperate to timely prepare
and file any Tax Returns or other filings relating to Transfer Taxes, including any claim for
exemption or exclusion from the application or imposition of any Transfer Taxes.

               (b)    Sellers shall be responsible for the preparation and timely filing of all
income Tax Returns of the Acquired Companies for Pre-Closing Tax Periods. Such Tax Returns
shall be prepared consistent with past practice and in accordance with applicable Law.

                 (c)    Buyer shall be responsible for the preparation and timely filing of all other
Tax Returns of the Acquired Companies. Straddle Period Tax Returns shall be prepared consistent
with the past practice of the Acquired Companies, except to the extent required by applicable Law.
Buyer shall provide Sellers with a draft of each Straddle Period Tax Return at least thirty (30) days
prior to filing any Tax Return of the Acquired Companies for review and comment.

                (d)    To the extent permitted or required by Applicable Law, the taxable year of
each of the Acquired Companies that includes the Closing Date shall be treated as closing on (and
including) the Closing Date. For purposes of determining the amount of Taxes of the Acquired
Companies for Straddle Periods attributable to a Pre-Closing Tax Period or a Post-Closing Tax
Period, the amount of Taxes attributable to the Pre-Closing Tax Period shall be deemed to be (i)
in the case of Taxes imposed on a periodic basis (such as certain franchise Taxes, real or personal
property Taxes), the amount of such Taxes for the entire Straddle Period multiplied by a fraction,
the numerator of which is the number of calendar days during the Straddle Period that are in the
Pre-Closing Tax Period and the denominator of which is the number of calendar days in the entire
Straddle Period, and (ii) in the case of Taxes other than Taxes described in (i) above, such as Taxes
based on income or receipts, the amount of such Taxes shall be computed as if such taxable period
ended as of the end of the day on the Closing Date; provided, that exemptions, allowances or
deductions that are calculated on an annual basis (including, but not limited to, depreciation and
amortization deductions) shall be allocated between the Pre-Closing Tax Period and the Post-
Closing Tax Period in proportion to the number of days in each period.

                (e)      After Closing, Sellers, on the one hand, and Buyer and the Acquired
Companies, on the other hand, shall promptly deliver to the other any notice received by them (or
by an Affiliate thereof) from any Governmental Entity relating to Taxes for which such other
Person is or may be liable under this Agreement. Sellers, Buyer and the Acquired Companies shall
cooperate fully, as and to the extent reasonably requested by any of the other Parties, in connection
with the filing of Tax Returns pursuant to this Section 5.11 and any Tax Proceeding (as defined
below) with respect to Taxes. Sellers and Buyer and the Acquired Companies, further agree (after
Closing) to retain all books and records with respect to Tax matters pertinent to the Acquired
Companies relating to any taxable period beginning before the Closing Date until the expiration
of the statute of limitations (and, to the extent notified by any other Party, any extensions thereof)
of the respective taxable periods, and upon any other Party’s request, to give such other Party
access to such books and records which are reasonably relevant to a Tax Proceeding or Tax Return
involving the Acquired Companies and to make employees and personnel available on a mutually

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convenient basis to provide additional information and explanation of any material provided
hereunder.

              (f)     Buyer shall not amend (or cause or permit any Acquired Company to
amend) any Tax Return of any Acquired Company for any taxable period beginning before the
Closing Date without the prior written consent of Sellers, which consent shall not be unreasonably
withheld.

              (g)   Buyer in its sole discretion shall be permitted to cause Pittsburgh Cable
News Channel, LLC to make an election under Section 754 of the Code. Sellers shall in good faith
cooperate with Buyer to enable Buyer, in its sole discretion, to cause Pittsburgh Cable News
Channel, LLC to make an election under Section 6226 of the Code.

                (h)      Sellers and Buyer intend that the sales of the Purchased Assets and the
Acquired Companies (including both the Acquired Companies that are treated as disregarded
entities for U.S. federal income tax purposes and the Acquired Corporations) contemplated hereby
will be treated as fully taxable asset sales for U.S. federal income tax purposes Sellers and their
Affiliates shall join with Buyer in making an election under Section 338(h)(10) of the Code and
any corresponding or similar elections under state, local or foreign Tax law (a “Section 338(h)(10)
Election”) with respect to the purchase and sale of the stock of any of the Acquired Corporations
hereunder. At Buyer’s request, in lieu of Section 338(h)(10) Elections, Sellers and their Affiliates
shall reasonably consider alternatives to Section 338(h)(10) Elections that will cause the
acquisition of the Acquired Corporations to be treated as fully taxable asset sales for U.S. federal
income tax purposes. Buyer shall prepare and file all forms and documents required in connection
with any Section 338(h)(10) Election. In addition to the Forms 8023 described in Section 8.1(s),
Sellers shall execute (or cause to be executed) and deliver to Buyer such additional documents or
forms as Buyer reasonably requests to complete any Section 338(h)(10) Election at least 10 days
prior to the date such documents or forms are required to be filed. Buyer and Sellers and their
respective Affiliates shall be bound by any Section 338(h)(10) Election for all Tax purposes. Buyer
and Sellers shall file, and shall cause their respective Affiliates to file, all Tax Returns in a manner
consistent with any Section 338(h)(10) Election and shall take no position contrary thereto except
to the extent otherwise required pursuant to a “determination” within the meaning of Section
1313(a) of the Code (or any similar provision of applicable state, local or foreign Law).

                (i)    Sellers shall be entitled to receive any refunds or credits of any Taxes for
any Pre-Closing Tax Period (including any interest in respect thereof, and including any reduction
of Post-Closing Tax Period Taxes as a result of application of any refund or credit for a Pre-Closing
Tax Period against such Taxes), except to the extent that such refund or credit is attributable to the
carryback of Tax attributes arising in a taxable year (or portion thereof) beginning after the Closing
Date. Buyer shall cause the amount of any refunds or credits to which Sellers are entitled under
this Section 5.11, but which are received by or credited to Buyer or any Acquired Company after
the Closing Date, to be paid to Sellers within five (5) Business Days following such receipt or
crediting. In addition, at the request of Sellers, Buyer shall (and shall cause the Acquired
Companies to) cooperate with Sellers in seeking any Tax refunds or credits described in this
Section 5.11(i). The Sellers shall repay to Buyer or the applicable Acquired Company any amounts
received pursuant to this Section 5.11(i) to the extent that the refund or credit giving rise to such
amounts are subsequently disallowed by any Governmental Entity. The Buyer Indemnified Parties

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shall be entitled to offset any payment owed to Sellers pursuant to this Section 5.11(i) against any
amounts Sellers are obligated to pay to the Buyer Indemnified Parties under Section 9.2(a).

               (j)    Notwithstanding anything herein to the contrary, Sellers shall have the right
to conduct and control any audit, examination, litigation or other proceeding with respect to Taxes
(a “Tax Proceeding”) involving the Acquired Companies to the extent it relates to any Pre-Closing
Tax Period, provided, however, that Buyer shall have the right to participate in any such Tax
Proceeding and Sellers shall not, without the written consent of Buyer, which consent shall not be
unreasonably withheld or delayed, settle or compromise any such Tax Proceeding in a manner that
would have the effect of materially increasing the Taxes of the Acquired Companies in a Post-
Closing Tax Period.

               5.12 Intercompany Accounts and Intercompany Arrangements. Immediately
prior to the Closing, all intercompany balances and accounts (other than accounts set forth in
Schedule 5.12) between any Seller or any of its Affiliates (other than the Acquired Companies),
on the one hand, and the Acquired Companies, on the other hand, shall be settled or otherwise
eliminated. Immediately prior to the Closing, except for the Transaction Documents to be entered
into in connection with this Agreement or as set forth on Schedule 5.12, all Affiliate Contracts,
other than Affiliate Contracts identified and made available to Buyer within sixty (60) days of the
date of this Agreement involving consideration of less than $250,000 per annum, shall
automatically be terminated without further payment or performance and cease to have any further
force and effect, such that no party thereto shall have any further Liabilities therefor or thereunder.

                5.13 Pre-Closing Restructuring. At or prior to the Closing, Sellers shall, and
shall cause their respective applicable Affiliates (including the Acquired Companies) to use
reasonable best efforts to complete the transactions set forth on the Pre-Closing Restructuring
Steps Plan attached to Schedule 5.13(a) (the “Step Plan”) as described therein other than
immaterial changes, in compliance with applicable Law (such transactions, collectively, the “Pre-
Closing Restructuring”), including (i) obtaining all Approvals of all Governmental Entities and
under all Permits and (ii) using reasonable best efforts to obtain all material Approvals of all third
parties, in each case that are required to consummate the transactions contemplated by the Pre-
Closing Restructuring. Following the Pre-Closing Restructuring, CMG will own equity interests
in Pearl Mobile DTV Company, LLC, Right This Minute, LLC, and Garnet Media Company,
LLC in the percentages set forth on Schedule 5.13(c) (the “Minority Investment Interests”) and
shall convey the Minority Investment Interests to Buyer at Closing. For the avoidance of doubt,
none of the Minority Investments shall be considered an Acquired Company (or subsidiary thereof)
for purposes of this Agreement or the Trans-actions. For the avoidance of doubt, the Pre-Closing
Restructuring will not include the transfer of the Purchased Assets to Buyer.

               5.14    Non-Solicitation of Employees; Non-Competition.

               (a)     For a period of two (2) years from the Closing Date, without the prior
written consent of Buyer, as to any individual who was an officer or other member of senior
management of the Business to be listed on Schedule 5.14(a) immediately prior to the Closing and
became employed by Buyer or its subsidiaries as of immediately following the Closing (a
“Covered Person”), Sellers agree that none of Sellers or any of their respective subsidiaries will
(and that Sellers will cause their respective subsidiaries not to), directly or indirectly, solicit for

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employment or employ any Covered Person; provided, that Sellers shall not be precluded from
soliciting, or taking any other action with respect to any such individual (i) whose employment
ceased at least three (3) months prior to commencement of employment discussions between any
Seller and such individual or (ii) who responds to general solicitations not specifically targeted at
employees of Buyer or any of its Affiliates (including through any search firm or recruiting agency
so long as such search firm or recruiting agency has not been directed to target employees of Buyer
or any of its Affiliates); provided, further, that Sellers and their respective Affiliates shall not be
restricted from engaging in general solicitations or advertising not targeted at any such Persons
described above. The parties hereto agree that if a Covered Person requests that Buyer waive the
non-solicitation and non-employment restrictions set forth in this Section 5.14(a) with respect to
that Covered Person, Buyer shall consider such request in good faith.

               (b)     For a period of three (3) years from the Closing Date, without the prior
written consent of Buyer, Sellers agrees that none of Sellers or any of their respective subsidiaries
will (and that Sellers will cause their respective subsidiaries not to) engage in the Business;
provided, that nothing herein shall preclude Sellers from:

                       (i)    owning five percent (5%) or less of the outstanding voting power or
equity securities of any Person (other than Buyer or its Affiliates);

                      (ii)     acquiring and, after such acquisition, owning an interest in any
Person (or its successor) that is engaged in a business activity that would otherwise violate this
Section 5.14(b) (a “Competing Business”) if such Competing Business generated less than ten
percent (10%) of such Person’s consolidated annual gross revenues in the last completed fiscal
year of such Person;

                        (iii) acquiring and, after such acquisition, owning an interest in any
Person (or its successor) that is engaged in a Competing Business if (A) such Competing Business
generated five percent (5%) or more (but in no event greater than ten percent (10%)) of such
Person’s consolidated annual revenues in the last completed fiscal year of such Person and
(B) Sellers enter, within one (1) year after the consummation of such acquisition, into a definitive
agreement to cause the divestiture of the Competing Business of such Person to an unaffiliated
third party such that the restrictions set forth in this Section 5.14(b) would not operate to restrict
such ownership and has completed such disposition within twelve (12) months of the date of such
definitive agreement (the “Divestiture Period”);

                     (iv)   exercising its rights or complying with its obligations under this
Agreement or any of the Transaction Documents; or

                        (v)     conducting the ownership and operations of Sellers (or any of their
respective Affiliates) apart from the Business or the ownership of the Purchased Assets as of the
date of this Agreement.

                (c)   Sellers acknowledge and agree that (x) the covenants set forth in this
Section 5.14 are reasonable with respect to duration and scope and are reasonable and necessary
to protect the goodwill and other assets purchased by Buyer pursuant to this Agreement and to
protect its investment therein and (y) Buyer and its Affiliates shall have the right and remedy,


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without regard to any other available remedy, to (i) have the covenants set forth in this Section 5.14
specifically enforced by any court of competent jurisdiction and (ii) have issued an injunction
restraining any such breach without posting of a bond; it being understood that any breach of any
of the covenants set forth in this Section 5.14 would cause irreparable and material loss to Buyer
and its Affiliates, the amount of which cannot be readily determined and as to which neither Buyer
nor any of its Affiliates will have any adequate remedy at Law or in equity.

               5.15    Intellectual Property Matters. Effective as of the Closing Date:

                (a)     Each Seller, on behalf of itself and its subsidiaries as of the Closing Date
(other than the Acquired Companies) hereby grants to Buyer and the Acquired Companies a non-
exclusive, worldwide, perpetual, revocable (as provided below), fully paid-up, royalty-free, non-
transferable (except as set forth in this Section 5.15) and non-sublicensable (except as set forth in
this Section 5.15) license under all Intellectual Property (other than trademarks, including, without
limitation, the Cox TMs) that (x) is owned by such Seller and the above subsidiaries as of
immediately following the Closing and (y) has been used in the Business as of the Closing Date
or at any time during the twelve (12) month period prior to the Closing Date (the “Seller Licensed
IP”), in each case, to use, reproduce, create derivative works of, modify, distribute, make, have
made, sell, offer for sale, import or otherwise commercially exploit products and services solely
in connection with the current and future operation of the Business or any reasonable evolutions
or expansions thereof.

                (b)      Buyer, on behalf of itself and its subsidiaries as of the Closing Date
(including the Acquired Companies), hereby grants to Sellers and their respective subsidiaries a
non-exclusive, worldwide, perpetual, revocable (as provided below), fully paid-up, royalty-free,
non-transferable (except as set forth in this Section 5.15) and non-sublicensable (except as set forth
in this Section 5.15) license under the owned Intellectual Property (other than trademarks) that has
been used by Sellers or their respective subsidiaries in the operation of any of their existing
businesses (other than the Business) as of the Closing Date or at any time during the twelve (12)
month period prior to the Closing Date, in each case, to use, reproduce, create derivative works of,
modify, distribute, make, have made, sell, offer for sale, import or otherwise commercially exploit
products and services solely in connection with the current and future operation of their existing
businesses or any reasonable evolutions or expansions thereof (other than the Business).

                (c)     The above licenses may be sublicensed by the licensed parties to (x) their
Affiliates and (y) their respective vendors, service providers, distributors, retailers, customers and
end-users, as applicable, in each case with respect to the operation of the Business (or existing
businesses or any reasonable evolutions or expansions thereof that remain in substantially the same
fields of business as were conducted at Closing and in the 12 months preceding Closing, as
applicable), but, with respect to clause (y) not with respect to other products or services of such
third parties.

                (d)    The above licenses may be revoked and terminated upon written notice,
following a fifteen (15) day notice and cure period: (a) in the event that the licensee under either
such license takes such action as to imperil the ongoing validity and enforceability of such
Intellectual Property, or (b) in the event that the licensee materially breaches its license. In the
event that conditions occur giving a licensor the right to exercise its termination right pursuant to

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the preceding sentence, such termination right shall only apply to the particular Intellectual
Property at issue, and not to all Intellectual Property licensed pursuant to this Section 5.15.

                (e)    The Parties hereto intend and agree that, for purposes of Section 365(n) of
the U.S. Bankruptcy Code (and any amendment thereto) and any equivalent Law in any foreign
jurisdiction, each of the above licenses will be treated as a license to intellectual property (as
defined in Section 101(35A) of the U.S. Bankruptcy Code).

                 (f)     The above licenses are intended to run with the Intellectual Property subject
thereto. Each licensing party may and must transfer this license, in whole or in part, to the acquirer
of any Intellectual Property owned by a party and subject thereto, and such acquirer shall assume
its obligations in writing or by operation of law. Any such acquirer is deemed automatically bound
by such license, regardless of whether such acquirer executes such written assumption. Further,
each licensed party may transfer the license granted to such party, in whole or in part, to (i) an
Affiliate or successor via merger that engages in the Business or Sellers’ or their respective
subsidiaries’ existing businesses or any reasonable evolutions or expansions thereof that remain
in substantially the same fields of business as were conducted at Closing and in the 12 months
preceding Closing (other than the Business), as applicable, as part of an internal reorganization or
(ii) the acquirer of one or more businesses or business lines of such party covered by such license
(or the entities owning the same), provided that, after any such acquisition, the above licenses shall
apply only to the Party’s transferred businesses and not to any unrelated businesses of any such
acquirer. All other transfers of this license require the prior written consent of the other Party in
its sole discretion, and are void ab initio without same.

                (g)    Each Seller, on behalf of itself and its subsidiaries as of the Closing Date
(other than the Acquired Companies) hereby grants to Buyer and the Acquired Companies a
limited, non-transferable, non-exclusive, fully-paid up, royalty free license to use all (i) trademarks
containing or incorporating the term “Cox,” (ii) variations or acronyms of any of the foregoing,
and (iii) trademarks confusingly similar to or dilutive of any of the foregoing (the “Cox TMs”) for
the sole purpose of winding down the use of such Cox TMs in the operation of the Business for a
period of up to ninety (90) days following the Closing Date (the “Transitional Period”). As soon
as reasonably practicable following the Closing Date, but in any event by the expiration of the
Transitional Period, Buyer shall, and shall cause the Acquired Companies to, (x) cease and
discontinue all uses of the Cox TMs and (y) eliminate the Cox TMs from any signage or other
public-facing materials owned or controlled by Buyer or any of its Acquired Companies after the
Closing Date. Buyer, on behalf of itself and the Acquired Companies, agrees that any use of the
Cox TMs within the Transitional Period shall be substantially similar to how the Cox TMs were
used by Sellers prior to the Closing Date and in accordance with all applicable Laws. Seller may
provide Buyer with Seller’s trademark usage guidelines, in which case Buyer will use the marks
in conformance with such usage guidelines. As between the Parties, Sellers are the sole and
exclusive owners of all right, title and interest in and to the Cox TMs and all rights related thereto
and goodwill associated therewith, and all uses of the Cox TMs and the goodwill arising therefrom
shall inure solely to the benefit of Sellers. Sellers shall have the right to inspect and exercise
quality control with respect to Buyer’s use of the Cox TMs. Buyer shall not, and shall cause the
Acquired Companies to not, use the Cox TMs in a manner that could reasonably be expected in
any respect to reflect negatively on, or otherwise adversely affect, the Cox TMs (including the
goodwill associated therewith) or Sellers. In the event that Buyer uses any such Cox TM in a

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manner that could reasonably be expected in any respect to reflect negatively on, or otherwise
adversely affect, any such Cox TM (including the goodwill associated therewith) or Sellers, Buyer
shall promptly cease any such use upon receiving written notice from Seller and shall coordinate
with Seller to remedy such use.

               5.16 Transition Services Agreement. From and after the date hereof, the Parties
hereto shall work in good faith to finalize the schedules to the Transition Services Agreement, in
accordance with the principles set forth on Schedule 5.16.

                5.17 Rollover Transactions. Within a reasonable time following the execution
of this Agreement, Parent, Buyer and any relevant Affiliates of such persons will enter into a
Contribution Agreement consistent with the Rollover Term Sheet attached to this Agreement as
Exhibit E hereto (the “Contribution Agreement”), pursuant to which, contemporaneously with the
Closing and in a transaction fully taxable as an asset sale for U.S. federal income tax purposes,
Buyer will deliver or cause to be delivered the equity interests in the indirect parent of Buyer
(“Holdco”) set forth in the Contribution Agreement to Parent or a wholly-owned Affiliate thereof
and reduce the Purchase Price payable under this Agreement by the amount set forth in the
Contribution Agreement. Parent shall not contribute the equity interests in Holdco to CMG and
shall ensure that CMG continues to be treated as a corporation for U.S. federal income tax
purposes. Following the date of this Agreement, Buyer and Sellers shall reasonably negotiate in
good faith (a) to finalize the Contribution Agreement and (b) if elected by Sellers, to identify
additional media-related assets of Parent or its Affiliates (for the avoidance of doubt, that are not
Purchased Assets or assets of Acquired Companies or their subsidiaries hereunder) to be
transferred by Parent or its Affiliates at Closing to Holdco, Buyer, or an Affiliate thereof in return
for additional equity interests in Holdco, and the valuation of any such assets for purposes of such
transfer, in such amount as is necessary for Parent and its Affiliates to own 25% (the “Maximum
Percentage”) of the common equity of Holdco as of the Closing (or such lesser percentage as
Sellers shall elect). Upon any such agreement by the Parties, the Parties shall amend the
Contribution Agreement to provide for the transfer of any such additional assets in return for
additional equity interests in Holdco. Within three (3) months of the date of this Agreement, in
the event Sellers and Buyer are not able to agree upon any such additional media-related assets to
be transferred and the valuation thereof for purposes of such transfer, then Parent, if it so elects,
instead shall be entitled to transfer cash to Holdco as the purchase price for any such additional
equity in Holdco that it elects to acquire, up to the Maximum Percentage. Notwithstanding the
foregoing, Parent and its Affiliates shall not acquire more than 19.9% of the stock of Holdco unless
a gain recognition election is made pursuant to Section 197(f)(9) with respect to the entire
transaction that is reasonably acceptable to Buyer. Contemporaneously with the Closing, Buyer,
Parent or the applicable Affiliate(s) thereof, and the other stockholders of Holdco shall enter into
a Stockholders Agreement governing the operation of Holdco on the terms and conditions set forth
in such Rollover Term Sheet (the “Holdco Stockholders Agreement”).

               5.18 CCI Retransmission Consent Agreement. Reference is made to that certain
Retransmission Consent Agreement by and between CMG and CoxCom LLC, d/b/a Cox
Communications (“CCI”), dated as of April 1, 2017 (the “2017 RTC Agreement”), which shall be
assumed by Buyer pursuant to its acquisition of the TV Stations as part of the Transactions. Buyer
agrees and acknowledges that as of the Closing, the 2017 RTC Agreement shall be amended to
reflect the updated terms described in Exhibit F (the “Amended Terms”), and in the event of any

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conflict between the terms of the 2017 RTC Agreement and the Amended Terms, the Amended
Terms shall govern. Except as amended pursuant to the Amended Terms, the 2017 RTC
Agreement shall remain in full force and effect after the Closing. Without limiting the forgoing,
Buyer agrees and acknowledges that the 2017 RTC Agreement, as amended by the Amended
Terms, shall govern the terms of retransmission of the TV Stations and any other TV stations in
which Buyer or any of its Affiliates acquires a controlling interest as of or after the Closing, until
the expiration or earlier termination of the 2017 RTC Agreement, as amended by the Amended
Terms.

                                         ARTICLE 6
                               SELLERS’ CLOSING CONDITIONS

        The obligation of Sellers to consummate the Closing hereunder is subject to satisfaction,
at or prior to Closing, of each of the following conditions (unless waived in writing by Sellers,
other than the Governmental Consents, which cannot be waived):

               6.1     Representations and Covenants.

                (a)     All representations and warranties of Buyer contained in this Agreement
shall be true and correct at and as of the Closing (other than any representation or warranty that is
expressly made as of a specified date, which need be true and correct as of such specified date
only), except to the extent that the failure of the representations and warranties of Buyer contained
in this Agreement to be so true and correct at and as of the Closing (or in respect of any
representation or warranty that is expressly made as of a specified date, as of such date only) has
not had and would not reasonably be expected to have, individually or in the aggregate, a Buyer
Material Adverse Effect; provided, that for purposes of this Section 6.1(a), all materiality or similar
qualifiers within such representations and warranties shall be disregarded.

               (b)     The covenants and agreements that by their terms are to be complied with
and performed by Buyer at or prior to the Closing shall have been complied with or performed by
Buyer in all material respects.

               (c)     Sellers shall have received a certificate dated as of the Closing Date from
Buyer executed by an authorized officer of Buyer to the effect that the conditions set forth in
Sections 6.1(a) and 6.1(b) have been satisfied.

                6.2   Proceedings. Neither Seller, nor any Acquired Company or its respective
subsidiaries, nor Buyer shall be subject to any court or Governmental Order or injunction, and no
Law shall have been enacted, which remains in effect, prohibiting or making illegal the
consummation of the Transactions.

                6.3     FCC Authorization. The FCC Consent shall have been granted and shall be
in full force and effect.

               6.4     Hart-Scott-Rodino. The HSR Clearance shall have been obtained.




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                                         ARTICLE 7
                                BUYER’S CLOSING CONDITIONS

        The obligation of Buyer to consummate the Closing hereunder is subject to satisfaction, at
or prior to Closing, of each of the following conditions (unless waived in writing by Buyer, other
than the Governmental Consents, which cannot be waived):

                7.1     Representations and Covenants.

                  (a)    (i) The representations and warranties of Sellers contained in this
Agreement (other than the representations and warranties of Sellers described in clauses (ii) and
(iii)) shall be true and correct at and as of the Closing (other than any representation or warranty
that is expressly made as of a specified date, which need be true and correct as of such specified
date only), except to the extent that the failure of such representations and warranties of Sellers
contained in this Agreement to be so true and correct at and as of the Closing (or in respect of any
representation or warranty that is expressly made as of a specified date, as of such date only) has
not had a Material Adverse Effect; (ii) the representations and warranties of Sellers contained in
the first sentence of Section 2.1 (Existence; Good Standing), Section 2.2 (Authorization and
Binding Obligation), Section 2.22 (Assets; Sufficiency), and Section 2.23 (No Brokers) shall be
true and correct at and as of the Closing (other than any representation or warranty that is expressly
made as of a specified date, which need be true and correct as of such specified date only) in all
material respects; and (iii) the representations and warranties of Sellers contained in Section 2.3
(Ownership of Equity Interests; Subsidiaries) other than the last sentence thereof, shall be true and
correct in all respects; provided, that for purposes of this Section 7.1(a), in each case, all materiality
or similar qualifiers within such representations and warranties shall be disregarded.

                (b)      The covenants and agreements that by their terms are to be complied with
and performed by Sellers at or prior to Closing shall have been complied with or performed by
Sellers in all material respects.

               (c)     Buyer shall have received a certificate dated as of the Closing Date from
Sellers executed by an authorized officer of Sellers to the effect that the conditions set forth in
Sections 7.1(a), 7.1(b) and 7.5 have been satisfied.

                7.2   Proceedings. Neither any Seller, nor any Acquired Company or its
respective subsidiaries, nor Buyer shall be subject to any court or Governmental Order or
injunction, and no Law shall have been enacted, which remains in effect, prohibiting or making
illegal the consummation of the Transactions.

                7.3     FCC Authorization. The FCC Consent shall have been granted and shall be
in full force and effect.

                7.4     Hart-Scott-Rodino. The HSR Clearance shall have been obtained.

              7.5    Northwest Purchase Agreement. The conditions set forth in Section 6.1 and
Section 6.2 of the Northwest Purchase Agreement shall have been satisfied (provided, for the
avoidance of doubt, that the consummation of the transactions contemplated by the Northwest
Purchase Agreement shall not be a condition to Buyer’s obligation to consummate the Closing).

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               7.6    No Material Adverse Effect. Since the date of this Agreement, there shall
not have been, nor shall there be, any Material Adverse Effect.

                                          ARTICLE 8
                                      CLOSING DELIVERIES

                8.1     Seller Documents. At Closing, Sellers shall deliver or cause to be delivered
to Buyer:

                (a)    bills of sale, substantially in the form attached hereto as Exhibit G (each, a
“Bill of Sale”), duly executed by CMG, Cox Ohio and Cox Radio, as applicable;

               (b)     assignment and assumption agreements substantially in the form attached
hereto as Exhibit H (each, an “Assignment and Assumption Agreement”), duly executed by CMG,
Cox Ohio, and Cox Radio, as applicable;

               (c)   assignment agreements for the FCC Licenses, substantially in the form
attached hereto as Exhibit I (each, an “FCC Assignment Agreement”), duly executed by the
applicable licensee;

               (d)    assignment and assumption agreements for the Real Property Leases
included in the Purchased Assets, substantially in the form attached hereto as Exhibit J (each, a
“Real Property Assignment”), duly executed by CMG, Cox Ohio and Cox Radio, respectively;

               (e)    assignment agreements for the Intellectual Property substantially in the
form attached hereto as Exhibit K (each, an “IP Assignment Agreement”), duly executed by CMG,
Cox Ohio and Cox Radio, and any Affiliates of such parties as may be mutually agreed by the
Parties;

              (f)   certified copies of all resolutions necessary to authorize the execution,
delivery and performance of this Agreement by Sellers, including the consummation of the
Transactions;

                (g)     the certificate described in Section 7.1(c);

                (h)      (i) original share certificates representing the Equity Interests (or in the case
of lost share certificates, affidavits of loss, including customary indemnification provisions), duly
endorsed in blank for transfer, or accompanied by irrevocable stock powers duly executed in blank,
and (ii) membership interest assignments, duly executed by the Seller or other holder of the Equity
Interests, as applicable;

              (i)     affidavits of non-foreign status of each Seller that comply with Treasury
Regulations Section 1.1445-2(b)(2), duly executed by each Seller;

                (j)    resignations of each officer and director of the Acquired Companies,
effective as of the Closing;




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                 (k)    copies of the Organizational Documents of each Acquired Company and
Seller, certified by the Secretary of State hereof;

               (l)    transition services agreement substantially in the form attached hereto as
Exhibit L (the “Transition Services Agreement”), duly executed by Buyer;

             (m)     the Seller landlord leases set forth on Schedule 8.1(m) (each, a “Seller
Landlord Lease”), duly executed by Buyer, respectively;

             (n)     the Buyer landlord leases set forth on Schedule 8.1(n) (each, a “Buyer
Landlord Lease”), duly executed by Buyer, respectively;

              (o)     subordination, non-disturbance and attornment agreements (the “SNDAs”)
as contemplated by Article 5 of the Seller Landlord Leases, duly executed by the landlord and by
the mortgagees of the properties subject to Seller Landlord Leases;

              (p)   a duly executed limited warranty deed (or the equivalent under applicable
Law) for each Owned Real Property included in the Purchased Assets (each, a “Deed”)

              (q)   documentation evidencing any consents obtained pursuant to the terms of
the Material Agreements specified in Sections 2.9(a)(i), 2.9(a)(iv), 2.9(a)(v) and 2.9(a)(ix);

               (r)   with respect to each acquisition of an Acquired Corporation by Buyer, two
copies of IRS Form 8023 (or successor form), executed by Parent and completed in a manner that
will permit Buyer to make a Section 338(h)(10) Election with respect to such Acquired
Corporation;

                (s)    (i) the Debt Payoff Letters for any Indebtedness for borrowed money that is
to be repaid at Closing, and (ii) customary releases, reconveyances, UCC terminations and other
relevant documentation, suitable for filing in each applicable jurisdiction and sufficient to evidence
the release of any Indebtedness for borrowed money or guarantees thereof by the Acquired
Companies or their respective subsidiaries and any security interests or other Liens (other than
Permitted Liens) encumbering all or any portion of the Acquired Companies, their respective
subsidiaries or the Purchased Assets; and

                (t)    the Holdco Stockholders Agreement, duly executed by CMG and the other
Affiliates of Parent acquiring equity interests in Holdco.

                8.2     Buyer Documents. At Closing, Buyer shall deliver or cause to be delivered
to Sellers (unless otherwise specified herein):

               (a)     the Estimated Purchase Price as calculated pursuant to Section 1.2 hereof;

               (b)     the Assignment and Assumption Agreements duly executed by Buyer;

               (c)     the FCC Assignment Agreements duly executed by Buyer;

               (d)     the Real Property Assignment Agreements duly executed by Buyer;


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               (e)     the IP Assignment Agreements duly executed by Buyer;

               (f)     certified copies of all corporate or other resolutions necessary to authorize
the execution, delivery and performance of this Agreement by Buyer, including the consummation
of the Transactions;

               (g)     the certificate described in Section 6.1(c);

               (h)     the Transition Services Agreement duly executed by Buyer;

               (i)     the Seller Landlord Leases duly executed by Buyer;

               (j)     the Buyer Landlord Leases duly executed by Buyer;

               (k)     SNDAs duly executed by the tenant under each of the Seller Landlord
Leases; and

                (l)    the Holdco Stockholders Agreement, duly executed by each owner of an
equity interest in Holdco (other than Parent and its Affiliates).

                                      ARTICLE 9
                            SURVIVAL AND INDEMNIFICATION

        9.1     Survival. The representations, warranties, covenants and agreements in this
Agreement and any certificates delivered in connection herewith shall not survive the Closing,
whereupon they shall expire and be of no further force or effect, and all claims related thereto, or
otherwise related to the subject matter of this Agreement, whether based upon breach of contract
or any other legal or equitable claim or theory of recovery, shall terminate and expire upon the
Closing; provided that the (a) covenants and agreements contained in Section 4.2 (the “Pre-Closing
Covenants”) shall survive Closing for one (1) year; and (b) the covenants and agreements in this
Agreement and the other Transaction Documents, to the extent expressly contemplated by their
respective terms to be performed after the Closing (the “Post-Closing Covenants”) shall survive
the Closing until fully performed, whereupon they shall expire and be of no further force or effect,
and all claims related thereto shall then terminate and expire.

               9.2     Indemnification.

                (a)     Subject to the other provisions and limitations of this Article 9, from and
after the Closing, Sellers shall, jointly and severally, indemnify, defend and hold harmless Buyer,
the Acquired Companies and their subsidiaries (post-Closing), and each of their respective
officers, directors, members, shareholders, equityholders, managers, representatives, agents,
successors and assigns (collectively, the “Buyer Indemnified Parties”) from and against any
Actions, costs, expenses, losses, damages, liabilities, deficiencies, judgments, interest, Taxes,
awards, penalties and fines (collectively, “Damages”) that any Buyer Indemnified Party suffers,
sustains, or incurs arising out of, relating to or resulting from (i) a breach of any Pre-Closing
Covenant made by Sellers; (ii) a breach of any Post-Closing Covenant made by Sellers; (iii) any
Excluded Liability; (iv) any Excluded Asset; and (v) the Pre-Closing Restructuring ((i) through
(v) collectively, the “Retained Liability Indemnities”. Notwithstanding the foregoing, any

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indemnity payment to be made by Sellers hereunder shall be made by Sellers to Buyer, the
Acquired Companies or their subsidiaries (post-Closing), except that, to the extent any other Buyer
Indemnified Party sustains an out-of-pocket loss in connection with any such indemnified matter,
then, to such extent only, payment shall be made to such Buyer Indemnified Party, subject to the
other terms and conditions of this Agreement.

                (b)     Subject to the other provisions and limitations of this Article 9, from and
after the Closing, Buyer shall indemnify, defend and hold harmless Seller and its Affiliates
(excluding the Acquired Companies and their subsidiaries after the Closing) and each of their
respective officers, directors, members, shareholders, equityholders, managers, representatives,
agents, successors and assigns (collectively, the “Seller Indemnified Parties”) from and against
any Damages that any Seller Indemnified Party suffers, sustains, or incurs arising out of: (i) a
breach of or material misrepresentation with respect to, any of the representations and warranties
made by Buyer contained in Article 3 of this Agreement; (ii) a breach by Buyer of any Pre-Closing
Covenant made by Buyer; (iii) any Assumed Liabilities; and (iv) all Carriage Resolution Damages.
Buyer agrees that Damages payable to any Seller Indemnified Party for any claim for Carriage
Resolution Damages shall be grossed up in an amount to make such Seller Indemnified Party
whole for the entirety of its Damages to account for the percentage of equity in Holdco (and
resulting loss) that Seller or its Affiliates would incur in respect of such Damages payment.

               (c)      Notwithstanding anything to the contrary set forth in this Agreement, Buyer
acknowledges and agrees, on behalf of itself and each Buyer Indemnified Party, that Sellers shall
not have any direct or indirect liability with respect to any breach of any representation or warranty
contained in this Agreement. The preceding sentence shall be without prejudice to Buyer
Indemnified Parties’ indemnification for a Retained Liability Indemnity, irrespective of whether
such Retained Liability Indemnity would also constitute a breach of a representation or warranty
made by Sellers’ provided that in the case of an Excluded Liability, to the extent (if any) there
exists a breach of a representation or warranty by Seller in respect of such Excluded Liability,
Buyer and the other Buyer Indemnified Parties must assert claims for indemnification under the
R&W Insurance Policy first prior to asserting such claims against Sellers pursuant to this
Agreement.

                (d)    For the purposes of determining (i) whether there has occurred any breach
of any representation and warranty and (ii) the amount of any Damages suffered by any Buyer
Indemnified Party, the representations and warranties of Seller set forth in Article 2 of this
Agreement shall be considered without regard to any materiality or Material Adverse Effect
qualification therein.

                (e)    Any Indemnified Party that becomes aware of any Damages for which it
seeks indemnification under this Article 9 shall be required to use reasonable best efforts to
mitigate such Damages including taking any actions reasonably requested by the Indemnified
Party and an Indemnifying Party shall not be liable for any Damages to the extent that it is
attributable to the Indemnified Party’s failure to mitigate; provided, that any costs or expenses
incurred in connection with such efforts shall be deemed Damages hereunder.

              (f)    The Parties acknowledge and agree that the R&W Insurance Policy is
intended to be a Contract between Buyer and the R&W Insurer, separate and apart from this

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Agreement. As such, notwithstanding anything to the contrary in this Article 9 or elsewhere in
this Agreement, nothing in this Article 9 (including the limitations or exceptions set forth in this
Article 9) or elsewhere in this Agreement shall be deemed to limit the rights of Buyer and any
other Buyer Indemnified Parties (including, following the Closing, the Acquired Companies and
their subsidiaries) provided under the R&W Insurance Policy, subject to the terms and conditions
thereof. The R&W Insurer shall have no right of subrogation against Sellers or their Affiliates and
Buyer shall indemnify Sellers and their Affiliates against any claims brought by the R&W Insurer,
its Affiliates or assigns, except for subrogation rights in the case of fraud to the extent expressly
required pursuant to the terms of the R&W Insurance Policy.

                (g)   If any amount is determined to be due from Buyer or Sellers under this
Article 9, such indemnification shall be paid by such party to the Indemnified Party by wire transfer
of immediately available funds within five (5) Business Days after it is determined that such
amount is due pursuant to Section 9.2(a) or Section 9.2(b), as applicable.

                (h)   Neither a Buyer Indemnified Party nor a Seller Indemnified Party shall be
entitled to be compensated more than once for the same Loss.

                (i)    Payments by an Indemnifying Party pursuant to Section 9.2(a) or 9.2(b) in
respect of any Loss shall be limited to the amount of any liability or damage that remains after
deducting therefrom any insurance proceeds and any indemnity, contribution or other similar
payment received by the Indemnified Party in respect of any such claim. The Indemnified Party
shall use its commercially reasonable efforts to recover under insurance policies or indemnity,
contribution or other similar agreements for any Damages prior to seeking indemnification under
this Agreement.

              (j)     The Buyer Indemnified Parties’ will not be entitled to indemnification
pursuant to Section 9.2(a) for Damages to the extent that any Buyer Indemnified Party has been
compensated therefor as a reduction to the Final Purchase Price.

             9.3       Notice and Defense.

                (a)    Any party entitled to receive indemnification under this Article 9 (the
“Indemnified Party”) agrees to give written notice to the party required to provide such
indemnification (the “Indemnifying Party”) promptly after becoming aware of the occurrence of
any indemnifiable Loss under circumstances where such claim is brought by a third party and the
Indemnified Party may seek Indemnification under this Article 9 (such claim, a “Third Party
Claim”). The Indemnified Party’s failure to give such notice will not affect the obligations of the
Indemnifying Party under this Article 9 unless the Indemnifying Party is materially prejudiced
thereby, and then only to the extent so prejudiced. Such written notice will include a brief
description of the event or events forming the basis of such claim and a good faith estimate of the
amount involved.

               (b)    If a Third Party Claim is made against an Indemnified Party, the
Indemnifying Party shall be entitled to assume the defense thereof and, if it elects to assume such
defense, the Indemnifying Party must notify the Indemnified Party thereof within thirty (30) days
after receiving the indemnification notice relating to such Third Party Claim and assume the


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defense thereof with counsel selected by the Indemnifying Party and reasonably satisfactory to
such Indemnified Party; provided, however, that the Indemnifying Party shall not be entitled to
assume the defense of such Third Party Claim if (x) counsel to the Indemnified Party shall have in
good faith concluded that there is or is reasonably likely to be an actual conflict of interest between
the Indemnifying Party and the Indemnified Parties in such Action that would reasonably be
expected to adversely affect the Indemnifying Party’s ability to defend the interests of the
Indemnified Party in such Third Party Claim, (y) such Third Party Claim is a claim made pursuant
to Section 9.2(a) and is covered by the R&W Insurance Policy, or (z) the Third Party Claim seeks
an injunction or other equitable relief or relates to or arises in connection with any criminal or
quasi-criminal action. Should the Indemnifying Party assume the defense of such Third Party
Claim, the Indemnifying Party shall not be liable to such Indemnified Party for legal expenses
subsequently incurred by such Indemnified Party in connection with the defense thereof. If the
Indemnifying Party does not assume the defense and control of any Third Party Claim pursuant to
this Section 9.3(b), the Indemnified Party shall be entitled to assume and control such defense and
the Indemnifying Party shall pay the fees and expenses of counsel retained by the Indemnified
Party, but the Indemnifying Party may nonetheless participate in the defense of such Third Party
Claim with its own counsel and at its own expense. Buyer or Seller, as the case may be, shall, and
shall cause each of its Affiliates and Representatives to, reasonably cooperate with the
Indemnifying Party in the defense of any Third Party Claim, including by furnishing books and
records, personnel and witnesses, as appropriate for any defense of such Third Party Claim. If the
Indemnifying Party assumes such defense, (i) such Indemnified Party shall have the right to
participate in the defense thereof and to employ counsel, at its own expense, separate from the
counsel employed by the Indemnifying Party; provided, however, that the Indemnifying Party shall
control such defense, (ii) the Indemnifying Party will at all times keep the Indemnified Party
reasonably apprised of the status of the defense of any matter the defense of which they are
maintaining, and (iii) except with prior consent of the Indemnified Party, no Indemnifying Party,
in the defense of a Third Party Claim, shall consent to entry of any judgment or enter into any
settlement unless (A) the Indemnified Party receives a full, complete, and unconditional release in
respect of the Third Party Claim without any admission or finding of obligation, liability, fault, or
guilt (criminal or otherwise) or violation of applicable Law with respect to the Third Party Claim,
and (B) no injunctive, extraordinary or equitable relief of any kind is imposed on the Indemnified
Party or any of its Affiliates. Unless such consent is obtained, the Indemnifying Party shall
continue the defense of such Third Party Claim.

                (c)     Upon receipt of a notice of a claim for indemnity from an Indemnified Party
pursuant to Section 9.2(a) or Section 9.2(b) that does not involve a Third Party Claim, the
Indemnifying Party shall use reasonable best efforts to notify the Indemnified Party within thirty
(30) days following the receipt of such notice whether the Indemnifying Party disputes its
indemnity obligation to the Indemnified Party for any Damages with respect to such claim,
provided that any failure to give such notice shall not limit the Indemnifying Party’s rights under
this Article 9. If the Indemnifying Party disputes its indemnity obligation for any Losses with
respect to such claim, the parties shall proceed in good faith to negotiate a resolution of such
dispute and, if not resolved through negotiations, such dispute shall be resolved by litigation in an
appropriate court of jurisdiction determined pursuant to Section 11.10.




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               (d)    Purchase Price Adjustment. To the extent permitted by applicable Law, any
indemnity payment under this Article 9 or otherwise under this Agreement shall be treated as an
adjustment to the Final Purchase Price for all purposes, including Tax purposes.

                                      ARTICLE 10
                               TERMINATION AND REMEDIES

               10.1    Termination. This Agreement may be terminated prior to the Closing as
follows:

               (a)     by mutual written agreement of Buyer and Sellers;

                (b)    by written notice of Buyer to Sellers if (i) Buyer is not in material breach of
its obligations under this Agreement, (ii) Sellers breach their representations or warranties, or
default in the performance of their covenants, contained in this Agreement and (iii) all such
breaches and defaults by Sellers that are (x) not cured by Sellers by the Outside Date (as defined
below), or (y) incapable of being cured, if any such breach or default, individually or in the
aggregate, would prevent the conditions to the obligations of Buyer set forth in Section 7.1 from
being satisfied;

                 (c)   by written notice of Sellers to Buyer if (i) Sellers are not in material breach
of their obligations under this Agreement, (ii) Buyer breaches its representations or warranties, or
defaults in the performance of its covenants, contained in this Agreement and (iii) all such breaches
and defaults by Buyer that are (x) not cured by Buyer during the earlier of (A) the sixty (60) day
period after written notice from Sellers of such breach or default and (B) the Outside Date, or (y)
incapable of being cured, if any such breach or default, individually or in the aggregate, would
prevent the conditions to the obligations of Sellers set forth in Section 6.1 from being satisfied;

                (d)     by written notice of Buyer to Sellers, or by Sellers to Buyer, if the Closing
does not occur by the date that is twelve (12) months after the date of this Agreement (such date,
as same may be extended by Sellers as set forth in this paragraph, the “Outside Date”); provided;
however, that the right to terminate this Agreement under this Section 10.1(d) shall not be available
to any Party whose breach or failure to comply in all material respects with the provisions of this
Agreement has been the primary cause of, or resulted in, the Closing not having occurred by the
Outside Date; provided further, however, that, (x) Sellers on one hand, or Buyer on the other, may,
by written notice to the other Party, extend the Outside Date by 45 days by written notice given at
any time prior to termination of this Agreement and (y) in the event the Marketing Period has
commenced but has not completed as of the Outside Date, the Outside Date may be extended (or
further extended) by Sellers, on the other hand, or Buyer, on the other hand, by providing written
notice thereof to the other Party at least one (1) Business Day prior to the Outside Date until four
(4) Business Days after the then-scheduled expiration date of the Marketing Period; provided
further, however, that the Outside Date shall automatically be extended by up to 30 days in the
event that either the FTC or the FCC is not open and conducting normal operations after the date
of this Agreement and prior to the valid termination hereof;

              (e)     by Sellers or Buyer, by written notice to the other if a Governmental Entity
of competent jurisdiction has issued an Governmental Order or any other action permanently


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enjoining or otherwise prohibiting the consummation of (i) the Transactions or (ii) the Northwest
Transactions and, in either case of clause (i) or (ii), such Governmental Order or other action has
become final and non-appealable; provided, however, that the right to terminate this Agreement
under this Section 10.1(e) shall not be available to any Party whose breach or failure to comply in
all material respects with any provision of this Agreement has been the primary cause of, or
resulted in, such Governmental Order or other action, or, solely in the case of Buyer, of the
Northwest Purchase Agreement; or

                (f)    by Sellers, if (i) Buyer shall have failed to consummate the Transactions
within three (3) Business Days of the first date (the “First Date”) on which Buyer was required to
consummate the Closing pursuant to Section 1.3, (ii) all the conditions set forth in Article 6 and
Article 7 would have been satisfied if the Closing were to have occurred at such time (other than
those conditions that by their terms are to be satisfied by actions taken at the Closing, provided
such conditions would have been able to be satisfied as of such date), (iii) Sellers shall have given
irrevocable written notice to Buyer at least two (2) Business Days prior to the First Date confirming
that Sellers stand ready, willing and able to consummate the Transactions, the Closing and the
other transactions contemplated hereby and (iv) at all times during such three (3) Business Day
period described in clause (i), Sellers stood ready, willing and able consummate the Transactions,
the Closing and the other transactions contemplated hereby.

                 10.2 Termination and Survival. In the event of the termination of this Agreement
in accordance with Section 10.1, written notice thereof shall forthwith be given to the other Party
specifying the provision hereof pursuant to which such termination is made (other than in the case
of termination pursuant to Section 10.1(a)). Subject to the payment of the Buyer Termination Fee
under circumstances in which such fee is payable in accordance with this Agreement, and in all
other respects to, Section 10.4 and Section 11.14 (including, in each case, the limitations set forth
therein), this Agreement shall forthwith become null and void, and there shall be no damages or
Liability except, (i) nothing in this Agreement shall be deemed to release any Party from any
Liability for fraud prior to such valid termination and (ii) nothing herein shall be deemed to release
Sellers on the one hand, or Buyer, on the other hand from any Liability for any Intentional Breach
of the provisions of this Agreement prior to such valid termination by the other Party or any of
their respective directors, officers, employees, incorporators, members, partners, equityholders,
Affiliates, agents, attorneys or representatives (in each of the case of clause (i) and this clause (ii),
which the Parties acknowledge and agree will not be limited to reimbursement of expenses or out-
of-pocket costs, and in the case of any damages sought by the non-breaching party, including any
Intentional Breach, such damages will include the benefit of the bargain lost by the non-breaching
party, taking into consideration relevant matters, including opportunity costs and the time value of
money)); provided, that the provisions of this Section 10.2 and Section 5.1 (Confidentiality),
Section 5.2 (Announcements), Section 10.4 (Buyer Termination Fee), Section 11.1 (Expenses),
Section 11.7 (Entire Agreement), Section 11.9 (Third Party Beneficiaries), Section 11.10
(Governing Law; Consent to Jurisdiction; Waiver of Jury Trial), Section 11.11 (Neutral
Construction), Section 11.12 (Counterparts) and Section 11.13 (Interpretation) shall remain in full
force and effect and survive any termination of this Agreement; provided, further, that in no event
will the Buyer Related Parties have any Liability for monetary damages (including damages for
monetary damages in lieu of specific performance or otherwise) in the aggregate in excess of (A)
the amount of the Buyer Termination Fee and subject in all respects to the limitations set forth in
Section 10.4, or (B) solely in the event the termination of this Agreement that gives rise to Buyer’s

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obligation to pay Sellers the Buyer Termination Fee pursuant to Section 10.4(b) resulted directly
from fraud or an Intentional Breach of this Agreement by Buyer Related Parties acting on the
Buyer’s behalf, or fraud or an Intentional Breach by the Buyer Related Parties acting on the
Buyer’s behalf caused the Closing not to occur, the Maximum Liability Amount (inclusive of any
payment of the Buyer Termination Fee).

               10.3    Specific Performance.

                (a)     The Parties hereto acknowledge and agree that the Parties hereto would be
irreparably damaged if any of the provisions of this Agreement are not performed in accordance
with their specific terms or are otherwise breached and that any non-performance or breach of this
Agreement by any Party hereto could not be adequately compensated by monetary damages (even
if available) alone and that the Parties hereto would not have any adequate remedy at law.
Accordingly, in addition to any other right or remedy to which any Party hereto may be entitled,
at law or in equity (including monetary damages), prior to the termination of this Agreement
pursuant to Section 10.1, such Party shall be entitled to enforce any provision of this Agreement
by a decree of specific performance and to temporary, preliminary and permanent injunctive and
other equitable relief to prevent breaches or threatened breaches of any of the provisions of this
Agreement without posting any bond or other undertaking subject to the terms and limitations set
forth in this Agreement. Without limiting the generality of the foregoing, the Parties hereto agree
that the Party seeking specific performance shall be entitled to enforce specifically (a) a Party’s
obligations under Section 4.1 and (b) a Party’s obligation to consummate the Transactions
(including the obligation to consummate the Closing and to pay the Purchase Price, if applicable),
if the conditions set forth in Article 6 or Article 7, as applicable, have been satisfied (other than
those conditions that by their nature are to be satisfied at the Closing or are unsatisfied as a result
of breach of the representations and warranties or default in the performance of the covenants and
agreements contained in this Agreement of the Party against whom specific performance is sought)
or waived.

                (b)     Notwithstanding Section 10.3(a) or anything in any Transaction Document
or otherwise to the contrary, and subject in all respects to this Section 10.3, Sellers shall not nor
shall any Affiliate or equityholder thereof (or any of the forgoing’s respective Representatives) be
entitled to enforce or seek to enforce specifically Buyer’s obligation to cause all or any portion of
the Equity Financing to be funded (whether under this Agreement or the Equity Commitment
Letter) or otherwise cause Buyer to take action to consummate the Transactions, the Equity
Financing or the other transactions contemplated hereunder or under any other Transaction
Documents or otherwise (including the obligation to pay all or any portion of the aggregate
Purchase Price) unless and only if: (i) Buyer is required to consummate the Closing pursuant to
Section 1.3, (ii) the Debt Financing (including any alternative financing that has been obtained in
accordance with Section 5.10) has been received by Buyer in full, or such full amount will be
funded to Buyer at the Closing if the Equity Financing is funded at the Closing (provided that
Buyer shall not be required to draw down the Equity Financing or consummate the Closing if the
Debt Financing is not in fact funded at the Closing), (iii) Sellers have irrevocably confirmed in
writing to Buyer that, if specific performance is granted and the Equity Financing and Debt
Financing (including any alternative financing that has been obtained in accordance with Section
5.10) are funded, then the Closing will occur (and Sellers have not revoked, withdrawn, modified


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or conditioned such confirmation) and (iv) Buyer fail to complete the Closing within three (3)
Business Days after delivery of Sellers’ irrevocable written confirmation.

                (c)     Notwithstanding anything else to the contrary in any Transaction Document
or otherwise, for the avoidance of doubt, while Sellers may, subject in all respects to this Section
10.3, Section 10.4 and Section 11.14 (including, in each case, the limitations set forth therein),
concurrently seek (i) specific performance or other equitable relief, subject in all respects to this
Section 10.3 and (ii) payment of the Buyer Termination Fee, if, as and when required pursuant to
Section 10.4, under no circumstances shall Sellers, directly or indirectly, be permitted or entitled
to receive (1) both a grant of specific performance to cause the Equity Financing to be funded
(whether under this Agreement or the Equity Commitment Letter) or other equitable relief, on the
one hand, and payment of any of the Buyer Termination Fee and/or any of the amounts, if any, as
and when due, pursuant to Section 5.10(h) and this Section 10.3, on the other hand, or (2) except
in the case of Intentional Breach or fraud, both payment of any monetary damages whatsoever, on
the one hand, and payment of any of the Buyer Termination Fee and/or any of the amounts, if any,
as and when due, pursuant to Section 5.10(h) and this Section 10.3, on the other hand. The Parties
further agree that (x) by seeking the remedies provided for in this Section 10.3, a Party shall not
in any respect waive its right to seek any other form of relief that may be available to a Party under
this Agreement or the Equity Commitment Letter (including monetary damages) in the event that
the remedies provided for in this Section 10.3 are not available or otherwise are not granted, and
(y) nothing set forth in this Section 10.3 shall require any Party hereto to institute any Action for
(or limit any party’s right to institute any Action for) specific performance under this Section 10.3
prior to or as a condition to exercising any termination right under Article 10 (and/or receipt of
any amounts due pursuant to Section 10.4), nor shall the commencement of any legal action or
legal proceeding pursuant to this Section 10.3 or anything set forth in this Section 10.3 restrict or
limit any party’s right to terminate this Agreement in accordance with the terms of Article 10, or
pursue any other remedies under this Agreement or the Equity Commitment Letter that may be
available then or thereafter. Each of the Parties agrees that it will not oppose the granting of an
injunction, specific performance and other equitable relief on the basis that any other Party has an
adequate remedy at Law or that any award of specific performance is not an appropriate remedy
for any reason at Law or in equity.

               10.4    Buyer Termination Fee.

               (a)     If this Agreement is validly terminated pursuant to:

                     (i)   Section 10.1(c), unless the material breach or material default by
Buyer is demonstrated by Buyer not to be the primary cause for the failure of the Closing to be
consummated;

                      (ii)    Section 10.1(d) and as of the Outside Date, the FCC Consent has not
been granted or the HSR Clearance has not been obtained, in either case, unless due to facts or
circumstances primarily relating to Sellers;

                     (iii) Section 10.1(e) due to the issuance of a Governmental Order
permanently enjoining or otherwise prohibiting the consummation of the Transactions, or the
Northwest Transactions, solely to the extent such Governmental Order arises under the HSR Act


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or the Communications Laws; provided, that, in the case of the Transactions, such issuance of a
Governmental Order or failure to obtain HSR Clearance or FCC Consent is not caused by any
action or nonaction, or any breach of Section 4.1 or any noncompliance therewith, by Sellers or
their respective Affiliates;

                       (iv)    Section 10.1(f) due to Buyer’s failure to close; or

                      (v)     Section 10.1(d) and as of the Outside Date, the conditions set forth
in Section 6.1 and Section 6.2 of the Northwest Purchase Agreement have not been satisfied;

then in each case of clauses (i), (ii), (iii), (iv) and (v), but never more than one, Buyer shall pay to
Sellers within two (2) Business Days following termination of this Agreement a fee equal to One
Hundred Million Dollars ($100,000,000) (the “Buyer Termination Fee”) by wire transfer of
immediately available funds to an account designated by Sellers, as Buyer’s sole liability in respect
thereof, except solely to the extent that the termination of this Agreement that gives rise to Buyer’s
obligation to pay Sellers the Buyer Termination Fee pursuant to this Section 10.4 resulted directly
from fraud or an Intentional Breach of this Agreement by Buyer Related Parties acting on the
Buyer’s behalf, or fraud or an Intentional Breach by the Buyer Related Parties acting on the
Buyer’s behalf caused the Closing not to occur, in which case, in no event will the Buyer Related
Parties have any Liability for monetary damages (including damages for monetary damages in lieu
of specific performance or otherwise) in the aggregate in excess of the Maximum Liability Amount
(inclusive of any payment of the Buyer Termination Fee). The Parties acknowledge and hereby
agree that in no event shall Buyer be required to pay the Buyer Termination Fee on more than one
occasion or any amount in the aggregate in excess of the Maximum Liability Amount.

                 (b)     Notwithstanding anything to the contrary in this Agreement or any
Transaction Document or any other agreement referenced herein or therein or otherwise, but
subject in all respects to this Section 10.4, Section 10.3 and Section 11.14 (including, in each case,
the limitations set forth therein), if Buyer fails to effect the Closing when required by Section 1.3
for any or no reason or otherwise breaches this Agreement or any Transaction Document (whether
such breach is intentional, unintentional, willful or otherwise) or fails to perform hereunder or
thereunder or fails to perform any obligation under Law (in each case, whether such failure is
intentional, unintentional, willful or otherwise), then Sellers’ right to (A) a decree or order of
specific performance or any injunction or injunctions or other equitable relief if and to the extent
permitted by Section 10.3, (B) validly terminate this Agreement pursuant to Section 10.1 and seek
monetary damages from Buyer for Buyer’s fraud and (C) validly terminate this Agreement
pursuant to Section 10.1(c), Section 10.1(e) or Section 10.1(f) and if, as and when required
pursuant to Section 10.4(a), receive payment of the Buyer Termination Fee (and solely to the extent
the termination of this Agreement that gives rise to Buyer’s obligation to pay Sellers the Buyer
Termination Fee pursuant to this Section 10.4(b) resulted directly from fraud or an Intentional
Breach of this Agreement by Buyer Related Parties, or fraud or an Intentional Breach by Buyer
Related Parties caused the Closing not to occur seek monetary damages from Buyer Related
Parties, in which case, Buyer Related Parties’ liability for monetary damages shall not exceed the
Maximum Liability Amount, in addition to payment of the Buyer Termination Fee; provided, that
such monetary damages are finally determined by a court of competition jurisdiction to be in
excess of the amount of the Buyer Termination Fee), shall, together with, if applicable, the rights
of Sellers pursuant to Section 5.10(h) relating to Buyer’s reimbursement and indemnification

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obligations and this Section 10.4, be the sole and exclusive remedies (whether at Law, in equity,
in contract, in tort or otherwise) of Sellers, its Affiliates, and its and their respective equityholders
and Representatives and any other Person against the Buyer Related Parties for any breach,
liability, cost, expense, obligation, loss or damage suffered as a result thereof or in connection
therewith or related thereto. Notwithstanding anything to the contrary, under no circumstances
can Sellers receive both (i) an award of monetary damages, on the one hand, and (ii) any of the
Buyer Termination Fee and/or any of the amounts, if any, as and when due, pursuant to Section
5.10(h) and this Section 10.4, except solely to the extent the termination of this Agreement that
gives rise to Buyer’s obligation to pay Sellers the Buyer Termination Fee resulted directly from
fraud or an Intentional Breach of this Agreement by Buyer Related Parties, or fraud or an
Intentional Breach by Buyer Related Parties caused the Closing not to occur.

                (c)     Buyer acknowledges that (i) the agreement contained in Section 10.4(a) is
an integral part of the Transactions, (ii) the Buyer Termination Fee is not a penalty, and except as
set forth in Section 10.4(a), is liquidated damages, in a reasonable amount intended to compensate
Sellers in the circumstances in which such fee is payable for the efforts and resources expended
and opportunities foregone while negotiating this Agreement and in reliance on this Agreement
and on the expectation of the consummation of the Transactions, which amount would otherwise
be impossible to calculate with precision, and (iii) without such agreement, Sellers would not enter
into this Agreement. Accordingly, if Buyer fails to promptly pay any amount due pursuant to
Section 10.4(a), Buyer also shall pay to Sellers all reasonable out-of-pocket fees, costs and
expenses of enforcement actually incurred (including reasonable attorney’s fees as well as
reasonable out-of-pocket expenses actually incurred), together with interest on the amount of the
Buyer Termination Fee at the prime lending rate as published in The Wall Street Journal, in effect
on the date such payment is required to be made; provided, further, that Buyer shall not be required
to reimburse Sellers any amount in excess of $2,000,000 in the aggregate (including interest on
such unpaid amounts at the prime lending rate as published in The Wall Street Journal, in effect
on the date such payment is required to be made).

                (d)     For the avoidance of doubt, the Parties expressly acknowledge and agree
that this Section 10.4 in no way limits or restricts Sellers’ ability to exercise their rights to specific
performance pursuant to Section 10.3 at any time prior to the termination of this Agreement in
accordance with its terms.

                10.5 Buyer Expenses. If this Agreement is validly terminated pursuant to
Section 10.1(b) and the material breach or material default by Sellers is the primary cause for the
failure of the Closing to consummated, then Sellers shall pay to Buyer (or one or more of its
designees) within two (2) Business Days following termination of this Agreement an amount equal
to that required to reimburse Buyer and its Affiliates for all fees and expenses actually incurred in
connection with this Agreement and the transactions contemplated hereby, up to $5,000,000 (the
“Buyer Expenses”) by wire transfer of immediately available funds to an account designated by
Buyer. Notwithstanding the foregoing, the payment of the Buyer Expenses will not relieve Sellers
from Liability for any fraud or Intentional Breach of this Agreement.




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                                          ARTICLE 11
                                        MISCELLANEOUS

                11.1 Expenses. Except as may be otherwise specified herein, whether or not the
Closing takes place, each Party shall be solely responsible for all costs and expenses incurred by
it in connection with the negotiation, preparation and performance of and compliance with the
terms of this Agreement. Each Party is responsible for any commission, brokerage fee, advisory
fee or other similar payment that arises as a result of any agreement or action of it or any party
acting on its behalf in connection with this Agreement or the Transactions. In the event of any
litigation regarding or arising from this Agreement prior to the Closing, the prevailing Party as
determined by a court of competent jurisdiction in a final non-appealable judgment shall be entitled
to recover its reasonable costs and expenses (including attorneys’ fees and expenses) incurred
therein or in the enforcement or collection of any judgment or award rendered therein.

                11.2 Further Assurances. At any time after the date hereof, each Party shall from
time to time, at the request of and without further cost or expense to the other, execute,
acknowledge and deliver such other further assignments, conveyances, and other assurances,
documents, and instruments of transfer reasonably requested by the other Party, and take such
other actions consistent with the terms of this Agreement as may reasonably be requested in order
to assign, transfer, grant, convey, and confirm to Buyer the Purchased Assets, the Acquired
Company Assets, the Equity Interests or otherwise consummate the Transactions. To the fullest
extent permitted by applicable Law, Sellers hereby authorize Buyer and its assignees and give
Buyer and its assignees its irrevocable power of attorney, with full power of substitution, which
authorization shall be coupled with an interest, to take any and all steps in Sellers’ respective names
and on behalf of Sellers that are necessary or desirable in the reasonable determination of Buyer
and its assignees to assign, transfer, endorse, negotiate, deposit or otherwise realize on any
Purchased Asset, Acquired Company Asset, Equity Interests or any writing of any kind in
connection with any Purchased Asset, Acquired Company Asset or Equity Interests if Sellers do
not do so within a reasonable period of time after receipt of a request from Buyer.

                11.3 Wrong Pockets.

                 (a)    If, following the Closing, Buyer or Sellers become aware that Buyer or any
of its Affiliates owns any asset or rights which is not Business Intellectual Property, a Purchased
Asset or is not used in connection with the Transition Services Agreements, such party shall
promptly inform the other party of that fact. Thereafter, at the request of Sellers, Buyer shall
execute or cause the relevant Affiliate of Buyer to execute, such documents as may be reasonably
necessary to cause the transfer of any such asset or right to Sellers or such other Person nominated
by Sellers for no consideration and Sellers shall do all such things as are reasonably necessary to
facilitate such transfer. If, following the Closing, Buyer receives any payments or collects any
funds in respect of an Excluded Asset, Buyer shall promptly, and in any event within five (5)
Business Days after its receipt thereof, remit such payments to Sellers or other entity nominated
by Sellers.

                (b)    If, following the Closing, Buyer or Sellers become aware that Sellers or any
of their respective Affiliates owns any asset or rights which is Business Intellectual Property or a
Purchased Asset or is used in connection with the Transition Services Agreements, but which has

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not been transferred to Buyer as a result of the transactions hereunder, such party shall promptly
inform the other party of that fact. Thereafter, at the request of Buyer, Sellers shall execute or
cause the relevant Affiliate of Sellers to execute such documents as may be reasonably necessary
to cause the transfer of any such asset or right to Buyer or any other entities nominated by Buyer
for no consideration and Buyer shall do all such things as are reasonably necessary to facilitate
such transfer. If, following the Closing, the Sellers or their respective receive any payments or
collects any funds in respect of any Business Intellectual Property or Purchased Asset, the Sellers
shall, or cause their respective Affiliates to, promptly, and in any event within five (5) Business
Days after its receipt thereof, remit such payments to Buyer or other Person nominated by Buyer.

                 11.4 Assignment. No Party may assign this Agreement without the prior written
consent of the other Parties hereto. The terms of this Agreement shall bind and inure to the benefit
of the Parties’ respective successors and any permitted assigns, and no assignment shall relieve
any Party of any obligation or liability under this Agreement. Notwithstanding the foregoing,
Buyer may assign any or all of its rights under this Agreement to (a) any of its Affiliates (b) to any
Debt Financing Source pursuant to the terms of the Debt Financing for purposes of creating a
security interest herein or otherwise assigning as collateral security in respect of the Debt
Financing without the consent of any of the other Parties hereto, and no assignment shall relieve
any Party of any obligation or liability under this Agreement.

                11.5 Notices. Any notice or other communications pursuant to this Agreement
shall be in writing and shall be deemed delivered on the date of personal delivery, confirmed
facsimile transmission, confirmed delivery by a nationally recognized overnight courier service,
five (5) days after being mailed by certified or registered mail, return receipt requested, with
appropriate postage prepaid, or when received in the form of an email transmission (receipt
confirmation requested), and shall be addressed as follows (or to such other address as any Party
may request by written notice):

if to Sellers:                         Cox Media Group, LLC
                                       6205 Peachtree Dunwoody Road
                                       Atlanta, GA 30328
                                       Attention: General Counsel
                                       Email: Juliette.Pryor@coxinc.com
                                       Phone: (678) 645-0158

with a copies (which shall not
constitute notice to Sellers) to:      Eversheds Sutherland (US) LLP
                                       999 Peachtree Street, NE
                                       Suite 2300
                                       Atlanta, Georgia 30309-3996
                                       Attention: Marc Rawls
                                                  Matthew Block
                                                  David Phillips
                                       Email:     marcrawls@eversheds-sutherland.com
                                                  matthewblock@eversheds-sutherland.com
                                                  davidphillips@eversheds-sutherland.com

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                                       Phone:       (404) 853-8000

if to Buyer:                           Terrier Media Buyer, Inc.
                                       c/o Apollo Management IX, L.P.
                                       9 West 57th Street, 43rd Floor
                                       New York, NY 10019
                                       Attention: David Sambur, Senior Partner
                                                  John Suydam, Chief Legal Officer
                                       Email:     sambur@apollo.com
                                                  jsuydam@apollo.com
                                       Phone:     (212) 515-3200

with a copy (which shall not
constitute notice to Buyer) to:        Paul, Weiss, Rifkind, Wharton & Garrison LLP
                                       1285 Avenue of the Americas
                                       New York, NY 10019
                                       Attention: Taurie M. Zeitzer
                                                  Brian Scrivani
                                       Email:     tzeitzer@paulweiss.com
                                                  bscrivani@paulweiss.com
                                       Phone:     (212) 373-3000

              11.6 Amendments. Subject to Section 11.9, no amendment or waiver of
compliance with any provision hereof or consent pursuant to this Agreement shall be effective
unless evidenced by an instrument in writing signed by the Party against whom enforcement of
such amendment, waiver or consent is sought.

               11.7 Entire Agreement. The Schedules, Annexes and Exhibits hereto are hereby
incorporated into this Agreement. This Agreement, the Transaction Documents and the schedules,
annexes and exhibits thereto, together with any other agreement executed on the date hereof in
connection herewith, constitutes the entire agreement and understanding among the Parties hereto
with respect to the subject matter hereof and thereof, and supersedes all prior agreements and
understandings, both written and oral, with respect to the subject matter hereof and thereof, except
the NDA, which shall remain in full force and effect; provided, that any term or provision under
the NDA conflicting with this Agreement shall be superseded by this Agreement. The
representations, warranties, covenants and agreements set forth herein are solely for the benefit of
the applicable Parties hereto, in accordance with and subject to the terms of this Agreement.

                 11.8 Severability. If any Governmental Entity holds any provision in this
Agreement invalid, illegal or unenforceable as applied to any Party or to any circumstance under
any applicable Law, then, so long as no Party is deprived of the benefits of this Agreement in any
material respect, (a) such provision, as applied to such Party or such circumstance, is hereby
deemed modified to give effect to the original written intent of the Parties to the greatest extent
consistent with being valid and enforceable under applicable Law; (b) the Parties will use good
faith efforts to negotiate a replacement provision to give effect to the original written intent of the
Parties to the greatest extent consistent with being valid and enforceable under applicable Law;

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(c) the application of such provision to any other Party or to any other circumstance will not be
affected or impaired thereby; and (d) the validity, legality and enforceability of the remaining
provisions of this Agreement will remain in full force and effect.

               11.9 Third Party Beneficiaries. Except as provided in Section 4.3(c), Section
10.4(a) and Section 11.14, nothing in this Agreement, the Transaction Documents and the
schedules, annexes and exhibits thereto, or any other agreement executed on the date hereof in
connection herewith, expressed or implied, is intended or shall be construed to give any rights,
benefits, causes of action or remedies to any Person other than the Parties hereto and their
successors and permitted assigns with respect to the subject matter hereof and thereof.
Notwithstanding the foregoing, the portions of Section 5.10(e)(viii), Section 10.2, Section 10.3,
Section 10.4(a), Section 10.4(b), Section 11.6, Section 11.10(b) and (c), Section 11.14 and this
sentence of Section 11.9 applicable to the Debt Financing Sources will inure to the benefit of the
Debt Financing Sources and their successors and assigns, each of whom are intended to be third-
party beneficiaries thereof (it being understood and agreed that the foregoing provisions may not
be amended in a manner adverse to the Debt Financing Sources (or Debt Financing Related Parties)
in any material respect without the prior written consent of the Debt Financing Sources party to
the Debt Commitment Letter).

               11.10 Governing Law; Consent to Jurisdiction; Waiver of Jury Trial.

                 (a)    All disputes, claims (and counter-claims), controversies or causes of action
(whether at law or in equity, whether in contract or in tort or otherwise) based upon, arising out of
or relating to this Agreement, or the negotiation, validity or performance of this Agreement or the
Transactions shall be governed by and construed in accordance with the laws of the State of
Delaware, without regard to its rules of conflict of laws. Each of the Parties hereby irrevocably
and unconditionally consents to submit to the sole and exclusive jurisdiction of the Delaware Court
of Chancery; provided, that if (and only after) such court determines that it lacks subject matter
jurisdiction over any particular matter, such matter shall be brought in the state or Federal courts
of the United States located in the State of Delaware (in such order, the “Chosen Courts”), for any
Action arising out of or relating to this Agreement or the Transaction Documents, or the
negotiation, validity or performance of this Agreement, the Transaction Documents or the
Transactions (and agrees not to commence any Action relating thereto except in such Chosen
Courts), waives any objection or defense with respect to the laying of venue of any such Action in
the Chosen Courts and agrees not to plead or claim (or counter-claim), or advocate as a defense,
in any Chosen Court that such Action brought therein (i) has been brought in any inconvenient
forum, (ii) should be transferred or removed to any court other than one of the Chosen Courts, or
(iii) should be stayed by reason of the pendency of some other proceeding in any court other than
one of the Chosen Courts. Each of the Parties hereby agrees not to commence any such Action
other than before one of the Chosen Courts. Each Party agrees that a final, non-appealable
judgment in any Action so brought shall be conclusive and may be enforced by suit on the
judgment in any court of competent jurisdiction, or in any other manner provided by Law.

                (b)    Notwithstanding anything in this Agreement to the contrary, each of the
parties acknowledges and irrevocably agrees (i) that any legal Action, whether at law or in equity,
whether in contract or in tort or otherwise, involving the Debt Financing Sources arising out of, or
relating to, the acquisition of the Acquired Companies by Buyer, the Debt Financing, the Debt

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Commitment Letter, or the performance of services thereunder or related will be subject to the
exclusive jurisdiction of any state or federal court sitting in the State of New York in the borough
of Manhattan and any appellate court thereof, and each party hereto submits for itself and its
property with respect to any such legal Action to the exclusive jurisdiction of such court; (ii) not
to bring or permit any of their Affiliates to bring or support anyone else in bringing any such legal
Action in any other court; (iii) that service of process, summons, notice or document by registered
mail addressed to them at their respective addresses provided in the Debt Commitment Letter will
be effective service of process against them for any such legal Action brought in any such court;
(iv) to waive and hereby waive, to the fullest extent permitted by applicable Law, any objection
which any of them may now or hereafter have to the laying of venue of, and the defense of an
inconvenient forum to the maintenance of, any such legal Action in any such court; and (v) any
such legal Action will be governed and construed in accordance with the Laws of the State of New
York.

           (c)  EACH PARTY HEREBY IRREVOCABLY WAIVES ALL RIGHT TO
TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM (WHETHER
BASED ON CONTRACT, TORT OR OTHERWISE) ARISING OUT OF OR RELATING TO
THIS AGREEMENT OR THE ACTIONS OF ANY OTHER PARTY HERETO IN THE
NEGOTIATION, ADMINISTRATION, PERFORMANCE AND ENFORCEMENT HEREOF
(INCLUDING ANY SUCH LITIGATION RELATING TO THE DEBT FINANCING OR
INVOLVING THE DEBT FINANCING SOURCES).

                11.11 Neutral Construction. The Parties agree that this Agreement was negotiated
at arms-length and that the final terms hereof are the product of the Parties’ negotiations. This
Agreement shall be deemed to have been jointly and equally drafted by Buyer, on one hand, and
Sellers, on the other hand, and the provisions hereof should not be construed against a Party on the
grounds that the Party drafted or was more responsible for drafting the provision.

                11.12 Counterparts. This Agreement may be executed in two or more
counterparts, which together shall constitute a single agreement. Delivery of an executed
counterpart of a signature page to this Agreement by facsimile, .pdf, or electronic mail intended to
preserve the original graphic and pictorial appearance of the signature shall be effective as delivery
of a manually executed original counterpart of this Agreement.

                11.13 Interpretation.     Article titles and section headings herein are for
convenience of reference only and are not intended to affect the meaning or interpretation of this
Agreement. The Schedules, Exhibits and Annexes hereto shall be construed with and as an integral
part of this Agreement to the same extent as if set forth verbatim herein. Where the context so
requires or permits, the use of the singular form includes the plural, and the use of the plural form
includes the singular. When used in this Agreement, unless the context clearly requires otherwise,
(i) words such as “herein,” “hereof,” “hereto,” “hereunder,” and “hereafter” shall refer to this
Agreement as a whole, including the Schedules, Exhibits and Annexes to this Agreement; (ii) the
term “including” (and words of similar import) when used in this Agreement or the Transaction
Documents shall not be limiting; (iii) the word “or” shall not be exclusive; (iv) the term “ordinary
course” or “ordinary course of business” shall refer to the ordinary manner in which the Acquired
Companies or Sellers, as applicable, operate the Business consistent with reasonable past practices;
(v) the terms “Dollars”, “dollars” and “$” each mean lawful money of the United States of

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America; (vi) references to “written” or “in writing” include in electronic form; (vii) a reference
to a Person includes such Person’s successors and permitted assigns; (viii) a reference to “days”
means calendar days, unless Business Day is expressly specified; (ix) when calculating the period
of time before which, within which or following which any act is to be done or step taken pursuant
to this Agreement, the date that is the reference date in calculating such period shall be excluded
and if the last day of such period is not a Business Day, the period shall end on the next succeeding
Business Day; (x) whenever this Agreement requires any party hereto to take or not take any
action, such requirement shall be deemed to include a requirement of such party to cause each of
its subsidiaries to take or not take such action, as applicable; (xi) a reference to any documents or
information “furnished”, “provided” or “made available” by any Seller shall mean such documents
and information as are included in the electronic data room administered by or on behalf of the
Seller by 11:59 p.m. Eastern Time on the date that is two (2) Business Days prior to the date of
this Agreement; (xii) a reference to any statute shall be deemed to refer to such statute, as may be
amended, and to any rules or regulations promulgated thereunder; and (xiii) a reference to a
Contract shall mean such Contract as amended, modified or supplemented from time to time in
accordance with the terms hereof and thereof.

                11.14 No Recourse. Each party agrees, on behalf of itself and its Affiliates and
its and their present or former directors, officers, stockholders, partners, members or employees,
that all Actions (whether at law or in equity, whether in contract or in tort or otherwise, or granted
by statute or otherwise, whether by or through attempted piercing of the corporate, limited
partnership or limited liability company veil or any other theory or doctrine, including alter ego or
otherwise) that may be based upon, in respect of, arise under, out or by reason of, be connected
with, or relate to: (A) this Agreement, any other Transaction Document or any other agreement
referenced herein or therein or the transactions contemplated hereunder or thereunder (including
the Financing), (B) the negotiation, execution or performance this Agreement, any other
Transaction Document or any other agreement referenced herein or therein (including any
representation or warranty made in, in connection with, or as an inducement to, this Agreement,
any other Transaction Document or such other agreement), (C) any breach or violation of this
Agreement, any other Transaction Document or any other agreement referenced herein or therein
and (D) any failure of the transactions contemplated hereunder or under any Transaction Document
or any other agreement referenced herein or therein (including the Financing) to be consummated,
in each case, may be made only against (and are those solely of) the Persons that are expressly
identified as parties to, as applicable, this Agreement, the Equity Commitment Letter or the
Limited Guarantees and, in accordance with, and subject to the terms and conditions of, as
applicable, this Agreement, the Equity Commitment Letter or the Limited Guarantees. In
furtherance and not in limitation of the foregoing, and notwithstanding anything contained in this
Agreement, any other Transaction Document or any other agreement referenced herein or therein
or otherwise to the contrary, each Party hereto covenants, agrees and acknowledges, on behalf of
itself and its respective Affiliates and its and their present or former directors, officers,
stockholders, partners, members or employees, that no recourse under this Agreement, any other
Transaction Document or any other agreement referenced herein or therein or in connection with
any transactions contemplated hereby or thereby (including the Financing) shall be sought or had
against any other Person, including any Buyer Related Party, and no other Person, including any
Buyer Related Party, shall have any liabilities or obligations (whether at law or in equity, whether
in contract or in tort or otherwise, or granted by statute or otherwise, whether by or through
attempted piercing of the corporate, limited partnership or limited liability company veil or any

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other theory or doctrine, including alter ego or otherwise) for any claims, causes of action,
obligations or liabilities arising under, out of, in connection with or related to the items in the
immediately preceding clauses (A) through (D), it being expressly agreed and acknowledged that
no personal liability or losses whatsoever shall attach to, be imposed on or otherwise be incurred
by any of the aforementioned, as such, arising under, out of, in connection with or related to the
items in the immediately preceding clauses (A) through (D), in each case, except for claims that
(1) Sellers or Buyer, as applicable, may assert (subject, with respect to the following clauses (ii)
and (iii), in all respects to the limitations set forth in Sections 10.2, 10.3, 10.4 and 10.5, and this
Section 11.14): (i) against any Person that is party to and solely pursuant to the terms and
conditions of, the NDA, (ii) against each Guarantor under, if, as and when required pursuant to the
terms and conditions of the Limited Guarantee, (iii) against the Guarantors for specific
performance of the Guarantors’ obligation to fund their committed portions of the Equity
Financing thereunder solely in accordance with, and pursuant to the terms and conditions of,
Section 6 of the Equity Commitment Letter, (iv) against Buyer solely in accordance with, and
pursuant to the terms and conditions of, this Agreement or (v) against any Person that is a party to,
and solely pursuant to the terms and conditions of, the Northwest Purchase Agreement and (2)
Buyer may assert against the Debt Financing Sources pursuant to the terms and conditions of the
Debt Commitment Letter.

               11.15 Certain Definitions. As used in this Agreement, the following terms have
the respective meanings set forth below.

“Accounting Firm” has the meaning set forth in Section 1.4(e).

“Accounts Receivable” means all accounts receivable and all rights to receive payments under any
notes, bonds and other evidences of indebtedness and all other rights to receive payments, arising
out of sales occurring in the conduct of the Business prior to the Effective Time for services
performed or delivered by the Business prior to the Effective Time.

“Acquired Business” means, collectively, the Acquired Companies, the Purchased Assets and the
Assumed Liabilities (without duplication of the Liabilities of the Acquired Companies).

“Acquired Companies” has the meaning set forth in the Recitals.

“Acquired Company Assets” means all assets and properties of every kind, nature, character and
description (whether real, personal or mixed, whether tangible or intangible, and wherever
situated), including the goodwill related thereto, operated, owned, leased or primarily used by the
Acquired Companies or their respective subsidiaries.

“Acquired Company Employees” has the meaning set forth in Section 5.5(a).

“Acquired Corporations” means Cox Media Group Northeast, Inc., Miami Valley Broadcasting
Corporation, and KIRO TV, Inc.

“Action” has the meaning set forth in Section 2.16.

“Adjudication Period” has the meaning set forth in Section 1.4(e).


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“Affiliate” means, with respect to a specified Person, any Person or member of a group of Persons
acting together that, directly or indirectly, through one or more intermediaries, controls, or is
controlled by, or is under common control with, such specified Person; provided, that except in
the case of the definition of “Buyer Related Party”, Article 10 (Termination and Remedies),
Section 11.5 (Assignment) and Section 11.14 (No Recourse), in no event shall Buyer or any of its
respective subsidiaries be considered an Affiliate of any portfolio company or investment fund
affiliated with Apollo Global Management, LLC, nor shall any portfolio company or investment
fund affiliated with Apollo Global Management, LLC, be considered to be an Affiliate of Buyer
or any of its respective subsidiaries. As used in this definition, the term “control” (including the
terms “controlling,” “controlled by” and “under common control with”) means the possession,
directly or indirectly, of the power to direct or cause the direction of the management and policies
of a Person, whether through the ownership of voting securities, by Contract or otherwise.

“Affiliate Contract” means any Contract between any Acquired Company or any of their respective
subsidiaries, on the one hand, and any current or former executive officer, director, equityholder,
or Affiliate of the Sellers, on the other hand.

“Agreed Accounting Principles” means the accounting principles, practices, methodologies and
policies set forth on Schedule 11.15(a).

“Agreement” has the meaning set forth in the Preamble.

“Allocation Schedule” has the meaning set forth in Section 1.5.

“Anti-Corruption Laws” means (i) the U.S. Foreign Corrupt Practices Act of 1977, as amended,
(ii) United Kingdom Bribery Act 2010, (iii) anti-bribery legislation promulgated by the European
Union and implemented by its member states, (iv) legislation adopted in furtherance of the OECD
Convention on Combating Bribery of Foreign Public Officials in International Business
Transactions, and (v) similar legislation applicable to any of the Acquired Companies from time
to time.

“Assignment and Assumption Agreement” has the meaning set forth in Section 8.1(b).

“Assumed Carriage Agreements” means all Carriage Agreements that are not Excluded Carriage
Agreements.

“Assumed Contracts” means the Assumed Dayton Contracts and the Assumed Related Contracts.

“Assumed Dayton Contracts” has the meaning set forth in the definition of “Purchased Dayton
Assets” in this Section 11.14.

“Assumed Liabilities” has the meaning set forth in Section 1.1(b)(ii).

“Balance Sheet Date” has the meaning set forth in Section 2.17(b).

“Base Consideration” has the meaning set forth in Section 1.2.

“Bill of Sale” has the meaning set forth in Section 8.1(a).

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“Broadcast Incentive Auction” means the FCC reverse broadcast incentive auction conducted
pursuant to Section 6403 of the Middle Class Tax Relief and Job Creation Act of 2012 (Pub. L.
No. 112-96, § 6403, 126 Stat. 156, 225-230 (2012)), codified at 47 U.S.C. § 1452, which began
on May 31, 2016.

“Business” means (i) the operation of the TV Stations, the Dayton Newspapers and the Dayton
Radio Stations and (ii) the integrated broadcasting, publishing, direct marketing, digital media and
advertising businesses of any of the Sellers primarily relating to the business described in clause
(i), taken as a collective group and not on an individual basis. For the avoidance of doubt, the
Business does not and shall not include the Excluded Corporate Functions.

“Business Day” means any day that is not a Saturday, a Sunday or a day on which banks are
authorized or required by law to be closed in the City of New York, in the State of New York.

“Business Intellectual Property” means the Intellectual Property owned by the Acquired
Companies or Sellers to the extent used primarily in the operation of the Business.

“Business IT” means any Software, hardware, communications devices, networks or other
information technology owned, leased or licensed by the Acquired Companies or their subsidiaries
or Sellers in the conduct of the Business.

“Buyer” has the meaning set forth in the Preamble.

“Buyer FSA Plan” has the meaning set forth in Section 5.5(i).

“Buyer Indemnified Parties” has the meaning set forth in Section 9.2(a).

“Buyer Landlord Lease” has the meaning set forth in Section 8.1(n).

“Buyer Material Adverse Effect” has the meaning set forth in Section 3.3.

“Buyer Related Party” means Buyer, the Debt Financing Sources and any other financing sources
of Buyer, the Guarantor and any of the foregoing’s respective former, current or future Affiliates
and any of the foregoing’s respective former, current or future, direct or indirect, officers, directors,
employees, affiliates, stockholders, equityholders, managers, members, partners, agents, attorneys,
advisors or other representatives or any of the foregoing’s respective successors or assigns.

“Buyer Termination Fee” has the meaning set forth in Section 10.4(a).

“Buyer’s 401(k) Plan” has the meaning set forth in Section 5.5(e).

“Capital Lease” means a lease of property or equipment that is capitalized in the Management
Report or is required to be capitalized under GAAP.

“Carriage Agreement” means each written agreement with an MVPD that grants such MVPD
retransmission consent, pursuant to 47 U.S.C. § 325(b), to retransmit such TV Station’s Signal, on
a linear basis, on such MVPD’s systems in such DMA.



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“Carriage Resolution Damages” means all Damages suffered or incurred by any Seller (or any
Affiliate of Seller) arising from the failure to transfer an Excluded Carriage Agreement to Buyer
in connection with the Transactions.

“CERCLA” means the Comprehensive Environmental Response, Compensation and Liability Act,
42 U.S.C. §§ 9601 et seq., and any regulations promulgated thereunder.

“Chosen Court” has the meaning set forth in Section 11.10(a).

“Closing” has the meaning set forth in Section 1.3(a).

“Closing Date” has the meaning set forth in Section 1.3(a).

“Closing Indebtedness” means the aggregate amount of Indebtedness of the Acquired Business as
of immediately prior to the Effective Time.

“Closing Statement” has the meaning set forth in Section 1.4(b).

“CMG” has the meaning set forth in the Preamble.

“CMG JAX Interests” has the meaning set forth in Section 2.3(a).

“CMG Owned Interests” has the meaning set forth in Section 2.3(a).

“COBRA” has the meaning set forth in Section 5.5(j).

“Code” means the Internal Revenue Code of 1986, as amended.

“Commingled Contract Rights” has the meaning set forth in Section 5.4(b)(i).

“Commingled Contracts” has the meaning set forth in Section 5.4(b)(i).

“Commitment Letters” has the meaning set forth in Section 3.6(a).

“Communications Laws” has the meaning set forth in Section 4.1(a)(iv).

“Company Indemnified Parties” has the meaning set forth in Section 4.3(a).

“Company Transaction Expenses” means, without duplication, all fees, costs, disbursements and
expenses (including those related to travel, legal, consulting, professional advising, professional
services, accounting or investment banking) incurred, in each case, on or prior to the Closing
(whether or not invoiced, whether accrued for or not) and unpaid at the Effective Time with any
Acquired Company retaining the liability to pay, or as may become due and payable, post-Closing,
and are payable by or on behalf of any Acquired Company, (a) related to or arising out of the
negotiation, execution and delivery and consummation of the Transactions and the other
transactions contemplated hereby, (b) related to or arising out of the potential sale, spin-off or
similar business separation or reorganization of some or all of the Acquired Companies or other
subsidiaries of any Seller and (c) with respect to bonuses or other forms of compensation to any
Person as a result of or in connection with the transactions contemplated by this Agreement

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pursuant to any change in control, retention, transaction, severance, discretionary or similar
bonuses or other payment or obligation, including (x) any amounts payable pursuant to any
Employee Plan in effect prior to the Closing and (y) the applicable payroll, social security,
unemployment or similar Taxes thereon. Company Transaction Expenses shall not include any
fees or expenses associated with obtaining the insurance policies contemplated by Section 4.3(b).

“Compliant” means, with respect to the Required Financing Information, that (i) such Required
Financing Information does not contain any untrue statement of a material fact regarding Acquired
Business or omit to state any material fact regarding the Acquired Business necessary in order to
make such Required Financing Information not misleading under the circumstances, (ii) such
Required Financing Information complies in all material respects with all requirements of
Regulation S-K and Regulation S-X under the Securities Act for a registered public offering of
non-convertible debt securities on Form S-1 that would be applicable to such Required Financing
Information (other than such provisions for which compliance is not customary in a Rule 144A
offering of high yield debt securities) and (iii) the financial statements and other financial
information included in such Required Financing Information would not be deemed stale or
otherwise be unusable under customary practices for offerings and private placements of high yield
debt securities under Rule 144A promulgated under the Securities Act and are sufficient to permit
the Acquired Business’ independent accountants to issue comfort letters to the Debt Financing
Sources to the extent required as part of the Debt Financing, including as to customary negative
assurances and change period, in order to consummate any offering of debt securities on any day
during the Marketing Period (and such accountants have confirmed they are prepared to issue a
comfort letter subject to their completion of customary procedures).

“Contract” means any written or oral contract, deed of trust, lease, license, commitment,
instrument, customer order, loan or credit agreement, indenture, note, bond, mortgage, obligation,
undertaking or agreement.

“Contribution Agreement” has the meaning set forth in Section 5.17.

“Cox Ohio” has the meaning set forth in the Preamble.

“Cox Radio” has the meaning set forth in the Preamble.

“Current Assets” means, as of the Effective Time, the current assets of the Acquired Companies,
and of Sellers included in the Purchased Assets, determined in accordance with the Agreed
Accounting Principles, but excluding (i) any Excluded Assets and (ii) any cash or cash equivalents
(other than security deposits of the Business that will remain with the applicable third party
following the Closing).

“Current Liabilities” means, as of the Effective Time, the current liabilities of the Acquired
Companies, and of Sellers included in the Assumed Liabilities, determined in accordance with the
Agreed Accounting Principles, but excluding the Excluded Liabilities. In no event shall the current
portion of Closing Indebtedness, or any other Liabilities included in Closing Indebtedness or
Company Transaction Expenses, be included in Current Liabilities.

“Damages” has the meaning set forth in Section 9.2(a).


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“Dayton Newspapers” has the meaning set forth in the Recitals.

“Dayton Radio Stations” has the meaning set forth in the Recitals.

“Debt Commitment Letter” has the meaning set forth in Section 3.6.

“Debt Financing” has the meaning set forth in Section 3.6.

“Debt Financing Related Parties” means the affiliates, current or future officers, directors,
employees, agents, representatives, stockholders, limited partners, managers, members or partners
of the Persons identified in the definition of Debt Financing Sources and who are involved in the
Debt Financing, together with their successors and assigns.

“Debt Financing Sources” means the persons that have committed to provide or arrange all or any
part of the debt financing contemplated by, or have otherwise entered into agreements in
connection with, the Debt Commitment Letter or alternative debt financings in connection with
the acquisition of the Acquired Companies by Buyer, and any joinder agreements, indentures or
credit agreements entered into pursuant thereto or relating thereto, together with their Debt
Financing Related Parties and their successors and assigns.

“Debt Payoff Letters” means one or more customary payoff letters with respect to any
Indebtedness for borrowed money that is to be repaid at Closing, which payoff letters shall, among
other things, (i) indicate the total amount required to be paid to fully satisfy all principal, interest,
prepayment premiums, penalties, breakage costs and any other monetary obligations then due and
payable under such Indebtedness for borrowed money (and the daily accrual thereafter) (the
“Payoff Amount”), (ii) state that upon receipt of the Payoff Amount under each such payoff letter,
such Indebtedness for borrowed money and all related loan documents (or similar agreements)
shall be terminated and (iii) provide that all Liens and guarantees in connection with such
Indebtedness for borrowed money relating to the Acquired Companies, their respective
subsidiaries and the Purchased Assets securing the obligations under such Indebtedness for
borrowed money shall be released and terminated upon payment of the Payoff Amount on the
Closing Date.

“Deed” has the meaning set forth in Section 8.1(p).

“Dispute Resolution Period” has the meaning set forth in Section 1.4(d).

“Divestiture” has the meaning set forth in Section 4.1(b)(iv).

“Divestiture Deadline Date” has the meaning set forth in Section 4.1(b)(v).

“Divestiture Markets” has the meaning set forth in Section 4.1(b)(v).

“Divestiture Plan” has the meaning set forth in Section 4.1(b)(v).

“Divestiture Station Assets” has the meaning set forth in Section 4.1(b)(v).




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“DMA” means with respect to any TV Station, such TV Station’s Nielsen Designated Market
Area.

“DOJ” has the meaning set forth in Section 4.1(b)(i).

“Effect” has the meaning set forth in the definition of Material Adverse Effect.

“Effective Time” means 12:01 a.m. Eastern Time on the Closing Date.

“Employees” means the employees of any Acquired Company or its subsidiaries and the full-time
and part-time employees employed by a Seller or any of its Affiliates who are primarily engaged
in work or tasks related to the Business, in either case, other than the employees set forth on
Schedule 11.15(b)(i), and shall not include (a) the Management Employees or (b) any employee
of a Seller or its Affiliates whose principal work location is at CMG’s corporate headquarters in
Atlanta, Georgia or in Cox’s Washington News Bureau or whose employment responsibilities
relate substantially to the corporate operations of CMG or its parent.

“Employee Plans” means any (a) employee benefit plan, arrangement or policy whether or not
subject to ERISA, including any retirement, pension, deferred compensation, profit sharing,
savings, group health, dental, life insurance, vacation, sick pay or paid time off, disability or
cafeteria plan, policy or arrangement, (b) equity or equity-based compensation plan; (c) bonus or
incentive arrangement; and (d) employment, consulting, severance, retention or termination
agreements, policies or arrangements; in each case, whether formal or informal, written or
unwritten maintained or contributed to or required to be maintained or contributed to by Sellers or
any of their ERISA Affiliates for the benefit of any current or former Employee or their
dependents, but excluding in all cases any Multiemployer Plan.

“Employment Commencement Date” has the meaning set forth in Section 5.5(a).

“Enforceability Exceptions” means bankruptcy, moratorium, insolvency, reorganization,
fraudulent conveyance or preferential transfers, receivership or other similar laws affecting or
limiting the enforcement of creditors’ rights generally and except as such enforceability is subject
to general principles of equity (regardless of whether such enforceability is considered in a
proceeding in equity or at law).

“Environmental Law” means all Laws relating to or addressing the pollution, natural resources,
environment, or the use, handling or Release of, or exposure to, Hazardous Materials, including
but not limited to CERCLA, OSHA and RCRA and any state equivalent thereof.

“Equity Commitment Letter” has the meaning set forth in the Recitals.

“Equity Financing” has the meaning set forth in Section 3.6(a).

“Equity Interests” has the meaning set forth in Section 2.3(a).

“ERISA” means the Employee Retirement Income Security Act of 1974, as amended and the rules
and regulations promulgated thereunder.


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“ERISA Affiliate” means any trade or business, whether or not incorporated, that, together with
Sellers, would be deemed a “single employer” within the meaning of Section 4001(b)(i) of ERISA.

“ERISA Affiliate Plan” means each Employee Plan sponsored or maintained or required to be
sponsored or maintained at any time by any ERISA Affiliate, or with respect to which such ERISA
Affiliate has any liability or obligation.

“Estimated Closing Statement” has the meaning set forth in Section 1.4(a).

“Estimated Purchase Price” has the meaning set forth in Section 1.4(a).

“Ex-Im Laws” means all applicable laws and regulations relating to export, re-export, transfer or
import controls (including without limitation, the Export Administration Regulations administered
by the U.S. Department of Commerce, and customs and import laws administered by U.S. Customs
and Border Protection).

“Excluded Assets” means the Excluded Dayton Assets, the Excluded CMG Assets, the Excluded
Owned Real Properties, the Excluded Cox Contracts, the Excluded Carriage Agreements and the
Fox modification fee and Repack receivables excluded from Current Assets pursuant to the Agreed
Accounting Principles.

“Excluded Carriage Agreements” shall mean the Carriage Agreement set forth on Schedule 3.14,
and any additional Carriage Agreements added to Schedule 3.14 prior to Closing as mutually
agreed by the Parties in accordance with the principles set forth on Schedule 11.15(b)(ii).

“Excluded CMG Assets” means, other than the Purchased Assets (including the Purchased Related
Assets), the following:

                       (i)    any assets, equipment, properties, contracts and/or rights of CMG
not used primarily in connection with, or not primarily related to, the operation of the TV Stations
or the Business;

                       (ii)  any cash and cash equivalents held for use in connection with the
TV Stations, except any security deposits used primarily in connection with, or primarily related
to, the operation of the TV Stations or the Business and included in the determination of Net
Working Capital;

                      (iii) all bank and other depository accounts of CMG, except any deposits
used primarily in connection with, or primarily related to, the operation of the TV Stations or the
Business and included in the determination of Net Working Capital;

                        (iv)    all insurance policies relating to the TV Stations and all claims,
credits, causes of action or rights, including rights to insurance proceeds or refunds, thereunder;

                       (v)   all interest in and to refunds of Taxes relating to Pre-Closing Tax
Periods or the other Excluded Assets;




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                     (vi)  all Organizational Documents of CMG or its Affiliates (other than
any of the Acquired Companies or their subsidiaries);

                      (vii) any assets related to the operation of the TV Stations actually sold
or otherwise disposed of prior to Closing as permitted by this Agreement;

                      (viii) all contracts or agreements that are not used primarily in connection
with, or not primarily related to, the operation of the TV Stations, other than the Assumed
Contracts;

                       (ix)    other than the Assumed Contracts and as specifically set forth in
Section 5.5, any Employee Plan not maintained by an Acquired Company and any ERISA Affiliate
Plan, as well as any assets held by or relating thereto;

                      (x)     all Tax Records of CMG and its Affiliates, other than real and
personal property and sales and use Tax records;

                       (xi)   the Cox TMs whether or not used in connection with the operation
of the TV Stations;

                   (xii) all Commingled Contracts, except to the extent Buyer is allocated
Commingled Contract Rights in accordance with Section 5.4(b); and

                       (xiii) the assets identified on Schedule 11.15(c).

“Excluded Corporate Functions” means the services and personnel set forth on Schedule 11.15(d).

“Excluded Cox Contracts” means those contracts set forth on Schedule 11.15(e).

“Excluded Dayton Assets” means, other than the Purchased Assets (including the Purchased
Dayton Assets), the following:

                     (i)      any assets, equipment, properties, contracts and/or rights of Cox
Ohio or Cox Radio not used primarily in connection with, or not primarily related to, the operation
of the Dayton Radio Stations, Dayton Newspapers or the Business;

                     (ii)    any cash and cash equivalents held for use in connection with the
Dayton Radio Stations or Dayton Newspapers, except any security deposits used primarily in
connection with, or primarily related to, the operation of the Dayton Radio Stations, Dayton
Newspapers or the Business and included in the determination of Net Working Capital;

                      (iii) all bank and other depository accounts of Cox Radio or Cox Ohio,
except any deposits used primarily in connection with, or primarily related to, the operation of the
Dayton Radio Stations, Dayton Newspapers or the Business and included in the determination of
Net Working Capital;




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                       (iv)  all insurance policies relating to the Dayton Radio Stations and
Dayton Newspapers and all claims, credits, causes of action or rights, including rights to insurance
proceeds or refunds, thereunder;

                       (v)   all interest in and to refunds of Taxes relating to Pre-Closing Tax
Periods or the other Excluded Assets;

                        (vi)    all Organizational Documents of Cox Ohio, Cox Radio or their
Affiliates (other than any of the Acquired Companies or their subsidiaries);

                    (vii) any assets related to the operation of the Dayton Radio Stations or
Dayton Newspapers actually sold or otherwise disposed of prior to Closing as expressly permitted
by this Agreement;

                       (viii) all contracts or agreements that are not used primarily in connection
with, or not primarily related to, the operation of the Business, other than the Assumed Contracts,
including, without limitation, those contracts or agreements listed on Schedule 11.15(f)
(collectively, the “Excluded Dayton Contracts”);

                       (ix)    other than the Assumed Contracts and as specifically set forth in
Section 5.5, any Employee Plan not maintained by an Acquired Company and any ERISA Affiliate
Plan, as well as any assets held by or relating thereto;

                       (x)    all Tax Records of Cox Radio and Cox Ohio and their Affiliates,
other than real and personal property and sales and use Tax records;

                     (xi)    the Cox TMs whether or not used in connection with the operation
of the Dayton Radio Stations or Dayton Newspapers;

                   (xii) all Commingled Contracts, except to the extent Buyer is allocated
Commingled Contract Rights in accordance with Section 5.4(b); and

                        (xiii) the assets identified on Schedule 11.15(g).

“Excluded Dayton Contracts” has the meaning set forth in the definition of “Excluded Dayton
Assets” in this Section 11.15.

“Excluded Liabilities” means the following Liabilities of the Sellers and their Affiliates:

         (a) the Closing Indebtedness;

         (b) Company Transaction Expenses;

         (c) Liabilities for Pre-Closing Taxes;

         (d) Liabilities arising out of any pre-closing reorganization conducted by Sellers;

         (e) all Employee Plans (except for the Employee Plans set forth on Schedule 2.13(a)(i))
             and all Liabilities related thereto;

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         (f) Liabilities arising from the Excluded Assets; and

         (g) the Liabilities set forth on Schedule 1.1(b)(ii).

“Excluded Owned Real Properties” means those Owned Real Properties set forth on Schedule
11.15(h).

“FCC” has the meaning set forth in the Recitals.

“FCC Applications” has the meaning set forth in Section 4.1(a)(i).

“FCC Assignment Agreement” has the meaning set forth in Section 8.1(c).

“FCC Consent” has the meaning set forth in Section 4.1(a)(i).

“FCC Licenses” means, with respect to the TV Stations or the Dayton Radio Stations any FCC
license or Permit issued by the FCC under Subpart G of Part 74 of Title 47 of the Code of Federal
Regulations and granted or assigned to any Acquired Company or its subsidiaries, and issued by
the FCC under Part 73 of Title 47 of the Code of Federal Regulations and granted or assigned to
any Acquired Company or its subsidiaries (or Cox Radio with respect to the Dayton Radio
Stations).

“Final Purchase Price” has the meaning set forth in Section 1.4(b).

“Financial Reports” has the meaning set forth in Section 2.17(a).

“Financing” has the meaning set forth in Section 3.6(a).

“FTC” has the meaning set forth in Section 4.1(b)(i).

“GAAP” means, with respect to any date of determination, United States generally accepted
accounting principles as in effect on such date of determination, consistently applied.

“Georgia Television Interests” has the meaning set forth in Section 2.3(a).

“Governmental Consents” has the meaning set forth in Section 4.1(b)(i).

“Governmental Entity” means any (i) federal, state, local, municipal, foreign or other government
(or any political subdivision thereof), (ii) governmental or quasi-governmental entity of any nature
(including any governmental agency, branch, department, official, or entity and any court or other
tribunal) or (iii) body exercising or entitled to exercise any administrative, executive, judicial,
legislative, police, regulatory, or taxing authority or power of any nature, including any arbitral
tribunal.

“Governmental Order” means any statute, rule, regulation, order, decree, consent decree, award,
settlement, judgment, writ, injunction, stipulation or determination issued, promulgated, rendered
or entered by or with any Governmental Entity of competent jurisdiction (in each case, whether
temporary, preliminary or permanent).


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“Guarantors” mean, collectively, Apollo Investment Fund IX, L.P., Apollo Overseas Partners
(Delaware) IX, L.P., Apollo Overseas Partners (Delaware 892) IX, L.P., Apollo Overseas Partners
IX, L.P., and Apollo Overseas Partners (Lux) IX, SCSp.

“Hazardous Materials” means any pollutant, contaminant, hazardous substance, hazardous waste,
medical waste, special waste, toxic substance, toxic chemical, any petroleum or petroleum-derived
substance, waste or additive, asbestos, asbestos-containing material, polychlorinated byphenol,
radioactive compound, or other compound, element, material or substance (including products)
that may give rise to liability under any Environmental Law.

“Hoffman Credit Agreement” means that certain Credit Agreement, dated of December 3, 2012,
by and among Hoffman Communications, Inc. as successor-in-interest to Bayshore Television,
LLC, the lenders party thereto and Wells Fargo Bank, National Association, as administrative
agent.

“Hoffman Guaranty” means, collectively, that certain Amended and Restated Guaranty
Agreement, dated as of November 30, 2017, by Parent in favor of Wells Fargo Bank, National
Association, and that certain Reaffirmation Agreement, dated as of May 7, 2018, by and between
Parent and Wells Fargo Bank, National Association.

“Hoffman Guaranty Agreement” has the meaning set forth in Section 8.1(t).

“Holdco Stockholders Agreement” has the meaning set forth in Section 5.17.

“HSR Act” has the meaning set forth in Section 4.1(b)(i).

“HSR Clearance” has the meaning set forth in Section 4.1(b)(i).

“Inactive Employee” has the meaning set forth in Section 5.5(a).

“Indebtedness” means, with regard to any Person and without duplication, any liability or
obligation, whether or not contingent, (a) in respect of the outstanding principal amount of any
indebtedness for borrowed money or evidenced by bonds, monies, debentures, loan agreements,
or similar instruments; (b) guaranties, direct or indirect, in any manner, of all or any part of any
Indebtedness of any other Person; (c) all obligations under acceptance, standby letters of credit or
similar facilities; (d) all Capital Leases; (e) all payment obligations under any currency or interest
rate swap agreements, currency or interest rate hedge agreements or similar arrangements; (f) all
direct obligations under letters of credit, surety bonds and similar funding guarantees, in each case,
to the extent drawn; (g) the deferred purchase price of property, businesses, securities, assets, or
services in respect of which such Person is liable, contingently or otherwise (including earn-outs,
third-party bonuses or seller-notes (assuming the maximum amount earned)); (h) all Company
Transaction Expenses; (i) declared by unpaid dividends or any other obligations owed to any Seller
or its Affiliates (other than the Acquired Companies); (j) pension and other similar post-retirement
obligations (excluding for the avoidance of doubt any post-Closing obligations assumed by Buyer
pursuant to Section 5.5); (k) all accrued and unpaid interest and prepayment and breakage fees,
penalties, premiums, costs or expenses related to the retirement of each of the obligations referred
to in clauses (a) – (j); and (l) all obligations referred to in clauses (a) – (k) of a third party secured
by any Lien on property or assets of such Person; provided, that in no event shall any Indebtedness

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between or among such Person and its Affiliates be considered “Indebtedness” for purposes of this
Agreement if such indebtedness and all obligations related thereto are terminated and all Liens in
connection therewith are released prior to the Effective Time; provided, further, that the foregoing
shall be calculated in a manner consistent with the Agreed Accounting Principles. For the
avoidance of doubt, Indebtedness (for any purpose hereunder) shall not include the Hoffman
Guaranty or any guaranty, letter of credit or similar obligation provided by Parent or any Affiliate
of Parent that is not an Acquired Company or subsidiary of an Acquired Company.

“Indebtedness Payoff Amount” means an amount equal to the total amount of the Closing
Indebtedness.

“Indemnified Party” has the meaning set forth in Section 9.3(a).

“Indemnifying Party” has the meaning set forth in Section 9.3(a).

“Information Privacy and Security Laws” means all applicable Laws relating to the processing,
use, disclosure, collection, privacy, transfer or security of Protected Information, and all
regulations promulgated and guidance issued by Governmental Entities thereunder, including, but
not limited to, the following Laws, each as amended from time to time: the General Data Protection
Regulation (EU) 2016/679, the Fair Credit Reporting Act, the Fair and Accurate Credit Transaction
Act, the Federal Trade Commission Act, the Privacy Act of 1974, the CAN-SPAM Act, the
Telephone Consumer Protection Act, the Telemarketing and Consumer Fraud and Abuse
Prevention Act, Children’s Online Privacy Protection Act, state data security Laws, state social
security number protection Laws, state data breach notification Laws, state consumer protection
Laws, and any applicable Laws concerning requirements for website and mobile application
privacy policies and practices, call or electronic monitoring or recording or any outbound
communications (including, but not limited to, outbound calling and text messaging,
telemarketing, and email marketing).

“Intellectual Property” means all of the following, together with all goodwill associated therewith:
call letters, trademarks, trade names, service marks, designs, business names, patents, inventions,
trade secrets, know-how, processes, methods, techniques, Internet domain names, websites, social
media identifiers (such as a Twitter® Handle) and related accounts, web content, databases,
copyrights and other works of authorship, programs and programming material, jingles, slogans,
logos, content, Software or applications, all rights of privacy and publicity, all applications,
registrations and renewals relating to any of the foregoing, any other intellectual property rights or
proprietary rights in or arising from any of the foregoing, whether registered or not, throughout
the world, and in all tangible embodiments of the foregoing, including all licenses, sublicenses and
other rights granted and obtained with respect thereto, and rights thereunder, including rights to
collect royalties, products and proceeds, rights to sue and bring other Claims and seek remedies
against past, present and future infringements or misappropriations thereof or other conflicts
therewith, rights to recover damages or lost profits in connection therewith, and other rights to
recover damages (including attorneys’ fees and expenses) or lost profits in connection therewith,
and otherwise to seek protection or enforcement of interests therein, and all other corresponding
rights, under the laws of all jurisdictions, and whether arising by operations of law, contract,
license or otherwise.



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“Intentional Breach” shall mean, with respect to any representation, warranty, agreement or
covenant, a material breach that is the consequence of an action or omission by the breaching party
with actual or constructive knowledge (which shall be deemed to include knowledge of facts that
a Person acting reasonably should have, based on reasonable due inquiry) that such action or
omission is, or would reasonably be expected to be or result in, a breach of such representation,
warranty, agreement or covenant.

“IP Assignment Agreement” has the meaning set forth in Section 8.1(e).

“IT Systems” means all software, hardware, networks and systems owned or controlled by or on
behalf of the Acquired Companies, each of their subsidiaries or any Seller, including, without
limitation, all servers, workstations, routers, hubs, switches, data lines, desktop applications,
server-based applications, mobile applications, cloud services hosted or provided by the Acquired
Companies, each of their subsidiaries or any Seller, mail servers, firewalls, databases, source code
and object code.

“Knowledge” means with respect to Sellers the actual knowledge of Kimberly Guthrie, Brett
Fennell, or Jane Williams, in each case, after due inquiry and assuming the discharge of such
Person’s duties in a professional manner.

“Knowledge of Buyer” means with respect to Buyer the actual knowledge of David Sambur,
Aaron Sobel and Houston McCurry, in each case, after due inquiry and assuming the discharge
of such Person’s duties in a professional manner.

“Law” means any United States federal, state or local law or any foreign law (in each case,
including common and statutory law or otherwise), constitution, treaty, statute, ordinance,
regulation, rule, code, order, judgment, injunction, writ, decree or other similar requirement or
Governmental Order enacted, issued, adopted, promulgated, entered into or applied by a
Governmental Entity.

“Leased Real Property” has the meaning set forth in Section 2.8(b).

“Lender” has the meaning set forth in Section 3.6.

“Liability” means any and all debts, liabilities, guarantees, assurances, commitments and
obligations of any kind or nature, known or unknown, whether accrued or fixed, absolute or
contingent, matured or unmatured, determined or determinable, due or to become due, whenever
or however arising (including whether pursuant to contract, tort based on negligence or strict
liability, or Action).

“Liens” means claims, liabilities, Taxes, security interests, liens, mortgages, deeds of trust,
pledges, conditions, charges, claims, options, rights of first refusal, covenants, restrictions,
encroachments or other survey defects, easements, proxies, voting trusts or agreements, transfer
restrictions under any Contract or encumbrances of any kind or nature whatsoever.

“Limited Guarantee” has the meaning set forth in the Recitals.

“Management Employees” means those employees identified on Schedule 5.5(r).

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“Management Report” has the meaning set forth in Section 2.17(b).

“Marketing Period” means the first period of 18 consecutive days after the date of this Agreement
and throughout which and at the end of which (i) Seller has delivered to Buyer the Required
Financing Information and the Required Financing Information is Compliant, (ii) the conditions
set forth in Article 7 are satisfied (other than those conditions that by their nature can only be
satisfied at the Closing, but subject to the satisfaction or waiver of such conditions), and
(iii) nothing has occurred and continued and no condition exists that would cause any of the
conditions set forth in Article 7 to fail to be satisfied (other than those conditions that by their
nature can only be satisfied at the Closing), assuming that such conditions were applicable at any
time during such 18 consecutive day period; provided, that (x) May 27, 2019, July 4, 2019, July
5, 2019 and November 27, 2019 through December 1, 2019 shall not be considered calendar days
for purposes of such 18 consecutive day period (provided, however, that such exclusions shall not
restart such period), (y) if such 18 consecutive day period shall not have fully elapsed on or prior
to August 16, 2019, then such period shall not commence any earlier than September 3, 2019 and
(z) if such 18 consecutive day period shall not have fully elapsed on or prior to December 20,
2019, then such period shall not commence any earlier than January 3, 2020. Notwithstanding the
foregoing, (A) the Marketing Period will end on any earlier date on which the Debt Financing is
closed; and (B) the Marketing Period will not commence or be deemed to have commenced if,
after the date of this Agreement and prior to the completion of the consecutive day period
referenced herein (1) the Acquired Business’ auditors shall have withdrawn any audit opinion with
respect to any audited financial statements contained in or that includes the Required Financing
Information, in which case the Marketing Period shall not commence or be deemed to commence
unless and until, at the earliest, a new unqualified audit opinion is issued with respect to such
financial statements for the applicable periods by such auditors or another independent public
accounting firm reasonably acceptable to Buyer, (2) any Seller or any Acquired Company has
announced its intention to, or determines that it must, restate any historical financial statements or
other financial information that comprises a portion of, or contains, the Required Financing
Information or any such restatement is otherwise required in accordance with GAAP or any such
restatement is under active consideration, in which case, the Marketing Period shall not commence
or be deemed to commence unless and until, at the earliest, such restatement has been completed
and the applicable Required Financing Information has been amended and updated or any such
Seller or Acquired Company has announced and informed Buyer that it has concluded that no
restatement shall be required in accordance with GAAP or (3) any Required Financing Information
would not be Compliant at any time during such consecutive day period (it being understood that
if any Required Financing Information provided at the commencement of the Marketing Period
ceases to be Compliant during such consecutive day period, then the Marketing Period will be
deemed not to have occurred) or otherwise does not include the “Required Financing Information”
as defined. If at any time Sellers in good faith believe that the Required Financing Information
has been provided and is Compliant, Sellers may deliver to Buyer a written notice to that effect
(stating when it believes it completed such delivery), in which case the requirement to deliver the
Required Financing Information will be deemed to have been satisfied as of the date of such notice,
unless Buyer reasonably believes that the Sellers have not completed the delivery of the Required
Financing Information and, within two (2) Business Days after the delivery of such notice by
Sellers, delivers a written notice to Sellers to that effect (stating with specificity which Required
Financing Information the Buyer reasonably believes the Sellers have not delivered); provided that
it is understood that delivery of such written notice from the Buyer to the Sellers will not prejudice

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the Sellers’ right to assert that the Required Financing Information has in fact been delivered and
is Compliant.

“Material Adverse Effect” means any event, state of facts, circumstance, development, change,
effect or occurrence (an “Effect”) that, individually or in the aggregate with any other Effect,
(A) would, or would reasonably be expected to, prevent or materially delay the ability of any Seller
to consummate the Transactions and the other transactions contemplated hereby or (B) has had, or
would reasonably be expected to have, a materially adverse effect on the business, properties,
assets, condition (financial or otherwise) or results of operations of the Business and the Purchased
Assets, taken as a whole, other than, solely in the case of clause (B), any Effect arising out of or
resulting from (a) changes in the United States or foreign credit, debt, capital or financial markets
(including changes in interest or exchange rates) or the economy of any town, city, region, state or
country in which the Business is conducted, (b) general changes or developments in the broadcast
television, radio or newspaper industries in which the Business operates, (c) the execution and
delivery of this Agreement, the announcement of this Agreement and the Transactions and the
consummation of the Transactions, including the identity of Buyer and its Affiliates; provided,
that this clause (c) shall not apply to any Effect that results from the breach by Sellers of any
representation or warranty set forth in Section 2.4 (No Conflict) , (d) the compliance with the
covenants and agreements contained in this Agreement or the taking of any action by the Business
required by this Agreement or consented to in writing by Buyer after disclosure to Buyer by Sellers
of all material and relevant facts and information; provided, that this clause (d) shall not apply to
the covenants and agreements set forth in Section 4.2(a)(i); (e) earthquakes, hurricanes, tornadoes,
natural disasters or global, national or regional political conditions, including hostilities, military
actions, political instability, acts of terrorism or war or any material escalation or material
worsening of any such hostilities, military actions, political instability, acts of terrorism or war, (f)
any failure, in and of itself, by the Business to meet any internal or published projections, forecasts
or revenue or earnings predictions for any period (it being understood that the Effect underlying,
contributing or giving rise to such failure may be deemed to constitute, or be taken into account in
determining whether there has been or will reasonably be expected to be, a Material Adverse
Effect); (g) any Effect that results from any action taken by the Business at the express prior written
request of Buyer or with Buyer’s prior written consent after disclosure to Buyer by Sellers of all
material and relevant facts and information; or (h) changes in applicable Law or generally accepted
accounting principles or the interpretation thereof after the date hereof (including, for the
avoidance of doubt, any change after the date hereof in any rule or policy and the issuance of any
order, in any case, the effect of which is to restrict in any respect the ability accorded to Buyer
under FCC rules and policies in effect as of the date of this Agreement to enter into and perform
joint sales, shared services, and such other operational arrangements and agreements related to any
TV Station); provided, that any Effects resulting from the matters described in clauses (a), (b), and
(e) may be taken into account in determining whether there has been a Material Adverse Effect if
they have a disproportionate effect on the Business relative to other companies operating in the
industries in which the Business operates.

“Material Agreement” has the meaning set forth in Section 2.9(a).

“Maximum Liability Amount” means Three Hundred Million Dollars ($300,000,000).

“Maximum Percentage” has the meaning set forth in Section 5.17.

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“MFN” has the meaning set forth in Section 2.6(c).

“Multiemployer Plan” means a “multiemployer plan” as defined in Section 3(37) of ERISA.

“MVBC Stock” has the meaning set forth in Section 2.3(a).

“MVPDs” means cable systems, wireline telecommunications companies, and direct broadcast
satellite systems that, in each case, qualify as multi-channel video programming distributors, as
that term is defined by the FCC.

“NDA” has the meaning set forth in Section 5.1.

“Net Working Capital” means the amount (expressed as a positive amount), if any, by which (i) the
Current Assets, exceed (ii) the Current Liabilities; provided that if such Current Assets are equal
to such Current Liabilities, then the Net Working Capital shall be zero.

“Network Affiliation Agreement” has the meaning set forth in Section 2.9(a)(iv).

“Northwest Closing” means the Closing as defined in the Northwest Purchase Agreement.

“Northwest Purchase Agreement” means that certain Purchase Agreement, dated as of February
14, 2019, by and among Brian W. Brady, Jason R. Wolff, Bristlecone, LLC, NBI Holdings, LLC,
Northwest Broadcasting, L.P., Bryson Broadcast Holdings, LLC and Terrier Media Buyer, Inc.

“Northwest Transactions” means the Contemplated Transactions as defined in the Northwest
Purchase Agreement.

“Objection Notice” has the meaning set forth in Section 1.4(b).

“Objection Period” has the meaning set forth in Section 1.4(b).

“Organizational Documents” means, with respect to any Person (other than an individual), the
articles or certificate of incorporation, bylaws, certificate of limited partnership, partnership
agreement, certificate of formation, limited liability company operating agreement, and all other
organizational and governing documents of such Person.

“Original Production” means any audio or audio-visual program produced, co-produced or
commissioned by the Acquired Business.

“OSHA” means the Occupational Safety and Health Act, 29 U.S.C. §§ 651 et seq., and any
regulations promulgated thereunder.

“Outside Date” has the meaning set forth in Section 10.1(d).

“Owned Real Property” means (i) all Real Property owned by the Acquired Companies and (ii) all
Real Property owned by CMG, Cox Ohio or Cox Radio that is primarily used in the operation of
the Business, except to the extent an Excluded Owned Real Property.

“Party” and “Parties” have the meanings set forth in the Preamble.

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“PCI DSS” shall mean the Payment Card Industry Data Security Standard, issued by the Payment
Card Industry Security Standards Council, as may be revised from time to time.

“Permits” has the meaning set forth in Section 2.15.

“Permitted Liens” means, collectively, (a) Liens for taxes, assessments and governmental charges
not yet due and payable or that are being contested in good faith and for which adequate reserves
have been created in accordance with GAAP; (b) Liens arising under any zoning laws or
ordinances which are not violated by the current use or occupancy of the Real Property or the
operation of the Business thereon, other than any Liens resulting from any violation or non-
compliance in any material respect with such zoning laws or ordinances by any Acquired Company
or its subsidiaries; (c) any right reserved to any Governmental Entity to regulate the affected
property (including restrictions stated in any permits); (d) in the case of any leased asset, (i) the
rights of any lessor under the applicable Contract or any Lien granted by any lessor or any Lien
that the lessor’s interest in the applicable Contract is subject to, (ii) any statutory Lien for amounts
that are not yet due and payable or that are being contested in good faith by appropriate proceedings
and for which appropriate reserves have been created in accordance with GAAP and (iii) the rights
of the grantor of any easement or any Lien granted by such grantor on such easement property, (e)
statutory Liens of landlords and Liens of carriers, warehousemen, mechanics, material men and
other Liens imposed by law arising or incurred in the ordinary course of business for amounts that
are not yet due and payable or that are being contested in good faith by appropriate proceedings
and for which appropriate reserves have been created in accordance with GAAP that do not result
from any breach, violation or default by any Acquired Company or its subsidiaries of any Contract
or applicable Law, (f) Liens created by or through Buyer or any of its Affiliates, (g) minor defects
of title, easements, rights-of-way, restrictions and other Liens not securing the payment of a sum
of money and not materially interfering with the present use of any Real Property or any Station,
(h) Liens disclosed on Schedule 11.15(i) that will be released prior to or as of the Closing Date, (i)
non-exclusive licenses of Intellectual Property granted in the ordinary course of business, (j) Liens
designated as Permitted Liens on Schedule 11.15(i), if any, (k) with respect to any equity interest,
any restrictions on transfer of such equity interest imposed by Federal or state securities laws and
(l) any state of facts an accurate survey would show, other than those which materially and
adversely impact the present use of such Real Property or the present operation of the Business
thereon. Notwithstanding anything to the contrary elsewhere in this definition or in this
Agreement, with respect to any equity interest (including the Equity Interests), “Permitted Liens”
shall mean only clauses (a), (c), (f) and (k).

“Person” means any natural person, general or limited partnership, corporation, limited liability
company, firm, association, joint venture, trust or other legal entity or organization, including a
government or political subdivision or an agency or instrumentality thereof.

“Post-Closing Tax Period” means any Tax period beginning and ending after the Closing Date and
the portion of any Straddle Period occurring after the Closing Date. In the case of any Straddle
Period, the amount of Taxes for such period attributable to the Post-Closing Tax Period shall be
determined pursuant to Section 5.11(d).

“Pre-Closing Restructuring” has the meaning set forth in Section 5.14.



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“Pre-Closing Tax Period” means any Tax period ending on or prior to the Closing Date and the
portion of any Straddle Period ending on the Closing Date. In the case of any Straddle Period, the
amount of Taxes for such period attributable to the Pre-Closing Tax Period shall be determined
pursuant to Section 5.11(d).

“Pre-Closing Taxes” means, without duplication, (i) Taxes of the Acquired Companies for Pre-
Closing Tax Periods; (ii) Taxes of any other Person for which the Acquired Companies are liable
as a transferor or successor, by contract or Law, that are attributable to Pre-Closing Tax Periods;
or (iii) Taxes of any other Person for which the Acquired Companies are liable under Treasury
Regulation Section 1.1502-6 (or any similar provision of applicable Tax law) as a result of being
a member of an affiliated, consolidated, combined, unitary or similar group prior to Closing. Pre-
Closing Taxes do not include (i) any Taxes for Post-Closing Periods or (ii) any Taxes arising from
any action or transaction outside the ordinary course of business on the Closing Date after the
Closing.

“Premium Cap” has the meaning set forth in Section 4.3(b).

“Programming Rights” means rights to broadcast and rebroadcast television programs, feature
films, shows or other television programming.

“Protected Information” means any information that (i) relates to an identified or identifiable
individual or device used by an individual; (ii) is governed, regulated or protected by one or more
Information Privacy and Security Laws; (iii) any information that is covered by the PCI DSS; or
(iv) is derived from Protected Information.

“Purchase Price” has the meaning set forth in Section 1.2.

“Purchased Assets” means the Purchased Dayton Assets and the Purchased Related Assets.

“Purchased Dayton Assets” means (i) all of the assets and properties, in each case, primarily used,
or primarily held for use by CMG or its Affiliate, in the operation of the Dayton Radio Stations,
and (ii) all of the assets and properties, in each case, primarily used, or primarily held for use by
Cox Ohio or its Affiliate, in the operation of the Dayton Newspapers, including:

                        (i)    all FCC Licenses and all transferable municipal, state and federal
franchises, licenses, permits or other governmental authorizations relating primarily to the Dayton
Radio Stations;

                      (ii)   the Owned Real Property that is primarily used, or held for use, in
the operation of the Dayton Radio Stations or the Dayton Newspapers;

                      (iii) the Real Property Leases used, or held for use, primarily in the
operation of the Dayton Radio Stations or the Dayton Newspapers;

                      (iv)     the tower leases used, or held for use, primarily in the operation of
the Dayton Radio Stations;



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                         (v)     all rights under all Contracts to which Cox Radio or Cox Ohio is a
party that (i) are listed or referenced on Schedule 2.9(a); (ii) are not required by the terms thereof
to be listed on Schedule 2.9(a) but are used, or held for use, primarily in connection with the
operation of the Dayton Radio Stations or the Dayton Newspapers; (iii) are referenced in other
subsections to this definition of Purchased Dayton Assets or the corresponding Section in the
Schedules; or (v) are entered into after the date hereof by Cox Ohio or Cox Radio, as applicable,
pursuant to the terms and subject to the conditions of Section 4.2 (collectively, the “Assumed
Dayton Contracts”), provided, however, that the Assumed Dayton Contracts shall in no event
include any Excluded Cox Contracts;

                       (vi)    the Accounts Receivable of the Dayton Radio Stations and the
Dayton Newspapers;

                       (vii) the Intellectual Property used, or held for use, primarily in the
operation of the Dayton Radio Stations or the Dayton Newspapers, including, but not limited to,
the Intellectual Property listed on Schedule 11.15(j);

                     (viii) the equipment and personal property primarily used, or held for use,
in connection with the operation of the Dayton Radio Stations or the Dayton Newspapers,
including the equipment and personal property listed on Schedule 11.15(k);

                       (ix)    rights of Cox Radio and Cox Ohio in any management and other
systems (including computers and peripheral equipment), databases, Software (including
computer disks and similar assets), and all licenses and rights in relation thereto, in each case, that
are used, or held for use, primarily in the operation of the Dayton Radio Stations or the Dayton
Newspapers, including the equipment and personal property listed on Schedule 11.15(k) (the
“Purchased Dayton Equipment”); provided, however, in no event shall such management and other
systems, databases, and Software include any Excluded Assets;

                      (x)     all rights, claims, credits, causes of action or rights of set-off of Cox
Radio and Cox Ohio against third parties relating primarily to the Purchased Dayton Assets,
including unliquidated rights under manufacturers’ and vendors’ warranties, in each case only to
the extent Buyer incurs losses relating thereto occurring after the Effective Time;

                      (xi)   all inventories of merchandise, newsprint, and other raw materials,
work in process, finished goods and supplies (including photo supplies, composition supplies,
camera supplies, press room supplies, mailroom supplies, plant supplies and route and circulation
supplies) owned, leased or otherwise held by Cox Ohio and primarily used, or held for use, in
connection with the operation of the Dayton Newspapers; and

                        (xii) all information and data, sales and business records, books of
account, files, invoices, inventory records, general, financial, and accounting and real and personal
property and sales and use Tax records, and all books, documents and records, in each case, that
are used, or held for use, primarily in the operation of the Dayton Radio Stations or the Dayton
Newspapers (excluding, for the avoidance of doubt, any records to the extent relating to any other
newspapers or radio stations owned or operated by CMG or its Affiliates).



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“Purchased Related Assets” means all of the assets and properties, in each case, primarily used, or
primarily held for use by CMG or its Affiliates, in the operation of the Business other than the
Excluded CMG Assets, including:

                        (i)   the Owned Real Property, Real Property Leases and tower leases,
including as set forth on Schedule 11.15(l);

                      (ii)    the equipment and personal property primarily used, or held for use,
in connection with the operation of the TV Stations, including as listed on Schedule 11.15(m);

                        (iii) all of CMG’s rights under all Contracts that (x) are listed or
referenced on Schedule 2.9(a), (y) are not required by the terms thereof to be listed on Schedule
2.9(a) but are used, or held for use, primarily in connection with the operation of the TV Stations,
or (z) are entered into after the date hereof by CMG pursuant to the terms and subject to the
conditions of Section 4.2 (collectively, the “Assumed Related Contracts”); provided, however, that
Assumed Related Contracts shall in no event include Excluded Cox Contracts;

                        (iv)   (A) any and all claims, causes of action, defenses and rights of offset
or counterclaim, or settlement agreements or rights of any kind (in any manner arising or existing,
whether choate or inchoate, known or unknown, contingent or non-contingent) to the extent arising
out of the any Contracts primarily relating to, or used primarily in connection with, the Business,
any of the Purchased Assets or any of the Assumed Liabilities, other than any Excluded Liability
and (B) all rights arising under or relating to any Assumed Liabilities;

                     (v)     all prepaid expenses and deposits (other than prepaid Taxes) and ad
valorem Taxes, leases and rentals, in each case, to the extent relating primarily to the Purchased
Related Assets;

                       (vi)    all Intellectual Property listed on Schedule 11.15(n);

                       (vii)   all goodwill and intangible assets; and

                       (viii) the assets set forth on Schedule 11.15(o).

“R&W Insurance Policy” means the insurance coverage provided pursuant to any buyer-side
representations and warranties insurance policy obtained by Buyer on or after the date of this
Agreement.

“RCRA” means the Resource Conservation and Recovery Act, 42 U.S.C. §§ 6901 et seq., and any
regulations promulgated thereunder.

“Real Property” means all Owned Real Property and all Leased Real Property.

“Real Property Assignment” has the meaning set forth in Section 8.1(d).

“Real Property Leases” has the meaning set forth in Section 2.8(b).




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“Release” means any release, spill, emission, leaking, pumping, pouring, emptying, leaching,
escaping, dumping, injection, deposit, discharge or disposing of any Hazardous Material in, onto
or through the environment.

“Renewal Application” has the meaning set forth in Section 4.1(a)(iv).

“Replacement Contract” has the meaning set forth in Section 5.4(b)(i).

“Representative” of a Person means any officer, director or employee of such Person or any
consultant, investment banker, attorney, accountant, agent or other advisor or representative of
such Person.

“Required Financing Information” means (i) all financial statements, financial data, audit reports
and other information regarding the Acquired Business of the type that would be required by
Regulation S-X promulgated by the SEC and Regulation S-K promulgated by the SEC for a
registered public offering of non-convertible debt securities on a registration statement on Form
S-1 under the Securities Act of Buyer to consummate the offering(s) of high yield debt securities
contemplated by the Debt Commitment Letter, assuming that such offering(s) were consummated
at the same time during the Acquired Business’ fiscal year as such offering(s) of debt securities
will be made (including all audited financial statements (which, for the avoidance of doubt, may
be in accordance with AICPA standards rather than PCAOB standards) and all unaudited financial
statements (which will have been reviewed by Sellers’ independent accountants as provided in
Statement on Auditing Standards 100)); and (ii) such other financial and other information
regarding the Acquired Business (A) as may be reasonably requested by Buyer to the extent that
such information is required in connection with Exhibit D of the Debt Commitment Letter or is of
the type and form customarily included in an offering memorandum for private placements of non-
convertible high-yield bonds pursuant to Rule 144A promulgated under the Securities Act or (B)
as otherwise necessary to receive from the Acquired Business’ independent accountants (and any
other accountant to the extent that financial statements audited or reviewed by such accountants
are or would be included in such offering memorandum), customary “comfort” (including
“negative assurance” comfort and change period comfort), together with drafts of customary
comfort letters that such independent public accountants are prepared to deliver upon the “pricing”
of any high-yield bonds being issued in lieu of any portion of the Debt Financing, with respect to
the financial information to be included in such offering memorandum. Notwithstanding anything
to the contrary in clauses (i) and (ii), nothing will require Sellers or the Acquired Companies to
provide (or be deemed to require Sellers or the Acquired Companies to prepare) any (1) pro forma
financial statements, (2) projections, (3) description of all or any portion of the Debt Financing,
including any “description of notes”, (4) risk factors relating to all or any component of the Debt
Financing or (5) other information required by Rule 3-10 or Rule 3-16 of Regulation S-X, any
Compensation Discussion and Analysis required by Item 402(b) of Regulation S-K or any other
information customarily excluded from an offering memorandum for private placements of non-
convertible high-yield bonds pursuant to Rule 144A).

“Sanctioned Person” means at any time any Person: (i) listed on any Sanctions-related list of
designated or blocked Persons; (ii) resident in or organized under the laws of a country or territory
that is the subject of comprehensive restrictive Sanctions (which includes as of the date of this



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Agreement Cuba, Iran, North Korea, Syria, and the Crimea region); or (iii) majority-owned or
controlled by any of the foregoing.

“Sanctions” means those trade, economic and financial sanctions laws, regulations, embargoes,
and restrictive measures (in each case having the force of law) administered, enacted or enforced
by (i) the United States (including without limitation the Department of Treasury, Office of
Foreign Assets Control), (ii) the European Union and enforced by its member states, (iii) the
United Nations, (iv) Her Majesty’s Treasury or (v) other similar governmental bodies.

“Schedules” means the disclosure schedules referenced herein and attached to this Agreement.

“Section 338(h)(10) Election” has the meaning set forth in Section 5.11(h).

“Securities Act” has the meaning set forth in Section 3.10.

“Seller(s)” has the meaning set forth in the Preamble.

“Seller Indemnified Parties” has the meaning set forth in Section 9.2(b).

“Seller Transferred Employee” has the meaning set forth in Section 5.5(a).

“Seller FSA Plan” has the meaning set forth in Section 5.5(i).

“Seller Landlord Lease” has the meaning set forth in Section 8.1(m).

“Seller Severance Policy” has the meaning set forth in Section 5.5(d).

“Sellers’ 401(k) Plan” has the meaning set forth in Section 5.5(e).

“Sharing Agreement” has the meaning set forth in Section 2.9(a)(ii).

“Signal” means any TV Station signal or portion thereof, including any programming feed or
service, whether primary or multicast.

“Software” means computer software programs, including all source code, object code, systems,
specifications, network tools, data, databases, firmware, designs and documentation related
thereto.

“Solvent” has the meaning set forth in Section 3.7.

“Straddle Period” means a Tax period commencing before the Closing Date and ending after the
Closing Date.

“Surveys” has the meaning set forth in Section 5.9.

“Surviving Provisions” has the meaning set forth in Section 9.1.

“Target Net Working Capital” means $130,000,000.


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“Tax” or “Taxes” means all federal, state, local or foreign income, excise, gross receipts, ad
valorem, sales, use, employment, franchise, profits, gains, property, transfer, escheat, payroll,
intangible or other taxes, value added, alternative or add-on minimum, estimated, unclaimed
property fees, stamp taxes, duties, charges, levies or assessments of any kind whatsoever (whether
payable directly or by withholding) imposed by a Governmental Entity, together with any interest
and any penalties, additions to tax or additional amounts imposed by any Tax authority with respect
thereto.

“Tax Proceeding” has the meaning set forth in Section 5.11(j).

“Tax Returns” means all returns and reports (including elections, declarations, disclosures,
schedules, estimates and information returns) filed or required to be filed with a Tax authority
relating to Taxes.

“Third Party Buyer” has the meaning set forth in Section 4.1(b)(v).

“Third Party Claim” has the meaning set forth in Section 9.3(a).

“Third Party Transaction” has the meaning set forth in Section 4.1(b)(v).

“Title Commitments” has the meaning set forth in Section 5.9.

“Top Tier Employee” means an employee, officer, director or independent contractor of the
Business, other than On-Air Talent (as defined below), who earns a base salary in excess of
$300,000, and “On-Air Talent” means an employee of the Business who provides on-air services
and earns a base salary in excess of $500,000.

“Transaction Documents” means this Agreement, the Bills of Sale, the Assignment and
Assumption Agreements, the FCC Assignment Agreements, the Real Property Assignments, the
IP Assignment Agreements, the Transition Services Agreement, the Seller Landlord Leases, the
Buyer Landlord Leases, the Deeds, the Contribution Agreement, the Holdco Stockholders
Agreement, and the other documents, agreements, certificates and instruments to be executed,
delivered and performed in connection with the Transactions or the other transactions
contemplated herein.

“Transactions” mean the sale of the Equity Interests and the Purchased Assets, and the assumption
of the Assumed Liabilities, contemplated by this Agreement.

“Transfer Date” has the meaning set forth in Section 5.5(i).

“Transferred Employee” has the meaning set forth in Section 5.5(a).

“Transfer Taxes” means all transfer, documentary, sales, use, registration, stamp, or other similar
Taxes payable by reason of the Transactions or attributable to the sale, transfer or delivery of the
Equity Interests or the Purchased Assets under this Agreement.

“Transition Services Agreement” has the meaning set forth in Section 8.1(l).



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“TV Stations” has the meaning set forth in the Recitals.

“Union Employees” means those Employees covered by a collective bargaining agreement.

“WARN Act” has the meaning set forth in Section 5.5(o).




                               [SIGNATURE PAGE FOLLOWS]




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                  EXHIBIT 4
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                                                             EXECUTION VERSION




                             PURCHASE AGREEMENT

                                    by and among

                                 BRIAN W. BRADY,

                                 JASON R. WOLFF,

                               BRISTLECONE, LLC,

                               NBI HOLDINGS, LLC,

                        NORTHWEST BROADCASTING, L.P.

                       BRYSON BROADCAST HOLDINGS, LLC

                                         and

                          TERRIER MEDIA BUYER, INC.




                             Dated as of February 14, 2019




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EXHIBITS

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                                  PURCHASE AGREEMENT

                This Purchase Agreement (this “Agreement”) is made as of February __, 2019, by
and among Brian W. Brady (“Brady”), Jason R. Wolff (“Wolff”) and Bristlecone, LLC, a
Michigan limited liability company (“Bristlecone” and collectively with Brady and Wolff, the
“Sellers”), NBI Holdings, LLC, a Delaware limited liability company (“NBI”), Bryson
Broadcast Holdings, LLC, a Delaware limited liability company (“Bryson”), Northwest
Broadcasting, L.P., a Delaware limited partnership, (“NW Broadcasting” and collectively with
NBI and Bryson, the “Targets”), and Terrier Media Buyer, Inc., a Delaware corporation (the
“Buyer”). The Sellers, the Targets and the Buyer are referred to individually as a “Party” and
collectively as “Parties”).

                WHEREAS, the Sellers are the record and beneficial owner of all of the limited
liability company interests and limited partnership interests, as applicable, of the Targets (except
for the interests that NBI owns in the other Targets) (the “Interests”);

               WHEREAS, the Sellers desire to sell and transfer all of the Interests (other than the
Rollover Interests) to the Buyer, and the Buyer desires to acquire all of the Interests (other than
the Rollover Interests), all on the terms and subject to the conditions set forth in this Agreement;

                WHEREAS, concurrently with the execution of this Agreement, Buyer and Cox
Enterprises, Inc., Cox Media Group, LLC, Cox Media Group Ohio, Inc. and Cox Radio, Inc.
(collectively, “Cox”) are entering into a purchase agreement, pursuant to which Buyer, or one or
more of its Affiliates, will purchase the Purchased Assets (as defined therein) and the Equity
Interests (as defined therein) and will assume certain Assumed Liabilities (as defined therein)
(the “Camelot Purchase Agreement”);

               WHEREAS, Buyer and/or one or more of its Affiliates are in discussions with the
Person set forth on Schedule 1.1 (“Houston”) to potentially enter into an asset purchase
agreement, pursuant to which Buyer or one or more of its Affiliates or other Persons will
purchase certain assets and assume certain liabilities from Houston (the “Houston Purchase
Agreement”);

                WHEREAS, following the date hereof but prior to the Closing, certain Sellers will
enter into a Rollover and Subscription Agreement setting forth the terms of a rollover
arrangement with an affiliated entity of Buyer (the “Rollover Agreement”) on the terms set forth
in the binding term sheet attached as Exhibit C hereto, pursuant to which such affiliated entity
shall issue equity interests to such Sellers; and

               WHEREAS, concurrently with the execution of this Agreement, and as a condition
to the willingness of, and material inducement to, the Company to enter into this Agreement,
Parent has delivered to the Company a limited guaranty (the “Limited Guaranty”) from the
Guarantors (as defined therein, and set forth on Exhibit A thereto) (“Sponsor”), pursuant to
which Sponsor has guaranteed certain of Buyer’s obligations under this Agreement.

               NOW, THEREFORE, in consideration of these premises, the covenants set forth
herein and other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties agree as follows:


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1.       DEFINITIONS.

         1.1.     Certain Matters of Construction.

                 1.1.1.    Rules of Construction. The words “hereof,” “herein” and “hereunder”
and words of like import used in this Agreement shall refer to this Agreement as a whole and not
to any particular provision of this Agreement. The descriptive headings used herein are inserted
for convenience of reference only and are not intended to be part of or to affect the meaning or
interpretation of this Agreement. References to Articles, Sections, Exhibits and Schedules are to
Articles, Sections, Exhibits and Schedules of this Agreement unless otherwise specified. All
Exhibits and Schedules annexed hereto or referred to herein are hereby incorporated in, and
made a part of, this Agreement, as if set forth in full herein. Any capitalized terms used in any
Exhibit or Schedule but not otherwise defined therein, shall have the meaning as defined in this
Agreement. Any singular term in this Agreement shall be deemed to include the plural, and any
plural term the singular. The definitions contained in this Agreement are applicable to the
masculine as well as to the feminine and neuter genders of such term. Whenever the words
“include,” “includes” or “including” are used in this Agreement, they shall be deemed to be
followed by the words “without limitation,” whether or not they are in fact followed by those
words or words of like import. “Writing,” “written” and comparable terms refer to printing,
typing and other means of reproducing words (including electronic media) in a visible form.
References to any statute shall be deemed to refer to such statute and to any rules or regulations
promulgated thereunder. References to any Contract are to that Contract as amended, modified
or supplemented from time to time in accordance with the terms hereof and thereof. References
to any Person include the successors and permitted assigns of that Person. References herein to
“$” or dollars will refer to United States dollars, unless otherwise specified. References from or
through any date mean, unless otherwise specified, from and including such date or through and
including such date, respectively. References to any period of days will be deemed to be to the
relevant number of calendar days, unless otherwise specified. The phrases “made available” or
“furnished” with respect to documents shall include only documents provided prior to the date of
this Agreement in the electronic data room hosted by Merrill Services to which the Targets have
granted access to Buyer and its representatives and advisors. When calculating the period of
time before which, within which or following which any act is to be done or step taken pursuant
to this Agreement, the date that is the reference date in calculating such period shall be excluded.
If the last day of such period is not a Business Day, the period in question shall end on the next
succeeding Business Day. In the event an ambiguity or question of intent or interpretation arises,
this Agreement will be construed as if drafted jointly by the Parties, and no presumption or
burden of proof will arise favoring or disfavoring any Party by virtue of the authorship of any of
the provisions of this Agreement. For all purposes under this Agreement, if the Sellers or
Targets are required or permitted to take any action, receive any deliveries or payments, or make
any other determinations, (i) each Seller and each Target hereby irrevocably appoints Brady as
their agent and representative to act on their behalf and to do any and all things and execute any
and all documents which Brady determines may be necessary, convenient or appropriate to
facilitate the consummation of the Contemplated Transactions, and the Agreement shall be
interpreted in such manner, and (ii) Buyer and its Affiliates (including, after the Closing, the
Targets and their Subsidiaries) shall be entitled to deal exclusively with Brady on all matters
relating to this Agreement and the Contemplated Transactions and disregard any decisions,


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communications or writings made, given or executed by any other Seller or Target in connection
with this Agreement and the Contemplated Transactions.

                1.1.2.    Target Sharing Company. Each representation made by the Targets or
Sellers hereunder regarding any Target Sharing Company shall be deemed to be made to the
Targets’ Knowledge whether or not so specified. Notwithstanding anything in this Agreement to
the contrary, the Targets and their Subsidiaries shall have no duty or obligation hereunder, or in
the Contemplated Transactions, to cause any Target Sharing Company to take any action or to
forego from taking any action, except to the extent that the Targets or any of their Subsidiaries
have a right to cause such Target Sharing Company to take such action or forego from taking
such action under any Contracts to which any Target or any of their Subsidiaries is a party.

               1.1.3.     Houston Purchase Agreement. Any references or applicable provisions
in this Agreement to the Houston Purchase Agreement, and any references to, or rights of,
Houston in this Agreement, shall only be applicable in the event that definitive documentation is
entered into by (A) Buyer or one or more of its Affiliates, on the one hand, with (B) Houston or
one or more of its Affiliates, on the other hand, in respect of the transactions contemplated by the
Houston Purchase Agreement.

       1.2.    Certain Definitions. For purposes of this Agreement, the following terms will
have the following meanings:

             “Accounting Principles” means the accounting principles, policies, procedures
and methodologies set forth on Exhibit A.

                “Affiliate” means, with respect to any Person, any other Person that directly or
indirectly controls or is controlled by, or is under common control with, such Person; provided,
that other than in the case of the definition of Buyer Related Party, or for purposes of Section
5.11, Section 8.11.4, Section 10.2, and Section 11.14, in no event shall Buyer or any of its
Subsidiaries be considered an Affiliate of any portfolio company or investment fund affiliated
with Apollo Global Management, LLC, nor shall any portfolio company or investment fund
affiliated with Apollo Global Management, LLC, be considered to be an Affiliate of Buyer or
any of its Subsidiaries. The term “control” (including its correlative meanings “controlled” and
“under common control with”) shall mean possession, directly or indirectly, of power to direct or
cause the direction of management or policies of a Person (whether through ownership of such
Person’s securities or partnership or other ownership interests, or by Contract or otherwise).

               “Balance Sheet Time” means 11:59 p.m. New York time on the day immediately
preceding the Closing Date.

               “Business” means the businesses conducted by the Targets and their direct and
indirect Subsidiaries as of the date hereof.

            “Business Day” means any day that is not a Saturday, a Sunday or other day on
which commercial banks in the City of New York are authorized or required by Law to be
closed.



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                “Buyer Fundamental Representations” means the representations and warranties
set forth in Sections 5.1 (Corporate Existence and Power), 5.2 (Authorization), 5.3
(Governmental Authorization), 5.4 (Non-Contravention), 5.6 (Available Funds), 5.7 (Brokers)
and 5.8 (Investment Intent).

                “Buyer General Representations” means the representations and warranties set
forth in Article 5 other than the Buyer Fundamental Representations.

                “Buyer’s Knowledge” means the actual knowledge of David Sambur, Aaron
Sobel and Houston McCurry, in each case after reasonable internal inquiry of their respective
direct reports.

                “Carriage Agreement” means each Contract relating to retransmission, exhibition,
distribution, subdistribution, display or broadcast of (i) any Target Station signal (or portion
thereof, including any programming feed, whether primary or multicast) and/or (ii) any Target
Programming Service, whether on a linear, on-demand, interactive or other basis, including any
such Contract with an MVPD which has expired or otherwise terminated but the applicable
Target (or the applicable Subsidiary) and the applicable MVPD continue to perform under and
treat such expired or terminated Contract as in effect.

               “Cash on Hand” means, as of the date in question, without duplication, all cash
and cash equivalents held in the bank accounts of the Targets and their Subsidiaries (including
short-term liquid investments with maturities of thirty (30) days or less), calculated in
accordance with the Accounting Principles on a consolidated basis, without duplication, net of
any unpaid checks or drafts issued by the Targets or any of their Subsidiaries prior to the date in
question, excluding Trapped Cash.

               “Code” means the Internal Revenue Code of 1986, as amended, and the
applicable Treasury regulations issued thereunder.

                  “Communications Act” means the Communications Act of 1934, as amended.

                 “Competition Laws” means the Sherman Antitrust Act of 1890, as amended, the
Clayton Antitrust Act of 1914, as amended, the HSR Act, as amended, the Federal Trade
Commission Act of 1914, as amended, the Robinson-Patman Act of 1936, as amended, and all
other Laws including any antitrust, competition or trade regulation Laws, that are designed or
intended to prohibit, restrict or regulate actions having the purpose or effect of monopolization or
restraint of trade or lessening competition through merger or acquisition.

               “Compliant” means, with respect to the Required Financing Information, that (i)
such Required Financing Information does not contain any untrue statement of a material fact
regarding any Target or any of their Subsidiaries or omit to state any material fact regarding any
Target or any of their Subsidiaries necessary in order to make such Required Financing
Information not misleading under the circumstances, (ii) such Required Financing Information
complies in all material respects with all requirements of Regulation S-K and Regulation S-X
under the Securities Act for a registered public offering of non-convertible debt securities on
Form S-1 that would be applicable to such Required Financing Information (other than such
provisions for which compliance is not customary in a Rule 144A offering of high yield debt

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securities) and (iii) the financial statements and other financial information included in such
Required Financing Information would not be deemed stale or otherwise be unusable under
customary practices for offerings and private placements of high yield debt securities under Rule
144A promulgated under the Securities Act and are sufficient to permit the Targets’ independent
accountants to issue comfort letters to the Financing Sources, including as to customary negative
assurances and change period, in order to consummate any offering of debt securities on any day
during which the Debt Financing will be marketed (and such accountants have confirmed they
are prepared to issue a comfort letter subject to their completion of customary procedures).

             “Contemplated Transactions” means the transactions contemplated by this
Agreement (including the Rollover Agreement) and the Escrow Agreement.

               “Contract” means any agreement, contract, instrument, note, bond, mortgage,
indenture, deed of trust, lease, license or other instrument or obligation, whether written or
unwritten.

               “Debt Commitment Letter” means the debt commitment letter, dated as of the
date of this Agreement, by and among Buyer and the Financing Sources party thereto, providing
for debt financing as described therein (including all exhibits, schedules and annexes).

                “Debt Financing” means the debt financing incurred or intended to be incurred as
contemplated by the Debt Commitment Letter, including the offering or private placement of
debt securities or borrowing of loans contemplated by the Debt Commitment Letter and any
related engagement letter.

               “Disclosure Schedules” means the respective disclosure schedules to this
Agreement delivered by the Targets, the Sellers and the Buyer concurrently with the execution
and delivery hereof.

                  “Employee” means any employee of any Target or any of their Subsidiaries.

               “Environmental Law” means any Law concerning the protection of the
environment, pollution, contamination, natural resources, or the use, handling, release, discharge,
emission or disposal of, or human health or safety relating to, exposure to Hazardous Substances.

              “Environmental Permits” means Governmental Authorizations required under or
issued pursuant to any Environmental Law.

                “Equity Commitment Letter” means the equity commitment letter addressed to
Buyer, dated as of the date hereof, from the Equity Investors (as defined therein) to provide,
subject to the terms and conditions thereof, equity financing to Buyer as described therein.

                “Equity Financing” means the provision of equity financing to Buyer from the
Equity Investors (as defined in the Equity Commitment Letter), subject to the terms and
conditions in the Equity Commitment Letter and in the amount set forth therein.

              “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended, and the rules and regulations issued thereunder.

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               “ERISA Affiliate” of any entity means each Person that at any relevant time
would be treated as a single employer with such entity for purposes of Section 4001(b)(1) of
ERISA or Section 414(b), (c), (m) or (o) of the Code.

                “Escrow Agent” means an escrow agent to be mutually agreed between Buyer and
the Sellers prior to Closing.

                “Escrow Agreement” means an escrow agreement to be entered into on or prior to
the Closing Date by the Buyer, the Sellers and the Escrow Agent, in a form mutually acceptable
to the Buyer, the Sellers and the Escrow Agent.

                “Estimated Working Capital Amount” means (i) if the Estimated Working Capital
exceeds the Working Capital Target, then the amount, if any, by which the Estimated Working
Capital exceeds (A) the Working Capital Target plus (B) Five Hundred Thousand ($500,000); or
(ii) if the Working Capital Target exceeds the Estimated Working Capital, then the amount, if
any, by which the Estimated Working Capital is less than (I) the Working Capital Target minus
(II) Five Hundred Thousand ($500,000), in the case of this clause (ii), expressed as a negative
number.

                  “FCC” means the U.S. Federal Communications Commission.

                “FCC Applications” means those applications and requests for waivers required to
be filed with the FCC to obtain the approvals and waivers of the FCC pursuant to the
Communications Act and FCC Rules necessary to consummate the Contemplated Transactions.

               “FCC Consent” means the grant by the FCC of the FCC Applications, regardless
of whether the action of the FCC in issuing such grant remains subject to reconsideration or other
further review by the FCC or a court.

                “FCC Licenses” means the FCC licenses, permits and other authorizations,
together with any renewals, extensions or modifications thereof, issued with respect to the Target
Stations, or otherwise granted to or held by the Targets, any Target Sharing Company or any of
their respective Subsidiaries.

              “FCC Rules” means the rules, regulations, orders and promulgated and published
policy statements of the FCC.

              “Final Working Capital Amount” means (i) if the Final Working Capital exceeds
the Working Capital Target, then the amount, if any, by which the Final Working Capital
exceeds (A) the Working Capital Target plus (B) Five Hundred Thousand ($500,000); or (ii) if
the Working Capital Target exceeds the Final Working Capital, then the amount, if any, by
which the Final Working Capital is less than (I) the Working Capital Target minus (II) Five
Hundred Thousand ($500,000), in the case of this clause (ii), expressed as a negative number.

                  “Financing” means the Equity Financing and the Debt Financing.

             “Financing Sources” means the agents, arrangers, lenders and other entities that
have committed to provide or arrange the Debt Financing, including the parties to any

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engagement letter or to any joinder agreements, credit agreements, indentures, notes, purchase
agreements or other agreements entered pursuant to the Debt Financing, together with their and
their Affiliates’ current, former or future officers, directors, employees, partners, trustees,
shareholders, equityholders, managers, members, limited partners, controlling persons, agents
and representatives of each of them and the successors and assigns of the foregoing Persons.

                  “GAAP” means generally accepted accounting principles in the United States.

                “Governmental Authority” means any nation or government, any federal, state or
other political subdivision thereof, any entity, authority or body exercising executive, legislative,
judicial, regulatory or administrative functions of or pertaining to government, any court,
tribunal or arbitrator and any self-regulatory organization (including stock exchanges).

                “Governmental Authorization” means any licenses, franchises, approvals,
clearances, permits, certificates, waivers, consents, exemptions, variances, expirations and
terminations of any waiting period requirements (including pursuant to Competition Laws), and
notices, filings, registrations, qualifications, declarations and designations with, and other similar
authorizations and approvals issued by or obtained from a Governmental Authority.

                “Hazardous Substance” means any substance, material or waste listed, defined,
regulated or classified as hazardous or toxic or as a “pollutant” or “contaminant” or words of
similar meaning or effect, or for which liability or standards of conduct may be imposed under
any Environmental Law, including petroleum or any petroleum-derived substance, waste or
additive, asbestos, asbestos-containing materials, polychlorinated byphenols, radioactive
compounds and physical agents (including non-ionizing radiation).

                  “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
amended.

                  “HSR Affiliate” shall mean an “Affiliate” as defined in 16 C.F.R. §
801.1(d)(1).

                “Income Tax” means any federal, state, local, or non-U.S. income tax, including
any interest, penalty, or additions thereto, whether disputed or not.

                “Indebtedness” means, with respect to any Person, without duplication, as of the
date of determination: (i) all obligations of such Person for borrowed money, or with respect to
deposits or advances of any kind to such Person, (ii) all obligations of such Person evidenced by
bonds, debentures, notes or similar instruments, (iii) all lease obligations of such Person which
are required to be capitalized on the books and records of such Person, and any leases required to
be capitalized in accordance with GAAP, (iv) all indebtedness of others secured by a Lien on
property or assets owned or acquired by such Person, whether or not the indebtedness secured
thereby have been assumed, (v) all letters of credit, bank guarantees, performance or surety
bonds issued for the account of such Person, in each case, whether or not drawn, contingent or
otherwise, (vi) all obligations of such Person pursuant to securitization or factoring programs or
arrangements, (vii) net cash payment obligations of such Person under swaps, options,
derivatives and other hedging agreements or arrangements that will be payable upon termination
thereof (assuming they were terminated on the date of determination), (viii) the deferred

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purchase price of property, assets, securities, or services in respect of which any Target or any of
their Subsidiaries is liable, contingently or otherwise (including “earn-outs,” indemnities and
“seller notes” payable with respect to the acquisition of any business, assets or securities), (ix) all
guarantees of such Person of any indebtedness of any other Person other than a wholly owned
subsidiary of such Person and (x) interest, premium, fees, expenses, penalties (including
prepayment and early termination penalties) and other amounts owing in respect of all items in
clauses (i) through (ix) of this definition.

                “Indemnified Party” means with respect to any claim for indemnification pursuant
to Section 9, each Buyer Indemnified Party or Seller Indemnified Party asserting such claim (or
on whose behalf such claim is asserted) under Section 9.2 or 9.3, as the case may be.

               “Indemnifying Party” means, with respect to any claim for indemnification
pursuant to Article 9, the party or parties against whom such claim has been asserted.

                  “Indemnity Cap Amount” means Thirty Million Dollars ($30,000,000).

                “Independent Referee” means an independent and nationally recognized firm with
expertise in disputes of the type contemplated by Section 2.5, to be mutually agreed by Buyer
and the Sellers prior to Closing.

                “Information Privacy and Security Laws” means all Laws concerning the receipt,
collection, use, storage, processing, sharing, security, privacy, disclosure, sale, license or transfer
of any Personal Data, including all Laws pertaining to marketing or contacting individuals.

                “Intellectual Property” means any and all intellectual property rights throughout
the world, whether registered or not, including all (a) patents (including all reissues, divisionals,
provisionals, continuations and continuations-in-part, re-examinations, renewals and extensions
thereof) (collectively, “Patents”); (b) copyrights and rights in copyrightable subject matter and
content in published and unpublished works of authorship, including all characters, scripts,
treatments, stories, formats, storylines, plots and teleplays and revisions, spin-offs, remakes,
sequels and prequels thereof (collectively, “Copyrights”); (c) trade names, trademarks and
service marks, logos, corporate names, domain names and other Internet addresses or identifiers,
trade dress and similar rights, and all goodwill associated therewith (collectively, “Marks”);
(d) registrations and applications for each of the foregoing; (e) rights, title and interests in all
trade secrets and trade secret rights arising under common law, state law, federal law or laws of
foreign countries, in each case to the extent any of the foregoing derives economic value (actual
or potential) from not being generally known to other Persons who can obtain economic value
from its disclosure or use (collectively, “Trade Secrets”); (f) computer software programs,
including all source code, object code, systems, specifications, network tools, data, databases,
firmware, designs and documentation related thereto (“Software”) and (g) moral rights, publicity
rights and any other intellectual property rights or other rights similar, corresponding or
equivalent to any of the foregoing of any kind or nature.

                  “IRS” means the Internal Revenue Service.

             “IT Systems” means the hardware, Software, data communication lines, network
and telecommunications equipment, Internet-related information technology infrastructure, wide

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area network and other information technology equipment, owned, licensed to, or controlled by
the Targets or any of their Subsidiaries.

                “Laws” means any United States, federal, state or local or any foreign law (in
each case, statutory, common or otherwise), ordinance, code, rule, statute, regulation or other
similar requirement or Order enacted, issued, adopted, promulgated, entered into or applied by a
Governmental Authority.

                 “Lien” means, with respect to any property or asset, any mortgage, lien, pledge,
charge, security interest, lease, encumbrance, conditional or installment sale agreement, deed of
trust, right of way, encroachment or other survey defect, occupancy right, or community property
interest.

               “Loan Documents” means that certain (i) Credit Agreement, by and between
Bryson Broadcast Holdings LLC and U.S. Bank National Association, dated as of August 1,
2016, as amended of August 31, 2018 and January 30, 2019 and (ii) Amended and Restated
Credit Agreement, by and between Northwest Broadcasting, L.P. and U.S. Bank National
Association, dated as of May 22, 2015, as amended August 31, 2018.

               “Losses” means losses, debts, damages, awards, fines, Taxes, claims, interest,
penalties, expenses, fees, costs and amounts paid in settlement in accordance with this
Agreement (including fees and expenses of investigation and defense and in-house and third
party fees and expenses and the cost of pursuing insurance providers) incurred or suffered by an
Indemnified Party, in each case, whether direct or indirect, accrued or contingent, incurred in
advance of or following the final disposition of any claim.

             “Market” means the “Designated Market Area,” as determined by The Nielsen
Company, of a television broadcast station.

                 “MFN” means a “most favored nation” right or other similar provision in a
Carriage Agreement which provides that the Person(s) which has been granted such right or
provision under such Carriage Agreement may be entitled to certain rates, terms, conditions or
other benefits offered, provided or otherwise applicable to, or certain license fee discounts,
credits or reductions measured against provisions applicable to, any other Person(s) not party to
such Carriage Agreement (including any payments, financial consideration, license fee refunds,
reductions, discounts, caps or credits, economic or non-economic terms, conditions or other
rights) (collectively, “MFN Benefits”)

                 “MVPD” means any (a) multi-channel video programming distributor, including
any operator of cable television systems, any direct broadcast satellite service provider or other
satellite distributor of video programing, (b) telephone companies, including any wireline
(including broadband) or wireless telecommunications service provider; or (c) any Person that
distributes video programing via any other distribution platforms or means or transmission
technology, including via the Internet or any other computer network, website, mobile platform,
digital application or similar platform now known or hereafter devised.

               “Order” means any order, writ, injunction, decree, consent decree, judgment,
award, injunction, settlement or stipulation issued, promulgated, made, rendered or entered into

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by or with any Governmental Authority (in each case, whether temporary, preliminary or
permanent).

                “Organizational Documents” means, with respect to any Person (other than an
individual), the certificate or articles of incorporation, organization or formation of such Person
and any limited liability company, operating or partnership agreement, by-laws or similar
documents or agreements relating to the legal organization and governance of the internal affairs
of such Person.

               “Owned Intellectual Property” means any and all Intellectual Property owned or
purported to be owned by any Target or any of their Subsidiaries.

                “Permitted Liens” means (a) Liens for Taxes, assessments, governmental levies,
fees or charges not yet due and payable or which are being contested in good faith and by
appropriate proceedings and, in each case, for which adequate reserves (as determined in
accordance with GAAP) have been established on the most recent balance sheet of each Target
contained in the Financial Statements, (b) mechanics’, carriers’, workers’, repairers’ and similar
statutory Liens arising or incurred in the ordinary course of business with respect to amounts not
yet due and payable or which are being contested in good faith and by appropriate proceedings
instituted promptly and for which adequate reserves (as determined in accordance with GAAP)
have been established on the most recent balance sheet of each Target contained in the Financial
Statements, (c) zoning, entitlement, building codes and other land use regulations, ordinances or
legal requirements imposed by any Governmental Authority having jurisdiction over real
property but only to the extent the Targets and their Subsidiaries are in material compliance with
the same, (d) all rights relating to the construction and maintenance in connection with any
public utility of wires, poles, pipes, conduits and appurtenances thereto, on, under or above real
property which, individually or in the aggregate, do not materially impair the value or continued
use of such real property for the purposes for which it is used by such Person, (e) all matters
disclosed as a “Permitted Lien” in the Disclosure Schedules, (f) any state of facts which an
accurate survey or inspection of real property would disclose and which, individually or in the
aggregate, do not materially impair the value or continued use of such real property for the
purposes for which it is used by such Person, (g) statutory Liens in favor of lessors arising in
connection with any real property subject to the Real Property Leases, (h) other defects,
irregularities or imperfections of title, encroachments, easements, servitudes, permits, rights of
way, flowage rights, restrictions, covenants, sidetrack agreements and oil, gas, mineral and
mining reservations, rights, licenses and leases, which, in each case, do not secure payment of a
sum of money and do not materially impair the value of the applicable real property or the
continued use of real property for the purposes for which it is used by such Person and (i) grants
of non-exclusive licenses or other non-exclusive rights with respect to owned Intellectual
Property that do not secure Indebtedness.

               “Person” means an individual, group (within the meaning of Section 13(d)(3) of
the Exchange Act), corporation, partnership, limited liability company, association, trust or other
entity or organization, including a Governmental Authority.

               “Personal Data” means (i) any and all information that identifies, relates to or is
capable of being linked to an individual, (ii) any information that enables a Person to contact the

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individual (such as information contained in a cookie or an electronic device fingerprint), and
(iii) any and all other personally identifiable information, the collection, use, sharing, transfer or
other processing of which is governed, regulated or protected by one or more Information
Privacy and Security Laws. Personal Data includes (A) personal identifiers such as name,
address, email address, IP address, Social Security Number, date of birth, driver’s license
number or state identification number, Taxpayer Identification Number and passport number, (B)
financial information, including credit or debit card numbers, account numbers, access codes,
consumer report information or insurance policy number, (C) demographic information, (D)
unique biometric data, such as fingerprint, retina or iris image, voice print or other unique
physical representation and (E) individual medical or health information (including information
of customers, employees, contractors and third parties who have provided information to the
Targets or their Subsidiaries, and including information relating to services provided by or to
third parties).

               “Pledge Agreement” means the pledge agreement, to be entered into prior to the
Closing by Buyer and the applicable Sellers, in a form mutually acceptable to Buyer and the
applicable Sellers, for purposes of Article 9.

              “Pre-Closing Tax Period” means any taxable period ending on or before the
Closing Date and the portion of any Straddle Period ending on and including the Closing Date.

                “Pre-Closing Taxes” means (A) Taxes of the Targets and their Subsidiaries for
any Pre-Closing Tax Period, (B) any and all Taxes of any member of an affiliated, consolidated,
combined, or unitary group of which the Targets or any of their Subsidiaries (or any predecessor
of any of the foregoing) is or was a member on or prior to the Closing Date, including pursuant
to Treasury Regulation §1.1502-6 or any analogous or similar state, local, or non-U.S. law or
regulation, and (C) any and all Taxes of any person (other than the Targets and their
Subsidiaries) imposed on the Targets or any of their Subsidiaries as a transferee or successor, by
contract or pursuant to any law, rule or regulation, which Taxes relate to an event or transaction
occurring before the Closing; provided, however, that “Pre-Closing Taxes” shall not include (1)
Taxes arising as a result of any transactions occurring on the Closing Date after the Closing
outside of the ordinary course of business (other than as explicitly contemplated by this
Agreement); (2) Taxes arising as a result of a breach by Buyer of Section 8.6.3 herein; (3) Taxes
arising as a result of, or in connection with, a Section 338 election; (3) any Transfer Taxes for
which the Buyer is responsible pursuant to Section 8.6.1 herein; (4) Taxes to the extent such
Taxes are reflected in Working Capital; or Taxes resulting from any Proceeding to the extent that
such Taxes are paid directly by the Sellers as a result of any election pursuant to Section 6226 of
the Code.

                “Proceeding” means any suit, action, claim, proceeding, arbitration, subpoena,
inquiry, investigation, mediation, audit or hearing (in each case, whether civil, criminal or
administrative) commenced, brought, conducted or heard by or before, or otherwise involving,
any Governmental Authority.

                “Program Rights” means rights to broadcast and rebroadcast television programs,
feature films, series, specials, news or other audiovisual programming.



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                   “Purchase Price Adjustment Escrow Amount” means $1,000,000.

               “Representative” means, with respect to any Person, its officers, agents, control
persons, employees, consultants, professional advisers (including attorneys, accountants and
financial advisors).

                “Required Financing Information” means (i) audited consolidated balance sheets
as of the end of the two most recently completed fiscal years ended at least 90 days before the
Closing Date and related statements of income, stockholders’ equity and cash flows of NBI and
its Subsidiaries for the three most recently completed fiscal years ended at least 90 days before
the Closing Date, (ii) unaudited consolidated balance sheets and related statements of income
and cash flows of NBI and its Subsidiaries, for each subsequent fiscal quarter and year to date
period through the end of such fiscal quarter ended at least 45 days before the Closing Date
(other than any fiscal fourth quarter) after the most recent fiscal period for which audited
financial statements have been provided pursuant to clause (i) hereof, in each case prepared in
accordance with GAAP (and, in the case of clause (ii), which will have been reviewed by the
Targets’ independent accountants as provided in Statement on Auditing Standards 100)), and (iii)
such other financial and other information (A) regarding the Targets and their Subsidiaries as
may be reasonably requested by Buyer (or the Financing Sources) to the extent that such
information is required in connection with the Debt Financing or of the type and form
customarily included in an offering memorandum for private placements of non-convertible
high-yield debt securities pursuant to Rule 144A promulgated under the Securities Act; or (B) as
otherwise necessary to receive from the Targets’ independent accountants (and any other
accountants to the extent that financial statements audited or reviewed by such accountants are or
would be included in such offering memorandum), customary “comfort” (including “negative
assurance” comfort and change period comfort), together with drafts of customary comfort
letters that such independent accountants are prepared to deliver upon the “pricing” of any high-
yield debt securities being issued as part of or in lieu of any portion of the Debt Financing, with
respect to the financial information to be included in such offering memorandum.

              “Rollover Amount” means the aggregate amount set forth on the schedules to the
Rollover Agreement in respect of the Rollover Interests and designated as the “Rollover
Amount”.

              “Rollover Interests” means any Interests set forth on a schedule to a Rollover
Agreement to be exchanged for equity interests in an affiliated entity of Buyer.

                  “Seller” is defined in the Preamble.

                “Seller Fundamental Representations” means the representations and warranties
set forth in Sections 3.1 (Existence and Power), 3.2 (Authorization), 3.3 (Capitalization;
Subsidiaries), 3.4 (Governmental Authorization; Non-Contravention), 3.22 (Brokers), 4.1
(Existence and Power), 4.2 (Authorization), 4.3 (Title to Interests) and 4.4 (Governmental
Authorization; Non-Contravention).




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                “Seller General Representations” means the representations and warranties set
forth in Articles 3 and 4, other than the Seller Fundamental Representations and the Tax
Representations.

               “Sharing Agreement” means a local marketing, joint sales, shared services or
similar Contract.

                  “Straddle Period” means any taxable period that includes but does not end on the
Closing Date.

               “Subsidiary” means, with respect to any Person, any other Person (other than a
natural Person) of which securities or other ownership interests (a) having ordinary voting power
to elect a majority of the board of directors or other persons performing similar functions or
(b) representing more than 50% of such securities or ownership interests are at the time directly
or indirectly owned by such Person (in each case, with respect to Subsidiaries of the Targets,
aggregating all interests directly or indirectly held by the Targets for this purposes).

                  “Target” is defined in the Preamble.

               “Target Indebtedness” means the amount outstanding as of the Closing in respect
of the Indebtedness of the Targets and their Subsidiaries pursuant to the Loan Documents.

               “Target Production” means any audio or audiovisual program produced, co-
produced or commissioned by the Targets or any of their Subsidiaries, including without
limitation, news content.

                “Target Programming Service” means any programming service or network
distributed or authorized for distribution by the Targets or any of their Subsidiaries, whether on a
live, on-demand, interactive or other basis.

                “Target Sharing Company” means any entity with which the Targets or any of
their Subsidiaries has a Sharing Agreement.

                “Target Station” means the television broadcast stations (including stations
operated as “satellites” pursuant to Section 73.3555, Note 5, of the FCC Rules), low power
television stations (including Class A stations) and TV translator stations (a) owned by the
Targets and their Subsidiaries, each of which is listed in Schedule 3.9.7 or (b) licensed to a third
party and subject to a Sharing Agreement with the Targets or their Subsidiaries, each of which is
listed in Schedule 3.9.7 as a station subject to a Sharing Agreement.

               “Target Station Licenses” means the main station license issued by the FCC with
respect to each of the Target Stations.

               “Targets’ Knowledge” means the actual knowledge of Brady, Wolff and William
Quarles, in each case after reasonable internal inquiry of their respective direct reports.

                “Tax Returns” means returns, reports, declarations, claims for refund, elections,
estimates, disclosures, forms and information statements filed or required to be filed with a

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Taxing Authority relating to Taxes, including any schedules or attachments thereto and including
any amendment thereof.

                “Taxes” means any and all United States federal, state, provincial, local, foreign
and other taxes, levies, fees, imposts, duties, and similar governmental charges (including any
and all interest, fines, assessments, penalties, additional taxes or additions to tax imposed in
connection therewith or with respect thereto) including, without limitation (x) taxes imposed on,
or measured by, income, franchise, profits or gross receipts, and (y) ad valorem, value added,
capital gains, sales, goods and services, use, real or personal property, capital stock, license,
escheat, branch, payroll, estimated withholding, employment, social security (or similar),
unemployment, compensation, utility, severance, production, excise, stamp, occupation,
premium, windfall profits, transfer and gains taxes, and customs duties.

               “Taxing Authority” means any United States, federal, state, local or any foreign
or other governmental or quasi-governmental agency responsible or having jurisdiction for the
imposition, determination assessment or collection of any Tax.

                “Third Party” means any Person other than Buyer, the Sellers, the Targets or any
of their respective Affiliates.

                “Transaction Bonus Payments” means the bonus, change in control, discretionary
bonus, retention and other compensatory payments that become payable by the Targets or any of
their Subsidiaries as a result of, or that otherwise arise out of or relate to, the consummation of
the Contemplated Transactions, and the employer portion of any withholding or employment
Taxes related thereto.

                “Transaction Expenses” means all out-of-pocket fees, costs and expenses incurred
or otherwise payable by the Targets or any of their Subsidiaries in connection with the
preparation, negotiation, documentation and consummation of the Contemplated Transactions,
including (i) such fees and expenses of Brown Rudnick LLP, (ii) any other legal, accounting,
consulting expenses and any other advisor and service provider fees, including the expenses
relating to the electronic data room hosted by Merrill Services, (iii) fees and expenses of any
broker, investment banker or financial advisor, in each case to the extent incurred but unpaid as
of the Closing, and (iv) fifty percent (50%) of any Transfer Taxes.

                “Transfer Taxes” means any sales, use, transfer, value added, real property
transfer, stamp, registration, documentary, recording or similar duties or taxes together with any
interest thereon, penalties, fines, costs, fees, additions to tax or additional amounts with respect
thereto incurred in connection with the Contemplated Transactions.

               “Trapped Cash” means all cash and cash equivalents that are not freely useable by
the Targets or any of their Subsidiaries due to restrictions or limitations on use or distribution by
Law, Contract or otherwise, including restrictions on dividends and repatriations and including,
for the avoidance of doubt, cash collected on behalf of and payable to the former owners of
KLAX.

               “Willful Breach” means, with respect to any representation, warranty, agreement
or covenant, a material breach that is the consequence of an action or omission by the breaching

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party with actual or constructive knowledge (which shall be deemed to include knowledge of
facts that a Person acting reasonably should have, based on reasonable due inquiry) that such
action or omission is, or would reasonably be expected to be or result in, a breach of such
representation, warranty, agreement or covenant.

                  “Working Capital” means (i) the current assets of the Existing Reporting Entities
or any of their Subsidiaries including accounts receivable, broadcasting rights (both current and
non-current), prepaid and other current assets, excluding all Cash on Hand, Trapped Cash,
current and deferred Income Tax assets, receivables from Sellers and their Affiliates and assets
held for sale minus (ii) the current liabilities of the Targets or any of their Subsidiaries including
accounts payable, accrued expenses and other liabilities and broadcasting contracts payable (both
current and non-current), excluding any amounts payable in respect of Transaction Expenses,
Transaction Bonus Payments, Target Indebtedness, and current and deferred Income Tax
liabilities, in each case determined, without duplication, in accordance with the Accounting
Principles on a consolidated basis similar to the format as set forth on Exhibit B.

             “Working Capital Target” means Nine Million Eight Hundred Fifty Eight
Thousand Dollars ($9,858,000).

Each of the following terms is defined in the Section set forth opposite such term:

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409A Authorities................................................................................................................................
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Existing Reporting Entities ................................................................................................................
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Final Cash on Hand Amount..............................................................................................................
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Final Transaction Bonus Payments ....................................................................................................
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2.         THE TRANSACTION.

        2.1.    Purchase and Sale of the Interests. At the Closing, and subject to the terms and
conditions set forth in this Agreement, the Sellers shall sell, transfer and deliver to the Buyer,
free and clear of all Liens and the Buyer shall purchase from the Sellers, the Interests (other than
the Rollover Interests).

        2.2.    Purchase Price. The aggregate consideration for the purchase and sale of the
Interests (other than the Rollover Interests) pursuant to this Agreement will be an amount (such
aggregate consideration, the “Purchase Price”) calculated as follows:

                       2.2.1.         Three Hundred and Eighty Four Million Dollars $384,000,000;

                       2.2.2.         minus the Estimated Target Indebtedness;

               2.2.3.     minus the amount of the Estimated Transaction Expenses, including
those to be paid at the Closing pursuant to Section 2.4.1(c);

               2.2.4.    minus the amount of the Estimated Transaction Bonus Payments,
including those to be paid pursuant to Section 2.4.1(d);

                       2.2.5.         plus the Estimated Cash on Hand Amount;

                       2.2.6.         plus the Estimated Working Capital Amount.


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              The Purchase Price shall be subject to adjustment in accordance with the terms of
this Agreement, including in accordance with Section 2.5.

         2.3.   The Closing. Subject to the terms and conditions hereof, the closing of the
purchase and sale of the Interests (other than the Rollover Interests) pursuant to this Agreement
(the “Closing”) shall take place by electronic document transfer (i.e., .pdf signature pages and
fully executed documents exchanged via email) immediately prior to the first to occur of (a) the
closing of the transactions contemplated by the Camelot Purchase Agreement or (b) the closing
of the transactions contemplated by the Houston Purchase Agreement, (but for the avoidance of
doubt, in each case, subject to the satisfaction or waiver of each of the conditions set forth in
Article 6) (the day on which the Closing takes place, the “Closing Date”). Subject to the
provisions of Article 10, the failure of any party to consummate the Closing on the date and time
determined pursuant to this Section 2.3 shall not result in the termination of this Agreement and
shall not relieve such party of any obligation under this Agreement.

         2.4.     Closing Deliveries and Payments.

                2.4.1.    Buyer Closing Deliveries and Payments. At the Closing, the Buyer
shall deliver or cause to be delivered the following:

                           (a) to the Sellers (in respect of the Interests other than the Rollover
         Interests), an amount in cash equal to (i) the Purchase Price, minus (ii) the Purchase Price
         Adjustment Escrow Amount, minus (iii) the Rollover Amount, by wire transfer of
         immediately available funds to the accounts and in such amounts designated by the
         Sellers in writing on a schedule delivered to the Buyer not less than two (2) Business
         Days prior to the Closing Date, and each Seller acknowledges and agrees that none of
         Buyer, any of its Affiliates or any other Buyer Related Parties shall have any liability or
         obligation to any Person, including the Sellers, for any Losses arising from or relating to
         any errors, omissions or inaccuracies set forth on such schedule.

                           (b) to accounts specified by the Targets at least five (5) Business Days
         prior to the Closing Date, by wire transfer of immediately available funds, such cash
         amounts as are necessary to discharge in full any outstanding amount of Estimated Target
         Indebtedness;

                           (c) to accounts specified by the Targets at least five (5) Business Days
         prior to the Closing Date, by wire transfer of immediately available funds, such cash
         amounts as are necessary to pay in full the Estimated Transaction Expenses;

                           (d) to the Targets, for further processing through payroll, by wire
         transfer of immediately available funds to an account designated in writing by the Targets
         to the Buyer not less than five (5) Business Days prior to the Closing Date, such cash
         amounts as are necessary to pay in full each of the Estimated Transaction Bonus
         Payments;




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                           (e) to the Escrow Agent, by wire transfer of immediately available
         funds, the Purchase Price Adjustment Escrow Amount (to be held in an account referred
         to herein as the “Purchase Price Adjustment Escrow Account”);

                          (f) to the Sellers, a copy of the Escrow Agreement, duly executed by
         the Buyer and the Escrow Agent; and

                         (g) to the Sellers and the Targets, a copy of the Rollover Agreement,
         duly executed by the Buyer.

               2.4.2.     Target Closing Deliveries. At the Closing, the Targets shall deliver or
cause to be delivered to the Buyer, the following:

                          (a) a copy of the Escrow Agreement, duly executed by the applicable
         Sellers and the Escrow Agent;

                            (b) copies of pay-off letters or other similar documentation to the
         effect that there will be no outstanding amounts payable in respect of the Estimated
         Target Indebtedness upon payment at the Closing of the amounts specified in such pay-
         off letter or similar documentation, including documentation in customary form
         evidencing the release of any Liens thereunder, in each case, in form and substance
         reasonably satisfactory to the Buyer;

                          (c) an affidavit from each Seller certifying that such Seller is not a
         non-U.S. person and conforming to the requirements of Treasury Regulations section
         1.1445-2(b)(2); and

                             (d) a copy of the Rollover Agreement, duly executed by the applicable
         Targets.

               2.4.3.   Sellers Closing Deliveries. At the Closing, the Sellers shall deliver to
the Buyer, the following:

                           (a) duly executed limited liability company interest or limited
         partnership interest transfer powers for transfer of the Interests to the Buyer (other than in
         respect of any Rollover Interests); and

                             (b) a copy of the Rollover Agreement, duly executed by the applicable
         Sellers.

         2.5.       Purchase Price Adjustment.

                 2.5.1.   Estimated Balance Sheet and Estimated Closing Statement. The Sellers
will in good faith prepare and deliver, or cause to be prepared and delivered, to the Buyer not
later than five (5) Business Days prior to the Closing Date, a written statement (the “Estimated
Closing Statement”) setting forth (a) in reasonable detail the Sellers’ good faith estimates of
(i) Transaction Expenses (listed by payee) (the “Estimated Transaction Expenses”),
(ii) Transaction Bonus Payments (listed by payee) (the “Estimated Transaction Bonus

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Payments”), (iii) Target Indebtedness (the “Estimated Target Indebtedness”), (iv) Working
Capital (the “Estimated Working Capital”) and the resulting Estimated Working Capital Amount
and (v) Cash on Hand (the “Estimated Cash on Hand Amount”), in the case of clauses (iv) and
(v), as of the Balance Sheet Time, as derived in accordance with the Accounting Principles, and
(b) the resulting estimate of Purchase Price (the “Estimated Purchase Price”). The Estimated
Transaction Bonus Payments, Estimated Transaction Expenses, Estimated Target Indebtedness,
Estimated Working Capital Amount, Estimated Cash on Hand Amount and Estimated Purchase
Price set forth in the Estimated Closing Statement will be prepared in accordance with the
definitions thereof and, solely in the case of the Estimated Target Indebtedness, Estimated
Working Capital Amount, Estimated Cash on Hand Amount and Estimated Purchase Price, the
Accounting Principles.

                2.5.2.    Closing Statement. Within ninety (90) days after the Closing Date, the
Buyer will in good faith prepare or cause to be prepared, and will provide to the Sellers, a written
statement (the “Closing Statement”) setting forth (a) in reasonable detail the Buyer’s proposed
determinations of (i) Transaction Expenses, (ii) Transaction Bonus Payments, (iii) Target
Indebtedness, (iv) Working Capital and (v) Cash on Hand, in the case of clauses (iv) and (v), as
of the Balance Sheet Time, as derived in accordance with definitions therefor and from the
Accounting Principles, and (b) the Purchase Price. The Closing Statement (x) will be prepared
in accordance with the Accounting Principles and (y) will solely be based on facts and
circumstances as they exist at Closing in accordance with GAAP and disregard any and all
effects on the assets and liabilities of the Targets as a result of the Contemplated Transactions
(including any financing arrangements entered into by the Buyer or any of its Affiliates in
connection with the Contemplated Transactions) except with respect to the calculation of
Transaction Expenses (which shall give effect to the Contemplated Transactions).

                2.5.3.    Dispute Notice. The Closing Statement (and the proposed
determinations of the Transaction Expenses, Transaction Bonus Payments, Target Indebtedness,
Working Capital, Cash on Hand and Purchase Price reflected on the Closing Statement) will be
final, conclusive and binding on the parties unless the Sellers provide a written notice (the
“Dispute Notice”) to the Buyer no later than sixty (60) days after delivery of the Closing
Statement setting forth in reasonable detail and with reasonable supporting documentation any
item(s) or amount(s) on the Closing Statement that are disputed by the Sellers (each, a “Disputed
Item”) including their proposed amount and the basis for the Sellers’ objections; provided, that,
such objections may only be that the Closing Statement contained arithmetic errors or were not
prepared in accordance with the requirements of this Agreement. Any item or amount on the
Closing Statement to which no dispute is raised in the Dispute Notice will be final, conclusive
and binding on the parties. Any determination of the Transaction Expenses, Transaction Bonus
Payments, Target Indebtedness, Working Capital, Cash on Hand or Purchase Price that is not
objected to in the Dispute Notice will be deemed accepted and will be final and binding upon the
parties upon delivery of the Dispute Notice. During such sixty (60) day period, the Buyer shall
provide, and shall cause the Targets to provide, the Sellers and their Representatives with
reasonable access to, and the opportunity to make copies of (at the Seller’s expense), the Targets’
books and records, work papers and other materials used or considered by the Buyer in the
preparation of the Closing Statement, and reasonable access to personnel and Representatives of



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the Buyer and the Targets who assisted or were consulted in the preparation of the Closing
Statement during normal business hours and under the supervision of Targets.

                2.5.4.    Resolution of Disputes. Following the Buyer’s receipt of the Dispute
Notice, if any, the Buyer and the Sellers will attempt to resolve the Disputed Items in good faith
during the twenty (20) day period following timely delivery of the Dispute Notice. Disputed
Items resolved in writing by the Sellers and the Buyer within the twenty (20) day period will be
final, conclusive and binding on the parties. If the Buyer and the Sellers are unable to resolve all
Disputed Items in the Dispute Notice within such twenty (20) day period, either the Buyer or the
Sellers may provide written notice to the other (the “Dispute Submission Notice”) that such party
is submitting any remaining Disputed Items, and only such remaining Disputed Items, for
resolution to the Independent Referee. The Buyer and the Sellers shall enter into a customary
engagement letter with the Independent Referee. The Buyer and the Sellers will use their
commercially reasonable efforts to cause the Independent Referee to render its decision as soon
as practicable (but in any event within thirty (30) days) after the submission to the Independent
Referee of their respective proposed final calculations of the Disputed Items (which the Buyer
and the Sellers shall submit to the Independent Referee not later than ten (10) days following the
giving of the Dispute Submission Notice). Each of the Buyer and Sellers shall, and the Buyer
shall cause the Targets to, use commercially reasonable efforts to comply with all reasonable
requests by the Independent Referee for access to their respective work papers, information,
books, records and similar items, personnel and Representatives; provided, that such access
rights shall be exercised in such manner as not to interfere unreasonably with the conduct of the
business of the Buyer, the Sellers, the Targets or any of their Subsidiaries, and each of the Buyer,
the Sellers, the Targets or any of their Subsidiaries may withhold any document (or portions
thereof) or information to the extent that (i) it may not be disclosed pursuant to the terms of a
nondisclosure agreement with a third party; provided, that such party shall use commercially
reasonable efforts to obtain a waiver of such restriction, (ii) it may constitute privileged attorney-
client communications or attorney work product and the transfer of which, or provision of access
to which, as reasonably determined by legal counsel to any of the Buyer, the Sellers or the
Targets or any of their Subsidiaries, constitutes a waiver of any such privilege or (iii) the
provision of access to such document (or portion thereof) or information, as determined by legal
counsel to any of the Buyer, the Sellers or the Targets or any of their Subsidiaries, would conflict
with any applicable Laws. The Independent Referee will review such final calculations of the
Disputed Items and render a final determination solely based on whether the Disputed Items
were prepared in accordance with this Agreement, and shall base such decision on the
documentation submitted by the Buyer, the Sellers and the Targets; provided, that the
Independent Referee’s final determination with respect to each Disputed Item shall be within the
range of dispute between the Buyer and the Sellers, as presented in the Buyer’s Closing
Statement pursuant to Section 2.5.2 and the Sellers’ Dispute Notice pursuant to Section 2.5.3.
The Independent Referee’s determination will be (a) in writing and shall include a reasonably
detailed statement of the basis for the Independent Referee’s decision, (b) furnished to each of
the Buyer and the Sellers as soon as practicable (but in any event within thirty (30) days) after
the Sellers’ and the Buyer’s respective final calculations of the Disputed Items have been
submitted to the Independent Referee, (c) limited in scope to the Disputed Items and (d) final,
conclusive, non-appealable and binding on the parties, other than in the event of manifest error,
and shall constitute an arbitral award upon which judgment may be entered in any court of

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competent jurisdiction. The fees and expenses of the Independent Referee shall be borne by
(i) the Sellers, on the one hand, and (ii) the Buyer, on the other hand, based on the percentage
that the portion of the contested amount not awarded to each party bears to the amount actually
contested by the parties in the aggregate, and such allocation of fees and expenses shall be
calculated by the Independent Referee and such calculation shall be final and binding on the
parties. By way of illustration, if the Buyer’s calculations would have resulted in a $1,000,000
net payment to the Buyer, and the Sellers’ calculations would have resulted in a $1,000,000 net
payment to the Sellers then (x) if the Independent Referee’s final determination results in an
aggregate net payment of $500,000 to the Sellers, the Buyer and the Sellers shall pay 75% and
25%, respectively, of such fees and expenses and (y) if each of such parties’ calculations differs
from the Independent Referee’s calculation by $1,000,000, the Buyer and the Sellers shall split
such fees and expenses evenly. At any time the Buyer and the Sellers may agree to settle any
objections raised in the Dispute Notice, including any Disputed Items submitted to the
Independent Referee, which agreement shall be in writing and final, conclusive and binding upon
all of the parties hereto with respect to the subject matter of any such objection so resolved;
provided, that, the parties shall promptly provide a copy of such agreement to the Independent
Referee and instruct the Independent Referee not to resolve such Disputed Item, it being agreed
that if the Independent Referee nonetheless resolves such Disputed Item for any reason, the
agreement of the parties shall control.

              2.5.5.    Post-Closing Purchase Price Adjustment. Following the final
determination of the Purchase Price, in accordance with Section 2.5.3 and/or Section 2.5.4, of
Transaction Expenses, Transaction Bonus Payments, Target Indebtedness, Working Capital,
Cash on Hand and Purchase Price (respectively, the “Final Transaction Expenses”, “Final
Transaction Bonus Payments”, “Final Target Indebtedness”, “Final Working Capital,” “Final
Cash on Hand Amount” and “Final Purchase Price”), a Purchase Price adjustment shall be made
as follows:

                           (a) if (i) the sum of (A) the Final Working Capital Amount, plus
         (B) the Final Cash on Hand Amount, minus (C) the Final Transaction Expenses, minus
         (D) the sum of the Final Transaction Bonus Payments, minus (E) the Final Target
         Indebtedness is less than (ii) the sum of (A) the Estimated Working Capital Amount, plus
         (B) the Estimated Cash on Hand Amount, minus (C) the Estimated Transaction Expenses,
         minus (D) the sum of the Estimated Transaction Bonus Payments, minus (E) the
         Estimated Target Indebtedness, then the Purchase Price will be reduced by an amount
         equal to such shortfall, and such shortfall amount shall be paid to the Buyer (or to such
         other Person as directed by Buyer) from the Purchase Price Adjustment Escrow Account,
         in accordance with the terms of the Escrow Agreement; provided, however, if such
         shortfall amount is greater than the then-remaining Purchase Price Adjustment Escrow
         Amount (such excess, the “Buyer Deficiency Amount”), the Sellers (as a joint and
         several obligation) shall pay to the Buyer (or to such other Person as directed by Buyer)
         the Buyer Deficiency Amount by wire transfer of immediately available funds to an
         account or accounts designated by the Buyer in writing; provided, further, if such
         shortfall amount is less than the then-remaining Purchase Price Adjustment Escrow
         Amount, the amount by which the then-remaining Purchase Price Adjustment Escrow
         Amount exceeds such shortfall amount shall be paid from the Purchase Price Adjustment


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         Escrow Account to the Sellers, to the accounts and in such amounts designated by the
         Sellers;

                           (b) if (i) the sum of (A) the Final Working Capital Amount, plus
         (B) the Final Cash on Hand Amount, minus (C) the Final Transaction Expenses, minus
         (D) the sum of the Final Transaction Bonus Payments, minus (E) the Final Target
         Indebtedness is greater than (ii) the sum of (A) the Estimated Working Capital Amount,
         plus (B) the Estimated Cash on Hand Amount, minus (C) the Estimated Transaction
         Expenses, minus (D) the sum of the Estimated Transaction Bonus Payments, minus
         (E) the Estimated Target Indebtedness, then the Purchase Price will be increased by an
         amount equal to such excess and (i) the Buyer will pay, or cause to be paid, such excess
         amount to the Sellers and (ii) the Buyer and the Sellers shall jointly instruct the Escrow
         Agent to release to the Sellers the then-remaining Purchase Price Adjustment Escrow
         Amount (provided, in each case, that compensatory payments shall be made as described
         in the last sentence of Section 2.6), in each case, within five (5) Business Days after the
         determination of such excess amount by wire transfer of immediately available funds to
         the accounts and in such amounts specified by the Sellers; or

                           (c) if the Final Purchase Price is equal to the Estimated Purchase
         Price, then the Buyer and the Sellers shall jointly instruct the Escrow Agent to promptly
         (but in any event within three (3) Business Days following delivery of notice) release to
         the Sellers the then-remaining Purchase Price Adjustment Escrow Amount, to the
         accounts and in such amounts specified by the Sellers (provided that compensatory
         payments shall be made as described in the last sentence of Section 2.6).

        2.6.    Withholding. The Buyer and any other applicable withholding agent will be
entitled to deduct and withhold or cause to be deducted and withheld from any amounts payable
or consideration otherwise deliverable pursuant to this Agreement any withholding Taxes or
other amounts required under the Code or any applicable legal requirement to be deducted and
withheld; provided, however, that except in respect of compensatory payments, Buyer shall (i)
provide written notice of such withholding at least fifteen (15) Business Days prior to such
withholding together with an explanation of the relevant legal requirement that requires such
withholding and (ii) upon the request of Sellers, cooperate with Sellers to reduce or eliminate
such withholding. Any such amounts deducted or withheld which are properly remitted to the
appropriate taxing authorities will be treated for all purposes of this Agreement as having been
paid to the Person in respect of which such deduction and withholding was made.
Notwithstanding any other provision of this Agreement, all compensatory payments subject to
withholding that are contemplated by this Agreement or the Escrow Agreement shall be payable
through any Target’s (or any applicable Subsidiary’s) payroll in accordance with applicable
payroll procedures.

         2.7.     Tax Treatment; Purchase Price Allocation.

                2.7.1.    Tax Treatment. The parties acknowledge that NBI is a disregarded
entity for U.S. federal income tax purposes (and will continue to be treated as a disregarded
entity notwithstanding any transitory ownership of NBI by multiple owners as a result of the
Contemplated Transactions) and the other Targets are partnerships for U.S. federal income tax

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purposes. The parties further acknowledge that the Contemplated Transactions are intended to
be treated for U.S. federal income Tax purposes and any relevant state or local income Tax
purposes as (a) with respect to the exchange of the Rollover Interests for equity interests in an
affiliated entity of Buyer pursuant to the Rollover Agreement, taken together with certain
contributions of cash to the same entity, as a contribution of the portion of the assets of NBI (or
partnership interests in the applicable Target, to the extent that the Rollover Interests are Interests
in a Target other than NBI) attributable to the Rollover Interests to a corporation controlled by
the transferors within the meaning of Section 351 of the Code, effective prior to the Closing and
(b) with respect to the sale of the Interests (other than the Rollover Interests) pursuant to this
Agreement, as a taxable transfer of (i) the assets of NBI (including any assets held directly by
NBI and the interests in Subsidiaries held by NBI and excluding any portion of the assets of NBI
attributable to the Rollover Interests) and (ii) partnership interests in the other Targets. The
parties shall file all Tax Returns in accordance with this Section 2.7.1 unless otherwise required
by applicable Law.

                2.7.2.     Purchase Price Allocation. Within thirty (30) days of the final
determination, in accordance with Section 2.5.3 and/or Section 2.5.4, of the Closing Statement,
or as soon thereafter as reasonably practicable, the Buyer shall prepare and deliver to the Sellers
an allocation of the sum of (a) the purchase price (as determined for Tax purposes) and (b) the
value of the Rollover Interests, among the assets of NBI, the interests in Subsidiaries held by
NBI, and the interests in the Targets other than NBI (and further allocating the portion allocated
to any partnership interest among the assets of the applicable partnership) in accordance with
Section 755 and Section 1060 of the Code and the Treasury regulations thereunder (and any
similar provision of state, local or foreign law, as appropriate) (the “Purchase Price Allocation”).
The Sellers shall cooperate with the Buyer, as reasonably requested by the Buyer, in connection
with the Buyer’s preparation of the Purchase Price Allocation. The Sellers shall have a period of
thirty (30) days following the Buyer’s delivery of the Purchase Price Allocation to present in
writing to the Buyer notice of any objections that the Sellers may have to the allocations set forth
therein (an “Objections Notice”). If the Sellers shall raise any objections within such thirty (30)
day period, the Buyer and the Sellers shall negotiate in good faith and use their commercially
reasonable efforts to resolve such dispute. If the parties fail to agree within fifteen (15) days
after the delivery of the Objections Notice, any dispute shall be resolved by a mutually agreed
upon nationally recognized accounting firm, whose determination shall be final and binding on
the parties, with fees of such accounting firm borne fifty percent (50%) by the Sellers and fifty
percent (50%) by the Buyer. The Purchase Price Allocation as finally determined hereunder
shall be binding and the Sellers and the Buyer shall (and shall cause their Affiliates to) file all
Tax Returns in a manner consistent with such Purchase Price Allocation. Any subsequent
adjustments to purchase price shall be allocated in a manner consistent with the finally prepared
Purchase Price Allocation.

3.       REPRESENTATIONS AND WARRANTIES OF THE TARGETS.

                Except as provided in the Disclosure Schedules (subject to Section 11.13), the
Targets each jointly and severally represent and warrant to the Buyer, as of the date hereof and as
of the Closing Date, as follows (in each case, except where context implies otherwise, with
respect to the Targets and their Subsidiaries on a consolidated basis):


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        3.1.    Existence and Power. The Targets are each duly incorporated or otherwise duly
organized, as applicable, validly existing and in good standing under the laws of the State of
Delaware. Each Target has all corporate, limited liability company or comparable powers to
carry on its business as now conducted and is duly qualified to do business as a foreign entity
and is in good standing in each jurisdiction where such qualification is necessary for the conduct
of its business as now conducted, except where any failure to have such power or authority or to
be so qualified would not reasonably be expected to be, individually or in the aggregate, material
to the Targets and their Subsidiaries, taken as a whole. Prior to the date of this Agreement, the
Targets have delivered or made available to Buyer true, correct and complete copies of the
applicable Organizational Documents of each Target as in effect on the date of this Agreement.
The Organizational Documents of each Target are in full force and effect, and no Target is in
material violation of any of their provisions.

        3.2.    Authorization. The Targets have all requisite power and authority to execute and
deliver this Agreement, to perform their obligations hereunder and to consummate the
Contemplated Transactions. The execution and delivery of this Agreement by each Target, the
performance of its obligations hereunder and the consummation of the Contemplated
Transactions have been duly authorized by all necessary action on the part of each Target. No
other proceeding on the part of the Targets is necessary to authorize the execution and delivery
of this Agreement, the performance by the Targets of their obligations hereunder and the
consummation by the Targets of the Contemplated Transactions. This Agreement, assuming due
authorization, execution and delivery by Buyer, constitutes a valid and binding obligation of
each Target enforceable against each Target in accordance with its terms, except as such
enforceability may be limited by applicable bankruptcy, insolvency, reorganization, fraudulent
conveyance, moratorium, receivership or other similar Laws relating to or affecting creditors’
rights generally and by general principles of equity (regardless of whether enforceability is
considered in a proceeding in equity or at Law) (collectively, the “Enforceability Exceptions”).

         3.3.     Capitalization; Subsidiaries.

                3.3.1.    The entire authorized equity of each Target is set forth on Schedule
3.3.1, and collectively consists only of the Interests, which Interests are duly authorized, validly
issued, fully paid and have not been issued in violation of any preemptive, subscription or other
similar rights.

                3.3.2.    Except as set forth on Schedule 3.3.1, there are no outstanding (i) shares
of capital stock or other voting securities of or other ownership interests in any Target, (ii)
securities of any Target convertible into or exchangeable for shares of capital stock or other
voting securities of or other ownership interests in any Target, (iii) options or other rights or
agreements, commitments or understandings to acquire from any Target, or other obligation of
any Target to issue, any shares of capital stock or other voting securities of or other ownership
interests in such Target, or securities convertible into or exchangeable for shares of capital stock
or other voting securities of or other ownership interests in such Target or (iv) restricted shares,
stock appreciation rights, performance units, restricted stock units, contingent value rights,
“phantom” stock or similar securities or rights issued or granted by any Target or any of their
Subsidiaries that are derivative of, or provide economic benefits based, directly or indirectly, on
the value or price of, any shares of capital stock or other voting securities of or other ownership

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interests in such Target (the items in clauses (i) through (iv) being referred to collectively as the
“Target Securities”).

                3.3.3.    There are no outstanding obligations of any Target or any of their
respective Subsidiaries to repurchase, redeem or otherwise acquire any Target Securities. None
of the Targets nor any of their Subsidiaries is a party to any voting trust, proxy, voting agreement
or other similar agreement with respect to the voting of any Target Securities. All outstanding
membership or partnership interests, as applicable, of the Targets have been duly authorized and
validly issued and are fully paid and nonassessable, free of preemptive, antidilutive, first refusal
or similar rights and have been issued in compliance with all applicable securities Laws. There
are no outstanding bonds, debentures, notes or other Indebtedness of the Targets having the right
to vote (whether on an as-converted basis or otherwise) (or convertible into, or exchangeable for,
securities having the right to vote) on any matters on which equityholders of the Targets may
vote.

                 3.3.4.    Each Subsidiary of the Targets is duly incorporated or otherwise duly
organized, validly existing and (where such concept is recognized) in good standing under the
laws of its jurisdiction of incorporation or organization, except, in the case of any such
Subsidiary, where the failure to be so incorporated, organized, existing or in good standing
would not reasonably be expected to be, individually or in the aggregate, material to the Targets
and their Subsidiaries, taken as a whole. Each Subsidiary of the Targets has all corporate,
limited liability company or comparable powers required to carry on its business as now
conducted, except as would not reasonably be expected to be, individually or in the aggregate,
material to the Targets and their Subsidiaries, taken as a whole. Each such Subsidiary is duly
qualified to do business as a foreign entity and (where such concept is recognized) is in good
standing in each jurisdiction in which it is required to be so qualified or in good standing, except
where failure to be so qualified or in good standing would not reasonably be expected to be,
individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a whole.
Prior to the date of this Agreement, the Targets have made available to Buyer true, correct and
complete copies of the applicable Organizational Documents of each Subsidiary of the Targets,
in each case, as in effect on the date of this Agreement.

                3.3.5.     All of the outstanding capital stock or other voting securities of or other
ownership interests in each Subsidiary of the Targets are owned by the Targets, directly or
indirectly, free and clear of any Lien. Schedule 3.3.5 contains a complete and accurate list of the
Subsidiaries of the Targets, including, for each of the Subsidiaries, (x) its name, (y) its
jurisdiction of organization and (z) its ownership interest (including type, amount and
percentage) by the Targets, as well as its ownership interest (including type, amount and
percentage) by any other Person or Persons. Except as set forth on Schedule 3.3.5, each
Subsidiary is directly or indirectly wholly owned by the Targets. There are no issued, reserved
for issuance or outstanding (i) securities of any Target or any of their Subsidiaries convertible
into or exchangeable or exercisable for shares of capital stock or other voting securities of or
other ownership interests in any Subsidiary of the Targets, (ii) options or other rights or
agreements, commitments or understandings to acquire from any Target or any of their
Subsidiaries, or other obligations of any Target or any of their Subsidiaries to issue, any shares of
capital stock or other voting securities of or other ownership interests in, or any securities
convertible into or exchangeable or exercisable for, any shares of capital stock or other voting

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securities of or other ownership interests in any Subsidiary of the Targets or (iii) restricted
shares, stock appreciation rights, performance units, contingent value rights, “phantom” stock or
similar securities or rights issued or granted by any Target or any of their Subsidiaries that are
derivative of, or provide economic benefits based, directly or indirectly, on the value or price of,
any capital stock or other voting securities of or other ownership interests in any Subsidiary of
the Targets (the items in clauses (i) through (iii) being referred to collectively as the “Target
Subsidiary Securities”). There are no outstanding obligations of any Target or any of their
Subsidiaries to repurchase, redeem or otherwise acquire any of the Target Subsidiary Securities.

               3.3.6.    Other than the capital stock or other ownership interests that the Targets
own of their Subsidiaries, none of the Targets own, directly or indirectly, any capital stock or
other ownership interests of any other Person. None of the Targets or their Subsidiaries is
obligated to make any investment in or capital contribution to any Person.

         3.4.     Governmental Authorization; Non-Contravention.

                3.4.1.    The execution and delivery of this Agreement by the Targets and the
performance of their obligations hereunder require no action by or in respect of, or filing with,
any Governmental Authority, other than (a) compliance with any applicable requirements of the
HSR Act, (b) compliance with any applicable requirements of the Securities Act, the Exchange
Act and any other applicable state or federal securities laws, (c) the filing of the FCC
Applications and obtaining the FCC Consent, together with any reports or informational filings
required in connection therewith under the Communications Act and the FCC Rules and (d) any
actions or filings the absence of which would not reasonably be expected to be, individually or in
the aggregate, material to the Targets and their Subsidiaries, taken as a whole.

                3.4.2.     The execution and delivery of this Agreement by the Targets and the
performance of its obligations hereunder do not and will not, assuming the authorizations,
consents and approvals referred to in clauses (a) through (d) of Section 3.4.1 are obtained,
(a) conflict with or breach any provision of the Organizational Documents of any Target,
(b) conflict with or breach any provision of any Law or Order, (c) require any consent of or other
action by any Person under, constitute a default or an event that, with or without notice or lapse
of time or both, would constitute a default under, or cause or permit the termination,
cancellation, acceleration or other change of any right or obligation or the loss of any benefit
under, any provision of any Contract to which any Targets or any of their Subsidiaries is party or
which is binding upon any Targets or any of their Subsidiaries, any of their respective properties
or assets or any license, franchise, permit, certificate, approval or other similar authorization
affecting any Target or any of their Subsidiaries or (d) result in the creation or imposition of any
Lien, other than any Permitted Lien, on any property or asset of any Target or any of their
Subsidiaries, except, in the case of each of clauses (c) and (d), as would not reasonably be
expected to be, individually or in the aggregate, material to the Targets and their Subsidiaries,
taken as a whole.

       3.5.   Financial Statements; No Undisclosed Material Liabilities; Accounting Controls;
Information Supplied.




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                3.5.1.    The financial statements of NW Broadcasting and Bryson (and to the
extent applicable for prior reporting periods, Idaho Broadcast Partners, LLC) (the “Existing
Reporting Entities”) set forth on Schedule 3.5.1 (including all related notes and schedules
thereto) (the “Financial Statements”) fairly present in all material respects the financial position
of the Existing Reporting Entities and their applicable Subsidiaries, as of the respective dates
thereof, and the consolidated results of their operations and their consolidated cash flows for the
respective periods then ended (subject, in the case of the unaudited statements, to normal year-
end audit adjustments and to any other adjustments described therein, including the notes
thereto) and were prepared in accordance with GAAP (except, in the case of the unaudited
statements, for normal year-end adjustments which are not reasonably expected to be material
individually or in the aggregate and for the absence of notes none of which, if presented, would
differ materially from those presented in the audited Financial Statements) applied on a
consistent basis during the periods involved (except as may be indicated therein or in the notes
thereto). Such Financial Statements have been prepared from, and are in accordance with, the
books and records of the Existing Reporting Entities and their Subsidiaries. From December 31,
2017 to the date of this Agreement, there has not been any material change in the accounting
methods used by the Existing Reporting Entities.

                 3.5.2.   There are no material liabilities or obligations of the Targets or any of
their Subsidiaries (either individually or in the aggregate) that would be required by GAAP, as in
effect on the date hereof, to be reflected on the balance sheet of any the Targets (including the
notes thereto), other than (a) liabilities or obligations adequately disclosed, specifically reflected
and adequately reserved against or otherwise provided for in the combined balance sheet of the
Existing Reporting Entities as at December 30, 2018 or in the notes thereto, (b) liabilities or
obligations incurred in the ordinary course of business since December 30, 2018 (excluding any
liability for breach of Contract, breach of warranty, tort, infringement or violation of Law by the
Targets or any of their Subsidiaries) and (c) liabilities or obligations arising out of the
preparation, negotiation and consummation of the Contemplated Transactions. None of the
Targets or any of its Subsidiaries is a party to, or has any commitment to become a party to, any
“off balance sheet arrangement” within the meaning of Item 303 of Regulation S-K promulgated
under the Securities Act.

                3.5.3.    The accounting controls of the Targets and their Subsidiaries have been
and are sufficient to provide reasonable assurances (i) that transactions are recorded as necessary
to permit preparation of financial statements in conformity with GAAP, consistently applied; (ii)
that transactions are executed only in accordance with the authorization of management; and (iii)
regarding prevention or timely detection of the unauthorized acquisition, use or disposition of the
Targets’ or their Subsidiaries’ properties or assets.

        3.6.    Absence of Certain Changes. From December 31, 2017 through the date of this
Agreement, except as for events giving rise to and the discussion and negotiation of this
Agreement, (i) the business of the Targets and their Subsidiaries has been conducted in the
ordinary course of business consistent with past practices in all material respects and (ii) there
has not been any action taken by the Targets or any of their Subsidiaries that, if taken during the
period from the date of this Agreement through the Closing without Buyer’s consent, would
constitute a breach of, or require consent of Buyer pursuant to Section 8.2.


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         3.7.     Taxes. Except in each case as set forth on Schedule 3.7:

                3.7.1.     Each Target and each of their Subsidiaries has been classified as set
forth on Schedule 3.7.1 for federal Income Tax purposes and for purposes of all applicable state
and local Income Taxes for all times since the formation of such entity. Each entity that is
classified as a partnership on Schedule 3.7.1 either has made a valid election under Section 754
that continues in effect, or has not made any such election, in each case as indicated on Schedule
3.7.1;

                3.7.2.     Each Target and each of their Subsidiaries has filed, or has caused to be
filed on its behalf, all material Tax Returns required to be filed by it or with respect to it, and all
such Tax Returns (including information provided therewith or with respect to thereto) are true,
complete and correct in all material respects.

             3.7.3.    Each Target and each of their Subsidiaries has fully paid all material
Taxes owed by it (whether or not shown on any Tax Return).

               3.7.4.   All material Taxes (whether or not shown on any Tax Return) required
to have been withheld and paid in connection with amounts paid by the Targets and their
Subsidiaries to any employee or independent contractor have been withheld and paid to the
appropriate Taxing Authority and all Forms W-2 and 1099 required with respect thereto have
been properly completed and timely filed.

               3.7.5.    No material audit or other proceeding by any Taxing Authority is
pending or threatened in writing with respect to any Taxes due from any Target or any of their
Subsidiaries, and no Taxing Authority has given written notice of any intention to assert any
deficiency or claim for additional Taxes against any Target or any of their Subsidiaries, and no
claim has been made within the past three (3) years in writing by any Taxing Authority in a
jurisdiction where any Target or any of their Subsidiaries does not file Tax Returns that such
Target or such Subsidiary may be subject to taxation by that jurisdiction.

                3.7.6.    The Targets have supplied the Buyer with true and complete copies of
all material Tax Returns, examination reports and statements of deficiencies for the Targets and
their Subsidiaries for the past three (3) years.

                3.7.7.   There are no outstanding agreements extending or waiving the statutory
period of limitations applicable to any claim for, or the period for the collection, assessment or
reassessment of, Taxes due from any Target or any of their Subsidiaries for any taxable period.
No request for any such waiver or extension is currently pending.

               3.7.8.   None of the Targets nor any of their Subsidiaries is currently subject to
any Liens for material Taxes, other than Permitted Liens, imposed on any of its assets or
properties.

                3.7.9.    None of the Targets or any of their Subsidiaries is a party to any
Contract relating to the sharing, allocation or indemnification of Taxes (collectively, “Tax
Sharing Agreements”) or has any liability for Taxes of any Person under Treasury Regulation
Section 1.1502-6, Treasury Regulation Section 1.1502-78 or similar provision of any Tax Law,

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as a transferee or successor, pursuant to a Contract or otherwise (other than with respect to
standard terms and conditions of an agreement for the purchase and sale of products or services
in the ordinary course of business including, but not limited to, any standard customer software
license).

                3.7.10. No power of attorney has been granted by any Seller, any Target or any
of the Targets’ Subsidiaries with respect to any matter relating to Taxes of the Targets or any of
their Subsidiaries, which power of attorney will remain in effect after the Closing.

                3.7.11. None of the Targets or any of their Subsidiaries has (i) participated in
any listed transaction within the meaning of Treasury Regulations Section 1.6011-4(b)(2) (or any
similar provision of state, local or foreign Tax law) or (ii) taken any reporting position on a Tax
Return, which reporting position (A) if not sustained would be reasonably likely, absent
disclosure, to give rise to a penalty for substantial understatement of federal income Tax under
Section 6662 of the Code (or any similar provision of any Tax Law) and (B) has not adequately
been disclosed on such Tax Return in accordance with Section 6662(d)(2)(B) of the Code (or any
similar provision of any Tax Law).

                3.7.12. There are no Tax rulings, requests for rulings, closing agreements or
grants in effect with any Taxing Authority relating to any Target or any of their Subsidiaries
which could materially affect any Target’s or any of their Subsidiaries’ liability for Taxes after
the Closing Date.

                3.7.13. None of the Targets or any of their Subsidiaries has executed or entered
into a closing agreement pursuant to Section 7121 of the Code or any similar provision of any
Law. None of the Targets or any of their Subsidiaries is subject to any private letter ruling of the
IRS or comparable ruling of any other Governmental Authority.

         3.8.     Real Estate.

                  3.8.1.   Properties.

                             (a) Schedule 3.8.1(a) sets forth, as of the date of this Agreement, (i) a
         list of all real properties (by name and location) owned by the Targets or any of their
         Subsidiaries (the “Owned Real Property”), (ii) a list of all real properties (by name and
         location) leased, subleased or otherwise occupied by any Target or any of their
         Subsidiaries (the “Leased Real Property”), (iii) a list of the leases, subleases or other
         occupancies to which any of the Targets or any of their Subsidiaries is a party as tenant or
         subtenant for the Leased Real Property (the “Real Property Leases”) and (iv) a list of all
         the leases, subleases or other occupancies to which the Targets or any of their
         Subsidiaries is a party as a landlord or sublandlord for the Owned Real Property or the
         Leased Real Property (the “Third Party Leases”). True, correct and complete copies of
         the Real Property Leases and Third Party Leases have been made available to the Buyer.
         There are no outstanding options, rights of first refusal or rights of first offer to purchase
         the Owned Real Property, Leased Real Property or any portion thereof or interest therein.




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                            (b) With respect to each Owned Real Property, (i) a Target or a
         Subsidiary of a Target has good and marketable title to such Owned Real Property, free
         and clear of all Liens (other than Permitted Liens) and (ii) there are no existing, pending,
         or to the Targets’ Knowledge, threatened condemnation, eminent domain or similar
         proceedings affecting such Owned Real Property. Except as set forth in Schedule
         3.8.1(b), neither the Targets nor any of their Subsidiaries has entered into an agreement to
         sell any of the Owned Real Property or granted a right to purchase any of the Owned
         Real Property to any third party.

                            (c) With respect to each Leased Real Property, (i) a Target or a
         Subsidiary of a Target has valid leasehold title to each Leased Real Property, free and
         clear of all Liens (other than Permitted Liens), (ii) each Real Property Lease is valid,
         binding and in full force and effect, subject to the Enforceability Exceptions, and
         (iii) neither the Targets nor any of their Subsidiaries or, to the Targets’ Knowledge, any
         other party to such Real Property Lease has violated, any provision of, or taken or failed
         to take any act which, with or without notice, lapse of time, or both, would constitute a
         default under the provisions of such Real Property Lease.

                            (d) Except as would not reasonably be expected to be, individually or
         in the aggregate, material to the Targets and their Subsidiaries, taken as a whole, each of
         the Targets and their Subsidiaries, in respect of all of its properties, assets and other rights
         that do not constitute real property or Intellectual Property (i) has valid title to all such
         properties, assets and other rights reflected in its books and records as owned by it free
         and clear of all Liens (other than Permitted Liens) and (ii) owns, has valid leasehold
         interests in or valid contractual rights to use all of such properties, assets and other rights
         (in each case except for Permitted Liens).

         3.9.     Compliance with Laws and Court Orders; Governmental Authorizations.

                3.9.1.    Except for matters that have not been, and would not reasonably be
expected to be, individually or in the aggregate, material to the Targets and their Subsidiaries,
taken as a whole, the Targets and their Subsidiaries are, and have been since January 1, 2016, in
compliance with all Laws and Orders applicable to the Targets or any of their Subsidiaries, and
to the Targets’ Knowledge, are not under investigation by any Governmental Authority with
respect to any violation of any applicable Law or Order.

                3.9.2.     Except as would not reasonably be expected to be, individually or in the
aggregate, material to the Targets and their Subsidiaries, taken as a whole, (i) the Targets and
their Subsidiaries have (and, to the extent applicable, have filed timely applications to renew) all
Governmental Authorizations necessary for the ownership and operation of their businesses as
presently conducted, and each such Governmental Authorization is in full force and effect,
(ii) the Targets and their Subsidiaries are, and have been since January 1, 2016, in compliance
with the terms of all Governmental Authorizations necessary for the ownership and operation of
their businesses and (iii) since January 1, 2016, none of the Targets nor any of their Subsidiaries
have received written notice from any Governmental Authority alleging any conflict with or
breach of any such Governmental Authorization.



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                3.9.3.    The Targets and their Subsidiaries, as the case may be, are the holders
of the Target Station Licenses, which constitute all of the FCC Licenses material to the operation
of the Target Stations. Except as has not been and would not reasonably be expected to be
material, individually or in the aggregate, to the Targets and the Subsidiaries, taken as a whole,
the Target Station Licenses are in full force and effect in accordance with their terms and have
not been actually or threatened to be revoked, suspended, canceled, rescinded, terminated or
expired. The Targets hold no FCC Licenses other than the Target Station Licenses.

                 3.9.4.   Except as has not been and would not reasonably be expected to be,
individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a whole,
the Targets and their Subsidiaries (i) operate, and since January 1, 2016 have operated, each
Target Station in compliance with the Communications Act and the FCC Rules and the
applicable Target Station Licenses, (ii) have timely filed all material registrations and reports
required to have been filed with the FCC relating to the Target Station Licenses (which
registrations and reports were accurate in all material respects as of the time such registrations
and reports were filed), (iii) have paid or caused to be paid all FCC regulatory fees due in respect
of each Target Station and (iv) have completed or caused to be completed the construction of all
facilities or changes contemplated by any of the Target Station Licenses or construction permits
issued to modify the Target Station Licenses to the extent required to be completed as of the date
hereof.

                3.9.5.    Except as has not been and would not reasonably be expected to be,
individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a whole,
(i) there are no material applications, petitions, proceedings, or other material actions, complaints
or investigations, pending or, to the Targets’ Knowledge, threatened before the FCC relating to
the Target Stations, other than proceedings affecting broadcast stations generally, and (ii) neither
the Targets nor any of their Subsidiaries, nor any of the Target Stations, has entered into a tolling
agreement or otherwise waived any statute of limitations relating to the Target Stations during
which the FCC may assess any fine or forfeiture or take any other action or agreed to any
extension of time with respect to any FCC investigation or proceeding as to which the statute of
limitations time period so waived or tolled or the time period so extended remains open as of the
date of this Agreement.

                3.9.6.     There is not (i) pending, or, to the Targets’ Knowledge, threatened, any
action by or before the FCC to revoke, suspend, cancel, rescind or materially adversely modify
any such Target Station License (other than proceedings to amend the FCC Rules of general
applicability) or (ii) issued or outstanding, by or before the FCC, any (A) order to show cause,
(B) notice of violation, (C) notice of apparent liability or (D) order of forfeiture, in each case,
against the Target Stations, the Targets or any of their Subsidiaries with respect to the Target
Stations that would reasonably be expected to result in any action described in the foregoing
clause (i) with respect to such Target Station Licenses.

               3.9.7.    The Target Station Licenses have been issued for the terms expiring as
indicated on Schedule 3.9.7 and the Target Station Licenses are not subject to any material
condition except for those conditions appearing on the face of the Target Station Licenses and
conditions applicable to broadcast licenses generally or otherwise disclosed in Schedule 3.9.7.
Except as set forth on Schedule 3.9.7, neither the Targets’ nor the Sellers’ entry into this

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Agreement nor the consummation of the Contemplated Transactions will require any grant or
renewal of any waiver granted by the FCC applicable to the Targets or for any of the Target
Stations.

                3.9.8.    Since January 1, 2016, none of the Targets or their respective Affiliates,
nor, to the Targets’ Knowledge, their respective directors, officers, agents, employees, affiliates,
or other persons that act for or on behalf of the Targets or their Affiliates has violated in any
material respect any Competition Law.

                3.9.9.    There is no pending or, to the Targets’ Knowledge, threatened
investigation, inquiry, or enforcement proceedings upon the Targets or any of their Subsidiaries
by any Governmental Authority or any customer regarding any offense or alleged offense under
any Competition Law and, to the Targets’ Knowledge, there are no circumstances likely to give
rise to any such investigation, inquiry or proceeding, in each case which would reasonably be
expected to be, individually or in the aggregate, material to the Targets and their Subsidiaries,
taken as a whole.

               3.9.10. Since January 1, 2016, the Targets and their Subsidiaries have been
conducted in material compliance with all applicable anti-money laundering, financial record
keeping, reporting laws and export control laws or regulations.

        3.10. Benefit Plans Schedule 3.10 contains a true, correct and complete list identifying
each material Employee Plan that the Targets or any of their Subsidiaries sponsor, maintain or
contribute to, or are required to maintain or contribute to, for the benefit of any current or former
director, officer, employee or individual consultant (or any dependent or beneficiary thereof) of
the Targets or any of their Subsidiaries or under or with respect to which the Targets or any of
their Subsidiaries have any current or contingent material liability or obligation, but excluding
Multiemployer Plans (the “Company Plans”). For purposes of this Agreement, “Employee Plan”
means each “employee benefit plan” within the meaning of ERISA Section 3(3), whether or not
subject to ERISA, including, but not limited to, all equity or equity-based, change in control,
bonus or other incentive compensation, disability, salary continuation, employment, consulting,
indemnification, severance, retention, retirement, pension, profit sharing, savings or thrift,
deferred compensation, health or life insurance, welfare, employee discount or free product,
vacation, sick pay or paid time off agreements, arrangements, programs, plans or policies, and
each other material benefit or compensation plan, program, policy, Contract, agreement or
arrangement, whether written or unwritten.

                3.10.2. Except as would not reasonably be expected to be material, individually
or in the aggregate, to the Targets and their Subsidiaries, taken as a whole, (i) each Company
Plan has been maintained, funded, administered and operated in accordance with its terms and in
compliance with the requirements of applicable Law, (ii) none of the Targets or any of their
Subsidiaries have incurred or is reasonably expected to incur or to be subject to any material Tax
or other penalty under Section 4980B, 4980D or 4980H of the Code, (iii) all contributions
required to be made by the Targets or any of their Subsidiaries to any Company Plan by
applicable Law or by any plan document or other contractual undertaking, and all premiums due
or payable with respect to insurance policies funding any Company Plan, for any period in the
prior three years through the date hereof, have been timely made, and (iv) to the Targets’

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Knowledge, no non-exempt “prohibited transaction” within the meaning of Section 406 of
ERISA or Section 4975 of the Code has occurred involving any Company Plan. Each Company
Plan that provides health or welfare benefits is fully insured or, if not fully insured, is indicated
as such on Schedule 3.10 and any incurred but not reported claims under any such Company
Plan has been properly accrued in accordance with GAAP.

               3.10.3. Except as would not reasonably be expected to be material, individually
or in the aggregate, to the Targets and their Subsidiaries, taken as a whole, other than routine
claims for benefits, there are no pending or, to the Targets’ Knowledge, threatened Proceedings
by or on behalf of any participant in any Company Plan, or otherwise involving any Company
Plan or the assets of any Company Plan.

                3.10.4. Except as would not reasonably be expected to be material, individually
or in the aggregate, to the Targets and their Subsidiaries, taken as a whole, each Company Plan
that is intended to be qualified under Section 401(a) of the Code has received a determination,
advisory or opinion letter from the IRS that it is so qualified and each related trust that is
intended to be exempt from federal income taxation under Section 501(a) of the Code has
received a determination, advisory or opinion letter from the IRS that it is so exempt and, to the
Targets’ Knowledge, no fact or event has occurred since the date of such letter or letters from the
IRS that would reasonably be expected to adversely affect the qualified status of any such
Company Plan or the exempt status of any such trust.

                3.10.5. None of the Targets nor any of their ERISA Affiliates maintains,
contributes to, or sponsors (or has in the past six (6) years maintained, contributed to, or
sponsored) a multiemployer plan as defined in Section 3(37) or Section 4001(a)(3) of ERISA (a
“Multiemployer Plan”) or a plan subject to Title IV of ERISA. Except as would not reasonably
be expected to be material, individually or in the aggregate, to the Targets and their Subsidiaries,
taken as a whole, no liability under Title IV of ERISA has been incurred by the Targets or any of
their ERISA Affiliates that has not been satisfied or discharged in full, and no condition exists
that presents a reasonable risk to the Targets or any of their ERISA Affiliates of incurring or
being subject (whether primarily, jointly or secondarily) to a liability (whether actual or
contingent) thereunder.

                3.10.6. Except as set forth in Schedule 3.10.6, no Company Plan provides post-
employment or post-termination life, health or welfare benefits for any current or former
employees or other service providers (or any dependent thereof) of the Targets or any of their
Subsidiaries, other than as required under Section 4980B of the Code or other applicable Law for
which the covered Person pays the full cost of coverage. Any plan disclosed on Schedule 3.10
may be amended in any manner or terminated without material liability to the Targets or any of
their Subsidiaries.

               3.10.7. Except as set forth in Schedule 3.10.7, the consummation of the
Contemplated Transactions will not, either alone or in combination with another event, (i) result
in any payment becoming due, accelerate the time of payment or vesting, or increase the amount
of compensation (including severance) due to any current or former director, officer, individual
consultant or employee of any Target or any of their Subsidiaries, (ii) result in any forgiveness of
Indebtedness with respect to any current or former employee, director or officer, or individual

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consultant of any Target or any of their Subsidiaries, trigger any funding obligation under any
Company Plan or impose any restrictions or limitations on the Targets’ or any of their
Subsidiaries’ rights to administer, amend or terminate any Company Plan or (iii) result in the
acceleration or receipt of any payment or benefit (whether in cash or property or the vesting of
property) by any Target or any of their Subsidiaries to any “disqualified individual” (as such
term is defined in Treasury Regulations Section 1.280G-1) that would reasonably be expected,
individually or in combination with any other such payment, to constitute an “excess parachute
payment” (as defined in Section 280G(b)(1) of the Code). The Targets have made available to
Buyer the “base amount” for each “disqualified individual” and a reasonable estimate of
potential “parachute payments” such person could receive (each as defined in Section 280G of
the Code). None of the Targets or any of their Subsidiaries has any obligation to provide any
gross-up payment to any individual with respect to any income Tax, additional Tax, excise Tax
or interest charge imposed pursuant to Section 409A or Section 4999 of the Code.

                3.10.8. Except as set forth in Schedule 3.10.8, each Company Plan or other
plan, program, policy or arrangement that constitutes a “nonqualified deferred compensation
plan” within the meaning of Treasury Regulation Section 1.409A-1(a)(i), to the extent then in
effect, (i) was operated in material compliance with Section 409A of the Code between January
1, 2005 and December 31, 2008, based upon a good faith, reasonable interpretation of
(A) Section 409A of the Code or (B) guidance issued by the IRS thereunder (including IRS
Notice 2005-1), to the extent applicable and effective (clauses (A) and (B), together, the “409A
Authorities”), (ii) has been operated in material compliance with the 409A Authorities and the
final Treasury Regulations issued thereunder since January 1, 2009 and (iii) has been in material
documentary compliance with the 409A Authorities and the final Treasury Regulations issued
thereunder since January 1, 2009.

                 3.10.9. With respect to each material Company Plan, to the extent applicable,
current, true, correct and complete copies of the following have been delivered or made available
to Buyer by the Targets: (i) all plan documents (including all written amendments thereto)
(which, for the avoidance of doubt, with respect to any material Company Plan for which a form
agreement is used, shall consist of a copy of such form and a summary of any material
deviations); (ii) the most recent audited financial statements and actuarial or other valuation
reports; (iii) the most recent annual report on Form 5500 required to be filed with the Internal
Revenue Service; (iv) the most recent determination, opinion or advisory letter from the IRS for
any Company Plan that is intended to qualify under Section 401(a) of the Code; (v) the most
recent summary plan description; and (vi) any related trust agreement or other funding
instrument.

         3.11.    Intellectual Property.

                3.11.1. Schedule 3.11.1 lists, as of the date hereof, the Marks, Copyrights and
Patents that are registered, issued or subject to an application for registration or issuance that are
owned by the Targets or any of their Subsidiaries (collectively, the “Registered Intellectual
Property”) and the Registered Intellectual Property is subsisting and to the Targets’ Knowledge,
where registered, valid and enforceable. The Owned Intellectual Property is owned by the
Targets and each of their Subsidiaries free and clear of all Liens, except for Permitted Liens. To
the Targets’ Knowledge, the Targets and each of their Subsidiaries own or have the right to use

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pursuant to a valid license Contract or otherwise as permitted by applicable Law the Intellectual
Property necessary for or material to the conduct of their business.

                3.11.2. Except as set forth in Schedule 3.11.2, (i) to the Targets’ Knowledge,
the conduct of the business of the Targets and each of their Subsidiaries does not infringe, violate
or misappropriate, and to the Targets’ Knowledge, none of the Targets nor any of their
Subsidiaries has infringed, violated or misappropriated since January 1, 2016, any Intellectual
Property of any other Person, (ii) there is no pending or, to the Targets’ Knowledge, threatened
Proceeding, and since January 1, 2016 no Proceeding has been pending or, to the Targets’
Knowledge, threatened in writing, against the Targets or any of their Subsidiaries (A) alleging
any such infringement, violation or misappropriation or (B) concerning the ownership, validity
or enforceability, or the right to use, sell or license the Intellectual Property of the Targets (other
than ordinary course Proceedings related to the application for, or registration of, any Registered
Intellectual Property) and (iii) to the Targets’ Knowledge, no Person is infringing, violating or
misappropriating any Owned Intellectual Property that is material to the business of the Targets
and any of their Subsidiaries in any manner that would have a material effect on such business.

                 3.11.3. The Targets and each of their Subsidiaries have taken commercially
reasonable actions to maintain the (i) Registered Intellectual Property (other than applications for
Registered Intellectual Property that have been abandoned in the ordinary course of business)
and (ii) to the Targets’ Knowledge, the secrecy of the Trade Secrets that are Owned Intellectual
Property.

               3.11.4. All IT Systems material to the business of the Targets and each of their
Subsidiaries are in operating condition and in a good state of maintenance and repair (ordinary
wear and tear excepted) and to the Targets’ Knowledge, are adequate and suitable for the
purposes for which they are presently being used or held for use. To the Targets’ Knowledge,
none of the IT Systems contains any unauthorized “back door”, “drop dead device”, “time
bomb”, “trojan horse”, “virus” or “worm” (as such terms are commonly understood in the
software industry) or any other unauthorized code intended to disrupt, disable, harm or otherwise
impede the operation of, or provide unauthorized access to, a computer system or network or
other device on which such code is stored or installed.

               3.11.5. Since January 1, 2016, and to the Targets’ Knowledge, the Targets and
each of their Subsidiaries (i) have not had a unplanned outage, security or other failure,
unauthorized access or use, or other adverse integrity or security event affecting any of the IT
Systems or (ii) have not had any Knowledge of any data security, information security, or other
technological deficiency with respect to the IT Systems, in each case of clauses (i) and (ii),
which caused or causes or presented or presents a risk of disruption to the IT Systems or of
unauthorized access to or disclosure of Personal Data. Since January 1, 2016, neither the Targets
nor any of their Subsidiaries have experienced any breach or other unauthorized access or
disclosure of Personal Data.

                  3.11.6.   [Reserved].

              3.11.7. The Targets and each of their Subsidiaries have adopted, and are and
have been in material compliance with, commercially reasonable policies, programs and


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procedures with respect to privacy, data protection, processing, security, payment processing and
the collection, use, storage and processing of Personal Data gathered or accessed in the course of
the operation of the Targets’ and their Subsidiaries’ businesses. The execution, delivery and
performance of this Agreement and the consummation of the transactions contemplated hereby
do not violate any Information Privacy and Security Law or Privacy Policy, and, to the Targets’
Knowledge, upon the Closing, the Targets and each of their Subsidiaries will own and continue
to have the right to use all such Personal Data on identical terms and conditions as the Targets
and each of their Subsidiaries enjoyed immediately prior to the Closing in all material respects.
The Targets have not received notice of any pending claims or, to the Targets’ Knowledge,
threatened claims, against the Targets or its Subsidiaries relating to the collection, use, storage or
processing of Personal Data.

        3.12. Environmental Matters. Except as disclosed in Schedule 3.12 or as has not been,
and would not reasonably be expected to be, individually or in the aggregate, material to the
Targets and their Subsidiaries, taken as a whole, (i) the Targets and their Subsidiaries are and,
since January 1, 2016, have been, in compliance with all applicable Environmental Laws and
Environmental Permits, (ii) since January 1, 2016 (or any time with respect to unresolved
matters), no notice of violation or other notice has been received by the Targets or any of their
Subsidiaries alleging any violation of, or liability arising out of, any Environmental Law or
Environmental Permit, the substance of which has not been resolved, (iii) no Proceeding is
pending or, to the Targets’ Knowledge, threatened against the Targets or any of their
Subsidiaries under any Environmental Law and (iv) except in compliance with applicable Law,
none of the Targets nor any of their Subsidiaries has released, disposed or arranged for disposal
of, or exposed any Person to, any Hazardous Substances, or owned, leased or operated any real
property contaminated by any Hazardous Substances. The Targets have made available to Buyer
all material environmental audits, assessments, investigations, studies or other evaluations
relating to the business, assets or properties of the Targets and their Subsidiaries that are in the
possession or reasonable control of the Targets or any of their Subsidiaries.

         3.13.    Material Contracts.

               3.13.1. Schedule 3.13.1 sets forth, as of the date of this Agreement, a true,
correct and complete list of each of the following types of Contracts to which the Targets, any
Target Sharing Company (to the extent applicable) or any of their respective Subsidiaries is a
party, or by which any of their respective properties or assets is bound:

                           (a) each Contract that (A) limits or restricts any Target, any Target
         Sharing Company or any of their Subsidiaries or Affiliates from competing in any line of
         business or with any Person in any geographic region, (B) contains exclusivity
         obligations or restrictions binding on any Target, any Target Sharing Company or any of
         their respective Subsidiaries, (C) requires any Target, any Target Sharing Company or
         any of their respective Subsidiaries to conduct any business on a “most favored nations”
         basis with any third party or (D) provides for rights of first refusal, negotiation or offer or
         any similar requirement or right in favor of any third party and, in the case of each of
         clauses (A) through (D), that is material to the Targets and their Subsidiaries, taken as a
         whole;


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                           (b) each Contract that is a joint venture, partnership, limited liability
         company or similar agreement, or relates to the ownership of any equity interest in any
         entity or business enterprise other than the Subsidiaries of the Targets, which is material
         to the Targets and their Subsidiaries, taken as a whole;

                            (c) each Contract that is a loan, guarantee of Indebtedness or credit
         agreement, note, bond, mortgage, indenture or other binding commitment (other than
         letters of credit and those between any Target and its wholly owned Subsidiaries) relating
         to Indebtedness for borrowed money in an amount in excess of $500,000 individually;

                          (d) each Contract with respect to a hedge, collar, option, forward
         purchasing, interest, rate, currency or other swap or derivative transaction (other than
         those between any Target and its Subsidiaries) with a fair value in excess of $100,000;

                           (e) each Contract that is an acquisition agreement or a divestiture
         agreement or agreement for the sale, lease or license of any business or properties
         (including real property) or assets of or by any Target (by merger, purchase or sale of
         assets or stock, or otherwise) entered into since January 1, 2016 pursuant to which
         (A) any Target or any of their Subsidiaries has any outstanding obligation to pay after the
         date of this Agreement consideration in excess of $50,000 or (B) any Target or their
         Subsidiaries has any ongoing indemnification obligations, or (C) any other Person has the
         right to acquire any assets of any Target or any of their Subsidiaries after the date of this
         Agreement, excluding, in each case, (x) any Contract relating to Program Rights and (y)
         acquisitions or dispositions of supplies, inventory or products in connection with the
         conduct of the Targets’ and their Subsidiaries’ business or of supplies, inventory,
         products, equipment, properties or other assets that are obsolete, worn out, surplus or no
         longer used or useful in the conduct of business of the Targets or their Subsidiaries;

                           (f) each Contract pursuant to which any Target or any of their
         Subsidiaries has continuing indemnification, guarantee, “earn-out” or similar contingent
         obligations that could result in payments in excess of $50,000 in the aggregate;

                         (g) any Contract relating to Program Rights under which it would
         reasonably be expected that the Targets and/or their Subsidiaries would make annual
         payments equal to or in excess of $100,000 per year;

                          (h) any network affiliation Contract (or similar Contract);

                          (i) any Carriage Agreement with MVPDs that reported more than
         25,000 paid subscribers to the Targets, any Target Sharing Company or any of their
         respective Subsidiaries for September 2018 with respect to at least one (1) Target Station;

                         (j) any Contract that is a Sharing Agreement and any related option
         agreement (other than those among the Targets and their Subsidiaries);

                           (k) any Contract that is a channel sharing agreement with a third party
         or parties with respect to the sharing of spectrum for the operation of two (2) or more
         separately owned television stations;

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                          (l) any material Contract with a Governmental Authority, including
         any settlement, conciliation, consent decree or similar Contract to which any Target or
         any of their Subsidiaries has continuing obligations involving the payment in excess of
         $50,000;

                          (m) any collective bargaining agreement or other Contract with any
         labor organization;

                           (n) any Contract not terminable at will by the Targets or their
         Subsidiaries for the employment of any executive officer or individual employee at the
         vice president level or above on a full-time, part-time or consulting basis with base
         compensation in excess of $200,000, or other employment-related Contracts pursuant to
         which payments by any Target or any of their Subsidiaries will be required by reason of
         consummation of the Contemplated Transactions;

                           (o) any indemnification or other similar Contract pursuant to which
         any Target is obligated to indemnify or advance expenses on behalf of any current or
         former director, manager or officer of any Target or any of their Subsidiaries in
         connection with any loss based on the fact that such Person is or was an director,
         manager or officer of any Target or any of their Subsidiaries;

                         (p) any commission, sales or agency Contract with any current
         employee, individual consultant, contractor or sales person that would require payments
         to any Person under such contract of an amount in excess of $150,000 over any one-year
         period;

                           (q) any Contract (other than those for Program Rights) pursuant to
         which any Target or any of their Subsidiaries has sold or traded commercial air time in
         consideration for property or services with a value in excess of $50,000 in lieu of or in
         addition to cash;

                          (r) all Contracts pursuant to which the Targets or any of their
         Subsidiaries grants or receives rights in or to Intellectual Property that is material to the
         Targets and any of their Subsidiaries, taken as a whole, other than (A) an intercompany
         license between the Targets and any of their Subsidiaries, (B) a license of Software that is
         generally commercially available on standard terms or (C) a non-exclusive license to a
         customer granted in the ordinary course of business;

                            (s) any Contract that contains any “standstill” provisions or provisions
         of similar effect to which any Target or any of their Subsidiaries is a party or of which
         any Target or any of their Subsidiaries is a beneficiary;

                          (t)   any Target Affiliate Contract; and

                           (u) any Contract not otherwise disclosed in Schedule 3.13.1 (other
         than those for Program Rights) under which it was reasonably expected that the Targets
         and their Subsidiaries would make annual payments of $100,000 or more during a


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         calendar year, except for those Contracts that can be cancelled by the Targets without
         cause on less than ninety (90) days’ notice without incurring any termination fee.

      Each Contract of the type described in clauses (a) through (u), whether or not so listed on
Schedule 3.13.1, is referred to herein as a “Target Material Contract”.

                3.13.2. Except for any Target Material Contract that has terminated or expired
in accordance with its terms and except as has not been, and would not reasonably be expected to
be, individually or in the aggregate, material to the Targets and the Subsidiaries, taken as a
whole, each Target Material Contract is valid and binding and in full force and effect and, to the
Targets’ Knowledge, enforceable against the other party or parties thereto in accordance with its
terms, subject to the Enforceability Exceptions. Except for breaches, violations or defaults
which have not had, and would not reasonably be expected to be, individually or in the
aggregate, material to the Targets and the Subsidiaries, taken as a whole, neither the Targets nor
any of their Subsidiaries, nor to the Targets’ Knowledge any other party to a Target Material
Contract, is in violation of or in default under any provision of such Target Material Contract.
There are no disputes pending or, to the Targets’ Knowledge, threatened with respect to any
Target Material Contract, and neither the Targets nor any of their Subsidiaries has received any
written notice of the intention of any other party to a Target Material Contract to terminate for
default, convenience or otherwise any Target Material Contract, in each case except as would not
reasonably be expected to be, individually or in the aggregate, material to the Targets and the
Subsidiaries, taken as a whole. True, correct and complete copies of the Target Material
Contracts and any material amendments thereto have been made available to Buyer.

         3.14. Transactions with Affiliates. Except for Company Plans, Schedule 3.14 sets forth
a true, correct and complete list of the Contracts (each such Contract, whether or not included on
Schedule 3.14, a “Target Affiliate Contract”) that are in existence as of the date of this
Agreement between any Target or any of the Subsidiaries of the Targets and any (i) present
executive officer or director of any Target or any of the Subsidiaries of the Targets or any person
that has served as such an executive officer or director within the last five (5) years or, to the
Targets’ Knowledge, any of such officer’s or director’s immediate family members; (ii) record or
beneficial owner of more than 5% of the outstanding Target Securities as of the date of this
Agreement; or (iii) to the Targets’ Knowledge, any affiliate of any such officer, director or
owner (other than any Target or any of the Subsidiaries of the Targets).

        3.15. Litigation. Except as has not been and would not reasonably be expected to be,
individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a whole,
there is no (a) Proceeding pending (or, to the Targets’ Knowledge, threatened) by any
Governmental Authority with respect to the Targets or any of their Subsidiaries, (b) Proceeding
pending (or, to the Targets’ Knowledge, threatened) against the Targets or any of their
Subsidiaries before any Governmental Authority or (c) Order against the Targets or any of their
Subsidiaries. There are no Proceedings pending (or, to the Targets’ Knowledge, threatened)
against the Targets or any of their Subsidiaries that seek to materially interfere with or delay the
consummation of the Contemplated Transactions. As of the date of this Agreement, there are no
settlements of any Proceedings to which the Targets or any of their Subsidiaries is a party that
are material to the Targets or their Subsidiaries, taken as a whole, and under which the Targets or
any of their Subsidiaries have material continuing obligations.

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        3.16. Insurance. Schedule 3.16 sets forth a true, correct and complete list of the
Insurance Policies (including historic, occurrence-based policies) as of the date hereof. The
Targets have made available to Buyer true, correct and complete copies of such Insurance
Policies prior to the date hereof. Except as has not been, or would not reasonably be expected to
be, individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a
whole, (a) each of the insurance policies and arrangements relating to the business, assets and
operations of the Targets and their Subsidiaries are in full force and effect, and provide insurance
in such amounts and against such risks as the management of the Targets and their Subsidiaries
reasonably have determined to be prudent or as is required by Law or regulation (collectively,
the “Insurance Policies”), (b) none of the Targets or any of their Subsidiaries have received any
written notice regarding any cancellation or invalidation of any such insurance policy, (c) none
of the Targets or any their Subsidiaries is in material breach of or material default under any of
the Insurance Policies and (d) none of the Targets or any of their Subsidiaries has taken any
action or failed to take any action which, with notice or the lapse of time or both, would
constitute such a material breach or material default or permit termination or modification of any
of the Insurance Policies. All premiums due under the Insurance Policies have been paid and the
Targets and their Subsidiaries are otherwise in compliance in all material respects with the terms
and conditions of all such policies. There are no material claims under any of the Insurance
Policies for which coverage has been denied or disputed by the applicable insurance carrier
(other than a customary reservation of rights notice).

         3.17.    Labor Matters.

                3.17.1. Except as set forth in Schedule 3.17, (i) none of the Targets or any of
their Subsidiaries is a party to or bound by any material collective bargaining agreement or other
material Contract with any labor union or labor organization (each, a “Collective Bargaining
Agreement”), (ii) since January 1, 2016, no labor union, labor organization, or group of
employees of any Target or any of their Subsidiaries has made a demand for recognition or
certification, and there are, and since January 1, 2016 have been, no representation or
certification proceedings or petitions seeking a representation proceeding presently pending or
threatened in writing to be brought or filed with the National Labor Relations Board or any other
labor relations tribunal or authority with respect to any individuals employed by any Target or
any of their Subsidiaries and (iii) except as would not reasonably be expected to be material to
the Targets and their Subsidiaries, taken as a whole, there are no ongoing or threatened union
organization or decertification activities relating to employees of any Target or any of their
Subsidiaries and no such activities have occurred since January 1, 2016. Since January 1, 2016,
there has not occurred or, to the Targets’ Knowledge, been threatened any strike or any
slowdown, work stoppage, concerted refusal to work overtime or other similar labor activity,
union organizing campaign, or labor dispute against or involving any Target or any of their
Subsidiaries, except as would not reasonably be expected to be material to the Targets and their
Subsidiaries, taken as a whole. There is, and since January 1, 2016 there has been, no unfair
labor practice complaint or grievance or other Proceeding pending or, to the Targets’
Knowledge, threatened in writing against any Target or any of their Subsidiaries by or before the
National Labor Relations Board or any other Governmental Authority with respect to any present
or former Employee or independent contractor of any Target or any of their Subsidiaries that had



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or would reasonably be expected to be material to the Targets and their Subsidiaries, taken as a
whole.

                3.17.2. Except as has not been, or would not reasonably be expected to be
material to the Targets and their Subsidiaries, taken as a whole, the Targets and their Subsidiaries
have complied in all material respects with all Collective Bargaining Agreements set forth in
Schedule 3.17 and all applicable Laws and contractual obligations relating to employment of
labor, including all applicable Laws and contractual obligations relating to wages, hours,
collective bargaining, labor relations, employment discrimination, harassment, retaliation,
whistleblowing, civil rights, safety and health, child labor, workers’ compensation, pay equity,
classification of employees, immigration, data privacy and protection, reduction-in-force,
severance and the collection and payment of withholding and/or social security Taxes. All
current or former employees, officers, directors, consultants or independent contractors of the
Targets or any of their Subsidiaries have been properly classified under applicable Law (A) as
employees or individual independent contractors and (B) for employees, as an “exempt”
employee or a “non-exempt” employee (within the meaning of the Fair Labor Standards Act and
state Law).

               3.17.3. The Targets have no plans to undertake any action as of the date of this
Agreement that would trigger the WARN Act or applicable mini-WARN acts. During the one
hundred and eighty-day (180) period preceding the date of this Agreement, there has not been
any “mass layoff,” “plant closing” or similar event as defined by the WARN Act affecting the
Targets or any of their current or former employees.

                3.17.4. Schedule 3.17.4 contains a true, correct and complete list, as of the date
of this Agreement, identifying each employment, consulting or independent contractor Contract
with any Target or any of their Subsidiaries that cannot be cancelled at-will with no liability
beyond requiring up to two (2) weeks’ notice or pay in lieu. As of the date of this Agreement, no
officer or senior management employee of any Target or any of their Subsidiaries has given
written notice to the Targets or any of their Subsidiaries that such employee intends to terminate
his or her employment.

                3.17.5. As of the date of this Agreement, all compensation, including wages,
commissions, bonuses, fees, or other compensation payable to all employees, independent
contractors, or consultants of the Targets or their Subsidiaries for services performed on or
before the date of this Agreement have been paid in full or reserved for appropriately and there
are no outstanding agreements, understandings, or commitments of the Targets regarding any
compensation, wages, commissions, bonuses, or fees.

              3.17.6. The consent of any union is not required to consummate the transactions
contemplated by this Agreement.

        3.18. MVPD Matters Relating to Target Stations. Schedule 3.18 contains, as of the date
hereof, a list of all Target Station retransmission consent agreements with MVPDs that reported
more than 25,000 paid subscribers to the Targets, any Target Sharing Company or any of their
respective Subsidiaries for September 2018 with respect to at least one Target Station. To the
Targets’ Knowledge, the Targets, the Target Sharing Companies or their applicable respective

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Subsidiaries have entered into Carriage Agreements with respect to each MVPD with more than
25,000 paid U.S. pay television subscribers in any of the Target Stations’ Markets, calculated
individually or an aggregate basis. Except as set forth in Schedule 3.18, since January 1, 2016,
(a) no such MVPD has provided written notice to the Targets, any Target Sharing Company, any
Subsidiary of any Targets or any Subsidiary of a Target Sharing Company of any material signal
quality issue or has failed to respond to a request for carriage or, to the Targets’ Knowledge,
sought any form of relief from carriage of a Target Station from the FCC, (b) neither the Targets,
any Target Sharing Company nor any of their respective Subsidiaries has received any written
notice from any such MVPD of such MVPD’s intention to delete a Target Station from carriage
on any system, facility or distribution service or to change the channel position, tier or
packaging placement of a Target Station (or any programming feed thereof) and (c) neither the
Targets, any Target Sharing Company nor any of their respective Subsidiaries has received
written notice of a petition seeking FCC modification of any Market in which a Target Station is
located.

         3.19. MVPD Matters Relating to Target Programming Service. Schedule 3.19 contains,
as of the date hereof, a list of all Carriage Agreements relating to a Target Programming Service
with MVPDs that reported more than 25,000 paid subscribers to any Target Programming
Service for September 2018. To the Targets’ Knowledge, the Targets and/or their applicable
Subsidiaries have entered into Carriage Agreements with respect to each MVPD with more than
25,000 paid U.S. pay television subscribers in the U.S. Except as set forth in Schedule 3.18,
since January 1, 2016, (a) neither the Targets nor any of their Subsidiaries has received any
written notice of the intention of any Person with more than 25,000 subscribers, in the aggregate
(i) to delete a Target Programming Service from carriage on any system, facility or distribution
service or change the Target Programming Service’s channel position or tier placement or to
otherwise modify packaging such that the Target Programming Service is received by a lesser
number of subscribers to the applicable system, facility or service of such MVPD, (ii) cancel or
otherwise terminate a Carriage Agreement and (b) no Person has asserted or threatened to assert,
with respect to any party to any Carriage Agreement relating to a Target Programming Service,
that (i) it has the right to a repayment of or other crediting of amounts paid to the Targets or any
of their Subsidiaries pursuant to any Carriage Agreement or an offset or reduction in fees or
other payments that will become due to the Targets or any of their Subsidiaries pursuant to such
Carriage Agreement or (ii) that the Targets or any of its subsidiaries have breached or defaulted
any obligation(s) pursuant to any Carriage Agreement.

         3.20. Most Favored Nations. Schedule 3.20 sets forth a list, as of the date of this
Agreement, of all Carriage Agreements that contain MFN provisions, which section sets forth
any MFN Benefits which may have been offered to an MVPD or claimed or otherwise asserted
by any MVPD. The Targets and their Subsidiaries are and have been in material compliance
with all of the Targets’ obligations pursuant to MFNs in the Carriage Agreements and have no
liabilities pursuant to such MFNs. Schedule 3.20 sets forth a list, as of the date of this
Agreement, of any audit of the Targets and/or their Subsidiaries relating to MFN compliance
conducted by or on behalf of any MVPD (an “MFN Audit”) and any reports relating thereto. No
Person has notified the Targets or any of their Subsidiaries of its intention to conduct or
commence any MFN Audit.



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        3.21. Target Productions. (a) All Target Productions have been developed, produced
and exploited in accordance with (i) all applicable Contracts, (ii) all applicable Laws, (iii) any
applicable collective bargaining, union or guild agreement, (iv) the Communications Act, (v) as
applicable, the Television Code of the National Association of Broadcasters, and (vi) any
applicable standards or codes set forth by the Motion Picture Association or the Motion Picture
Association of America, (b) all necessary clearances, consents and/or licenses have been
obtained for the Target Productions and all elements therein, (c) none of the Target Productions,
or any exploitation thereof, infringes upon or violates the right of privacy or publicity of, or
constitutes a defamation against, any Person, and (d) the physical and/or digital materials relating
to Target Productions have been properly stored, in each case in accordance with standards
customarily applied in the industry.

        3.22. Brokers. There are no brokerage commissions, finders’ fees or similar
compensation payable in connection with the Contemplated Transactions, or other liabilities or
obligations, based on any arrangement or agreement made by or on behalf of any Seller, Target
or any of their Subsidiaries other than fees (if any) that will be paid by the Sellers or their
respective Affiliates (other than any Target or any of their Subsidiaries), or liabilities or
obligations that will be assumed by the Sellers or their respective Affiliates (other than any
Target or any of their Subsidiaries), and for which, in each case, the Buyer and its Affiliates
(including, after the Closing, any Target or any of their Subsidiaries) will have no responsibility
to pay and no liabilities or obligations in connection therewith.

        3.23. No Additional Representations; Limitation on Warranties. Except for the
representations and warranties expressly made by the Targets in this Agreement, none of the
Targets or any other Person makes any express or implied representation or warranty whatsoever
or with respect to any information provided or made available in connection with the
Contemplated Transactions, including any information, documentation, forecasts, budgets,
projections or estimates provided by the Targets or any Representative of the Targets, including
in any “data rooms” or management presentations or the accuracy or completeness of any of the
foregoing. The Targets have conducted their own independent review and analysis of the
business, operations, assets, liabilities, results of operations, financial condition and technology
of Buyer and acknowledge that the Targets have been provided access to personnel, properties,
premises and records of Buyer for such purposes. In entering into this Agreement, except as
expressly provided herein, the Targets have relied solely upon their independent investigation
and analysis of Buyer and the Targets acknowledge and agree that they have not been induced by
and have not relied upon any representations, warranties or statements, whether express or
implied, made by Buyer or any of its directors, officers, stockholders, employees, affiliates,
agents, advisors or representatives that are not expressly set forth in this Agreement, whether or
not such representations, warranties or statements were made in writing or orally.

4.       REPRESENTATIONS AND WARRANTIES OF THE SELLERS.

                 Except as provided in the Disclosure Schedules (subject to Section 11.13), each
Seller, jointly and severally, represents and warrants to the Buyer, as of the date hereof and as of
the Closing Date, as follows:



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        4.1.    Existence and Power. Such Seller (that is not a natural person) is duly organized,
validly existing and in good standing under the laws of the jurisdiction of its formation. Such
Seller has the power and authority to execute and deliver this Agreement and the other ancillary
documents hereto or any other agreement referenced herein, as applicable, and to perform its
obligations hereunder and thereunder, as applicable, and to consummate the Contemplated
Transactions.

        4.2.    Authorization. Such Seller has all requisite power and authority to execute and
deliver this Agreement, to perform its obligations hereunder and to consummate the
Contemplated Transactions. The execution and delivery of this Agreement by each Seller, the
performance of its obligations hereunder and the consummation of the Contemplated
Transactions have been duly authorized by all necessary action on the part of each Seller. No
other proceeding on the part of any Seller is necessary to authorize the execution and delivery of
this Agreement, the performance by the Sellers of their obligations hereunder and the
consummation by the Sellers of the Contemplated Transactions. This Agreement, assuming due
authorization, execution and delivery by Buyer, constitutes a valid and binding obligation of
each Seller enforceable against each Seller in accordance with its terms, except as such
enforceability may be limited by Enforceability Exceptions.

        4.3.    Title to Interests. Such Seller is the sole record and beneficial owner of, and has
good and valid title to, the Interests that it is transferring hereunder, and collectively, the Sellers
have good and valid title to all of the Interests (except for the interests that NBI owns in the other
Targets), in each case, free and clear of any Liens, except as are imposed by applicable securities
or other Laws.

         4.4.     Governmental Authorization; Non-Contravention.

                 4.4.1.   The execution and delivery of this Agreement by the Sellers and the
performance of their obligations hereunder require no action by or in respect of, or filing with,
any Governmental Authority, other than (a) compliance with any applicable requirements of the
HSR Act, (b) compliance with any applicable requirements of the Securities Act, the Exchange
Act and any other applicable state or federal securities laws, (c) the filing of the FCC
Applications and obtaining the FCC Consent, together with any reports or informational filings
required in connection therewith under the Communications Act and the FCC Rules and (d) any
actions or filings the absence of which would not reasonably be expected to have a material be,
individually or in the aggregate, material to the Targets and their Subsidiaries, taken as a whole
or prevent or materially delay, the consummation of the Contemplated Transactions or the
Sellers’ ability to perform its obligations under this Agreement.

                4.4.2.    The execution and delivery of this Agreement by the Sellers and the
performance of their obligations hereunder do not and will not, assuming the authorizations,
consents and approvals referred to in clauses (a) through (d) of Section 4.4.1 are obtained,
(a) conflict with or breach any provision of the Organizational Documents of any Seller that is
not a natural person, (b) conflict with or breach any provision of any Law or Order, (c) require
any consent of or other action by any Person under, constitute a default or an event that, with or
without notice or lapse of time or both, would constitute a default under, or cause or permit the
termination, cancellation, acceleration or other change of any right or obligation or the loss of

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any benefit under, any provision of any Contract to which any Targets or any of their
Subsidiaries is party or which is binding upon any Targets or any of their Subsidiaries, any of
their respective properties or assets or any license, franchise, permit, certificate, approval or
other similar authorization affecting any Target or any of their Subsidiaries or (d) result in the
creation or imposition of any Lien, other than any Permitted Lien, on any property or asset of
any Target or any of their Subsidiaries, except, in the case of each of clauses (c) and (d), as
would not reasonably be expected to be, individually or in the aggregate, material to the Targets
and their Subsidiaries, taken as a whole or prevent or materially delay, the consummation of the
Contemplated Transactions or the Sellers’ ability to perform its obligations under this
Agreement.

         4.5.   Litigation. Except (i) as would not reasonably be expected to be material to the
Targets and their Subsidiaries, taken as a whole, and (ii) as would not reasonably be expected to
prevent or delay, the consummation of the Contemplated Transactions or the Sellers’ ability to
perform its obligations under this Agreement, there is no (a) Proceeding or investigation pending
(or, to the Targets’ Knowledge, threatened) by any Governmental Authority with respect to any
Seller, (b) Proceeding pending (or, to the Targets’ Knowledge, threatened) against any Seller
before any Governmental Authority or (c) Order against any Seller or any of their respective
properties.

        4.6.    No Additional Representations; Limitation on Warranties. Except for the
representations and warranties expressly made by the Sellers in this Agreement, none of the
Sellers or any other Person makes any express or implied representation or warranty whatsoever
or with respect to any information provided or made available in connection with the
Contemplated Transactions, including any information, documentation, forecasts, budgets,
projections or estimates provided by the Sellers or any Representative of the Sellers, including in
any “data rooms” or management presentations or the accuracy or completeness of any of the
foregoing. The Sellers have conducted their own independent review and analysis of the
business, operations, assets, liabilities, results of operations, financial condition and technology
of Buyer and acknowledge that the Sellers have been provided access to personnel, properties,
premises and records of Buyer for such purposes. In entering into this Agreement, except as
expressly provided herein, the Sellers have relied solely upon their independent investigation and
analysis of Buyer and the Sellers acknowledge and agree that they have not been induced by and
have not relied upon any representations, warranties or statements, whether express or implied,
made by Buyer or any of its directors, officers, stockholders, employees, affiliates, agents,
advisors or representatives that are not expressly set forth in this Agreement, whether or not such
representations, warranties or statements were made in writing or orally.

5.       REPRESENTATIONS AND WARRANTIES OF THE BUYER

              Except as provided in the Disclosure Schedules (subject to Section 11.13), the
Buyer represents and warrants to the Sellers and the Targets as follows:

        5.1.    Corporate Existence and Power. Buyer is a corporation, duly organized, validly
existing and in good standing under the laws of the State of Delaware. Buyer has all applicable
power and authority to carry on its business as now conducted and is duly qualified to do
business as a foreign entity and is in good standing in each jurisdiction where such qualification

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is necessary for the conduct of its business as now conducted, except where any failure to have
such power or authority or to be so qualified would not reasonably be expected to prevent or
materially delay, the consummation of the Contemplated Transactions or the Buyer’s ability to
perform its obligations under this Agreement.

        5.2.    Authorization. The Buyer has the applicable power and authority to execute and
deliver this Agreement, the Escrow Agreement, any Rollover Agreement and the instruments
required to be executed and delivered by it pursuant hereto, to perform its obligations hereunder
and to consummate the Contemplated Transactions. The Buyer has taken all applicable actions
required to be taken by or on the part of the Buyer to authorize and permit the execution and
delivery by the Buyer of this Agreement, the Escrow Agreement, the Rollover Agreement and
the instruments required to be executed and delivered by it pursuant hereto and the performance
by the Buyer of its obligations hereunder and the consummation by the Buyer of the
Contemplated Transactions. This Agreement has been (or in the case of the Escrow Agreement
and Rollover Agreement, will be) duly executed and delivered by the Buyer, and assuming the
due authorization, execution and delivery by each of the other parties hereto or thereto,
constitutes (or will constitute) the legal, valid and binding obligation of the Buyer, enforceable
against the Buyer in accordance with its terms.

        5.3.    Governmental Authorization. The execution and delivery of this Agreement by
Buyer and the performance of its obligations hereunder require no action by or in respect of, or
filing with, any Governmental Authority, other than (a) compliance with any applicable
requirements of the HSR Act, (b) compliance with any applicable requirements of the Securities
Act and any other applicable state or federal securities laws, (c) the filing of the FCC
Applications and obtaining the FCC Consent, together with any reports or informational filings
required in connection therewith under the Communications Act and the FCC Rules and (d) any
actions or filings the absence of which would not reasonably be expected to prevent or materially
delay, the consummation of the Contemplated Transactions or the Buyer’s ability to perform its
obligations under this Agreement.

        5.4.    Non-Contravention. The execution and delivery of this Agreement by Buyer and
the performance of its obligations hereunder do not and will not, assuming the authorizations,
consents and approvals referred to in clauses (a) through (d) of Section 5.3 are obtained,
(a) conflict with or breach any provision of the Organizational Documents of Buyer, (b) conflict
with or breach any provision of any Law or Order, (c) require any consent of or other action by
any Person under, constitute a default or an event that, with or without notice or lapse of time or
both, would constitute a default under, or cause or permit the termination, cancellation,
acceleration or other change of any right or obligation or the loss of any benefit under any
provision of any Contract to which Buyer or any of its Subsidiaries is party or which is binding
upon Buyer or any of its Subsidiaries, any of their respective properties or assets or any license,
franchise, permit, certificate, approval or other similar authorization affecting Buyer and its
Subsidiaries or (d) result in the creation or imposition of any Lien, other than any Permitted Lien,
on any property or asset of Buyer or any of its Subsidiaries, except, in the case of each of
clauses (c) and (d), as would not reasonably be expected to prevent or materially delay, the
consummation of the Contemplated Transactions or the Buyer’s ability to perform its obligations
under this Agreement.


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        5.5.    Litigation. Except as would not reasonably be expected to prevent or delay, the
consummation of the Contemplated Transactions or the Buyer’s ability to perform its obligations
under this Agreement, there is no (a) Proceeding or investigation pending (or, to Buyer’s
Knowledge, threatened) by any Governmental Authority with respect to Buyer or any of its
Subsidiaries, (b) Proceeding pending (or, to Buyer’s Knowledge, threatened) against Buyer or
any of its Subsidiaries before any Governmental Authority or (c) Order against Buyer or any of
its Subsidiaries or any of their respective properties.

         5.6.   Available Funds. Assuming the conditions to the first to occur of (a) the closing
of the transactions contemplated by the Camelot Purchase Agreement or (b) the closing of the
transactions contemplated by the Houston Purchase Agreement, have been satisfied, and
assuming the funding of the Debt Financing and Buyer’s financing in connection with the first to
occur of (a) the consummation of the transactions contemplated by the Camelot Purchase
Agreement or (b) the consummation of the transactions contemplated by the Houston Purchase
Agreement, the Buyer as of the Closing will have immediately available funds in an amount
sufficient to pay in cash all amounts payable pursuant to Section 2 and all fees and expenses of
the Buyer incurred in connection with the Contemplated Transactions.

         5.7.   Brokers. There are no brokerage commissions, finders’ fees or similar
compensation payable in connection with the Contemplated Transactions based on any
arrangement or agreement made by or on behalf of the Buyer or any of its Affiliates other than
fees (if any) that will be paid by the Buyer or its Affiliates and for which the Sellers and their
Affiliates (excluding, after the Closing, any Target or any of its Subsidiaries) will have no
responsibility to pay.

        5.8.    Investment Intent. The Buyer is acquiring the Interests (other than the Rollover
Interests and the interests that NBI owns in the other Targets) for investment for its own account
and not with a view to, or for sale in connection with, any distribution of any part thereof. The
Buyer acknowledges that the Interests and the sale thereof have not been registered under the
Laws of any jurisdiction.

       5.9.    Compliance with Law. Except for matters that have not been, and would not
reasonably be expected to be, individually or in the aggregate, material to Buyer, Buyer is in
compliance with all Laws and Orders and, to Buyer’s Knowledge, as of the date hereof is not
under investigation by any Governmental Authority with respect to any violation of any
applicable Law or Order.

        5.10. Qualifications. Buyer is legally, financially and otherwise qualified under the
Communications Act and FCC Rules to acquire the FCC Licenses. (a) There are no facts known
to Buyer that would disqualify Buyer as the transferee of the FCC Licenses or, except as set forth
on Schedule 5.10, prevent or materially delay the consummation of the transactions
contemplated hereby, (b) no waiver or exemption, whether temporary or permanent, of the
Communications Act or FCC Rules is necessary for the FCC Consent to be obtained due to any
fact or circumstance relating to Buyer or any of its Affiliates, to Buyer’s Knowledge, or any of
their respective officers, directors, shareholders, members or partners, and (c) Buyer has no
reason to believe that the FCC Applications will not be granted by the FCC in the ordinary


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course due to any fact or circumstance relating to Buyer or any of its Affiliates or any of their
respective officers, directors, shareholders, members or partners.

        5.11. No Additional Representations; Limitation on Warranties. Except for the
representations and warranties expressly made by Buyer in this Article 5, neither Buyer nor any
other Person makes any express or implied representation or warranty whatsoever. Buyer has
conducted its own independent review and analysis of the business, operations, assets, liabilities,
results of operations, financial condition and technology of the Targets and their Subsidiaries and
acknowledges that Buyer has been provided access to personnel, properties, premises and
records of the Targets and their Subsidiaries for such purposes. In entering into this Agreement,
except as expressly provided herein, Buyer has relied solely upon its independent investigation
and analysis of the Targets and their Subsidiaries and Buyer acknowledges and agrees that it has
not been induced by and has not relied upon any representations, warranties or statements,
whether express or implied, made by the Targets or any of their Subsidiaries, or any of their
respective directors, officers, stockholders, employees, affiliates, agents, advisors or
representatives that are not expressly set forth in this Agreement, whether or not such
representations, warranties or statements were made in writing or orally.

6.       CONDITIONS PRECEDENT TO THE OBLIGATIONS OF THE BUYER AND THE SELLERS.

               The obligations of the Buyer and the Sellers to consummate the Contemplated
Transactions are subject to the satisfaction, at or prior to the Closing, of the following conditions
(which may be waived, in whole or in part, to the extent permitted by applicable Law, by the
mutual consent of Buyer and the Sellers):

       6.1.     Statutes and Injunctions. No Law or Order (whether temporary, preliminary or
permanent) shall have been promulgated, entered, enforced, enacted or issued or be applicable to
the Contemplated Transactions by any Governmental Authority that remains in effect and
prohibits, enjoins or makes illegal the consummation of the Contemplated Transactions or the
Closing.

         6.2.  Regulatory Approval. (i) Any waiting period (and extension thereof) under the
HSR Act relating to the Contemplated Transactions shall have expired or been terminated and
(ii) the FCC Consent shall have been granted by the FCC and shall be in effect as issued by the
FCC or extended by the FCC.

        6.3.    Camelot Purchase Agreement; Houston Purchase Agreement. Either (a) all of the
conditions set forth in Article VI and Article VII of the Camelot Purchase Agreement shall have
been satisfied or waived (other than those conditions that by their nature are to be satisfied at the
closing of the transactions contemplated by the Camelot Purchase Agreement (the “Camelot
Closing”), each of which is capable of being satisfied at the Camelot Closing) or (b) all of the
conditions set forth in the Articles titled “Conditions Precedent to Obligations of Seller” and
“Conditions Precedent to Obligations of the Buyer” in the Houston Purchase Agreement shall
have been satisfied or waived (other than those conditions that by their nature are to be satisfied
at the Effective Time (as defined in the Houston Purchase Agreement) or the closing of the
transactions contemplated by the Houston Purchase Agreement (the “Houston Closing”), each of
which is capable of being satisfied at the Effective Time or Houston Closing, as applicable).

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7.       RESERVED].

8.       COVENANTS OF THE PARTIES.

        8.1.    Access to Premises and Information. From the date hereof until the earlier to
occur of the valid termination of this Agreement or the Closing Date, upon reasonable notice
from time to time, the Targets and their Subsidiaries will permit the Buyer and its
Representatives to have reasonable access during normal business hours and under the
supervision of Target personnel to the records (including Tax records, but excluding any and all
of Sellers’ Tax Returns and tax records) and books of account of the Targets and their
Subsidiaries (including the Target’s and their Subsidiaries’ work papers, properties, Contracts,
finances, litigation matters, environmental matters, commitments and other material being used
or considered, or to be used or considered, in the preparation of the Estimated Closing Statement,
and personnel and Representatives of the Targets and their Subsidiaries who are assisting or
being consulted in connection therewith) (the “Records”), and to the personnel and
Representatives and premises of the Targets and their Subsidiaries, and all other information
concerning the Targets, their Subsidiaries and each of their respective businesses, properties and
personnel as such Person may reasonably request; provided, however, that such access to such
information and furnishing of such information will be conducted solely at the Buyer’s expense
and the Buyer and its Representatives shall not unreasonably disrupt the personnel or
unreasonably interfere with the operations of the Targets or their Subsidiaries. Notwithstanding
anything to the contrary contained in this Section 8.1, the Targets and their Subsidiaries may
withhold any document (or portions thereof) or information (a) that may constitute privileged
attorney-client communications or attorney work product, or (b) if the provision of access to
such document (or portion thereof) or information, as determined by the Targets in good faith
after consultation with outside counsel, would reasonably be expected to conflict with applicable
Laws. All information exchanged pursuant to this Section 8.1 shall be subject to that certain
confidentiality agreement by and between Northwest Broadcasting, Inc. and Apollo Management
VIII, L.P., dated July 26, 2017 (the “Confidentiality Agreement”) and Buyer acknowledges and
agrees that it will abide by the terms of such Confidentiality Agreement.

         8.2.   Conduct of Business Prior to Closing. From the date of this Agreement until the
earlier to occur of the Closing and the termination of this Agreement in accordance with Article
10, except as otherwise expressly permitted or expressly contemplated by this Agreement, as set
forth in Schedule 8.2, as consented to in writing by Buyer (such consent not to be unreasonably
withheld, conditioned or delayed) or as required by applicable Law, the Targets shall, and shall
cause each of their Subsidiaries to, (i) conduct its business in all material respects in the ordinary
course of business consistent with past practice and shall use its commercially reasonable efforts
to cause each of the Target Sharing Companies and their respective Subsidiaries to conduct its
business in the ordinary course of business consistent with past practice, (ii) use commercially
reasonable efforts to (A) maintain the Target Station Licenses and the rights of it, the Target
Sharing Companies and their respective Subsidiaries thereunder, (B) maintain and preserve intact
its assets, properties, Contracts, and business organization, (C) keep available the services of its
current officers and key employees and (D) preserve the current relationships with customers,
suppliers, distributors, lessors, licensors, licensees, creditors, contractors, Governmental
Authorities and other Persons with whom the Targets or any of their Subsidiaries has a business


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relation. Without limiting the generality of the foregoing, from the date of this Agreement until
the earlier to occur of the Closing and the termination of this Agreement in accordance with
Article 10, except as otherwise expressly permitted or expressly contemplated by this
Agreement, as set forth in Schedule 8.2, as consented to in writing by Buyer (such consent not to
be unreasonably withheld, conditioned or delayed) or as required by applicable Law, the Sellers
and the Targets shall not, nor shall they permit any of their Subsidiaries to (whether by merger,
consolidation, operation of law or otherwise):

                  8.2.1.   amend, adopt any amendment to or otherwise change its Organizational
Documents;

                8.2.2.    (i) declare, set aside or pay any dividends on, or make any other
distributions in respect of, any of its capital stock or other equity securities, other than (x)
dividends and other distributions by a direct or indirect Subsidiary of any Target to such Target
or any direct or indirect wholly owned Subsidiary of any Target or (y) cash dividends or cash
distributions paid prior to the Balance Sheet Time to the extent such dividends or distributions
reduce the calculation of Estimated Cash on Hand, (ii) adjust, split, reverse split, recapitalize,
subdivide, consolidate, combine or reclassify any shares of its capital stock or other Target
Securities or issue or authorize the issuance of any other securities in respect of, or in
substitution for, outstanding shares of capital stock of the Targets (including any warrants,
options or other rights to acquire the foregoing) or (iii) purchase, redeem or otherwise acquire
any ownership interests of any Target, except, in the case of this clause (iii), for such purchases,
redemptions and other acquisitions solely between a Target and a wholly owned Subsidiary
thereof, or between a wholly owned Subsidiary of a Target and another wholly owned Subsidiary
of a Target;

                8.2.3.    (i) issue, deliver, pledge, sell or otherwise encumber to any Lien (other
than a Permitted Lien) or authorize the issuance, delivery, pledge, sale of, or encumbrance to any
Lien (other than a Permitted Lien) on, any interests of any Target Securities or Target Subsidiary
Securities, other than issuances of securities of the Targets’ Subsidiaries to a Target or to wholly
owned Subsidiaries of a Target or (ii) amend any term of any Target Securities (in each case,
whether by merger, consolidation or otherwise); provided, in each case, that the Targets shall not
make any grants, awards or issuances to the extent that such grants, awards or issuances would
cause the Targets or any of their Subsidiaries to be in violation of the Communications Act or the
FCC Rules;

               8.2.4.   make, authorize or commit to any capital expenditures in excess of
$4,000,000 in the aggregate during any calendar year;

                8.2.5.    make any acquisition (whether by merger, consolidation or acquisition
of equity interests or assets) of any interest in any Person or any division or assets thereof, other
than (i) purchases of assets (other than real property) in the ordinary course of business, not to
exceed $250,000 individually and $1,000,000 in the aggregate (for the avoidance of doubt,
“ordinary course of business” shall include acquisitions of programing and broadcast rights but
shall not include acquisitions of broadcast television stations);




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                8.2.6.     sell, assign, license, lease, transfer, abandon or otherwise dispose of, or
create any Lien (other than any Permitted Lien) on, or otherwise dispose of, any assets (other
than real property) that are material to the Targets and their Subsidiaries, taken as a whole, other
than (i) such sales, assignments, licenses, leases, transfers, Liens or other dispositions that are in
the ordinary course of business, not to exceed $100,000 individually and $250,000 in the
aggregate, or (ii) as listed on Schedule 8.2.6;

               8.2.7.  except as set forth on Schedule 8.2.7,sell or enter into an agreement to
sell any Owned Real Property, or purchase or enter into an agreement to purchase any interest in
real property;

                8.2.8.    amend, waive any material term, terminate, release or assign any
material rights or grant any material consent of any Real Property Lease or Third Party Lease
under which it was reasonably expected that the Targets and their Subsidiaries would make
annual payments of $100,000 or more during a calendar year, renew or terminate any Real
Property Lease or Third Party Lease or enter into any lease of real property as tenant under
which it was reasonably expected that the Targets and their Subsidiaries would make annual
payments of $100,000 or more during a calendar year;

                8.2.9.   (i) incur, assume, endorse, guarantee or otherwise become liable for
(whether directly, on a contingent basis or otherwise), refinance, syndicate or modify the terms
of any Indebtedness, other than Indebtedness among the Targets and/or their wholly owned
Subsidiaries or among wholly owned Subsidiaries of the Targets, and borrowings in the ordinary
course or (ii) prepay any Indebtedness following the Balance Sheet time;

               8.2.10. make any loans, advances or capital contributions to, or investments in,
any Person in excess of $1,000,000 in the aggregate, other than the Targets or their wholly
owned Subsidiaries and ordinary course advancements and reimbursements to Employees for
travel and other reimbursable expenses incurred in the ordinary course of business consistent
with past practice and as would not have a material cost to the Targets or their Subsidiaries;

                8.2.11. other than in the ordinary course of business consistent with past
practices (including renewals consistent with the terms thereof), (w) amend or modify in any
material respect or terminate (excluding terminations or renewals upon expiration of the term
thereof in accordance with the terms thereof) any Target Material Contract, (x) enter into any
Contract that would constitute a Target Material Contract if in effect on the date hereof, (y)
waive, release or assign any material rights, claims or benefits, or grant any material consent,
under any Target Material Contract, or (z) consent to the termination of the Targets’ or any of a
Target Sharing Company’s (or of their respective applicable Subsidiary’s) rights thereunder;
provided, that in no event shall the Targets or any of their Subsidiaries take any action covered
by this subsection (including in the ordinary course of business consistent with past practices,
and including renewals or extensions consistent with the terms thereof) with respect to any
Target Material Contract (A) that is or would be a Carriage Agreement or any other agreement
relating to cable or satellite transmission or retransmission with MVPDs, (B) that is or would be
a network affiliation agreement, or (C) that is or would be a Sharing Agreement of the Targets or
their Subsidiaries; provided, further, that the foregoing proviso shall not prohibit the Targets or
their Subsidiaries from entering into or otherwise granting a temporary extension of a Carriage

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Agreement that (1) expires no later than the Closing Date and (2) does not result in any liability
pursuant to any MFN.

                8.2.12. other than as required by applicable Law or the existing terms of any
Company Plan or a Collective Bargaining Agreement in effect on the date hereof: (i) grant or
increase any severance or termination pay to any employee, officer, director or independent
contractor of any Target or any of their Subsidiaries; (ii) enter into or amend any employment,
severance or termination agreement with any employee, officer, director or independent
contractor of any Target or any of their Subsidiaries; (iii) establish, adopt, terminate or materially
amend any (A) Company Plan (including any plan, agreement or arrangement that would be a
Company Plan if in effect on the date hereof) or (B) Collective Bargaining Agreement; (iv) take
any action to accelerate the vesting or payment, or fund or secure the payment, of compensation
(including any equity-based compensation) or benefits under a Company Plan; (v) loan or
advance any money or any other property to any current or former director, officer, employee or
independent contractor of any Target or any of their Subsidiaries; (vi) grant or increase any
change-in-control or retention bonus to any director, officer, independent contractor or employee
in the aggregate in an amount greater than $12,000,000 to the extent such bonuses are included
in the calculation of Transaction Bonus Payments; or (vii) grant any other increase in
compensation, bonus or other payments or benefits payable to any independent contractor,
employee, officer or director of any Target or any of their Subsidiaries, except for increases in
base salaries (and corresponding increases in target bonuses) in the ordinary course of business
consistent with past practices; (viii) fund any rabbi trust or similar arrangement or otherwise
secure funding for any Company Plan, (ix) accelerate the time of funding, vesting or payment of
any award under any Company Plan; (x) terminate, other than for cause (as reasonably
determined by the Targets in good faith), the employment or services of, or hire or engage the
services of, any executive officer or employee of any Target or any of their Subsidiaries, in each
case, other than in the ordinary course of business, consistent with past practices; (xi) effectuate
any plant closing or mass layoff that would trigger for the Targets or any of their Subsidiaries
any liability or obligation under the Worker Adjustment and Retraining Notification Act and the
regulations promulgated thereunder or any similar state, local or foreign Law (“WARN Act”);
(xii) materially change any actuarial or other assumptions used to calculate funding obligations
with respect to any Company Plan or to change the manner in which contributions to such plans
are made or the basis on which such contributions are determined, except as may be required by
GAAP;

                8.2.13. change any Targets’ or its Subsidiaries’ methods, principles or practices
of financial accounting or annual accounting period, except as required by GAAP or by any
Governmental Authority or applicable Law;

               8.2.14. take any of the following actions if it would have the effect of
increasing the Tax liability of any Target or any of its Subsidiaries for any period ending after
the Closing Date or decreasing any Tax attribute of any Target or any of its Subsidiaries existing
on the Closing Date: (i) materially change any method of Tax accounting, (ii) make or change
any material election with respect to Taxes, (iii) amend any federal income Tax Return in a
manner that would materially increase the Taxes of the Targets and their Subsidiaries, (iv) settle,
or offer, propose or agree to settle, any claim or deficiency in respect of Taxes in excess of
$500,000, (v) enter into any closing agreement within the meaning of Section 7121 of the Code

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(or any similar provision of state, local, or non-U.S. Law) with respect to a material amount of
Taxes, (vi) surrender any right to a material refund of Taxes, or (vii) consent to any extension or
waiver of the limitation period applicable to any audit, assessment or claim for a material amount
of income Taxes except in the ordinary course of business consistent with past practice;

               8.2.15. adopt or propose a plan of complete or partial liquidation, dissolution,
merger, consolidation, recapitalization or other reorganization, or resolutions providing for or
authorizing such a liquidation, dissolution, merger, consolidation, recapitalization or other
reorganization, in each case, of any Target or any of their Subsidiaries;

                8.2.16. (A) waive, release, assign, compromise, settle, offer to settle, or propose
to waive, release, assign, compromise, settle or offer to settle, any liabilities or obligations
arising out of or relating to any Proceeding involving or against any Target or any of their
Subsidiaries in excess of $250,000 per Proceeding, in each case, that would not involve
injunctive, equitable or non-monetary relief or impose any material restrictions on the operation
of the business of the Targets and their Subsidiaries, and without any admission of fault or
wrongdoing or other liability, or (B) initiate any Proceedings that would reasonably be expected
to involve amounts in dispute in excess of $250,000 or the imposition of any non-monetary
relief;

                8.2.17. modify or accede to the modification of any of the Target Station
Licenses if doing so is reasonably likely to be materially adverse to the interests of Buyer and its
Subsidiaries after giving effect to the Contemplated Transactions in the operation of television
broadcast stations or fail to provide Buyer with a copy of (and a reasonable opportunity to review
and comment on) any application for the modification of any of the Target Station Licenses
reasonably in advance of filing with the FCC, except, in each case, as required by Law or as
required in connection with the broadcast incentive auction, reassignment and repack conducted
by the FCC pursuant to Section 4603 of the Middle Class Tax Relief and Job Creation Act (Pub.
L. No. 112- 96, §6403, 126 Stat. 156, 225-230 (2012)) (the “Incentive Auction & Repack”);
provided, however, that the Targets shall provide Buyer with reasonable advance notice of any
such modification of any Target Station Licenses required by Law or in connection with the
Incentive Auction & Repack;

                8.2.18. apply to the FCC for any construction permit that would restrict in any
material respect the Target Stations’ operations or make any material change in the assets of the
Target Stations that is not in the ordinary course of business, except as may be necessary or
advisable to maintain or continue effective transmission of the Target Stations’ signals within
their respective service areas as of the date hereof, except, in each case as required by Law or as
required in connection with the Incentive Auction & Repack;

                8.2.19. fail to timely make any retransmission consent election with any
MVPDs that reported more than 50,000 paid subscribers (calculated on an aggregate basis with
respect to all Target Stations’ Markets) to the Targets or any of their Subsidiaries for September
2018 located in or serving the Target Stations’ Markets;

               8.2.20. omit to take any commercially reasonable action necessary to maintain
or renew, as applicable, any material Registered Intellectual Property;


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                  8.2.21.   change the fiscal year of any Target or any of their Subsidiaries;

                  8.2.22.   enter into any new line of business outside its existing business as of the
date hereof;

              8.2.23. terminate, modify in any material respect, fail to maintain or fail to
exercise renewal rights with respect to any material Insurance Policy, except to the extent any
such Insurance Policy is replaced with substantially similar coverage; or

                  8.2.24.   agree, resolve or commit to do any of the foregoing.

         8.3.     Confidentiality.

                8.3.1.    Confidentiality Agreement. The Confidentiality Agreement shall
remain in effect until the Closing, at which point it shall terminate automatically without any
further action by any party thereto. Notwithstanding the termination of the Confidentiality
Agreement at the Closing, from and after the Closing, the Buyer shall, and shall cause its
Affiliates and its and their respective Representatives to, keep confidential and not use or
disclose documents and information concerning the Sellers or their respective Affiliates (other
than the Targets and their Subsidiaries) furnished to the Buyer or its Affiliates or its or their
respective Representatives in connection with the Contemplated Transactions; provided, that the
Buyer and its Affiliates, and its and their respective Representatives, shall be permitted to
disclose confidential information (i) in connection with the Contemplated Transactions or any
dispute or Proceeding in connection therewith, (ii) to comply with Laws or accounting
requirements and (iii) to the extent required for Tax reporting purposes. Notwithstanding the
foregoing restrictions, in the event that the Buyer or its Affiliates, or its or their respective
Representatives, are requested or required by Law, Governmental Authority or Order to disclose
any confidential information, such Person shall, to the extent legally permissible, notify the
Sellers promptly of the request or requirement so that the Sellers may seek an appropriate
protective order. If this Agreement is, for any reason, terminated prior to the Closing, the
Confidentiality Agreement will continue in full force and effect in accordance with its terms.

                8.3.2.     Announcements. The initial press release with respect to the execution
of this Agreement and the Contemplated Transactions shall be a joint press release. Thereafter,
so long as this Agreement is in effect, neither Buyer nor the Sellers, nor any of their respective
Affiliates, shall issue or cause the publication of any press release or other public statement
relating to the Contemplated Transactions or this Agreement without the prior written consent of
the other Party, unless such Party determines, after consultation with outside counsel, that it is
required by applicable Law or by any listing agreement with or the listing rules of a national
securities exchange or trading market to issue or cause the publication of any press release or
other public announcement with respect to the Contemplated Transactions or this Agreement, in
which event such Party shall provide, on a basis reasonable under the circumstances, an
opportunity to the other Party to review and comment on such press release or other
announcement in advance, and shall give reasonable consideration to all reasonable comments
suggested thereto. None of the limitations set forth in this Section 8.3.2 shall apply to any
disclosure of any information (a) in connection with any dispute between the Parties relating to
this Agreement or the Contemplated Transactions or (b) consistent with previous press releases,

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public disclosures or public statements made by Buyer or the Sellers in compliance with this
Section 8.3.2. Notwithstanding the foregoing, Buyer and its Affiliates, without consulting with
the Sellers, may provide ordinary course communications regarding this Agreement and the
Contemplated Transactions to existing or prospective general and limited partners, equity
holders, members, managers and investors of any Affiliates of such Person, in each case, who are
subject to customary confidentiality restrictions.

        8.4.    Business Records. The Buyer acknowledges that the Sellers may from time to
time from and after the Closing require access to the Records, solely for the purpose of
permitting the Sellers to address and respond to any matters that arise as a result of or are
otherwise related to any Proceeding in connection with the Sellers’ prior ownership of the
Targets and their Subsidiaries, and agrees that upon reasonable prior notice, it will, and will
ensure that the Targets will, for a period of six (6) years following the Closing Date, during
normal business hours, provide the Sellers and their Representatives with either access to or
copies of the Records (at the Sellers’ expense), solely for such purpose so long as such access to
such information does not unreasonably disrupt the personnel, or unreasonably interfere with the
operations, of the Targets or their Subsidiaries. If the Targets shall desire to dispose of any such
Records prior to the sixth (6th) anniversary of the Closing Date, the Targets shall, prior to any
such disposition, notify the Sellers and provide to the Sellers (or, if applicable, its designee) and
its Representatives a reasonable opportunity, at the Sellers’ expense, to make copies of or
remove such Records. The Sellers acknowledge that the Buyer may from time to time from and
after the Closing require access to any Records related to the Targets and their Subsidiaries that
are available to the Sellers and that are not otherwise available to the Buyer, and each Seller
agrees that upon reasonable prior notice it will for a period of six (6) years following the Closing
Date, during normal business hours, provide the Buyer and its Representatives with either access
to or copies of the Records, so long as such access to such information does not unreasonably
disrupt or unreasonably interfere with the Sellers. If the Sellers shall desire to dispose of any
such Records prior to the sixth (6th) anniversary of the Closing Date, the Sellers shall, prior to
any such disposition, notify the Buyer and provide to the Buyer (or, if applicable, its designee)
and its Representatives a reasonable opportunity to make copies of or remove such Records.

         8.5.     Directors and Officers Indemnification and Insurance.

                8.5.1.    The Buyer and the Targets agree that all rights to indemnification,
advancement of expenses and exculpation from liability for or in connection with acts or
omissions occurring at any time prior to or on the Closing Date that now exist in favor of any
Person who prior to or on the Closing Date is or was a current or former director, manager or
officer of any Target, or who, while serving as a director, manager or officer of any Target,
served at the request of any Target prior to or on the Closing Date as a director, officer, member,
manager, employee, trustee or fiduciary of any Subsidiary of the Targets (each a “D&O
Indemnified Person”), if and to the extent the Organizational Documents of the applicable Target
or in any agreement between a D&O Indemnified Person and the applicable Target set forth on
Schedule 8.5.1 (an “Indemnity Agreement”), will survive the Closing and will continue in full
force and effect for the six (6) year period following the Closing Date. In furtherance (and not in
limitation) of the foregoing, for the six (6) year period following the Closing Date, each Target
will (i) maintain in the Organizational Documents of such Target provisions with respect to


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indemnification, advancement of expenses and exculpation from liability that in each such
respect are at least as favorable to each D&O Indemnified Person as those contained in the
Organizational Documents of the applicable Target as in effect on the date hereof and
(ii) continue in existence each Indemnity Agreement without termination, revocation,
amendment or other modification that would adversely affect the rights thereunder of any D&O
Indemnified Person.

                8.5.2.    In addition to the other rights of each D&O Indemnified Person
provided for in this Section 8.5 and not in limitation thereof, from and after the Closing, for the
six (6) year period following the Closing Date, each Targets shall (a) indemnify and hold
harmless (and release from any liability to the Buyer or the Targets or any Subsidiary thereof),
each D&O Indemnified Person against all losses, claims, damages, liabilities, awards, orders,
decrees, rulings, judgments, fines, penalties, settlement agreements, amounts paid in settlement
and reasonable expenses (including reasonable attorneys’ fees) based upon, arising out of, in
respect of or in connection with any threatened, pending or completed claim, subpoena or other
legal process, demand, action, arbitration, suit or proceeding, whether criminal, civil,
administrative or investigative, based upon, arising out of, in respect of or in connection with any
actual or claimed acts or omissions occurring at any time prior to or on the Closing Date
(including in respect of any actual or claimed acts or omissions based upon, arising out of, in
respect of or in connection with the negotiation or approval of this Agreement and the
consummation of the Contemplated Transactions) (each, a “D&O Indemnifiable Claim”) and
(b) advance to such D&O Indemnified Persons all expenses (including attorneys’ fees) actually
and reasonably incurred by a D&O Indemnified Person in connection with any D&O
Indemnifiable Claim, promptly after receipt of reasonable supporting documentation thereof;
provided, however, that such D&O Indemnified Person would be entitled to such advancement
under the applicable Organizational Documents or indemnity agreements. Notwithstanding
anything to the contrary set forth herein, any advancement of expenses to a D&O Indemnified
Person hereby shall be conditioned upon receipt from such D&O Indemnified Person of an
undertaking to repay such amounts if it is ultimately determined in a final and non-appealable
judgment of a court of competent jurisdiction that such D&O Indemnified Person is not entitled
to be indemnified under applicable Laws.

                 8.5.3.    On or before the Closing Date, the Buyer will, or will cause each Target
or their Subsidiaries to, obtain for each Target at the Buyer’s sole expense, and, for a six (6) year
period following the Closing Date, the Buyer will cause the Targets to maintain in effect, with no
lapse in coverage, one or more “tail” or “runoff” directors’ and officers’ liability, employment
practices liability and fiduciary liability insurance policies covering actual or claimed acts or
omissions of any D&O Indemnified Person occurring on or before the Closing Date, in each case
on terms with respect to coverage, retentions, amounts and other material terms at least as
favorable to such D&O Indemnified Persons as those of such policies in effect on the date
hereof. Notwithstanding the foregoing, in no event shall the Targets or their Subsidiaries expend
for such policies an aggregate premium amount in excess of 300% of the aggregate amount of
the last annual premiums paid by the Targets for such insurance; provided, that, if the annual
premiums of such coverage exceed such amount, the Targets or their Subsidiaries shall obtain a
policy with the greatest coverage available for a cost not exceeding such amount for such six-
year period with respect to the Targets’ existing officers’ and directors’ or fiduciary liability


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insurance with terms, conditions, retentions and levels of coverage no less favorable as provided
in the Targets’ existing policies for such matters as of the date hereof.

                8.5.4.     If any Target (or any of their successors or assigns) (a) consolidates
with or merges into any other Person and is not the continuing or surviving corporation or entity
of such consolidation or merger, or (b) transfers all or substantially all of its properties and assets
to any other Person (including by dissolution, liquidation, assignment for the benefit of creditors
or similar action), then, and in each such case, the Buyer will cause proper provision to be made
so that such other Person fully assumes the obligations set forth in this Section 8.5.

               8.5.5.     The provisions of this Section 8.5 shall survive the Closing. This
Section 8.5 shall be for the irrevocable benefit of, and shall be enforceable by, each D&O
Indemnified Person and his or her respective heirs, executors, administrators, estates, successors
and assigns, and each such Person shall be an express intended third party beneficiary of this
Agreement for such purposes. Notwithstanding anything in this Agreement to the contrary, the
obligations under this Section 8.5 shall not be terminated, revoked, modified or amended in any
way so as to adversely affect any Person referred to in the second sentence of this Section 8.5.5
without the written consent of such Person.

         8.6.     Tax Matters.

               8.6.1.     Transfer Taxes. Each of the Buyer, on the one hand, and the Sellers, on
the other hand, shall be responsible for fifty percent (50%) of all Transfer Taxes in connection
with the Contemplated Transactions.

                  8.6.2.   Pre-Closing Tax Period Tax Returns.

                           (a) The Sellers shall prepare or cause to be prepared all Tax Returns
         for the Targets and their Subsidiaries for any Pre-Closing Tax Period (other than a
         Straddle Period), including any such Tax Returns that are due after the Closing Date.
         The Sellers shall provide drafts of all such Tax Returns that are due after the Closing
         Date to the Buyer for review at least thirty (30) days, in the case of Tax Returns that are
         filed less frequently than monthly, and three (3) Business Days, in the case of all other
         Tax Returns, prior to filing and the Sellers shall reasonably consider any changes to such
         Tax Return reasonably requested by the Buyer. Any dispute shall be resolved by a
         mutually agreed upon nationally recognized accounting firm, in a manner consistent with
         this Agreement and, to the extent permitted by law, prior practice of the Targets and their
         Subsidiaries, with fees of such accounting firm borne fifty percent (50%) by Seller and
         fifty percent (50%) by Buyer.

                            (b) The Buyer shall prepare or cause to be prepared all Tax Returns for
         the Targets and their Subsidiaries for any Straddle Period and any other period that is not
         a Pre-Closing Tax Period. The Buyer shall provide drafts of all such Tax Returns for any
         Straddle Period to Sellers for review at least thirty (30) days, in the case of Tax Returns
         that are filed less frequently than monthly, and three (3) Business Days, in the case of all
         other Tax Returns, prior to filing and the Buyer shall reasonably consider any changes to
         such Tax Return reasonably requested by the Seller. Any dispute shall be resolved by a


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         mutually agreed upon nationally recognized accounting firm, in a manner consistent with
         this Agreement and, to the extent permitted by law, prior practice of the Targets and their
         Subsidiaries, with fees of such accounting firm borne fifty percent (50%) by Seller and
         fifty percent (50%) by Buyer.

                           (c) The parties agree that all losses, deductions, credits and any other
         Tax benefits available on account of the payment or incurrence of the Transaction
         Expenses, the Transaction Bonus Payments, the payment of the Target Indebtedness, and
         the other payments contemplated by this Agreement, but only to the extent such
         payments reduce the Purchase Price received by the Sellers, shall be reported in Pre-
         Closing Tax Periods to the maximum extent permitted by Law(and otherwise treated for
         purposes of this Agreement as attributable to Pre-Closing Tax Periods), and to the extent
         required to be treated as a loss, deduction, credit or benefit on Tax Returns of an owner of
         the Targets, shall be reported as a loss, deduction, credit or benefit on the Sellers’ Tax
         Returns (rather than Buyer’s Tax Returns) to the maximum extent permitted by Law.

                8.6.3.   Amended Returns; Tax Elections. In each case except as required by
Law or a good faith resolution of a Tax Proceeding in accordance with the terms of this
Agreement, the Buyer shall not, and shall cause the Targets and their Subsidiaries not to,
(a) make any amendment of any Tax Returns of any Target or any of their Subsidiaries for any
Pre-Closing Tax Period without such Seller’s prior written consent (not to be unreasonably
withheld, delayed or conditioned), (b) make any election that has retroactive effect to any Pre-
Closing Tax Period without such Seller’s prior written consent (not to be unreasonably withheld,
delayed or conditioned), or (c) grant an extension of any applicable statute of limitations that
relates to a Pre-Closing Tax Period. Notwithstanding the foregoing, the Buyer in its sole
discretion may cause any Target or any Subsidiary of a Target that is treated as a partnership for
U.S. federal income tax purposes to make an election under Section 754 or Section 6226 of the
Code.

                8.6.4.    Straddle Periods. In the case of any Straddle Period, the amount of any
Taxes of the Targets and their Subsidiaries not based upon or measured by income, the level of
any item, gain, receipts, proceeds, profits or similar items for the Pre-Closing Tax Period will be
deemed to be the amount of such Taxes for the entire Tax period multiplied by a fraction, the
numerator of which is the number of days in the Tax period ending on the Closing Date and the
denominator of which is the number of days in such Straddle Period. The amount of any other
Taxes for a Straddle Period that relate to the Pre-Closing Tax Period will be determined based on
an interim closing of the books where that method can be utilized and apply other applicable
allocation rules to the greatest extent possible such that Pre-Closing Taxes are allocated to the
Sellers; provided, however, that any item determined on an annual or periodic basis (such as
deductions for depreciation or real estate Taxes) shall be apportioned on a daily basis. In the
case of any Tax based upon or measured by capital (including net worth or long-term debt) or
intangibles, any amount thereof required to be allocated under this Section 8.6.4 shall be
computed by reference to the level of such items on the Closing Date. The parties hereto will, to
the extent permitted by applicable Law, elect with the relevant Governmental Authority to treat a
portion of any Straddle Period as a short taxable period ending as of the close of business on the
Closing Date.


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                Within thirty (30) days after the filing of any Tax Return for a Straddle Period or
as soon thereafter as reasonably practicable, the Buyer shall prepare and deliver to the Sellers a
statement setting forth the allocation of Taxes for the Straddle Period pursuant to this section
8.6.4 (the “Straddle Period Allocation”). The Sellers shall cooperate with the Buyer, as
reasonably requested by the Buyer, in connection with the Buyer’s preparation of the Straddle
Period Allocation. The Sellers shall have a period of thirty (30) days following the Buyer’s
delivery of the Straddle Period Allocation to present in writing to the Buyer notice of any
objections that the Sellers may have to the determinations set forth therein (a “Straddle Period
Objections Notice”). If the Sellers shall raise any objections within such thirty (30) day period,
the Buyer and the Sellers shall negotiate in good faith and use their reasonable best efforts to
resolve such dispute. If the parties fail to agree within fifteen (15) days after the delivery of the
Straddle Period Objections Notice, any dispute shall be resolved by a mutually agreed upon
nationally recognized accounting firm, whose determination shall be final and binding on the
parties, with fees of such accounting firm borne fifty percent (50%) by the Sellers and fifty
percent (50%) by the Buyer. The Straddle Period Allocation as finally determined hereunder
shall be binding and the Sellers and the Buyer shall (and shall cause their Affiliates to) file all
Tax Returns in a manner consistent with such Straddle Period Allocation.

                 8.6.5.    Tax Proceedings. In the event of any audit, assessment, examination,
claim or other controversy or proceeding relating to Taxes or Tax Returns of any Target or any
of their Subsidiaries (a “Tax Proceeding”) with respect to any Pre-Closing Tax Period, the Buyer
shall inform the Sellers of such Tax Proceeding within thirty (30) Business Days after the receipt
by the Buyer of notice thereof; provided that a failure to inform the Sellers shall not affect the
Buyer’s right to indemnification under this Agreement. The Buyer shall afford the Sellers the
opportunity to control the conduct of any such Tax Proceeding that relates solely to (a) a Pre-
Closing Tax Period or (b) Taxes for which the Buyer is indemnified under this Agreement or for
which the Sellers are otherwise liable, with counsel or a tax adviser of their own choosing;
provided, that the Sellers may not settle or otherwise resolve any such Tax Proceeding without
the Buyer’s prior written consent (which consent shall not be unreasonably withheld, conditioned
or delayed). The Buyer shall have the right to reasonably be informed of material developments
in any such Tax Proceeding. In the event that the Sellers do not assume control of such a Tax
Proceeding, the Buyer may control the Tax Proceeding. In the event of any Tax Proceeding that
relates to a Straddle Period (a “Straddle Period Tax Proceeding”), the Buyer shall inform the
Sellers of such Straddle Period Tax Proceeding within thirty (30) Business Days after the receipt
by the Buyer of notice thereof. The Buyer shall have the right to control a Straddle Period Tax
Proceeding; provided, however, that the Buyer shall keep the Sellers reasonably informed
regarding the progress and substantive aspects of such Straddle Period Tax Proceeding, the
Sellers shall be entitled at their expense to participate in any such Straddle Period Tax
Proceeding, and the Buyers shall not compromise or settle any such Straddle Period Tax
Proceeding without obtaining the Sellers’ prior written consent (which consent shall not be
unreasonably withheld, conditioned or delayed).

                8.6.6.   Cooperation and Tax Record Retention. The Seller and the Buyer shall
promptly furnish to each other, as promptly as practicable, such information as may be
reasonably requested with respect to Tax matters relating to the Targets or any of their
Subsidiaries, including by providing access to relevant books and records and making employees

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of the Buyer and the Targets and their Subsidiaries reasonably available during normal business
hours to provide additional information and explanation of any materials provided hereunder.
The Buyer and the Seller shall cooperate with each other in connection with the preparation of
any Tax Returns and in connection with any Tax Proceeding or Straddle Period Tax Proceeding
pursuant to Section 8.6.5. Notwithstanding anything else contained herein to the contrary, the
Buyer shall use commercially reasonable efforts to retain all books and records with respect to
Tax matters pertinent to the Targets and their Subsidiaries relating to any Pre-Closing Tax Period
until the expiration of the statute of limitations (taking into account any extensions thereof)
applicable to such taxable periods, and to abide by all record retention agreements entered into
with any Taxing Authority.

                8.6.7.    Refunds and Tax Benefits. Any Tax refunds that are received by Buyer
or any Target and its Subsidiaries, and any amounts credited against Tax to which Buyer or any
Target and its Subsidiaries become entitled, that relate to Pre-Closing Tax Periods, other than (a)
any refund or amount credited that is attributable to a carryback of losses, credits or similar items
from a period (or portion thereof) beginning after the Closing Date and (b) any refund or amount
credited to the extent such refund or amount credited is reflected in Working Capital, shall be for
the account of Sellers, and Buyer shall pay over to Sellers any such refund or the amount of any
such credit (net of any Taxes of Buyer, Target, or any of its Subsidiaries attributable to such
refund or credit and any out-of-pocket costs of obtaining such refund or credit) within 15 days
after receipt or entitlement thereto. To the extent that any refund or amount credited (or any
underlying tax deduction or similar item) is subsequently disallowed, adjusted or reduced by any
Taxing Authority, Sellers shall repay the applicable amount to Buyer within 15 days after
Buyer’s request.

         8.7.     Termination of Affiliate Transactions. On or before the Closing Date, except as
set forth on Schedule 8.7, all Target Affiliate Contracts shall be terminated in full without any
liability to, or obligations of, the Buyer, the Targets or any of their respective Affiliates
following the Closing.

       8.8.    Change of Name. In no event shall the Sellers use any name after the Closing in a
manner likely to cause confusion, or to cause mistake or to deceive as to the affiliation,
connection or association of the Sellers with the Targets and their Subsidiaries.

        8.9.   Further Assurances. Each of the Sellers and the Buyer, upon the request of the
other from time to time after the Closing, and at the expense of the requesting party but without
further consideration, shall sign such documents and take such actions as may be necessary or
otherwise reasonably requested to effect, or make more fully effective, the consummation of the
Contemplated Transactions and the transactions contemplated by the Camelot Purchase
Agreement and the Houston Purchase Agreement.

         8.10.    Efforts.

                8.10.1. Subject to the terms and conditions of this Agreement, each of the
Sellers, Targets and Buyer shall take, or cause to be taken, and shall cause their HSR Affiliates to
take, all actions and do, or cause to be done, all things necessary, proper or advisable under
applicable Law to consummate and make effective the Contemplated Transactions and the

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transactions contemplated by the Camelot Purchase Agreement and the Houston Purchase
Agreement as promptly as practicable after the date of this Agreement, including (i) preparing
and filing, in consultation with the other Parties, as promptly as practicable with any
Governmental Authority or other Third Party all documentation to effect all necessary, proper or
advisable filings, notices, petitions, statements, registrations, submissions of information,
applications and other documents and (ii) using reasonable best efforts in obtaining and
maintaining (and cooperating with each other to obtain or maintain) all approvals, consents,
registrations, permits, authorizations and other confirmations required to be obtained from any
Governmental Authority or other Third Party, in each case, that are necessary, proper or
advisable to consummate and make effective the Contemplated Transactions and the transactions
contemplated by the Camelot Purchase Agreement and the Houston Purchase Agreement
(whether or not such approvals, consents, registrations, permits, authorizations and other
confirmations are conditions to the consummation of the Closing pursuant to Article 6).

                8.10.2. In furtherance and not in limitation of the foregoing, each of Buyer, the
Sellers and Targets shall make, as promptly as reasonably practicable (i) appropriate filings of
Notification and Report Forms pursuant to the HSR Act with respect to the Contemplated
Transactions, and the transactions contemplated by the Camelot Purchase Agreement and the
Houston Purchase Agreement, if any are required by Law; provided that the filing by each of
Buyer, the Sellers and Targets of a Notification and Report Form pursuant to the HSR Act with
respect to the Contemplated Transactions shall be made within ten (10) Business Days of the
date of this Agreement, unless a later date is agreed to in writing by both Buyer and the Sellers
and (ii) the FCC Applications with respect to the Contemplated Transactions and the transactions
contemplated by the Camelot Purchase Agreement and the Houston Purchase Agreement;
provided that the FCC Applications with respect to the Contemplated Transactions shall be made
within ten (10) Business Days of the date of this Agreement, unless a later date is agreed to in
writing by both Buyer and the Sellers. Each of Buyer, the Sellers and the Targets shall supply as
promptly as practicable any additional information and documentary material that may be
requested pursuant to the foregoing, and to take all other actions necessary to cause the
expiration or termination of the applicable waiting periods regarding the foregoing as soon as
practicable. Buyer, the Sellers and Targets shall each request early termination of the waiting
period with respect to the Contemplated Transactions, if applicable, under the HSR Act. Buyer
shall pay 100% of the filing fees payable under the HSR Act and all FCC filing fees payable by
the Targets and their Subsidiaries, Buyer and each of its Subsidiaries relating to the
Contemplated Transactions, irrespective of whether the Contemplated Transactions are
consummated.

               8.10.3. Except as prohibited by applicable Law or Order, each of Buyer, the
Sellers and the Targets shall (i) cooperate and consult with each other in connection with any
filing or submission with a Governmental Authority in connection with the Contemplated
Transactions and the transactions contemplated by the Camelot Purchase Agreement and the
Houston Purchase Agreement, including by allowing the other Party to have a reasonable
opportunity to review in advance and comment on drafts of filings and submissions, (ii)
cooperate and consult with each other in connection with any investigation or other inquiry by or
before a Governmental Authority relating to the Contemplated Transactions, including any
proceeding initiated by a private party, including by allowing the other Party to have a
reasonable opportunity to review in advance and comment on drafts of filings and submissions,

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(iii) promptly inform the other Party of (and if in writing, supply to the other Party) any
substantive communication received by such Party from, or given by such Party to, the Federal
Trade Commission, the Antitrust Division of the Department of Justice, the FCC or any other
similar Governmental Authority and of any material communication received or given in
connection with any proceeding by a private party, in each case regarding any of the
Contemplated Transactions, (iv) consult with each other prior to taking any material position
with respect to the filings under the HSR Act (or any other Competition Law), the
Communications Act and the FCC Rules in discussions with or filings to be submitted to any
Governmental Authority, in each case, in connection with the Contemplated Transactions,
(v) permit the other to review and discuss in advance, and consider in good faith the views of the
other in connection with, any analyses, presentations, memoranda, briefs, arguments, opinions
and proposals to be submitted to any Governmental Authority with respect to filings under the
HSR Act (or any other Competition Law), the Communications Act and the FCC Rules, in each
case, in connection with the Contemplated Transactions and (vi) coordinate with the other in
preparing and exchanging such information and promptly provide the other (and its counsel)
with copies of all filings, presentations or submissions (and a summary of any oral presentations)
made by such Party with any Governmental Authority relating to this Agreement or the
Contemplated Transactions under the HSR Act (or any other Competition Law), the
Communications Act and the FCC Rules; provided that Buyer shall be entitled to direct, in
consultation with the Sellers and the Targets, and approve (such approval not to be unreasonably
withheld) the content of, any filings with or presentations or submissions to any Governmental
Authority relating to this Agreement or the Contemplated Transactions and to take the lead in the
strategic planning for any meetings with, and the conducting of negotiations with, Governmental
Authorities relating to this Agreement or the Contemplated Transactions.

                8.10.4. The Sellers, the Targets and Buyer acknowledge that, to the extent
reasonably necessary to expedite the grant by the FCC of any application for renewal of any FCC
License with respect to any Target Station and thereby to facilitate the grant of the FCC Consent
with respect to such Target Station, each of the Sellers, the Targets, Buyer and their applicable
Subsidiaries shall be permitted to enter into tolling agreements with the FCC to extend the statute
of limitations for the FCC to determine or impose a forfeiture penalty against such Target Station
in connection with (i) any pending complaints that such Target Station aired programming that
contained obscene, indecent or profane material or (ii) any other enforcement matters against
such Target Station with respect to which the FCC may permit the Sellers, the Targets or Buyer
(or any of their respective Subsidiaries) to enter into a tolling agreement.

                8.10.5. If the Closing shall not have occurred for any reason within the original
effective periods of the FCC Consent, and neither party shall have terminated this Agreement
pursuant to the terms hereof, the Sellers, the Targets and Buyer shall use their reasonable best
efforts to obtain one or more extensions of the effective period of the FCC Consent to permit
consummation of the transactions hereunder. Upon receipt of the FCC Consent, the Sellers, the
Targets and Buyer shall use their respective reasonable best efforts to maintain in effect the FCC
Consent to permit consummation of the transactions hereunder. No extension of the FCC
Consent shall limit the right of the Sellers or Buyer to terminate this Agreement pursuant to the
terms hereof.



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                8.10.6. Unless prohibited by applicable Law or Order or by the applicable
Governmental Authority, each of the Sellers, the Targets and Buyer shall (i) not participate in or
attend any meeting, or engage in any substantive conversation, with any Governmental Authority
in respect of the Contemplated Transactions (including with respect to any of the actions referred
to in Section 8.10.1) without the other, (ii) give the other reasonable prior notice of any such
meeting or conversation and (iii) in the event one such Party is prohibited by applicable Law or
Order or by the applicable Governmental Authority from participating or attending any such
meeting or engaging in any such conversation, keep the non-participating Party reasonably
apprised with respect thereto.

                8.10.7. Subject to Section 8.10.8, Buyer shall take, and shall cause its HSR
Affiliates to take, all necessary or advisable actions to avoid or eliminate each and every
impediment that may be asserted by any Governmental Authority with respect to the
Contemplated Transactions so as to enable the Closing to occur as soon as practicable, including
(i) all necessary or advisable actions to avoid the entry of, or the commencement of any
Proceeding in any forum that could result in, or to effect the dissolution of, any permanent,
preliminary or temporary Order that would delay, restrain, prevent, enjoin or otherwise prohibit
consummation of the Contemplated Transactions, including the proffer and agreement by Buyer
of its willingness to take such actions, and promptly to effect such actions (and the entry into
agreements with, and submission to orders of, the relevant Governmental Authority giving effect
thereto, including the entry into hold separate arrangements, terminating, assigning or modifying
Contracts (or portions thereof) or other business relationships, accepting restrictions on business
operations and entering into commitments and obligations) (each an “Approval Action”), and
(ii) using reasonable best efforts to take, in the event that any permanent or preliminary Order is
entered or issued, or becomes reasonably foreseeable to be entered or issued, in any proceeding
or inquiry of any kind that would make consummation of the Contemplated Transactions in
accordance with its terms unlawful or that would delay, restrain, prevent, enjoin or otherwise
prohibit consummation of the Contemplated Transactions, any and all steps (including the appeal
thereof and the posting of a bond) necessary to resist, vacate, modify, reverse, suspend, prevent,
eliminate or remove such actual, anticipated or threatened Order so as to permit such
consummation on a schedule as close as possible to that contemplated by this Agreement.

               8.10.8. Notwithstanding anything herein to the contrary, nothing set forth in this
Section 8.10 or otherwise in this Agreement shall require, or be construed to require the Sellers,
the Targets, Buyer or any of their respective Subsidiaries to take, or agree to take, any Approval
Action, unless such Approval Action shall be conditioned upon the consummation of the
Contemplated Transactions. The Sellers acknowledge that Buyer shall be permitted to take such
actions required or reasonably necessary in connection with the transactions set forth on
Schedule 8.10.

         8.11.    Employee Matters.

               8.11.1. For a period beginning on the Closing Date and continuing thereafter for
twelve (12) months or if shorter, the period of employment following the Closing Date of the
relevant Employee, Buyer shall provide, or shall cause the Targets and their Subsidiaries to
provide, each Employee (excluding any Employees represented by labor unions and/or covered
by the Collective Bargaining Agreements) as of immediately prior to the Closing who continues

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employment with Buyer or any of its Subsidiaries, including the Targets or their Subsidiaries,
following the Closing (the “Continuing Employees”), with (i) base salary or other base cash
compensation that is no less favorable than the base salary or other base cash compensation that
was provided to such Continuing Employee immediately prior to the Closing, (ii) short-term
annual cash incentive compensation opportunities that are no less favorable than the short-term
annual cash incentive compensation opportunities that were provided to such Continuing
Employee immediately prior to the Closing, (iii) severance, retention and any other termination
pay and benefits plans, practices and policies that are no less favorable than such plans, practices
and policies set forth on Schedule 8.11 that were applicable to such Continuing Employee
immediately prior to the Closing and (iv) other employee benefits (other than any defined benefit
pension, retiree medical or life insurance, retention, change in control or equity incentive
compensation opportunities) that are substantially comparable in the aggregate to those
employee benefits that were provided to such Continuing Employee immediately prior to the
Closing. Notwithstanding the foregoing from and after the Closing, Buyer shall, and shall cause
the Targets and their Subsidiaries to, honor the participating employees’ accrued and vested
obligations of the Targets and their Subsidiaries as of the Closing under any and all Company
Plans. The compensation and benefits for Continuing Employees who are covered by a
Collective Bargaining Agreement shall be provided in accordance with the applicable Collective
Bargaining Agreement as amended, extended or terminated from time to time in accordance with
its terms and applicable Law.

                8.11.2. Prior to the Closing, the Targets and their Subsidiaries, as applicable,
shall use commercially reasonable efforts to comply in all material respects with all notice,
consultation, effects bargaining or other bargaining obligations to any labor union, labor
organization, works council or group of employees of the Targets and their Subsidiaries in
connection with the Contemplated Transactions. Each of Buyer and the Targets agree to
reasonably cooperate with each other in order to comply with such obligations.

                8.11.3. For purposes of eligibility, vesting, level of benefits and benefit accrual
(but not for benefit accruals under defined benefit pension plans or post-retirement benefit plans)
under the employee benefit plans, programs and arrangements established or maintained by
Buyer and its Subsidiaries (including the Targets and their Subsidiaries) in which Continuing
Employees may become eligible to participate in after the Closing (the “New Benefit Plans”),
each Continuing Employee shall be credited with the same amount of service as was credited by
the Targets or their Subsidiaries, as applicable, immediately prior to the Closing under similar or
comparable Company Plans in which such Continuing Employee participated immediately prior
to the Closing (except to the extent such credit would result in a duplication of benefits or
compensation). In addition, and without limiting the generality of the foregoing and subject to
the terms and conditions of the applicable New Benefit Plans, (i) with respect to any New
Benefit Plans in which the Continuing Employees may be eligible to participate following the
Closing, each Continuing Employee will be eligible to participate in such New Benefit Plans,
without any waiting time, to the extent coverage under such New Benefit Plans replaces
coverage under a similar or comparable Company Plan in which such Continuing Employee was
participating immediately before such commencement of participation and (ii) for purposes of
each New Benefit Plan providing medical, dental, pharmaceutical and/or vision benefits to any
Continuing Employee, Buyer shall, or shall cause the Targets and their Subsidiaries to, use
commercially reasonable efforts to, for the applicable plan year in which the Closing occurs, (A)

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cause all pre-existing condition exclusions and actively-at-work requirements of such New
Benefit Plan to be waived for such Continuing Employee and his or her covered dependents, to
the extent any such exclusions or requirements were waived or were inapplicable under any
similar or comparable Company Plan in which such Continuing Employee participated
immediately prior to the Closing and (B) subject to the terms and conditions of the New Benefit
Plans, Buyer shall use commercially reasonable efforts to cause any eligible expenses incurred
by such Continuing Employee and his or her covered dependents during the portion of the plan
year of the Company Plan ending on the date such Continuing Employee’s participation in the
corresponding New Benefit Plan begins to be taken into account under such New Benefit Plan
for purposes of satisfying all deductible, coinsurance and maximum out-of-pocket requirements
applicable to such Continuing Employee and his or her covered dependents for the applicable
plan year as if such amounts had been paid in accordance with such New Benefit Plan.

                 8.11.4. The terms of this Section 8.11 are included for the sole benefit of the
Parties and shall not confer any rights or remedies upon any Continuing Employee or former
employee of any Targets or any of their Subsidiaries, any participant or beneficiary in any
Company Plan or any other Person or Governmental Authority (whether as a third-party
beneficiary or otherwise) other than the Parties hereto. Nothing contained in this Section 8.11
shall (i) constitute or be deemed to constitute establishment of or an amendment to or
termination of any Company Plan or other compensation or benefit plan, policy, program,
Contract or arrangement, (ii) obligate Buyer or any of its Subsidiaries (including the Targets) to
retain the employment or service of (or provide any term or condition of employment or service
to) any particular Employee or other Person or (iii) prevent Buyer or any of its Subsidiaries
(including the Targets) from amending, modifying or terminating any Company Plan, New
Benefit Plan or other benefit or compensation plan, policy, program, Contract or arrangement, to
the extent such amendment, modification, or termination is permitted by the terms of the
applicable plan, policy, program, Contract or arrangement.

         8.12.    Financing and Financing Cooperation.

                8.12.1. The Targets and their Subsidiaries shall use their reasonable best efforts
to, and to cause their Representatives to use reasonable best efforts to, provide to Buyer such
customary cooperation as may be reasonably requested by Buyer in connection with the Debt
Financing, including:

                           (a) assisting in preparation for and participating in (and cause senior
         management of the Targets or their Subsidiaries to participate), upon reasonable advance
         notice and at reasonable times, a reasonable number of meetings and calls (including
         customary one-on-one meetings with parties acting as lead arrangers, bookrunners or
         agents for, and prospective lenders of, the Debt Financing), rating agency presentations,
         road shows and due diligence sessions (including accounting due diligence sessions),
         drafting sessions and otherwise assisting with the marketing efforts for any of the Debt
         Financing and assisting Buyer in obtaining ratings (but not any specific ratings) in respect
         of the borrower/issuer of the Debt Financing and public ratings in respect of any debt
         issued or incurred as part of the Debt Financing;




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                            (b) assisting Buyer and its potential financing sources in the
         preparation of (A) customary bank information memoranda, customary offering
         documents, lender presentations, investor presentations and other customary disclosure
         and similar marketing documents for any of the Debt Financing, including the execution
         and delivery of customary authorization and representation letters in connection with the
         disclosure and marketing materials relating to the Debt Financing authorizing the
         distribution of information relating to the Targets and their Subsidiaries to prospective
         lenders and identifying any portion of such information that constitutes material,
         nonpublic information regarding the Targets or their Subsidiaries or their respective
         securities (in each case in accordance with customary syndication practices) and
         containing a representation that (to the extent accurate) the public-side version does not
         include material non-public information about the Targets and their Subsidiaries or their
         respective securities and (B) customary materials for rating agency presentations for the
         Debt Financing;

                            (c) (x) delivering to Buyer and its potential financing sources
         (including the Financing Sources) as promptly as reasonably practicable (1) the Required
         Financing Information and other financial and other customary information (including
         assistance with preparing projections, financial estimates, forecasts and other forward-
         looking information) in connection with the preparation of customary disclosure and
         marketing materials, as applicable, and assisting Buyer in preparing (A) pro forma
         balance sheets and related notes as of the most recently completed interim period ended
         at least forty-five (45) days before the Closing Date (or ninety (90) days in case such
         period includes the end of the Targets’ fiscal year) and (B) pro forma income statements
         and related notes for the most recently completed fiscal year, for the most recently
         completed interim period and the comparable interim period in the prior fiscal year and
         for the twelve (12) month period ending on the last day of the most recently completed
         four (4) fiscal quarter period ended at least forty-five (45) days before the Closing Date
         (or ninety (90) days in case such period includes the end of the Targets’ fiscal year) and
         (2) (i) within 90 days after the end of each fiscal year ending after the date of this
         Agreement, audited consolidated balance sheets as of the end of such fiscal year and
         related statements of income, stockholders’ equity and cash flows of each of the Existing
         Reporting Entities and their Subsidiaries for such fiscal year and (ii) within 45 days after
         the end of each fiscal quarter ending after the date of this Agreement, unaudited
         consolidated balance sheets and related statements of income and cash flows of the
         Existing Reporting Entities and their Subsidiaries, for each such fiscal quarter and year to
         date period through the end of such fiscal quarter (other than any fiscal fourth quarter), in
         each case prepared in accordance with GAAP (and, in the case of clause (ii), which will
         have been reviewed by the Targets’ independent accountants as provided in Statement on
         Auditing Standards 100)),; and (y) informing Buyer if the chief executive officer, chief
         financial officer, treasurer or controller of the Targets’ or any member of the Targets’
         board of directors (or other similar applicable governing bodies) shall have knowledge of
         any facts as a result of which a restatement of any financial statements to comply with
         GAAP is probable or under consideration; provided that Buyer that shall promptly
         reimburse Sellers for all out-of-pocket expenses incurred by Sellers in complying with
         this Section 8.12.1(c), which reimbursement obligation shall survive the termination of
         this Agreement;

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                           (d) causing its independent registered public accounting firm to
         provide (A) customary assistance with the due diligence activities of Buyer and its
         Financing Sources and the preparation of any pro forma financial statements to be
         included in the documents referred to in clause (iii) above, (B) customary consents to the
         use of audit reports in any disclosure and marketing materials relating to the Debt
         Financing and related government filings and (C) customary “comfort” letters (including
         negative assurance comfort and change period comfort) in connection the Debt Financing
         or any debt securities issued in connection therewith or in lieu thereof, and the Targets
         shall provide the information necessary to enable the applicable accountants to deliver
         customary “comfort” letters (including “negative assurance” comfort and change period
         comfort); provided that Buyer that shall promptly reimburse Sellers for all out-of-pocket
         expenses incurred by Sellers in complying with this Section 8.12.1(d), which
         reimbursement obligation shall survive the termination of this Agreement;

                            (e) assisting with the prepayment or repayment of all Indebtedness of
         the Targets identified by Buyer and cooperating with any back-stop, “roll-over” or
         termination of any existing letters of credit thereunder (and the release and discharge of
         all related liens and security interests), including by providing to Buyer at least three (3)
         Business Days prior to Closing customary pay-off letters in form and substance
         reasonably satisfactory to Buyer, UCC-3 financing statements, filings with the United
         States Patent and Trademark and/or Copyright Office, and other similar and related
         ancillary agreements as are necessary in connection with the prepayment or repayment of
         such Indebtedness of the Targets or the Debt Financing (it being understood that no such
         documentation shall become effective until the Closing);

                            (f) executing and delivering as of, but not effective before, the
         Closing, and subject in each case to the terms of the Debt Commitment Letter, customary
         definitive financing documentation as may be reasonably requested by Buyer, including
         pledge and security documents, supplemental indentures, currency or interest hedging
         arrangements, guarantees, customary officer’s certificates (including a certificate of the
         chief financial officer of each Target with respect to solvency matters, instruments,
         filings, security agreements and other matters ancillary to, or required in connection with,
         the Debt Financing (including delivering stock certificates for certificated securities with
         transfer powers executed in blank) of the Targets and its domestic Subsidiaries to the
         extent required on the Closing Date; and

                           (g) (A) at least three (3) Business Days prior to the Closing Date,
         providing all documentation and other information relating to the Targets and their
         Subsidiaries to be required by applicable “know your customer” and anti-money
         laundering rules and regulations including the USA PATRIOT Act and the requirements
         of 31 C.F.R. §1010.230 (the “Beneficial Ownership Regulation”) to the extent reasonably
         requested by Buyer at least six (6) Business Days prior to the Closing Date and, if the
         Targets and their Subsidiaries qualify as “legal entity customers” under the Beneficial
         Ownership Regulation, a Beneficial Ownership Certification and (B) cooperating
         reasonably with the Financing Sources’ due diligence, to the extent customary and
         reasonable.


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                8.12.2. The Targets shall, and shall cause each of the Targets’ Subsidiaries to,
(a) deliver to Buyer as promptly as practicable after the date hereof the Required Financing
Information and (b) update any Required Financing Information provided to Buyer as may be
necessary so that such Required Financing Information (i) is Compliant and (ii) meets the
applicable requirements set forth in the definition of “Required Financing Information”. For the
avoidance of doubt, Buyer may, to most effectively access the financing markets, require the
cooperation of the Targets and the Targets’ Subsidiaries under this Section 8.12 at any time, and
from time to time and on multiple occasions, between the date hereof and the Closing Date.

                8.12.3. The Targets hereby consent to the use of all of their and their
Subsidiaries’ logos in connection with the Debt Financing; provided that such logos are used
solely in a manner that is not intended to or reasonably likely to harm or disparage the Targets or
their Subsidiaries or the reputation or goodwill of the Targets or any of their Subsidiaries; and
subject to the prior review by, and consent of, the Targets (such consent not to be unreasonably
withheld or delayed). In addition, the Targets agree to use reasonable best efforts to supplement
the written information (other than information of a general economic or industry specific
nature) concerning the Targets and their Subsidiaries provided pursuant to this Section 8.12 to
the extent that any such information, to the Targets’ Knowledge, contains any material
misstatements of fact or omits to state any material fact necessary to make such information
concerning the Targets and their Subsidiaries, taken as a whole, not misleading in any material
respect as promptly as reasonably practicable after gaining Knowledge thereof.

        8.13. Exclusivity. Until the earlier of the Closing and such time as this Agreement is
terminated in accordance with its terms, except for the Contemplated Transactions, each of the
Targets and Sellers shall not, and each shall cause its and its Affiliates’ Representatives not to,
directly or indirectly, unless otherwise expressly permitted by this Agreement, solicit, encourage
or enter into any negotiation, discussion or Contract, with any party, with respect to the sale of
the Interests or all or any portion of the assets of the Targets or any of their Subsidiaries, or any
merger, recapitalization or similar transaction with respect to the Targets or any of their
Subsidiaries or any of their respective businesses.

        8.14. Release. Effective as of the Closing, each Seller on behalf of itself and its
Affiliates, successors and assigns (the “Seller Parties”), hereby unconditionally and irrevocably
waives any claims that such Person, in its capacity as a direct or indirect holder of Interests in the
applicable Target, has or may have in the future against the Targets or any of their Subsidiaries
and releases, on its own behalf and on behalf of its successors and assigns, each Target, each of
their respective Subsidiaries and their respective Affiliates, directors and officers (the “Target
Parties”), from any and all Proceedings with respect thereto. Each Seller, on behalf of itself the
applicable Seller Parties, expressly waives, to the full extent that it may lawfully waive, all rights
pertaining to a general release of claims, and affirms that it is releasing all known or unknown
claims that it has or may have against any applicable Target Party, in each case in its capacity as
a direct or indirect holder of Interests in the applicable Target. Notwithstanding anything else to
the contrary herein, the foregoing release does not apply to (i) any obligation of the Target
Parties arising out of this Agreement, the Camelot Purchase Agreement, the Houston Purchase
Agreement or any documents executed in connection with this Agreement, the Contemplated
Transactions, the Camelot Purchase Agreement, the Houston Purchase Agreement or the
transactions contemplated therein, (ii) unpaid salary, benefits, out-of-pocket expenses accrued in

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the ordinary course of business prior to the Closing, or (iii) any obligation of the Targets or their
Subsidiaries to indemnify and defend the Seller Parties from any third party claims arising from
any Seller Party’s capacity as a director, manager, officer, or employee of any Target or
Subsidiary pursuant to Section 8.5.

9.       INDEMNIFICATION

         9.1.    Survival. The representations and warranties of the parties contained in this
Agreement, and the covenants and agreements of the parties hereto to the extent they, by their
terms, contemplate or provide for performance prior to the Closing, shall survive the Closing
until the date that is the thirteen (13) month anniversary of the Closing Date (the “General Reps
Termination Date”), except that the Seller Fundamental Representations and the Buyer
Fundamental Representations shall survive the Closing until the sixth (6th) anniversary of the
Closing Date (the “Fundamental Representation Termination Date”) and the representations and
warranties set forth in Section 3.7 (the “Tax Representations”) shall survive until the date that is
sixty (60) days after the expiration of the applicable statute of limitations with respect to such
representation (the “Tax Representation Termination Date”). The other covenants and
agreements of the parties contained in this Agreement, or in any certificate or other writing
delivered pursuant hereto or in connection herewith, shall survive the Closing in accordance with
their terms. No claim may be made seeking indemnification for breaches of any representations
or warranties pursuant to this Article 9 unless a written notice of such claim is provided to the
applicable Indemnifying Party in accordance with this Article 9 prior to the General Reps
Termination Date or, in the case of a breach of a Seller Fundamental Representation or a Buyer
Fundamental Representation, the Fundamental Representation Termination Date or, in the case
of a breach of a Tax Representation, the Tax Representation Termination Date. If a Buyer
Indemnified Party or Seller Indemnified Party has made a proper claim for indemnification for
breaches of any representation or warranty pursuant to Sections 9.2 or 9.3 prior to the General
Reps Termination Date or, in the case of a breach of a Seller Fundamental Representation or a
Buyer Fundamental Representation, the Fundamental Representation Termination Date or, in the
case of a breach of a Tax Representation, the Tax Representation Termination Date, then such
claim (and only such claim), if then unresolved, will survive until such claim is resolved.

         9.2.     Indemnity by the Seller.

                9.2.1.      From and after the Closing, subject to the provisions of this Article 9,
the Sellers shall jointly and severally indemnify the Buyer and each of its Affiliates and each of
their respective directors, officers, employees, partners, equity holders, successors and assigns
(collectively, the “Buyer Indemnified Parties”) and hold them harmless from and against any and
all Losses suffered or incurred by the Buyer Indemnified Parties to the extent arising from (i) any
breach of or inaccuracy in any representations and warranties of the Targets in Article 3 or the
Sellers in Article 4, (ii) any breach of any covenant or agreement of the Sellers in this
Agreement, (iii) any breach of any covenant or agreement in this Agreement that is required by
its terms to be performed by the Targets or any of their Subsidiaries prior to the Closing or (iv)
Pre-Closing Taxes.

               9.2.2.   The Sellers’ aggregate liability in respect of claims for indemnification
for Seller General Representations pursuant to this Article 9 will not exceed the Indemnity Cap

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Amount. Any indemnifiable Losses for which Sellers are liable pursuant to this Article 9 shall
be satisfied as set forth in Section 9.11. Notwithstanding anything else to the contrary herein,
except with respect to any claims for indemnification for fraudulent conduct, in no event shall
Sellers’ aggregate liability with respect to claims for indemnification pursuant to this Article 9
exceed the Purchase Price.

               9.2.3.     Except with respect to any claims for indemnification for Sellers’
breach of any Seller Fundamental Representation or Tax Representation, breach of any
covenants or agreements made by the Sellers, breach of any covenant or agreement in this
Agreement that is required by its terms to be performed by the Targets or any of their
Subsidiaries prior to the Closing, fraudulent or criminal conduct or Willful Breach of this
Agreement or any other agreement entered into in connection herewith or for Pre-Closing Taxes,
the Buyer Indemnified Parties will not be entitled to indemnification under (a) this Article 9
unless and until with respect to any individual item of Loss, such item is greater than One
Hundred Thousand Dollars ($100,000) (any individual items of Loss that are less than or equal to
One Hundred Thousand Dollars ($100,000), shall be “Minor Claims”) and (b) Section 9.2.1(i)
unless and until the aggregate Losses for which indemnification would otherwise be available
under Section 9.2.1(i) (excluding Minor Claims) exceed Eight Million Dollars ($8,000,000) (the
“Deductible”), at which point indemnification shall be available to the Buyer Indemnified Parties
under Section 9.2.1(i) for the amount of any Losses in excess of the Deductible.

                9.2.4.    The applicable Buyer Indemnified Party will provide the Sellers with a
prompt, reasonably detailed written notice for any claim made in respect of the indemnification
provided in this Section 9.2 (including the basis of such claim, the provisions of this Agreement
alleged to have been breached and the amount of Losses incurred or suffered with respect
thereto, in each case to the extent reasonably known at the time of such notice), whether or not
arising out of a Third Party Claim; provided, however, that no delay on the part of the applicable
Buyer Indemnified Party in notifying the Sellers will relieve the Sellers from any
indemnification obligation hereunder unless and solely to the extent the Sellers are actually
prejudiced thereby.

         9.3.     Indemnity by the Buyer.

                 9.3.1.   From and after the Closing, subject to the provisions of this Article 9,
the Buyer shall indemnify the Sellers and each of their Affiliates and each of their respective
directors, officers, employees, partners, equity holders, successors and assigns (collectively, the
“Seller Indemnified Parties”) and hold them harmless from and against any and all Losses
suffered or incurred by the Seller Indemnified Parties to the extent arising from (i) any breach of,
or inaccuracy in, any representations and warranties of the Buyer in Section 5 or in any
certificate delivered hereunder with respect thereto, (ii) any breach of any covenant or agreement
of the Buyer in this Agreement or (iii) any breach of any covenant or agreement to be performed
by the Targets following the Closing.

              9.3.2.   The Buyer’s aggregate liability in respect of claims for indemnification
for Buyer General Representations pursuant to this Article 9 will not exceed the Indemnity Cap
Amount. Notwithstanding anything else to the contrary herein, in no event shall Buyer’s



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aggregate liability with respect to claims for indemnification pursuant to this Article 9 exceed the
Maximum Liability Amount.

                9.3.3.     Except with respect to any claims for indemnification for Buyer’s
breach of any Buyer Fundamental Representation, breach of any covenants or agreements made
by the Buyer in this Agreement, breach of any covenant or agreement to be performed by the
Targets following the Closing, fraudulent or criminal conduct or Willful Breach of this
Agreement or any other agreement entered into in connection herewith, the Seller Indemnified
Parties will not be entitled to indemnification under this Article 9 unless and until (a) with
respect to any individual item of Loss, such item is greater than a Minor Claim and (b) the
aggregate Losses for which indemnification would otherwise be available under Section 9.3.1
(excluding Minor Claims) exceed the Deductible, at which point indemnification shall be
available to the Seller Indemnified Parties under Section 9.3.1 for the amount of any Losses in
excess of the Deductible. Buyer shall pay any amounts due to Sellers pursuant to this Section
9.3 within five (5) Business Days of a Final Determination.

               9.3.4.     The applicable Seller Indemnified Party or the Sellers will provide the
Buyer with a prompt, reasonably detailed written notice for any claim made in respect of the
indemnification provided in this Section 9.3 (including the basis of such claim, the provisions of
this Agreement alleged to have been breached and the amount of Losses incurred or suffered
with respect thereto, in each case to the extent reasonably known at the time of such notice),
whether or not arising out of a Third Party Claim; provided, however, that no delay on the part of
the applicable Seller Indemnified Party in notifying the Buyer will relieve the Buyer from any
indemnification obligation hereunder unless and solely to the extent the Buyer is actually
prejudiced thereby.

       9.4.    Determination of Breach. For purposes of this Article 9, the determination as to
whether a breach of a representation, warranty, covenant or agreement has occurred shall be
made without regard to any “materiality” or similar qualification contained in such
representation, warranty, covenant or agreement.

        9.5.    Calculation of Losses. For purposes of determining the amount of any Losses
subject to indemnification under this Article 9, the amount of such Losses (a) will be determined
without regard to any “materiality” or similar qualification contained in such representation,
warranty, covenant or agreement giving rise to the claim for indemnity hereunder and (b) will be
determined net of (i) any amounts to the extent taken into account as liabilities or reserves in the
calculation of the Final Working Capital Amount or any other adjustments that reduced the
Purchase Price set forth in Section 2.5, and (ii) the sum of any amounts actually recovered under
insurance policies, or other amounts actually recovered from third parties with respect to such
Losses (net of any actual out-of-pocket expenses incurred in collecting such amounts and any
increases in premiums as a result thereof) (“Insurance Proceeds”). In the event that any
Insurance Proceeds are actually received by an Indemnified Party after payment for the related
indemnification claim has been made pursuant to this Section 9, then the Indemnified Party shall
pay to the Indemnifying Party, as the case may be, an amount equal to the amount of the
reduction in Losses that would have been applied pursuant to the first sentence of this
Section 9.5 had such Insurance Proceeds been received at the time such indemnification claim
was made (but, for the avoidance of doubt, in no event an amount greater than the amount paid

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by the Indemnifying Party to the Indemnified Party in respect of such claim). Each Indemnified
Party shall use commercially reasonable efforts to seek recovery from third parties who may be
responsible, in whole or in part, for Losses suffered by such Indemnified Party and to make
claims under insurance policies providing coverage with respect to Losses suffered by such
Indemnified Party.

         9.6.     Matters Involving Third Parties.

                9.6.1.    If any third party notifies any Indemnified Party with respect to any
matter that may give rise to a claim for indemnification against any Indemnifying Party under
this Section 9 (a “Third Party Claim”), then the Indemnified Party will promptly, and in any
event within twenty (20) Business Days, notify in writing the Indemnifying Party of such Third
Party Claim (such notification, a “Claim Notice”) describing in reasonable detail the basis for
such Third Party Claim (including identification of the provisions of this Agreement alleged to
have been breached and the amount of Losses incurred or suffered with respect thereto, in each
case, to the extent reasonably known at the time of such notice) and enclosing copies of any
documents then available to the Indemnified Party relating to such Third Party Claim and
thereafter provide the Indemnifying Party such documents and information with respect thereto
that the Indemnifying Party may reasonably request; provided, however, that no delay on the part
of the Indemnified Party in notifying any Indemnifying Party will relieve the Indemnifying Party
from any indemnification obligation hereunder unless and solely to the extent the Indemnifying
Party is actually prejudiced thereby. Thereafter, the Indemnified Party will deliver to the
Indemnifying Party, after receipt thereof, copies of all notices, demands and other documents
(including court papers) received by the Indemnified Party relating to the Third Party Claim.
This Section 9.6 shall not apply to the conduct of any Tax Proceedings or Straddle Period Tax
Proceedings, which shall be exclusively governed by Section 8.6.5.

               9.6.2.     The Indemnifying Party will have the right to control the defense of the
Third Party Claim with counsel of its choice (and reasonably acceptable to the Indemnified
Party); provided, that the Indemnifying Party shall not be entitled to assume or continue to
control the defense of any Third Party Claim if (i) the Third Party Claim relates to or arises in
connection any criminal Proceeding or an Proceeding by any Governmental Authority, (ii) the
Third Party Claim seeks an injunction or equitable relief against any Indemnified Party, (iii) the
Third Party Claim has or would reasonably be expected to result in Losses in excess of the
amounts available for indemnification pursuant to Section 9.2 or 9.3, as applicable, (iv) the
Indemnifying Party has failed or is failing to defend in good faith the Third Party Claim, (v) the
Third Party Claim would reasonably be expected to have a material and adverse effect on the
Indemnified Party’s business or relates to its material customers, suppliers, vendors or other
service providers or (vi) the Indemnifying Party has not acknowledged and agreed that such
Third Party Claim is subject to indemnification pursuant to this Article 9. If the Sellers undertake
the defense of any Third Party Claim, at the election of the Sellers, the reasonable out-of-pocket
costs and expenses of such defense shall be paid by the Sellers.

                9.6.3.    If the Indemnifying Party is conducting the defense of the Third Party
Claim, (a) the Indemnified Party may participate in the defense of the Third Party Claim (but not
of record, and shall not communicate with the Person asserting the Third Party Claim or its
Representatives) and retain separate co-counsel at its sole cost and expense, unless the retention

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of separate counsel is (x) so requested by the Indemnifying Party in writing or (y) in the
reasonable opinion of counsel to the Indemnified Party, necessary to avoid a conflict of interest
that would be created by joint representation of both the Indemnified Party and the Indemnifying
Party (provided, that in such circumstance, the Indemnifying Party shall not be required to pay
for more than one such counsel for all Indemnified Parties in connection with any Third Party
Claim), (b) the Indemnified Party will not consent to the entry of any judgment or enter into any
settlement with respect to the Third Party Claim, nor take any voluntary action prejudicial to the
determination of the Third Party Claim, without the prior written consent of the Indemnifying
Party and (c) the Indemnifying Party will not consent to the entry of any judgment or enter into
any settlement with respect to the Third Party Claim unless (i) written agreement is obtained
releasing the Indemnified Party subject to the Third Party Claim from all liability thereunder,
(ii) it involves only the payment of money and the amount of such judgment or settlement does
not exceed an amount equal to the fair market value (determined in accordance with the
procedures set forth in the Pledge Agreement) of the Rollover Interests against which the Buyer
Indemnified Parties have recourse at such time and (iii) the judgment or settlement does not
involve any finding or admission of a violation of any Law by the Indemnified Party. If the
Indemnifying Party is not conducting the defense of the Third Party Claim, the Indemnified
Party will not consent to the entry of any judgment or enter into any settlement with respect to
such Third Party Claim without the prior written consent of the Indemnifying Party (such
consent not to be unreasonably withheld).

                9.6.4.   Each party will cooperate, and cause their respective Affiliates to
cooperate, in the defense or prosecution of any Third Party Claim and will furnish or cause to be
furnished such records, information and testimony, and attend such conferences, discovery
proceedings, hearings, trials or appeals, as may be reasonably requested in connection therewith.

        9.7.    Effect of Knowledge. The right to indemnification, payment in respect of Losses
or other remedies based on any representations, warranties, covenants or agreements set forth in
this Agreement or in any document delivered with respect hereto will not be affected by any
investigation conducted with respect to, or any knowledge or information acquired (or capable of
being acquired) at any time, whether before or after the Closing Date, and regardless of whether
such knowledge or information was obtained through the Indemnified Party’s own investigation
or through disclosure by another party or another Person, with respect to the accuracy or
inaccuracy of or compliance with, any such representation, warranty, covenant or agreement
(other than disclosures with respect to any such representation or warranty made in the
Disclosure Schedules).

       9.8.    Limitations on Indemnification. Neither Buyer nor Sellers shall be liable for
incidental, consequential or punitive damages under this Article 9 except to the extent such
incidental, consequential or punitive damages are awarded or paid with respect to a third party
claim as to which a Party is entitled to seek indemnification hereunder.

        9.9.    Tax Treatment. The Buyer and the Sellers will treat any payment received
pursuant to Section 2.5.5 and this Article 9 as an adjustment to the purchase price for Tax and
financial reporting purposes, except to the extent otherwise required by any Law.



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         9.10.    Acknowledgement by the Parties.

                9.10.1. Each party understands, acknowledges and agrees that, from and after
the Closing, except for claims of fraudulent or criminal conduct or Willful Breach of this
Agreement or any other agreement entered into in connection herewith, the indemnification
provided pursuant to, and subject to the terms and conditions of, this Article 9, shall be the sole
and exclusive monetary remedy of each of the parties and the Target Related Parties and Buyer
Related Parties (or any Person claiming by, through or on behalf of any of them), with respect to
(a) the subject matter of this Agreement, including the negotiation or performance hereof, or the
Contemplated Transactions or (b) any other matter relating to the Targets prior to the Closing,
the operation of its business prior to the Closing, or any other transaction, circumstance or state
of facts involving the Targets prior to the Closing and that each of the parties and the Target
Related Parties and Buyer Related Parties (and any Person claiming by, through or on behalf of
any of them) shall have no other monetary remedy or recourse with respect to any of the
foregoing other than indemnification pursuant to, and subject to the terms and conditions of, this
Article 9. Each party acknowledges and agrees, on behalf of the Target Related Parties and
Buyer Related Parties, as applicable, (and any Person claiming by, through or on behalf of any of
them), that none of them may avoid such limitation by (x) seeking relief for breach of contract,
tort or pursuant to any other theory of liability, all of which are hereby expressly and irrevocably
waived or (y) asserting or threatening any claim against any Person that is not a party hereto,
including any Target Related Party or Buyer Related Party, with respect to this Agreement or the
Contemplated Transactions. Notwithstanding anything to the contrary herein, from and after the
Closing, nothing in this Article 9 will limit any Buyer Indemnified Party’s or Seller Indemnified
Party’s remedies with respect to fraud.

         9.11. Manner of Payment. Any indemnification obligations of the Sellers pursuant to
this Article 9, subject in each case to the limitations in this Article 9, will be satisfied, at Sellers’
option, either in cash or against the Rollover Interests (in accordance with this Article 9 and
pursuant to the Pledge Agreement); which election shall be provided by Sellers to Buyer in
writing within five (5) Business Days of a Final Determination; provided, however, that, if (i)
Sellers elect, and subsequently fail to, pay to Buyer Indemnified Parties any such indemnifiable
amounts in cash within ten 10 Business Days of a Final Determination or (ii) Sellers fail to
provide written notice of the election as required in this Section 9.10, then the Buyer Indemnified
Parties shall have recourse against the Rollover Interests for such indemnifiable Losses pursuant
to the Pledge Agreement; provided, further, that to the extent such indemnifiable Losses are
recovered by Buyer Indemnified Parties against the Rollover Interests, and such Losses exceed
such available recourse against the Rollover Interests, such excess shall be paid in cash by the
Sellers to the applicable Buyer Indemnified Parties, jointly and severally. Any indemnification
payment of monetary amounts to be made by any Indemnifying Party pursuant to this Article 9
will be effected by wire transfer of immediately available funds from or directed by the
Indemnifying Party to the accounts and in such amounts designated by the applicable
Indemnified Parties within five (5) Business Days after such Losses have been determined by (x)
a final, non-appealable order or judgment of a court of competent jurisdiction or (y) a written,
executed agreement between the Buyer and the Sellers (a “Final Determination”).




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10.      TERMINATION.

        10.1. Termination. This Agreement may be terminated at any time prior to the Closing
(except as otherwise provided in this Agreement, it being understood and agreed that this
Agreement may not be terminated for any other reason on any other basis) by either the Sellers
or Buyer upon the valid termination of both (a) the Camelot Purchase Agreement and (b) the
Houston Purchase Agreement (to the extent that definitive documentation is entered into in
respect of the transactions contemplated by the Houston Purchase Agreement).

         10.2.    Effect of Termination; Buyer Indemnification; Seller Termination Fee.

                10.2.1. In the event of the termination of this Agreement by either the Sellers or
the Buyer as provided in Section 10.1, written notice thereof shall forthwith be given by the
terminating Party to the other Party. Notwithstanding anything set forth herein to the contrary, in
the event of the valid termination of this Agreement in compliance with Section 10.1, this
Agreement shall be terminated and this Agreement shall forthwith become void and have no
effect, without any liability or obligation on the part of any Party (or any stockholder, director,
officer, employee, agent, consultant, representative, direct or indirect equity holder, controlling
person, partner, member, manager, or Affiliate of such Party or such Party’s Affiliates or its or
any of the foregoing’s successors or assigns), other than the Confidentiality Agreement (which
shall survive in accordance with its terms), this Section 10.2 and Article 11, which provisions
shall survive such termination (in each case, including the limitations set forth herein) provided,
however, that, subject to the limitations set forth in this Section 10.2 and Section 11.11, nothing
in this Section 10.2 shall relieve (x) the Sellers or the Targets from any liability resulting from
fraud prior to such valid termination of this Agreement or (y) Buyer from any liability resulting
from fraud prior to such valid termination of this Agreement (in each of the case of clause (x)
and this clause (y), which the parties acknowledge and agree will not be limited to
reimbursement of expenses or out-of-pocket costs, and in the case of any damages sought by the
non-breaching party, such damages will include the benefit of the bargain lost by the non-
breaching party, taking into consideration relevant matters, including opportunity costs and the
time value of money). Notwithstanding anything to the contrary in this Agreement or any
documents executed in connection with this Agreement or the Contemplated Transactions, in no
event will the Buyer Related Parties, collectively, have any liability for monetary damages,
whether in equity or at Law, in Contract, in tort or otherwise (including damages for fraud or
breach, whether willful, intentional, unintentional or otherwise (including Willful Breach) or
monetary damages in lieu of specific performance) in the aggregate in excess of Fifty Million
Dollars ($50,000,000) (the “Maximum Liability Amount”) (A) under this Agreement or any
other document related hereto, (B) in connection with the failure of the Contemplated
Transactions (including the Equity Financing or the Debt Financing), or (C) in respect of any
representation or warranty made or alleged to have been made in connection with this Agreement
or any documents executed in connection with this Agreement or the Contemplated
Transactions. No termination of this Agreement shall affect the obligations of the Parties
contained in the Confidentiality Agreement. Notwithstanding anything to the contrary in this
Agreement or any documents executed in connection with this Agreement or the Contemplated
Transactions, other than for fraud, in no event will the Seller Related Parties, collectively, have
any liability for monetary damages, whether in equity or at Law, in Contract, in tort or otherwise
(including damages for breach, whether willful, intentional, unintentional or otherwise (including

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Willful Breach) or monetary damages in lieu of specific performance) in the aggregate in excess
of the Maximum Liability Amount in connection with the failure of the Contemplated
Transactions. No termination of this Agreement shall affect the obligations of the Parties
contained in the Confidentiality Agreement.

               10.2.2. In the event that this Agreement is validly terminated pursuant to
Section 10.1, and the Willful Breach of the Camelot Purchase Agreement, the Houston Purchase
Agreement or this Agreement by Sellers or any Target is not the primary cause of termination of
the Camelot Purchase Agreement, the Houston Purchase Agreement or this Agreement, then:

                          (a) if the primary cause of the termination of the Camelot Purchase
         Agreement, the Houston Purchase Agreement or this Agreement is (x) Buyer’s Willful
         Breach of this Agreement, (y) Buyer’s Willful Breach of Sections 5.10(a), (b) or (e) of
         the Camelot Purchase Agreement or (z) Buyer’s (or such other applicable buyer entity’s)
         Willful Breach of such Person’s obligations in the covenant titled “Financing” in the
         Houston Purchase Agreement, the Buyer shall pay to Sellers, by wire transfer of
         immediately available funds, a fee equal to (i) Fifty Million Dollars ($50,000,000) (the
         “Buyer Termination Fee”) as promptly as practicable following such termination (and, in
         any event, within ten (10) Business Days following such termination);

                           (b) if the primary cause of the termination of the Camelot Purchase
         Agreement, the Houston Purchase Agreement or this Agreement is not (x) Buyer’s
         Willful Breach of this Agreement, (y) Buyer’s Willful Breach of Sections 5.10(a), (b) or
         (e) of the Camelot Purchase Agreement or (z) Buyer’s (or such other applicable buyer
         entity’s) Willful Breach of such Person’s obligations in the covenant titled “Financing” in
         the Houston Purchase Agreement, then (I) the Buyer shall indemnify the Seller
         Indemnified Parties and hold them harmless from and against any and all (i) Losses
         suffered or incurred by the Seller Indemnified Parties from third party claims to the
         extent arising from the termination of the Camelot Purchase Agreement or the Houston
         Purchase Agreement; and (II) the Buyer shall reimburse the Sellers, by wire transfer of
         immediately available funds, all reasonable, documented out-of-pocket expenses incurred
         by Sellers and Targets in connection with the negotiation and performance of this
         Agreement of this Agreement, the Camelot Purchase Agreement and the Houston
         Purchase Agreement as promptly as practicable following such termination (and, in any
         event, within ten (10) Business Days following such termination).

                10.2.3. In the event that this Agreement is validly terminated pursuant to
Section 10.1, and the primary cause of termination of the Camelot Purchase Agreement, the
Houston Purchase Agreement or this Agreement is the Willful Breach of the Camelot Purchase
Agreement, the Houston Purchase Agreement or this Agreement by any Seller or any Target,
then the Sellers shall pay to Buyer, by wire transfer of immediately available funds, a fee in the
amount of Fifty Million Dollars ($50,000,000) (the “Seller Termination Fee”) as promptly as
practicable following such termination (and, in any event, within ten (10) Business Days
following such termination).

               10.2.4. The Parties acknowledge that (i) the agreements contained in this
Section 10.2 are an integral part of the Contemplated Transactions, (ii) neither the Buyer

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Termination Fee nor the Seller Termination Fee is a penalty, but is liquidated damages, in a
reasonable amount that will compensate the Sellers or the Buyer, as applicable, in the
circumstances in which such fee is payable for the efforts and resources expended and
opportunities foregone while negotiating this Agreement and in reliance on this Agreement and
on the expectation of the consummation of the transactions contemplated hereby, which amount
would otherwise be impossible to calculate with precision and (iii) that, without these
agreements, the Parties would not enter into this Agreement. Accordingly, if (x) the Sellers fail
to timely pay any amount due pursuant to this Section 10.2, and, in order to obtain such payment,
Buyer commences a suit that results in a judgment against the Sellers for any amount due
pursuant to this Section 10.2, then the Sellers shall pay Buyer its reasonable and documented
out-of-pocket costs and expenses (including reasonable attorneys’ fees and expenses) in
connection with such suit or (y) Buyer fails to timely pay any amount due pursuant to this
Section 10.2, and, in order to obtain such payment, the Sellers commence a suit that results in a
judgment against Buyer for any amount due pursuant to this Section 10.2, then Buyer shall pay
the Sellers their reasonable and documented out-of-pocket costs and expenses (including
reasonable attorneys’ fees and expenses) in connection with such suit, in each case, together with
interest on the amount due pursuant to this Section 10.2 from the date such payment was
required to be made until the date of payment at the annual rate of two percent (2%) plus the
prime lending rate as published in The Wall Street Journal in effect on the date such payment
was required to be made (or such lesser rate as is the maximum permitted by applicable Law).
All payments under this Section 10.2 shall be made by wire transfer of immediately available
funds to an account designated in writing by Buyer or the Sellers, as applicable. In no event
shall the Seller Termination Fee or the Buyer Termination Fee be payable more than once.

11.      MISCELLANEOUS.

        11.1. Notices. All notices, requests, demands, claims and other communications
required or permitted hereunder will be in writing and will be sent by personal delivery,
nationally recognized overnight courier, facsimile or by e-mail (as a PDF). Any notice, request,
demand, claim, or other communication required or permitted hereunder will be deemed duly
given, as applicable, (a) upon personal delivery, (b) one (1) Business Day following the date sent
when sent by courier delivery or (c) upon confirmation of receipt when sent by facsimile or e-
mail (as a PDF), addressed as follows:




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If to the Sellers or, prior to the Closing, the    with a copy (which will not constitute notice)
Targets, to:                                       to:

Brian W. Brady                                     Brown Rudnick LLP
2111 University Park Drive, Suite 650,             600 13th St. NW
Okemos, MI 48864,                                  Washington, D.C. 20005
Email: brady@northwestbroadcasting.com             Facsimile number: (617) 289-0697
                                                   Email: flevy@brownrudnick.com
                                                   Attention: Fred L. Levy
and


Jason R. Wolff
4311 Wilshire Boulevard, Suite 408
Los Angeles, CA 90010
Email: jwolff@frcap.com


If to the Buyer, or, after the Closing, to the     with a copy (which will not constitute notice)
Targets, to:                                       to:

Terrier Media Buyer, Inc.                          Apollo Global Management
c/o Apollo Global Management                       9 West 57th Street, 43rd Floor
9 West 57th Street, 43rd Floor                     New York, NY 10019
New York, NY 10019                                 Facsimile number: (646) 417-6429
Facsimile number: (646) 417-6429                   Email: dsambur@apollolp.com
Email: dsambur@apollolp.com                                jsuydam@apollolp.com
        jsuydam@apollolp.com                       Attention: David Sambur, Partner
Attention: David Sambur, Partner                               John Suydam, Chief Legal Officer
            John Suydam, Chief Legal Officer
                                                   with a copy (which will not constitute notice)
with a copy (which will not constitute notice)     to:
to:
                                                   Paul, Weiss, Rifkind, Wharton & Garrison LLP
Paul, Weiss, Rifkind, Wharton & Garrison           1285 Avenue of the Americas
LLP                                                New York, NY 10019-6064
1285 Avenue of the Americas                        Facsimile number: (212) 757-3990
New York, NY 10019-6064                            Email:     tzeitzer@paulweiss.com
Facsimile number: (212) 757-3990                              bscrivani@paulweiss.com
Email:     tzeitzer@paulweiss.com                  Attention: Taurie M. Zeitzer
           bscrivani@paulweiss.com                            Brian Scrivani
Attention: Taurie M. Zeitzer
           Brian Scrivani

                Any party may change the address to which notices, requests, demands, claims,
and other communications required or permitted hereunder are to be delivered by providing to
the other parties notice in the manner herein set forth.


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        11.2. Expenses of Transaction. Whether or not the Contemplated Transactions are
consummated, except as otherwise specifically provided for in this Agreement, each of the
parties hereto will assume and bear all expenses, costs and fees (including legal and accounting
fees and expenses) incurred by such party in connection with the preparation, negotiation and
execution and performance of this Agreement and the Escrow Agreement and the consummation
of the Contemplated Transactions.

        11.3. Entire Agreement. The agreement of the parties that is comprised of this
Agreement (including all Schedules and Exhibits hereto), the Escrow Agreement, the Rollover
Agreement, the Limited Guaranty, the Camelot Purchase Agreement and the Houston Purchase
Agreement sets forth the entire agreement and understanding between the parties and their
respective Affiliates with respect to the subject matter thereof and supersedes and cancels any
and all prior and contemporaneous agreements, understandings, negotiations and
communications (other than the Confidentiality Agreement), whether oral or written, express or
implied, relating to the subject matter of this Agreement, the Escrow Agreement, the Rollover
Agreement, the Camelot Purchase Agreement or the Houston Purchase Agreement.

        11.4. Severability. If any term or other provision of this Agreement is held by a court
of competent jurisdiction or other authority to be invalid, void, unenforceable or against its
regulatory policy, the remainder of the terms and provisions of this Agreement shall remain in
full force and effect and shall in no way be affected, impaired or invalidated, so long as the
economic and legal substance of the transactions contemplated hereby, taken as a whole, is not
affected in a manner materially adverse to any Party. Upon such a determination, the Parties
shall negotiate in good faith to modify this Agreement so as to effect the original intent of the
Parties as closely as possible in an acceptable manner in order that the transactions contemplated
hereby be consummated as originally contemplated to the fullest extent possible.

        11.5. Amendment. This Agreement may be amended or modified, but only by an
instrument in writing executed by each of the Buyer and the Sellers. Notwithstanding anything
set forth above, (x) (i) this Section 11.5, Section 2.3, Section 2.4, Article 4, Article 5, Section
8.9, Section 8.10, Section 8.12, Section 10.1, Section 11.6, Section 11.7, Section 11.8, Section
11.9 and Section 11.11 (and any provision of this Agreement to the extent an amendment,
modification, waiver or termination of such provision would modify the substance of any such
Section, and any related definitions insofar as they affect such Sections) shall not be amended,
waived or otherwise modified without the prior written consent of Cox and Houston (to the
extent definitive documentation is entered into in respect of the transactions contemplated by the
Houston Purchase Agreement), and (ii) no other provision of this Agreement may be amended,
waived or otherwise modified in a manner that would reasonably be expected to be adverse to
the interests of Cox or Houston in any material respect without the prior written consent of Cox
or Houston, respectively (in the case of Houston, to the extent definitive documentation is
entered into in respect of the transactions contemplated by the Houston Purchase Agreement)
and (y) this Section 11.5, Section 8.12, Section 10.2.3, Section 11.6, Section 11.8.2, Section
11.11.3, Section 11.9, Section 11.10, Section 11.11 and Section 11.14 (and any provision of this
Agreement to the extent an amendment, modification, waiver or termination of such provision
would modify the substance of any such Section, and any related definitions insofar as they
affect such Sections) shall not be amended, waived or otherwise modified in a manner that is


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adverse to the interests of any Financing Source in any material respect without the prior written
consent of such Financing Source.

        11.6. Parties in Interest. This Agreement will be binding upon and inure solely to the
benefit of the parties hereto, and except as provided in Section 8.5, Article 9 and Section 11.14,
nothing in this Agreement, express or implied, is intended to or will be construed to or will
confer upon any other Person any right, claim, cause of action, benefit or remedy of any nature
whatsoever under or by reason of this Agreement, including by way of subrogation; provided,
that, notwithstanding anything to the contrary set forth above, (x) Cox and Houston (to the extent
definitive documentation is entered into in respect of the transactions contemplated by the
Houston Purchase Agreement) shall each be third-party beneficiaries of Section 2.3, Section 2.4,
Article 4, Article 5, Section 8.9, Section 8.10, Section 8.12, Section 10.1, Section 11.5, this
Section 11.6, Section 11.7, Section 11.8, Section 11.9, Section 11.10 and Section 11.11; (y) BR
shall be a third-party beneficiary of Section 11.17 and (z) the Financing Sources shall be a third-
party beneficiary of Section 8.12, Section 11.5, this Section 11.6, Section 11.8.2, Section
11.11.3, Section 11.9 and Section 11.14.

         11.7. Assignment. Neither this Agreement nor any of the rights, interests or obligations
hereunder shall be assigned by any of the Parties in whole or in part (whether by operation of
Law or otherwise) without the prior written consent of the other Parties, and any such assignment
without such consent shall be null and void; provided that Buyer may assign all or any portion of
its rights and obligations hereunder to a wholly owned direct or indirect Subsidiary of Buyer or
to any of its Affiliates without the prior written consent of the Sellers, or to any Financing Source
pursuant to the terms of the Debt Financing for purposes of creating a security interest herein or
otherwise assigning as collateral in respect of the Debt Financing, but no such assignment shall
relieve Buyer of any of its obligations hereunder. This Agreement shall be binding upon, inure
to the benefit of and be enforceable by the Parties and their respective successors and permitted
assigns.

         11.8.    Governing Law.

                11.8.1. This Agreement and all claims or causes of action (whether at Law, in
contract or in tort or otherwise) that may be based upon, arise out of or relate to this Agreement
or the negotiation, execution or performance hereof shall be governed by, and construed in
accordance with, the Laws of the State of Delaware, without giving effect to conflicts of laws
principles that would result in the application of the Law of any other state.

                 11.8.2. Notwithstanding anything herein to the contrary, any action, cause of
action, claim, cross-claim or third-party claim of any kind or description, whether at law or in
equity, whether in contract or in tort or otherwise, against any Financing Source in any way
relating to this Agreement or any of the transactions contemplated hereby, or any dispute arising
out of or relating in any way to the Debt Financing, the Debt Commitment Letter, the
performance thereof or the transactions contemplated thereby shall be governed by, and
construed in accordance with, the Laws of the State of New York.

     11.9. Waiver of Jury Trial. EACH OF THE PARTIES HEREBY KNOWINGLY,
INTENTIONALLY AND VOLUNTARILY IRREVOCABLY WAIVES ANY AND ALL

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RIGHTS TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
RELATED TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY (INCLUDING ANY ACTION, PROCEEDING, CLAIM OR COUNTERCLAIM
INVOLVING ANY FINANCING SOURCE).

        11.10. Reliance. Each of the parties hereto acknowledges that it has been informed by
each other party that the provisions of Sections 11.8 and 11.11 constitute a material inducement
upon which such party is relying and will rely in entering into this Agreement, and each such
party agrees that any breach by such party of any of the provisions of Sections 11.8 and 11.11
would constitute a material breach of this Agreement.

         11.11. Enforcement; Exclusive Jurisdiction.

                 11.11.1. The rights and remedies of the Parties shall be cumulative with and not
exclusive of any other remedy conferred hereby. The Parties agree that irreparable damage
would occur, that such damages (including monetary damages, even if available) would be
difficult to determine and that the Parties would not have any adequate remedy at law in the
event that any of the provisions of this Agreement were not performed in accordance with their
specific terms or were otherwise breached. It is accordingly agreed that the Parties shall be
entitled to an injunction or injunctions to prevent breaches or threatened breaches of this
Agreement and to enforce specifically the terms and provisions of this Agreement, including the
obligations to consummate the Contemplated Transactions, in the Court of Chancery of the State
of Delaware or, solely in the case that the Court of Chancery of the State of Delaware declines to
accept jurisdiction over a particular matter, any state or federal court located in the State of
Delaware, without proof of actual damages or otherwise (and each Party hereby waives any
requirement for the securing or posting of any bond in connection with such remedy), this being
in addition to any other remedy to which they are entitled at law or in equity. Notwithstanding
anything in this Agreement or any document entered into in connection with this Agreement to
the contrary, none of the Sellers, the Targets or any of their respective Affiliates shall be entitled
to seek to enforce specifically Buyer’s obligations to fund (or cause to be funded) any portion of
the Equity Financing or otherwise consummate the Contemplated Transactions, the Financing or
any other transactions contemplated by this Agreement or any other related agreements unless
and only if: (i) all of the conditions set forth in Article 6 have been and continue to be satisfied
or, to the extent permitted by applicable Law, waived (except for any conditions that by their
nature can only be satisfied on the Closing Date, but subject to such conditions being capable of
satisfaction on the Closing Date or waiver by the Party entitled to waive such conditions), (ii) the
full amount of the Debt Financing has been funded or will be funded at the Closing in
accordance with the terms of the Debt Commitment Letter if the Equity Financing were funded
at the Closing, (iii) Buyer fails to consummate the Closing by the date that the Closing should
have occurred pursuant to Section 2.3, (iv) the Sellers have irrevocably and unconditionally
confirmed in a written notice to Buyer that if specific performance is granted and the Equity
Financing and Debt Financing are funded, then they would each take such actions that are
required of them by this Agreement to cause the Closing to occur, and (v) Buyer fails to
complete the Closing within two (2) Business Days after delivery of the Sellers’ irrevocable and
unconditional written confirmation; provided, that the Sellers remain ready, willing and able to
consummate the Closing during such two (2) Business Day period after delivery of such
irrevocable and unconditional written confirmation. In no event will the Sellers or the Targets be

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entitled to enforce or seek to enforce specifically Buyer’s obligation to cause the Equity
Financing to be funded or to complete the Contemplated Transactions if the Debt Financing has
not been funded in full (or will not be funded in full at the Closing if the Equity Financing is
funded at the Closing). Furthermore, for the avoidance of doubt, it is agreed that Buyer and the
Sellers will be entitled to an injunction, specific performance or other equitable relief as provided
in this Section 11.11, except that, although the Sellers, in their sole discretion, may determine its
choice of remedies under this Agreement, including by pursuing specific performance in
accordance with, but subject to the limitations of, this Section 11.11, under no circumstances will
the Sellers, directly or indirectly, be permitted or entitled to receive both specific performance of
the type contemplated by this Section 11.11 or any monetary damages or other payments. The
Parties’ rights in this Section 11.11 are an integral part of the transactions contemplated hereby
and each Party hereby waives any objections to any remedy referred to in this Section 11.11.

                11.11.2. In addition, to the fullest extent permitted by applicable Law, each of
the Parties irrevocably (i) consents to submit itself, and hereby submits itself, to the personal
jurisdiction of the Court of Chancery of the State of Delaware, or solely in the case that the Court
of Chancery of the State of Delaware declines to accept jurisdiction over a particular matter, any
state or federal court located in the State of Delaware, in the event any dispute arises out of this
Agreement or any of the transactions contemplated by this Agreement, (ii) agrees that it will not
attempt to deny or defeat such personal jurisdiction by motion, as a defense, or other request for
leave from any such court, and agrees not to plead or claim (or counterclaim) any objection to
the laying of venue in any such court or that any judicial proceeding in any such court has been
brought in an inconvenient forum, (iii) agrees that it will not bring any action relating to this
Agreement or any of the transactions contemplated by this Agreement in any court other than the
Court of Chancery of the State of Delaware, or solely in the case that the Court of Chancery of
the State of Delaware declines to accept jurisdiction over a particular matter, any state or federal
court located in the State of Delaware, (iv) agrees not to assert that it and its property is exempt
or immune from jurisdiction of any such court or from any legal process commenced in such
courts (whether through service of notice, attachment prior to judgment, attachment in aid of
execution of judgment, execution of judgment or otherwise), (v) agrees that this Agreement, and
the subject matter hereof, may be enforced in or by such courts and (vi) consents to service of
process being made through the notice procedures set forth in Section 11.1; provided, that
(A) nothing herein shall affect the right of any party to serve legal process in any other manner
permitted by Law and (B) each such party’s consent to jurisdiction and service contained in this
Section 11.11 is solely for the purpose referred to in this Section 11.11 and shall not be deemed
to be a general submission to said courts or in the State of Delaware other than for such purpose.

                11.11.3. Notwithstanding anything herein to the contrary, each of the Parties
acknowledges and irrevocably agrees that any action or proceeding, whether in contract or tort,
at law or in equity or otherwise, against any Financing Source arising out of, or relating to, the
transactions contemplated by this Agreement (including the Debt Financing) shall be subject to
the exclusive jurisdiction of the Supreme Court of the State of New York, County of New York,
or if under applicable Law exclusive jurisdiction is vested in the federal courts, the United States
District Court for the Southern District of New York in the Borough of Manhattan (and the
appellate courts thereof) and each Party submits for itself and its property with respect to any
such action or proceeding to the exclusive jurisdiction of such court and agrees not to bring any
such action or proceeding in any other court.

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        11.12. No Waiver. No failure or delay on the part of any party hereto in the exercise of
any right hereunder will impair such right or be construed to be a waiver of, or acquiescence in,
any breach of any representation, warranty, covenant or agreement herein, nor will any single or
partial exercise of any such right preclude any other or further exercise thereof or of any other
right. No waiver of any provision of this Agreement shall be deemed or shall constitute a waiver
of any other provision hereof (whether or not similar), or shall constitute a continuing waiver
unless otherwise expressly provided. No waiver of any right or remedy hereunder shall be valid
unless the same shall be in writing and signed by the party against whom such waiver is intended
to be effective.

         11.13. Disclosure Schedules. All capitalized terms not defined in the Disclosure
Schedules shall have the meanings assigned to them in this Agreement. The Disclosure
Schedules shall, for all purposes in this Agreement, be arranged in numbered and lettered parts
and subparts corresponding to the numbered and lettered sections and subsections contained in
this Agreement. Each item disclosed in the Disclosure Schedules shall constitute an exception to
or, as applicable, disclosure for the purposes of, the representations and warranties (or covenants,
as applicable) to which it makes express reference and shall also be deemed to be disclosed or set
forth for the purposes of every other part in the Disclosure Schedules relating to the
representations and warranties (or covenants, as applicable) set forth in this Agreement to the
extent a cross-reference within the Disclosure Schedules is expressly made to such other part in
the Disclosure Schedules, as well as to the extent that the relevance of such item as an exception
to or, as applicable, disclosure for purposes of, such other section of this Agreement is
reasonably apparent from the face of such disclosure. The listing of any matter on the Disclosure
Schedules shall not be deemed to constitute an admission by the Sellers, the Targets or Buyer, as
applicable, or to otherwise imply, that any such matter is material, is required to be disclosed by
the Sellers, the Targets or Buyer, as applicable, under this Agreement or falls within relevant
minimum thresholds or materiality standards set forth in this Agreement. No disclosure in the
Disclosure Schedules relating to any possible breach or violation by the Sellers, the Targets or
Buyer, as applicable, of any Contract or Law shall be construed as an admission or indication
that any such breach or violation exists or has actually occurred. In no event shall the listing of
any matter in the Disclosure Schedules be deemed or interpreted to expand the scope of the
representations, warranties, covenants or agreements set forth in this Agreement.

        11.14. No Recourse. Each party agrees, on behalf of itself and (i) the Target Related
Parties or (ii) Buyer’s and its Subsidiaries’ former, current or future stockholders, directors,
officers, employees, Affiliates or Representatives (“Buyer Related Parties”), as applicable, that
all proceedings (whether in Contract or in tort, in Law or in equity or otherwise, or granted by
statute or otherwise, whether by or through attempted piercing of the corporate, limited
partnership or limited liability company veil or any other theory or doctrine, including alter ego
or otherwise) that may be based upon, in respect of, arise under, out or by reason of, be
connected with, or relate in any manner to: (a) this Agreement or any documents executed in
connection with this Agreement or the Contemplated Transactions (including the Equity
Financing or the Debt Financing) or any other transactions contemplated hereunder or
thereunder; (b) the negotiation, execution or performance of this Agreement or any documents
executed in connection with this Agreement or the Contemplated Transactions (including any
representation or warranty made in connection with, or as an inducement to, this Agreement or

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any documents executed in connection with this Agreement or the Contemplated Transactions);
(c) any breach or violation of this Agreement or any documents executed in connection with this
Agreement or the Contemplated Transactions; and (d) any failure of the Contemplated
Transactions (including the Equity Financing or the Debt Financing) or any other transactions
contemplated hereunder or thereunder to be consummated, in each case, may be made only
against (and are those solely of) the Persons that are, in the case of this Agreement, expressly
identified as parties to this Agreement, and in the case of the documents executed in connection
with this Agreement or the Contemplated Transactions, Persons expressly identified as parties to
such documents and in accordance with, and subject to the terms and conditions of, this
Agreement or such documents, as applicable. Notwithstanding anything in this Agreement or
any documents executed in connection with this Agreement or the Contemplated Transactions to
the contrary, each party agrees, on behalf of itself and its Target Related Parties or Buyer Related
Parties, as applicable, that (x) no Financing Source will have any liability or obligation in
connection with or related in any manner to the items in the immediately preceding clauses (a)
through (d) to any person that is not a party to the Debt Commitment Letter and (y) no recourse
under this Agreement or any documents executed in connection with this Agreement or the
Contemplated Transactions (including the Equity Financing or the Debt Financing) or any other
transactions contemplated hereunder or under any other documents executed in connection with
this Agreement or the Contemplated Transactions will be sought or had against any other Person,
including any Target Related Party or Buyer Related Party, and no other Person, including any
Target Related Party or Buyer Related Party, will have any liabilities or obligations (whether in
Contract or in tort, in Law or in equity or otherwise, or granted by statute or otherwise, whether
by or through attempted piercing of the corporate, limited partnership or limited liability
company veil or any other theory or doctrine, including alter ego or otherwise), for any claims,
causes of action, obligations or liabilities arising under, out of, in connection with or related in
any manner to the items in the immediately preceding clauses (a) through (d), it being expressly
agreed and acknowledged that no personal liability or losses whatsoever will attach to, be
imposed on or otherwise be incurred by any of the aforementioned, as such, arising under, out of,
in connection with or related in any manner to the items in the immediately preceding clauses (a)
through (d), in each case, except for claims that the Targets, Sellers or Buyer, as applicable, may
assert (subject, with respect to the following clauses (ii), in all respects to the limitations set forth
in Section 10.2, 11.11.1 and this 11.14): (i) against any Person that is party to, and solely
pursuant to the terms and conditions of, the Confidentiality Agreement; (ii) against each
guarantor under, if, as and when required pursuant to the terms and conditions of the Limited
Guaranty; (iii) against the equity providers for specific performance of their obligation to fund
their committed portions of the Equity Financing solely in accordance with, and pursuant to the
terms and conditions of, Section 6 of the Equity Commitment Letter; or (iv) against the Targets,
Sellers and Buyer solely in accordance with, and pursuant to the terms and conditions of, this
Agreement. Notwithstanding anything to the contrary in this Agreement or any documents
executed in connection with this Agreement or the transactions contemplated hereby, no Buyer
Related Party will be responsible or liable for any multiple, consequential, indirect, special,
statutory, exemplary or punitive damages that may be alleged as a result of this Agreement or
any documents executed in connection with this Agreement or the Contemplated Transactions
(including the Financing), or the termination or abandonment of any of the foregoing.



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        11.15. Headings. The headings contained in this Agreement are inserted only for
reference as a matter of convenience and in no way define, limit or describe the scope or intent
of this Agreement, and will not affect in any way the construction, meaning or interpretation of
this Agreement.

        11.16. Counterparts; Electronic Signature . This Agreement may be executed in any
number of counterparts, and by the different parties hereto in separate counterparts, each of
which will be deemed an original for all purposes and all of which together will constitute one
and the same instrument. This Agreement may be executed by facsimile or PDF signature by
any party and such signature will be deemed binding for all purposes hereof without delivery of
an original signature being thereafter required.

         11.17. Attorney Client Privilege; Conflict of Interest.

                11.17.1. Buyer agrees not to assert, and following the Closing agrees to cause the
Targets and their Subsidiaries not to assert, any attorney-client privilege with respect to
communications between Brown Rudnick LLP (“BR”) and any officer, director or employee of
the Targets and their Subsidiaries related to the Contemplated Transactions and occurring prior
to the Closing, it being the intention of the parties hereto that such attorney-client-privilege shall
be deemed to be the right of, and retained by, the Sellers, and not that of the Targets or their
Subsidiaries, following the Closing; provided that the foregoing shall in no event limit or
otherwise affect the Targets' or their Subsidiaries' right to assert any attorney-client privilege
with respect to any such communication against any Person other than any equityholder, officer,
director or employee of the Targets or their Subsidiaries prior to the Closing.

                 11.17.2. Each of the parties to this Agreement hereby agrees, on its own behalf
and on behalf of its directors, members, stockholders, partners, officers, employees and
Affiliates, that, prior to the Closing, BR may serve as counsel to each and any Seller and their
respective Affiliates (individually and collectively, the “Holder Group”), on the one hand, and
the Targets and their Subsidiaries, on the other hand, in connection with the negotiation,
preparation, execution and delivery of this Agreement and the consummation of the transactions
contemplated hereby (the “Existing Representation”), and that, following consummation of the
transactions contemplated hereby, BR (or any successor) may serve as counsel to the Holder
Group or any director, member, partner, stockholder, officer, employee or Affiliate of the Holder
Group, in connection with any litigation, claim or obligation arising out of or relating to this
Agreement or the Contemplated Transactions (any such representation, a “Post-Closing
Representation”) notwithstanding the Existing Representation, and each of the parties hereto
hereby consents thereto and waives any conflict of interest arising therefrom, and each of such
parties shall cause any Affiliate thereof to consent to waive any conflict of interest arising from
the Existing Representation. Upon and after the Closing, the Targets and their Subsidiaries shall
cease to have any attorney-client relationship with BR, unless and to the extent BR is specifically
engaged in writing by the Targets or any of their Subsidiaries to represent the Targets or their
Subsidiaries after the Closing and either such engagement involves no conflict of interest with
respect to the Sellers, or the Sellers consent in writing at the time to such engagement. Any such
representation of the Targets and their Subsidiaries by BR after the Closing shall not affect the
foregoing provisions hereof.


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               11.17.3. This Section 11.17 is for the benefit of the Holder Group and such
Persons are intended third-party beneficiaries of this Section 11.17.

                11.17.4. Buyer hereby acknowledges that it has had the opportunity (including
on behalf of its Affiliates) to discuss and obtain adequate information concerning the
significance and material risks of, and reasonable available alternatives to, the waivers,
permissions and other provisions of this Section 11.17, including the opportunity to consult with
counsel. This Section 11.17 shall be irrevocable, and no term of this Section 11.17 may be
amended, waived or modified, in a manner that is adverse to the interests of the Sellers or BR,
without the prior written consent of the Sellers and BR.

        11.18. Control Prior to Closing. Notwithstanding anything else herein to the contrary,
this Agreement and, without limitation, the covenants in Section 8.2 (but subject in all respects to
compliance therewith), are not intended to and shall not be construed to transfer control of the
Target Stations or to give Buyer any right, directly or indirectly, to control, supervise or direct, or
attempt to control, supervise or direct, the personnel, programming or finances, or any other
matter relating to the operation of the Target Stations prior to the Closing, and Sellers, the
Targets, and/or their respective Affiliates, as applicable, shall have ultimate control and
supervision of all aspects of Target Station operations up to the time of the Closing.



                [The remainder of this page is intentionally blank. Signatures follow.]




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                                         Schedule 3.8.1(a)

                                             Properties


Owned Real Property

       Owner                  Address                                         Description
 1     Cala       Broadcast   849 Washington Ave., Greensville, MS 38701,     Main Studio
       Partners LLC           Washington County
 2     Cala       Broadcast   837 Washington Ave., Greensville, MS 38701,     Main Studio
       Partners LLC           Washington County
 3     Cala       Broadcast   Chaney Lane/Alley Lot, Greensville, MS 38701, Behind Main
       Partners LLC           Washington County                             Studio
 4     Cala       Broadcast   3015 E. Reed Street, Greensville, MS 38701,   Old WXVT
       Partners LLC           Washington County                             Studio *
 5     Redwood Television     8998 Kneeland Road, Eureka, CA Humboldt       KIEM       and
       Partners LLC           County                                        KVIQ-LD
                                                                            Transmitter
                                                                            Site**
 6     Redwood Television     5650 South Broadway, Eureka, CA, Humboldt Combined
       Partners LLC           County                                        KIEM/KVIQ
                                                                            Studio
 7     Lost           Coast   1811 England Drive, Alexandria, LA            KLAX Studio
       Broadcasting LLC                                                     Site
 8     Lost           Coast   1198 Forest Service Road No. 116A, Dry Prong, KLAX Tower
       Broadcasting LLC       LA                                            Site
 9     Stainless              184 Ingraham Hill Road, Binghamton, NY 13851, Tower Site
       Broadcasting, L.L.C.   Broome County
 10    Stainless              4600 Vestal Parkway East, Vestal, NY 13851, WICZ-TV
       Broadcasting, L.L.C.   Broome County                                 Office
 11    Idaho      Broadcast   902 E. Sherman Street, Pocatello, ID 83201    Studio     and
       Partners, LLC                                                        Offices
 12    Idaho      Broadcast   N15 Lot 18, Lots 19-20, Block 169, Pocatello Parking Lot
       Partners, LLC          Townsite, Pocatello, 83201
 13    Idaho      Broadcast   Lots 8-9, Block 168, Pocatello Townsite, Satellite Lot
       Partners, LLC          Pocatello, 83201

* Property is currently vacant and is being listed for sale.
** Property is being listed for sale.

Leased Real Property

       Lessee               Address                                   Description
 1     Cala       Broadcast 200 East Washington Street, Greenwood, MS Studio     and
       Partners LLC         38930                                     Office

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2     Blackhawk          Black Mountain Road, Winterhaven, CA 92283,      Transmitter
      Broadcasting LLC   Imperial County, 30° 03’ 10.0”N 114° 49’         and Tower
                         40.0”W.
3     Blackhawk          Black Mountain Road, Winterhaven, CA 92283,      Transmitter
      Broadcasting LLC   Imperial County, 30° 03’ 17.0”N 114° 49’         and Tower
                         34.0”W.
4     Redwood Television 1603 Barry Road, Kneeland, County of             Old
      Partners LLC       Humboldt, CA                                     Transmitter
                                                                          Site (KJRW)
5     Cala       Broadcast Clare Blake Rd., O’Reilly, MS 38730, Bolivar WXVT-LD
      Partners LLC         County                                         Transmitter
                                                                          Site
6     Redwood Television 8998 Kneeland Road, Eureka, CA, Humboldt KIEM                and
      Partners LLC         County                                         KVIW-LD
                                                                          Vertical Bridge
                                                                          Lease.
                                                                          Redwood
                                                                          Television
                                                                          Partners owns
                                                                          land, but not
                                                                          tower.
7     Northwest            2111 University Park Drive, Suite 650, Okemos, Office Space
      Broadcasting, Inc.   MI 48864, Ingham County
8     Broadcasting         Suites 101-105 Cedar Mall, 820 Crater Lake KMVU Station
      Communications,      Avenue, Medford, OR 97504, Jackson County      Office
      LLC
9     Broadcasting         Mt. Baldy, Medford, OR, Jackson County         KMVU Tower
      Communications,                                                     Site
      LLC
10    Broadcasting         Beacon Hill, Grants Pass, OR, Josephine County KMVU
      Communications,                                                     Translator
      LLC                                                                 Station
                                                                          K34NO-D
11    Broadcasting         Stukel Mountain, Klamath Falls, OR, Klamath KMVU
      Communications,      County                                         Translator
      LLC                                                                 Station
                                                                          K26NB-D
12    Northwest            718-750 Crater Lake Ave., Medford, OR, Jackson Satellite Space
      Broadcasting, Inc.   County                                         at       KMVU
                                                                          Office
                                                                          Location
13    Broadcasting         Butcher Hill, Yreka, CA, Siskiyou County       KMVU
      Communications,                                                     Translator
      LLC                                                                 Station
                                                                          K32LQ-D
14    Mountain             1205 West Lincoln Ave., Yakima, Washington KCYU Station

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   Broadcasting, L.L.C. 98904, Yakima County                           Office
15 Mountain             6725 West Clearwater, Suites A & B,            KBWU/KFFX
   Broadcasting, L.L.C. Kennewick, WA 99336, Benton County             Station Office

16 Mountain               4600 S. Regal Street, Spokane, WA, Spokane KAYU Station
   Broadcasting, L.L.C.   County                                        Office
17 Mountain               Krell Hill, Spokane, WA, Spokane County       KAYU Tower
   Broadcasting, L.L.C.                                                 Site Land
18 Mountain               Spout Springs, OR, Union County               KFFX Tower
   Broadcasting, L.L.C.                                                 Site Land
19 Mountain               Ahtanum Ridge, Yakima, WA, Yakima County      KCYU Ch 41
   Broadcasting, L.L.C.                                                 Tower Site*
20 Mountain               Prosser Butte, Prosser, WA, Benton County     KCYU/KBWU
   Broadcasting, L.L.C.                                                 Translator
                                                                        Station K10NQ
21 Mountain               Baldy Mountain, Sandpoint, ID, Bonner County  KAYU
   Broadcasting, L.L.C.                                                 Translator
                                                                        Station
                                                                        K33LW Site
22 Mountain               Canfield Butte, Coeur D’Alene, ID, Kootenai KAYU
   Broadcasting, L.L.C.   County                                        Translator
                                                                        Station
                                                                        K46KE-D Site
23 Mountain               Omak      Mountain,     Omak/Okanogan,    WA, KAYU
   Broadcasting, L.L.C.   Okanogan County                               Translator
                                                                        Station
                                                                        K31AH-D
                                                                        Site**
24 Mountain               Omak      Mountain,     Omak/Okanogan,    WA, KAYU
   Broadcasting, L.L.C.   Okanogan County                               Translator
                                                                        Station
                                                                        K19AU-D
                                                                        Site**
25 Mountain               Chelan Butte, Chelan, WA, Chelan County       KAYU
   Broadcasting, L.L.C.                                                 Translator
                                                                        Station K44CK
                                                                        Site**
26 Mountain               Eagle Peak / Colville Mountain, Colville, WA, KAYU
   Broadcasting, L.L.C.   Stevens County                                Translator
                                                                        Station
                                                                        K09UP-D Site
27 Mountain               Cottonwood Butte, Grangeville, ID, Idaho KAYU
   Broadcasting, L.L.C.   County                                        Translator
                                                                        Station
                                                                        K19BY-D
                                                                        Site**

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 28 Mountain             Jump Off Butte, Stemilt, WA, Chelan County           KAYU
    Broadcasting, L.L.C.                                                      Translator
                                                                              Station K38IT
                                                                              Site**
 29 Mountain             Lewiston Hill, Whitman County, WA                    KAYU
    Broadcasting, L.L.C.                                                      Translator
                                                                              Station
                                                                              K18LH-D Site
 30 Mountain             Pickens      Mountain,      Ellisford/Oroville,      KAYU
    Broadcasting, L.L.C. Washington, Okanogan County                          Translator
                                                                              Station K35BJ
                                                                              Site**
 31 Mountain Licenses, Jump Off Joe Butte located in Benton County,           KFFX
    L.P.               WA.                                                    Translator
                                                                              Station
                                                                              KBWU-LD
                                                                              Site
 32 Bristlecone              1000 James Street, Syracuse, NY 13203            WSYT Station
    Broadcasting, LLC                                                         Office
 33 Bristlecone              Otisco-Mann Hill, Otisco Township, NY            WSYT Tower
    Broadcasting, LLC                                                         Site
 34 Bristlecone              Ithaca Tower, Ithaca, NY, Tompkins County        WYST
    Broadcasting, LLC                                                         Translator
                                                                              Station
                                                                              W16AX
 35 Bristlecone              2250 Barker Street, Otisco, NY 13084.            WSTM Tower
    Broadcasting, LLC                                                         Site
 36 Idaho      Broadcast     Clark Building, Howard Mountain, Pocatello, ID   Translator Site
    Partners, LLC            83201, Bannock County                            K40MS-D
 37 Idaho      Broadcast     At the Rexburg Bench, near Rexburg, ID           Translator Site
    Partners, LLC                                                             K13UF-D
 38 Idaho      Broadcast     Parcel #R3851000600 in Pocatello, ID, Bannock    Main
    Partners, LLC            County                                           Transmitter
                                                                              KPVI-DT
 39 Idaho      Broadcast     Kelley Mountain, Cassia County, ID, Parcel       Translator Site
    Partners, LLC            #RP11S24E263600                                  K39GV
 40 Idaho      Broadcast     3300 E. Ski Hill Road, Alta, WY 83414            Translator Site
    Partners, LLC                                                             K32LS-D
 41 Idaho      Broadcast     151 North 3rd, Pocatello, ID 83201, Bannock      KPVI
    Partners, LLC            County                                           Microwave
                                                                              Site
* Two separate leases have been entered into regarding this property
**No written leases have been entered into regarding these properties.

Real Property Leases


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1. Mississippi Commercial Lease Agreement, by and between Cala Broadcast Partners LLC and
    American Capital Investments, PLLC, dated on January 25, 2017 regarding the Studio and
    Office at 200 East Washington Street, Greenwood, MS 38930.
2. Communications Use Lease, by and between Blackhawk Broadcasting, LLC and the Bureau
    of Land Management to Yuma, dated as of December 28, 1987, regarding the Transmitter
    and Tower at Black Mountain Road, Winterhaven, CA 92283, Imperial County, 30° 03’
    10.0”N 114° 49’ 40.0”W.*
3. Communications Use Lease, by and between Blackhawk Broadcasting, LLC and the Bureau
    of Land Management in favor of Desert Telecasting Company Inc., dated as of July 21, 2000,
    regarding the Transmitter and Tower at Black Mountain Road, Winterhaven, CA 92283,
    Imperial County, 30° 03’ 17.0”N 114° 49’ 34.0”W.*
4. Tower Lease Agreement, by and between Redwood Television Partners LLC and Redwood
    Empire Public Television Inc., entered into on December 1, 2012, regarding the Transmitter
    Site at 1603 Barry Road, Kneeland, County of Humboldt, CA.
5. Site Use Agreement, by and between Cala Broadcast Partners LLC and Vertical Bridge,
    dated July 31, 2018, regarding Trasmitter Facilities at Clare Blake Rd., O’Reilly, MS 38730,
    Bolivar County.
6. Site Use Agreement, by and between Redwood Television Partners LLC and Vertical Bridge,
    dated July 31, 2018, regarding the land under the tower site at 8998 Kneeland Road, Eureka,
    CA, Humboldt County. (Two agreements, one for KIEM, one for KVIQ-LD)
7. Office Space Lease, by and between Northwest Broadcasting, Inc. and 2111 University Park
    Dr. LLC, dated as of October 14, 2002, regarding 2111 University Park Drive, Suite 650,
    Okemos, MI 48864, Ingham County.
8. Lease Agreement, by and between Broadcasting Communications, LLC and Valley
    Investments, dated May 17, 2001, regarding KMVU Station Office at Suites 101-105 Cedar
    Mall, 820 Crater Lake Avenue, Medford, OR 97504, Jackson County.
9. License Agreement, by and between Broadcasting Communications, LLC and Gary H.
    Safley & Judith A. Safley, dated as of October 25, 2004, regarding KMVU Tower Site at Mt.
    Baldy, Medford, OR, Jackson County.
10. Lease Agreement, by and between Broadcasting Communications, LLC and Phoenix
    Broadcasting Sites Inc., dated as of August 12, 1994, regarding KMVU Translator Station
    K34NO-D Site at Beacon Hill, Grants Pass, OR, Josephine County.
11. Telecommunications Site License Agreement, by and between Broadcasting
    Communications, LLC and the State Board of Higher Education acting by and through
    Southern Oregon University and its public radio network, Jefferson Public Radio and
    Broadcasting Communications, L.L.C, dated as of September 22, 2014, regarding KMVU
    Translator Station K26NB-D Site at Stukel Mountain, Klamath Falls, OR, Klamath County.
12. Lease Agreement, by and between Northwest Broadcasting, Inc. and Stanley C. Moore, dba
    Crater Lake Property Management, and Broadcasting Communications, LLC, dated as of
    January 1, 2012, regarding Satellite Space at KMVU Office Location, 718-750 Crater Lake
    Ave., Medford, OR, Jackson County.
13. Lease, between California Oregon Broadcasting, Inc. and Broadcasting Communications,
    LLC, dated as of September 15, 2016, regarding KMVU Translator Station K32LQ-D Site at
    Butcher Hill, Yreka, CA, Siskiyou County.




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14. Commercial Lease, by and between Damon L. Vetsch, sole proprietor, dba Lendamon’s, and
    Mountain Broadcasting, L.L.C., dated as of July 1, 2015, regarding KCYU Station Office at
    1205 West Lincoln Ave., Yakima, Washington 98904, Yakima County.
15. Lease of Commercial Property, by and between RRO Land LLC and Mountain Broadcasting,
    L.L.C., dated June 12, 2015, regarding KBWU/KFFX Station Office at 6725 West
    Clearwater, Suites A & B, Kennewick, WA 99336, Benton County.
16. Lease Agreement, by and between Wolf Creek Holdings of Spokane, LLC and Mountain
    Broadcasting, L.L.C., dated as of January, 12, 1998, as amended, regarding KAYU Station
    Office at 4600 S. Regal Street, Spokane, WA, Spokane County.
17. Land Lease, by and between Spokane Investors and Mountain Broadcasting, L.L.C., dated as
    of March 30, 1982, as amended, regarding KAYU Tower Site at Krell Hill, Spokane, WA,
    Spokane County.
18. Communications Use Lease, by and between Mountain Broadcasting, L.L.C. and the United
    States of America Department of Agriculture Forest Service, dated July 13, 2009, regarding
    KFFX Tower Site at Spout Springs, OR, Union County.
19. Lease and Right of Access Agreement, by and between Apple Valley Television, Inc. and
    Mountain Broadcasting, L.L.C., dated as of October 1, 2003, regarding KCYU Ch 41 Tower
    Site Building at Ahtanum Ridge, Yakima, WA, Yakima County.
20. Tower Site Sublease Agreement, by and between Washington State University and Mountain
    Broadcasting, L.L.C., dated as of October 1, 2003, regarding KCYU Ch 41 Tower Site at
    Ahtanum Ridge, Yakima, WA, Yakima County.
21. Agreement, by and between Casa Media Partners LLC and Mountain Broadcasting, L.L.C.,
    dated as of May 19, 2005, regarding KCYU/KBWU Translator Station K10NQ Site at
    Prosser Butte, Prosser, WA, Benton County.
22. Sublease and Tower Lease Agreement, by and between Active Electronics, Inc. and
    Mountain Broadcasting, L.L.C., dated as of October 1, 2013, regarding KAYU Translator
    Station K33LW Site at Baldy Mountain, Sandpoint, ID, Bonner County.
23. Site License and Use Agreement, by and between the State of Idaho through its State Board
    of Education, acting through Idaho Public Television, and Mountain Broadcasting, L.L.C.,
    dated as of January 1, 2014, regarding KAYU Translator Station K46KE-D Site at Canfield
    Butte, Coeur D’Alene, ID, Kootenai County.
24. KAYU Translator Station K31AH-D Site – Omak Mountain, Omak/Okanogan, WA,
    Okanogan County.**
25. KAYU Translator Station K19AU-D Site – Omak Mountain, Omak/Okanogan, WA,
    Okanogan County.**
26. KAYU Translator Station K44CK Site – Chelan Butte, Chelan, WA, Chelan County.**
27. Lease Agreement, by and between North Country Broadcasting, dba Internet Express Inc.,
    and Mountain Broadcasting, L.L.C., dated as of August 11, 2004, regarding KAYU
    Translator Station K09UP-D Site at Eagle Peak / Colville Mountain, Colville, WA, Stevens
    County.
28. KAYU Translator Station K19BY-D Site – Cottonwood Butte, Grangeville, ID, Idaho
    County.**
29. KAYU Translator Station K38IT Site - Jump Off Butte, Stemilt, WA, Chelan County.**
30. Site License and Use Agreement, by and between the State of Idaho through its State Board
    of Education, acting through Idaho Public Television, and Mountain Broadcasting, L.L.C.,



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    dated as of January 1, 2015, regarding KAYU Translator Station K18LH-D Site at Lewiston
    Hill, Whitman County, WA.
31. KAYU Translator Station K35BJ Site - Pickens Mountain, Ellisford/Oroville, Washington,
    Okanogan County.**
32. Communication Site Land Lease, by and between Mountain Licenses, L.P. and the State of
    Washington Department of Natural Resources, effective on June 1, 2014, regarding KFFX
    Translator Station Site KBWU-LD at Jump Off Joe Butte located in Benton County, WA.
33. Lease Agreement, by and between Sinclair Properties, LLC and Bristlecone Broadcasting,
    LLC, dated as of November 22, 2013, regarding WSYT Station Office at 1000 James Street,
    Syracuse, NY 13203.
34. Lease Agreement, by and between Sinclair Properties, LLC and Bristlecone Broadcasting,
    LLC, dated as of November 22, 2013, regarding WSYT Tower Site at Otisco-Mann Hill,
    Otisco Township, NY.
35. Lease Agreement, by and between Tower Talk of Ithaca and Bristlecone Broadcasting, LLC,
    dated November 1, 1995, as amended on December 14, 2007, regarding WYST Translator
    Station W16AX at Ithaca Tower, Ithaca, NY, Tompkins County.
36. Tower Lease Agreement, by and between Sinclair Properties, LLC and Bristlecone
    Broadcasting, LLC, dated as of June 1, 2018, regarding WSTM Tower Site at 2250 Barker
    Street, Otisco, NY 13084.
37. Lease Agreement, by and between Idaho Broadcast Partners, LLC and Clark Wireless / Day
    Wireless, dated November 1, 2017, regarding Translator Site K40MS-D at Clark Building,
    Howard Mountain, Pocatello, ID 83201, Bannock County.
38. Tower Space Lease, by and between Idaho Broadcast Partners, LLC and Teton
    Communications, dated April 1, 2008, regarding Translator Site K13UF-D at the Rexburg
    Bench, near Rexburg, ID.
39. Site Use Agreement, by and between Idaho Broadcast Partners, LLC and Vertical Bridge
    Towers LLC, dated September 14, 2015, regarding Main Transmitter KPVI-DT at Parcel
    #R3851000600 in Pocatello, ID, Bannock County.
40. Kelley Mountain Lease, by and between Idaho Broadcast Partners, LLC and George and Jo
    Ann Kelley, dated May 16, 2016, regarding Translator Site K39GV at Kelley Mountain,
    Cassia County, ID, Parcel #RP11S24E263600.
41. Communication Site License Agreement, by and between Idaho Broadcast Partners, LLC and
    Grand Targhee Resort LLC, dated July 29, 2014, regarding Translator Site K32LS-D at 3300
    E. Ski Hill Road, Alta, WY 83414.
42. Office Lease, by and between Idaho Broadcast Partners, LLC and T14 Unison Site
    Management, dated July 1, 2012, regarding KPVI Microwave Site at 151 North 3rd,
    Pocatello, ID 83201.

* Lease has been renewed, but Lessee is still awaiting a response from the Bureau of Land
Management.
**No written leases have been entered into regarding these properties.


Third Party Leases




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1. Sub-Lease Agreement by and between Idaho Broadcast Partners, LLC and Rise Broadband,
   regarding Translator Site K39GV at Kelley Mountain, Cassia County, ID, Parcel
   #RP11S24E263600.
2. Transmitter Site Sub-Lease Agreement, by and between Redwood Television Partners LLC
   and KJRW owner, regarding 1603 Barry Road, Kneeland, County of Humboldt, CA.




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                  EXHIBIT 5
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                  EXHIBIT 6
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                  EXHIBIT 7
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                  EXHIBIT 8
                (Exhibit Filed Under Seal)
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                  EXHIBIT 9
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From:            Delva, John
To:              Levy, Fred L.
Cc:              Cyran, Michael
Subject:         Your 12/20 Letter regarding Cox Stations
Attachments:     WSOC Consummation (2019-11-22).pdf
                 Cox Enterprises Announces Close of Cox Media Group Sale to Affiliates of Apollo Global Management.pdf
                 2019-12-09 Cox Letter re sale of CMG assets.pdf


Fred,

We received your letter dated December 20, 2019, which states that NBI Holdings, LLC acquired
certain stations that previously were owned by Cox Media Group, LLC.

Can you please substantiate this claim? This contradicts multiple other sources on the matter,
including Cox’s own letter to DISH dated December 7, 2019, the press release provided by Cox
Enterprises and the consents to transfer filed on the FCC’s website. Cox’s letter, the press release
and one of the consents to transfer are attached for your reference.

Appreciate any insights you can provide on the matter, apologies for reaching out over the holidays.

Thank you and Happy Holidays.

John

John S. Delva
Corporate Counsel
DISH Network L.L.C.
9601 S. Meridian Blvd.
Englewood, CO 80112
Office: 720-514-6208
Mobile: 720-560-4471
john.delva@dish.com
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                                    UNITED STATES OF AMERICA
                               FEDERAL COMMUNICATIONS COMMISSION
                                      WASHINGTON, D.C. 20554
                    (FOR CHIEF, VIDEO DIVISION, MEDIA BUREAU)


                     DATE: 11/22/2019

                                 FROM: COX ENTERPRISES INC.
   CONSENT TO ASSIGNMENT:
 X CONSENT TO TRANSFER:
                                 TO:    TERRIER MEDIA BUYER, INC.


Licensee/Permittee:     WSOC TELEVISION, LLC
(for transfer only)

        CALL      FACILITY                                                 AUXILIARY
CLASS   SIGN         ID      FILE#                STATION LOCATION         STATIONS
DT      WSOC-TV   74070      BTC-20190304ACZ      CHARLOTTE, NC      ALL CURRENTLY
LD      W26FA-D   53891      BTC-20190304ADA      MARION, NC         AUTHORIZED
DT      WAXN-TV   12793      BTCCDT-20190304ADB   KANNAPOLIS, NC     AUXILIARY
                                                                     STATIONS
Under authority of the Communications Act of 1934, as amended, the consent of the
Federal Communications Commission is hereby granted to the transaction indicated
above.

The Commission's consent to the above is based on the representations made by the
applicants that the statements contained in, or made in connection with, the
application are true and that the undertakings of the parties upon which this
transaction is authorized will be carried out in good faith.

The actual consummation of voluntary transactions shall be completed within 90
days from the date hereof, and notice in letter form thereof shall promptly be
furnished to the Commission by the seller or buyer showing the date the acts
necessary to effect the transaction were completed. Upon furnishing the Commission
with such written notice, this transaction will be considered completed for all
purposes related to the above described station(s).




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Cox Enterprises Announces Close of Cox
Media Group Sale to Af liates of Apollo
Global Management

NEWS PROVIDED BY
Cox Enterprises 
Dec 17, 2019, 17:18 ET




ATLANTA, Dec 17, 2019 /PRNewswire/ -- Cox Enterprises, Inc. today announced it has completed
the sale of its portfolio of television and radio stations, Ohio assets and its af liated CoxReps
and Gamut national advertising businesses to a new media company that is majority owned by
private equity funds managed by af liates of Apollo Global Management, Inc. (NYSE: APO). Cox
Enterprises maintains a minority stake in the new company, which will include Northwest
Broadcasting and will continue to operate under the name "Cox Media Group," ("CMG" or the
"Company") with headquarters in Atlanta, Georgia.




 Cox Enterprises



"We could not have asked for a better partner than Apollo in this new phase for CMG," said Alex
Taylor, president and CEO of Cox Enterprises. "Together with the people who continue to make
CMG the special company that it is, they're in a perfect position for future success."


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"We are excited 1:20-cv-00570 Document
                    our funds to acquire#: 1 Filed: 01/24/20
                                        a majority   interestPage 287Media
                                                              in Cox  of 297Group
                                                                             PageIDand
                                                                                    #:287
                                                                                       welcome
the Company into our broader Apollo portfolio," said David Sambur, Co-Lead Partner of Private
Equity at Apollo. "We look forward to working with the teams to grow the businesses, while
continuing to deliver a high quality of journalistic integrity and local news within in the
communities the Company serves."


The business assets involved with the transaction include:


     Television: 13 stations in 10 markets across the country
     Radio: 54 stations across 10 markets reaching 14 million listeners monthly
     Newspapers: 3 leading newspapers in the Ohio area
     CoxReps: the country's largest national television rep company for local broadcast
     television
     Gamut: offers market leading, customized and localized digital advertising and OTT
     solutions
     Northwest Broadcasting: 20 television stations in 10 markets


Kim Guthrie will lead the new Cox Media Group as president and CEO, overseeing all content,
sales and operations for CMG businesses. "I am truly honored to lead CMG into the future,
during such an exciting time for our company," Guthrie said. "We have a unique opportunity to
continue to build on the foundation of our rich history, leverage our equity in the markets we
serve and rede ne CMG's place in the media landscape. We look forward to this new
partnership to drive future investment, innovation and growth."


Guthrie is joined by an executive leadership team with deep and proven experience in the
media industry:


     Paul Curran, EVP, Television
     Heidi Eddy-Dorn, General Counsel, Chief Compliance Of cer, Corporate Secretary
     Brett Fennell, EVP & Chief Financial Of cer
     Bill Hendrich, EVP, Radio
     Mary Ellen Marcilliat-Falkner, EVP & Chief People Of cer
     Marian Pittman, EVP, Content, Product & Innovation
     Steven J. Pruett, Executive Chairman

                                                                                                 /
          Case:
Steven Pruett   1:20-cv-00570
              joins Cox MediaDocument
                              Group as #: 1 Filed: 01/24/20
                                       Executive            Page
                                                    Chairman.    288 recently,
                                                               Most   of 297 PageID #:288
                                                                               Pruett served as
Executive Vice President and Chief TV Development Of cer at Sinclair Broadcasting Group
(NASDAQ: SBGI). Through acquisitions, Steve was responsible for creating Sinclair's Chesapeake
Division and overseeing all TV stations in that group. Prior to Sinclair, he served as President
and CEO of Communications Corporation of America and was special strategic advisor to
DirectTV and Thomson Consumer Electronics.


About Cox Enterprises
Cox Enterprises is dedicated to building a better future through our leading communications,
automotive services and media companies. Our major operating subsidiaries include Cox
Communications and Cox Automotive. Headquartered in Atlanta, Georgia, Cox is a global
company with over $20 billion in annual revenues and brands that include Autotrader, Kelley
Blue Book and Cox Homelife. Founded in 1898 by Ohio Governor James M. Cox, the company is
a family-owned business committed to its people, communities and the planet. To learn more
about Cox, visit coxenterprises.com.


About Cox Media Group
Cox Media Group (CMG) is an industry-leading media company with dominant brands, award-
winning content, and exceptional people. CMG provides valuable local content to viewers in the
communities in which it serves. The company's operations primarily include 33 high-quality,
market-leading television stations in 20 markets, 54 radio stations in 10 markets and numerous
over-the-top (OTT) and digital platforms. Cox Media Group's portfolio includes primary af liates
of ABC, CBS, FOX, NBC, and MyNetworkTV, as well as several valuable independent stations.
Additionally, the company also offers a full suite of local and regional advertising services with
Local Solutions. For more information about Cox Media Group and its businesses, please
visit www.coxmediagroup.com.


About Apollo Global Management
Apollo is a leading global alternative investment manager with of ces in New York, Los
Angeles, San Diego, Houston, Bethesda, London, Frankfurt, Madrid, Luxembourg, Mumbai,
Delhi, Singapore, Hong Kong, Shanghai and Tokyo. Apollo had assets under management of
approximately $323 billion as of September 30, 2019 in credit, private equity and real assets
funds invested across a core group of nine industries where Apollo has considerable knowledge
and resources. For more information about Apollo, please visit apollo.com.


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           Enterprises




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